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                      Exhibit J
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                         Linguistic Consulting Service

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Report:

Brandon Cobb Dates of Testing: May 25-June 29, 2020; Age at Time of Testing: 32 Date of
Birth: June 11, 1988.

Joseph Nettles Dates of Testing: May 25-June 22, 2020; Age at Time of Testing: 52; Date
of Birth: July 19, 1967.

Communication Assessment for: Arnold & Porter Kaye Scholer, LLP

Date of Submission of Report: August 9, 2020




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Evaluator: Dr. Judy Shepard-Kegl, Ph.D., NIC-M, SC: L, CI/CT, CSC, OTC, ED: K-12,
NAD-IV, Core-CHI, QMHI
From the National Registry of Interpreters for the Deaf:
Comprehensive Skills Certificate (CSC)
Certificate of Interpretation (CI)
Certificate of Transliteration (CT)
National Interpreter Certification (NIC-Master)
Oral Transliteration Certificate (OTC)
Specialist Certificate: Legal (SC:L)
NAD-IV (recognition of National Association of the Deaf Certification-Level IV)
Educational Certification: K-12 (recognition of EIPA Certification)
Educational Interpreter Performance Assessment (EIPA)-six certifications:
ASL (elementary and secondary)
PSE (elementary and secondary)
MCE (elementary and secondary)

From the Board of Evaluation of Interpreters, Texas (BEI):
BEI-Master

From the Certification Commission for Healthcare Interpreters:
Core-CHI (Core Certification Health Care Interpreter; from the Certification Commission for Healthcare
Interpreters)

From the Alabama Department of Mental Health:
Qualified Mental Health Interpreter (QMHI)

Education:
B.A. in Anthropology (Brown University)
M.A. in Linguistics (Brown University, Thesis: Some Observations on Bilingualism: Look at Data from Slovene-English
Bilinguals
Ph.D. in Linguistics (M.I.T., Dissertation: Locative Relations in American Sign Language Word Formation, Syntax
and Discourse
Postdoctoral studies: Center for Molecular and Behavioral Neuroscience, Rutgers, The State University of New
Jersey)
Master Mentor Certificate, Project T.I.E.M., Northeastern University
Legal Interpreter Certificate Program, Front Range Community College
Training and Approval: (Culturesmart, Inc.; to teach The Essential Piece curriculum in medical interpreting)



Evaluator: Dr. Amy June Rowley, Ph.D., ASLTA-Master
From American Sign Language Teacher’s Association:
ASLTA- Provisional (1997)
ASLTA -Qualified (1999)
ASLTA-Professional (2001)
ASLTA-Master (2017)
From American Sign Language Proficiency Interview:
ASLPI- 5 (Native level)

Education:
B.A. in Biology (Gallaudet University)
M.A. in Deaf Education (Western Maryland College- now McDaniel College)
ASL Specialist Certification (Western Maryland College- now McDaniel College)
Ph.D. in Urban Education in Curriculum and Instruction: Second Language Acquisition (University of Wisconsin-
Milwaukee, Dissertation: American Sign Language Advanced Studies Programs: Implementation Procedures and Identifying
Empowering Practices




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List of items considered in making this assessment:
Narrative Elicitation Materials:
Mr. Koumal Flies Like a Bird (1.5-minute non-verbal cartoon): signed, written, spoken
Mr. Koumal Battles his Conscience (1.5-minute non-verbal cartoon): signed, written, spoken
Background conversation
Cultural profile
Comprehension of ASL Stories: Bird of a Different Feather; Classifier Story: DWI
Topological Relations Task (Reduced version-20 items)
Frog Stories: Frog, Where are you?; Frog Goes to Dinner
Flynt-Cooter Reading Inventory (Form A)
San Diego Screening
Lipreading Task
Vocabulary Task
Legal documents: Complaint, including Declarations; Declaration of William Driver (ECF
No. 34-7); probation forms signed by named Plaintiff Carlos Herrera; Plaintiff’s Exhibit 63;
Defendants’ Exhibits 5-9; and BodyCam videos taken of named Plaintiffs Brandon Cobb,
Carlos Herrera, and Joseph Nettles.



Objectives:
The objective of this report is to assess the communication needs and what auxiliary aids
are required to effectively communicate in law enforcement settings, in particular,
probation or parole, court appearances, and incarceration for two individuals: Brandon
Cobb and Joseph Nettles (referred to in this report collectively as the “evaluated
plaintiffs”).

This report addresses several issues: 1. the evaluated plaintiffs’ use of interpreters; 2. their
primary and preferred mode of communication; and 3. their capacities with respect to the
use of American Sign Language (ASL) and of alternate communication modes such as
speech, lipreading, reading, and writing in English.

We are not fact witnesses in this case and will not attempt to discern what did or did not
happen during specific incidents regarding interactions in the law enforcement context.
Our assessment concerns the evaluated plaintiffs’ general language proficiency and
cultural identification and how that speaks to their communication needs in legal contexts
such as the ones noted above. As general background, we will also discuss issues
regarding both on-site interpreting and Video Remote Interpreting (VRI). We will also
address the role of Deaf interpreters and situations in which the use of a Deaf/Hearing
Team of interpreters is required, as well as the uniquely different conditions under which
Deaf individuals learn to read, and the issues involved with friends and family serving as
interpreters.




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Composition of the expert team:
We have been retained in this case to offer our expert opinion on the communication
abilities and needs of two Deaf plaintiffs in the context of probation and parole encounters,
law enforcement, and incarceration. Dr. Judy Shepard-Kegl offers her opinion as a
linguist, a nationally certified interpreter with over 40 years of experience, as an
interpreter with credentialing, and as an interpreter trainer familiar with credentialing.
Dr. Amy June Rowley offers her opinion as a native signer of ASL with life-long
experience in the Deaf community, a nationally certified teacher of American Sign
Language, an assessor of ASL language proficiency, and a researcher on second language
learners of ASL. Our curriculum vitae appear in Appendix B. The cases we have presented
testimony for at deposition or trial over the past four years (and in some cases beyond)
appear in Appendix C.


It is important at the outset to discuss the nature of this expert team, which is both equal
in its expertise as well as interdependent and complementary. Drs. Shepard-Kegl and
Rowley have been working as a team for several years and share in every way in terms of
expertise and their contribution to this assessment. Both are equally responsible for and
have experience administering every aspect of the assessment used here. In fact, we
frequently also test in unison.


Dr. Shepard-Kegl has compiled and vetted the test materials used here over a thirty-year
career as an expert witness regarding language, culture, and interpreting issues in legal
cases. [Clarification: Were these tests developed solely to serve work as experts, or as part
of your general academic work?] Many of the testing materials have also been used in her
linguistic and neurolinguistic research with even more individuals. With some changes
and some streamlining over the years, these materials have been used to test hundreds of
Deaf adults, and part of the reason we tried to keep the core materials the same over the
last decades is because these individuals and other Deaf adults serve as a comparison and
control group for each other. We have been and will continue to focus on streamlining
these materials to make the testing less time intensive, but never at the sake of sufficient
coverage of the language and cultural evidence we feel is needed to serve as the
foundation for our opinions.



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Both members of the team currently do all aspects of the testing together or independently.
However, because of her ability to hear and her experience with phonetics and phonology,
Dr. Shepard-Kegl does the transcription and analysis of the spoken language data. Also,
because of her linguistic expertise in the study of argument structure, she does the coding
and analysis of that portion of the assessment. Dr. Rowley takes the lead in the assessment
of ASL data, but Dr. Shepard-Kegl by virtue of her research experience with transcription
often transcribes the ASL data. This helps her to see the nuances in the ASL production
and grammar that a native signer like Dr. Rowley can do more easily without recourse to
transcription.


The team is in full consensus here regarding the interpretation and conclusions drawn
from our testing. While we are equal in our contributions to the team and equally
responsible for the opinions provided here, we are also complementary in very important
ways—the most important being native fluency and cultural immersion in the two
languages and cultures being assessed here.


Dr. Shepard-Kegl is a native speaker of English who is also fluent in American Sign
Language. She did her bachelor's level work in linguistic anthropology as well as her
master's level work in bilingualism at Brown University, her Ph.D. work in theoretical
linguistics at the Massachusetts Institute of Technology, with a dissertation on word
formation, syntax and discourse in ASL. She has taught and worked in linguistics,
cognitive science, and psychology research laboratories at Northeastern University and
Princeton University, where she also consulted with Educational Testing Services on an
ASL Developmental Assessment with Dr. Judith Mounty. She did her senior postdoctoral
work in cognitive neuroscience at the Center for Molecular and Behavioral Neuroscience
at Rutgers, the State University of New Jersey and was eventually hired there as a
Research Assistant Professor of Neuroscience, before moving to her current position in
linguistics at the University of Southern Maine, where she teaches linguistics and
interpreting, directs the Signed Language Research Laboratory, and developed and
currently coordinates the ASL/English Interpreting Concentration of the Linguistics
major. She has served as a Principal Investigator on grants from both the National Science
Foundation and the National Institutes of Health. She engages in linguistic,


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neurolinguistic, and cultural research in both spoken and signed languages. Her research
is internationally recognized.


Dr. Shepard-Kegl is also nationally credentialed and working as an ASL/English
interpreter with specializations in legal interpreting, educational interpreting, and
medical interpreting, in addition to being nationally certified in oral transliteration. She
has consulted extensively on both the assessment of interpreting (both spoken and
signed), ASL language development, and language breakdown (Aphasia and Parkinson
disease). She has served as a consultant on the development of the national assessments
for the Cued Speech version of the Educational Interpreter Performance Assessment
(EIPA-CS), the Core Certified Healthcare Interpreter Assessment, and is currently on the
Registry of Interpreters for the Deaf Task Force exploring the structure of a future
assessment for Legal Interpreters.


Dr. Rowley is a native signer of ASL, who is also fluent in English. She did her bachelor’s
level work in biology at Gallaudet University, the primary national post-secondary liberal
arts institution for Deaf students in the U.S., although it is also recognized world-wide,
and her master's level work in Deaf Education at Western Maryland College. She
completed her Ph.D. work in Urban Education, Curriculum, and Instruction, with a focus
in Second Language Acquisition at the University of Wisconsin, Milwaukee, with a
dissertation on implementation procedures and identifying empowering practices in
advanced studies programs in American Sign Language. Dr. Rowley also holds an
American Sign Language Specialist Certification from Western Maryland College and has
extensive experience teaching ASL and Deaf Studies. In her role as Associate Clinical
Professor and Coordinator of American Sign Language Programs in the Department of
Exceptional Education at The University of Wisconsin, Milwaukee she was responsible
for overseeing five ASL-related programs at both the undergraduate and post-
baccalaureate levels. Currently, as a full Professor in the Department of Modern
Languages and Literatures at California State University East Bay, she does similar
teaching and administrative work, including curricular development. At present she is
also working for the University of Maine as a curriculum specialist for distance teaching
of ASL, where she supports and trains Deaf instructors as they transition to distance
education of ASL. Like Dr. Shepard-Kegl, Dr. Rowley is also a nationally recognized


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authority in assessment. She has been involved with portfolio development and
assessment for ASL Teacher Training Programs. She served on the American Sign
Language Teachers Association Revision Task Force to redesign their Teacher Evaluation
and Certification Program. She is currently the Chair of the Evaluations and Certifications
Program under the American Sign Language Teachers Association which is the governing
body for certifying teachers of ASL in the United States and beyond. Part of the
responsibilities of the Chair includes coordinating evaluation assessment, coordinating
training for evaluators, and assessments for candidates. Dr. Rowley has published on
educational interpreting, the role of ASL in interpreter education, ASL and interpreter
education programs, power and privilege, accessibility, and Deaf-related communication
access legal cases.


The life experience of the members of this expert team complement each other and are
also relevant to the assessments performed. Working in tandem we cover all the bases.


Dr. Rowley, who is Deaf, has full access to ASL and its communities of users, as well as a
lifetime of experience navigating a hearing world visually without sound, brings to this
expert team native competency in American Sign Language and fluency in English. She
was raised in a bilingual/bicultural Deaf home, where ASL was the dominant language.
However, she was educated in mainstream schools during the infancy of the IDEA
(Individuals with Disabilities Education Act) and has experienced trying to access some
of her education without interpreters. She currently lives in a bilingual household with
her Deaf spouse and her two Deaf children and a hearing child, where the dominant
language is ASL. She also has experience as a mother of children in Deaf and mainstream
settings.


Dr. Shepard-Kegl, who can hear and has full access to English its communities of users, as
well as a lifetime of experience navigating a hearing world via sound, brings to this expert
team native language competency in English in addition fluency in ASL. She was raised
in a bilingual/bicultural Slovene/English home, where English was the dominant
language. She currently lives in a trilingual English/ASL/Nicaraguan Sign Language
(ISN) household with her hearing spouse, Deaf daughter, and hearing grandson and has
experienced being the mother of a Deaf child in a Deaf school and mainstream setting. Her


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research and teaching experience include theoretical linguistics, bilingualism,
neurolinguistics, and cultural research in not only spoken and signed languages, but also
in emergent languages and cases of language deprivation.


Both Dr. Rowley and Dr. Shepard-Kegl have substantive prior experience as experts and
have both produced reports and testified in deposition and at trial. A summary of the
cases they have testified in is included in Appendix C. Dr. Shepard-Kegl has been
admitted as an expert in courts in Maine, Minnesota, Oregon, Missouri, Louisiana, New
Jersey, New York, Pennsylvania, Rhode Island, and Georgia, while Dr. Rowley’s
testimony preceded their collaboration and was in Wisconsin.


People who are deaf, the Deaf Community and Deaf Culture

It is helpful at the outset of this discussion to define a few terms and to address several
misconceptions that people may have regarding deaf people, their language(s), their
culture, and their community.


Deaf versus deaf. Throughout this report, when we capitalize the word Deaf, we are
referring to a person who not only has a hearing loss, but who also identifies with Deaf
people and Deaf culture. This person is likely to sign American Sign Language and to seek
out other Deaf people and attend Deaf events. This is referred to as a cultural perspective
on deafness. When we leave the word deaf in lower case, we are referring specifically to a
person's medical condition of hearing loss. This is referred to as the medical or
pathological perspective on deafness. Sometimes the lines are blurred and a person who
is hard of hearing identifies as culturally Deaf and vice versa, a profoundly deaf person
may not identify with Deaf culture but still be profoundly deaf.


Hearing. The use of “hearing person” while understandable is rather uncommon except
in discussions where people who can hear are being contrasted with Deaf people. We will
use hearing both for cases in which a person physically can hear and for people who are
coming from a perspective of mainstream, hearing culture.




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Hard of hearing versus deaf. A person who is referred to as “hard of hearing” has a mild
to moderate hearing loss and can with some difficulty (mild) or when using a hearing aid
(moderate) hear sounds within the speech range. A hearing aid can benefit a person whose
loss is mild to moderate by amplifying sound. An aid may help a person with a severe
hearing loss to hear speech a bit better, but it will not completely correct such a loss. Loss
of the ability to hear speech is not a matter of amplitude (loudness); it is an issue of the
frequencies at which sounds resonate and whether these frequencies can be detected by a
person’s auditory system (the nerves in the inner ear that carry sound input to the brain).
A person with a profound hearing loss cannot hear sounds within the speech range even
when aided. The following chart illustrates these differences. The area in yellow, often
referred to as “the speech banana,” indicates the range in which speech sounds fall.




Being culturally Deaf means that a person is most comfortable in the company of other
Deaf people. It means that they sign ASL, a language completely distinct from English in


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modality (visual and gestural as opposed to auditory), grammar (polysynthetic (complex
word-internal morphology) versus isolating (strings of words without much internal
structure)) and use (differing pragmatics and discourse structure). And it means that the
person views themself as a member of a cultural minority rather than as a member of the
dominant hearing culture with a pathological deficit—deafness.


Being born Deaf of Deaf parents is a major (but not definitive) factor in predicting ASL as
one’s primary and preferred language. However, individuals falling into this category are
also the most likely to have strongly mastered English writing and literacy skills. This
latter correlation is attributed to the fact that such individuals have had a language (in this
case ASL) from birth and, therefore, their English acquisition is building upon a strong
first-language base.

Attending a residential school for the Deaf is another major factor because this maximizes
exposure at an early age to strong ASL language models and to Deaf culture. Beyond
these, additional factors indicative of individuals who are likely to be culturally Deaf are
the group they choose for social interaction, membership in Deaf organizations, marriage
or significant relationships to a Deaf partner, and choice of an occupation that would
require little use of English on a day to day basis and would also attract other Deaf people.
These are attitudinal indicators of Deaf identity and cultural affiliation.



To better appreciate a greater feeling of affinity with Deaf peers, the chosen social
community of many Deaf people, as opposed to their own families in which they may feel
foreign, we recommend reading the book, A Journey into the Deaf World by Harlan Lane,
Robert Hoffmeister, and Ben Bahan.1 A more detailed overview of American Sign
Language appears later in this general section of the report.


There are some people who are profoundly deaf but do not use ASL. Some use more
manual signing codes for English, some use Cued Speech (Cued Language) a system that
supplements the mouth movements of speech (in real-time) with 8 hand configurations
placed at various locations on the face, neck, and side of the face to distinguish those

1
    Lane, H., Bahan, B, and Hoffmeister, R. (1996). A Journey into the Deaf World. San Diego: Dawn Sign Press.


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aspects of a spoken language that are not visible to a lipreader, and some use only speech
and lipreading. These individuals tend not to be culturally Deaf. However, there are some
who use both ASL and Cued Speech. Some of these individuals, especially ones with both
languages (English and ASL) from birth can be bilingual and bicultural. Lipreaders tend
to be late deafened or to have had more residual hearing growing up. Users of Cued
Speech are far less in number than users of ASL (http://www.cuedspeech.org/ncsa/about-the-
ncsa).


Misconceptions:
Before we move on to discussions of ASL and of Interpreting, we feel that it is important
to discuss four misconceptions that people frequently hold when they encounter people
who are Deaf and try to establish communication with them. These four misconceptions
often stand in the way of Deaf people getting the accommodations for communication
access that they need. Once these misconceptions are recognized, they support our expert
opinion that it is important to take into serious consideration requests by a Deaf person
who is asking for an interpreter or indicating that they do not understand. Deaf
individuals know best what they themselves can reliably understand and what they
cannot.

Misconception: Nodding one’s head is an indication of comprehension

When two people are communicating in English, the receiver often produces a variety of
backchanneling signals to show engagement with the person who is talking. The listener
may nod their head, which sometimes means agreement with what is being said. Other
times shaking the head “no” can indicate disagreement or disbelief. Sometimes, but not
always, nodding can mean I am listening and “I get it.” Students learning ASL quickly
learn that if they watch a Deaf person signing and nod their heads, the person will keep
repeating what they are saying, assuming that the student has not understood them.


In Deaf culture, nodding one’s head is an indication that the Deaf person is attending to
you, but not that they are understanding you. ASL signers indicate understanding with a
manual gesture of a hand repeatedly moving forward in the handshape of a Y (fist with
thumb and index finger extended). This sign is frequently glossed as O-I-C (for Oh, I see).


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When interpreters are understanding a Deaf speaker whose ASL they will subsequently
interpret into English, nodding or a blind stare would mean lack of understanding (deer
in the headlights); but a slow and repeated deep nodding and forward movement (almost
a scooping) of the head and neck concurrent with the end of utterances can mean, “I get
it, keep going.” Hearing people are often confused when a Deaf person nods as a question
is being asked. They often assume the answer being given is a yes. And then the person
may answer with, "No" or “I don't understand.” One of the first, and much emphasized
and repeated, lessons in Interpreting 101 is that nodding is not an indication of
understanding. Nodding means, "I am attending to what you are saying," and not "I am
understanding what you are saying," nor "I am agreeing with what you are saying." This
is the point at which the interpreter is instructed to probe for understanding by asking an
open-ended question or asking the person to repeat what was just said in their own words.


Another problem that arises because of the strain of conversing in a language that is not
one’s primary language is that frequently the second language user nods as if
understanding, even when not comprehending--as a politeness measure, or just to keep
the conversation going. Any of us who have learned a second language or who have
conversed with a relatively new second-language learner of English have nodded or been
nodded to when we understand very little of what is transpiring. We do so as a kind of
politeness gesture to let the person keep going without interrupting every time a point is
missed. We also nod when we want to get a conversation over with and aren’t really
paying attention. For example, “Yes dear. Unh huh. Unh huh.” Deaf individuals who
spend much of their time with hearing people in this state of non-comprehension are
prone to doing this out of exhaustion or sheer frustration. A good interpreter will
frequently check that the deaf person truly comprehends the transmitted message by
probing with open-ended questions or simply checking for explicit comprehension, never
by asking the yes/no question, “Do you understand?” Medical professionals (among
others) often assess comprehension by engaging in a process called “teach back,” where
they ask the patient to summarize something that was just discussed. Interpreters use this
technique as well either directly or via asking the hearing consumer to ask the Deaf person
to reiterate what was just said.




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In a situation with a hearing person where lipreading is used (or even where the type of
signing used by a given interpreter does not effectively match the consumer), a deaf
person will often eventually nod just to get the conversation over with because they are
not getting effective access anyway. The hearing person, also pressured by the inability to
make oneself understood in this context, readily accepts this nodding as confirmation of
comprehension. The desire to believe that lipreading will suffice combined with nodding
behavior on the part of a deaf person can lead an individual to attribute unrealistic
lipreading abilities to a deaf interlocutor, when in fact, both participants are “faking it,”
and comprehension is severely limited or completely lacking. Such interactions can lead
to the hearing interlocutor’s deciding that an interpreter is not necessary, when on the
contrary, very little communication is being successfully transmitted. For this reason, it is
prudent to heed the request of the Deaf interlocutor when need for an interpreter is
expressed. They often have a lifetime of suffering the consequences of impartial, skewed,
or inaccessible communication.

This last point regarding “a lifetime of suffering the consequences of impartial, skewed,
and inaccessible communication” needs to be emphasized and elaborated a bit. Without
having participated in the life experiences of a Deaf individual (including situations in
which interpreters have not been provided or inadequate interpreters in terms of not being
a match for the Deaf individuals have been provided), it is often difficult for a service
provider to see the cumulative impact on the person that has now led them to request
interpreting services, and interpreting services of a typical sort. It is also sometimes
difficult for service providers to understand from a Deaf individual’s perspective why
after a single request that is denied by the service provider or that has not been heeded,
the Deaf individual may “give up;” or why in other cases a single failure to provide an
interpreter for a given Deaf individual might become “the straw that broke the camel’s
back.” Both behaviors are possible, and both are plausible.



Consider elderly Deaf people whose experiences prior to passage of the Americans with
Disabilities Act constituted a lifetime of being denied services. Their lives were equally
impacted by the lack of interpreters, but they also have had a lifetime of experience not
getting what they needed and can be resigned to their situation—resignation should not



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be taken as satisfaction or adequate access. Over time, these older individuals were forced
to rely upon family members or to just go without. Relying upon family members, who
are by definition not impartial, brought with it a host of both privacy problems and
empowerment problems.         These family members were given access to personal
information the Deaf individual may have wanted to keep private. They are given the
opportunity to skew or interject information to suit their own goals for what they would
like to see transpire (to the benefit or detriment of the Deaf individual). Or worse, the Deaf
individual may lie or withhold information that they might have shared otherwise but
that they do not want the family member to be privy to. Very often recognizing that the
family member is person that knows personal information about the Deaf individual and
is more accessible to a service provider because they can hear and use the same language,
the service provider will short circuit the process and begin asking information of the
family member directly, disempowering the Deaf person as well as leaving them out of
the communication loop. This is a common occurrence, even when an interpreter is
present in the room and is one of the factors they frequently have to deal with.


Let's be more specific to law enforcement contexts. Without access to an interpreter, the
Deaf individual is not able to participate in services as an autonomous adult with the
privacy they have a right to have. Relying upon family members in the context of a parole
officer sharing sensitive information about an underlying crime or sharing conditions on
probation and parole can raise topics that the Deaf individual would rather not have
shared with family members. Asking probing, sensitive questions that intrude on privacy
gives those family members access to information that the Deaf individual did not
necessarily want to share with them. It also gives those family members the opportunity
to skew or interject information into their "interpretation" that may not be coming from
the Deaf individual themself—information that serves the family member's personal
agenda.   In addition, in an effort to avoid sharing private information with family
members (that may have been willingly shared with the officer), the Deaf individual may
lie or hold back information, jeopardizing the conditions of their parole. Finally, such
situations the same dynamic of removing the Deaf individual from the loop and
communicating directly with the language accessible family member frequently occurs.




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Consider also the Deaf patient who seeks the best care and attention they can get from
their busy nurses and doctors. They can often fear that persisting in requests can lead to
frustration on the part of the provider because the provider’s workload has now been
expanded to include the procurement of interpreters. Deaf patients often feel that
declining to review and sign forms without the aid of an interpreter could seriously delay
or hinder their access to treatment. Consider the prisoner or parolee who fears that
persistent requests for an interpreter or declining to communicate in the absence of an
interpreter with have negative repercussions with the people who make decisions
regarding reduced time and privileges in prison, or who fear a return to prison if they are
on probation and don’t cooperate with any requests, even ones they don’t understand.

Some Deaf individuals, in situations where they perceive a power imbalance, often feel
trepidation in persisting in arguing for their communication needs for fear of disruption
of their rapport with service providers, which may lead to differential treatment or even
retribution.

In summary, in contrast with most service providers, Deaf people have had a lifetime of
personal negative consequences of not having communication access that have taught
them to recognize their own limitations (and the limitations of their interlocutors),
especially in high stakes communication situations. They know best when an
accommodation is needed and what works and what doesn't. Their perspective on such
needs required serious consideration.


Misconception: Being able to speak, means being able to hear

It is very tempting to jump to the following conclusion: If they can speak, they can hear.
This is not true, and it is one of the most prevalent misconceptions that hearing people
have regarding Deaf people. Deaf education has always been controlled by people who
can hear and value the ability to speak. There is often a heavy emphasis on “training Deaf
people to assimilate” into hearing society which focuses on one-way communication from
a Deaf person to a hearing person—using speech even if they cannot hear it or reliably
lipread it. This assimilation training is very oppressive for Deaf people because it ignores
the importance of their equal access to two-way communication. Talking to a hearing



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person who does not know sign language does nothing to ensure that what that hearing
person says will come back to the Deaf person clearly.


The average deaf lipreader will catch approximately 30% of what is on the mouth (and
typically that speech is predictable and highly routinized, like What's your name? What's
your address?, etc.). Most speech is occluded from sight. For example, mom and Bob look
the same. One cannot see that one involves nasal bilabial consonants (mom, dropping the
velum while making exactly the same visible speech gesture, and the other (Bob) does not.
Everything that can be seen is the same. One has to guess which word was intended and
guessing opens up the possibility of more misunderstandings.


The same is true for hearing people trying to “understand” Deaf people who have poor
speech. Many Deaf people have been trained and strongly encouraged to talk regardless
of how clear their speech is. This can be problematic because both parties have no idea
whether what they think is being said is actually accurate. Even when you are right, you
cannot be sure.


It is also easy to make assumptions or judgments based on a person’s speech. In addition
to the assumption that if a person speaks clearly, they can understand clearly as well, we
also see people holding the assumption that if a person’s speech is not clear or is imprecise
in articulation, then they are not smart. As a result, information provided to them is
“dumbed down.” This latter judgment juvenilizes Deaf adults. Being required to use
speech forces a Deaf individual to present a persona that may fall far short of who they
really are. This is one of the primary reasons that many Deaf individuals who have some
limited speech ability often refuse to use it or feel very self-conscious and demeaned when
doing so.


Except in highly exceptional cases, lipreading should not be relied upon for anything other
than very superficial communication such as basic needs: Where is the restroom? What’s
your name? Anything more risks taking away the Deaf person’s ability to fully and reliably
communicate. Even more troubling is when lipreading is required by virtue of a lack of
access to any other alternative such as signing or taking the time to write back and forth
(while probing frequently for understanding, of course). Deaf people in this situation often


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feel forced to accept this as the only option. They may think they are understanding what
is being said, but they have no way to know this for sure. And they have had a lifetime of
experience that speaks to the unreliability of lipreading. In addition, a Deaf individual
who does not have a strong command of English is not only disadvantaged by the
limitations of lipreading and impreciseness of their speech, but the unintelligibility of
what they say can be exacerbated by a reliance on the grammar of their first language,
ASL, to structure the output of their spoken English. In this case, only someone familiar
with ASL grammar could decipher what they were saying. In the same way that a deaf
person cannot understand via lipreading a word their don't already know, a hearing
person cannot understand from a Deaf person's speech words that are arranged in the
grammar of a language with which they are unfamiliar, namely ASL.



Misconception: Literacy is a matter of learning to crack a writing code


       Before discussing the reading assessment tools (Appendix A) or any reading
results (Individual Assessments), it is important to address what it means to learn to
read as a hearing person who already knows English versus as a Deaf person who uses a
signed language or, even worse, has no prior first language and is required to learn
written English without the benefit of having heard it all their lives.

         When a hearing person learns to read, typically around first grade but also
  possibly as an adult, what they are learning is to decode a written orthography and
  to “read aloud” words and sentences that are already in their language repertoire. This
  approach to reading is called phonics. Some individuals start with whole and
  memorization, but for English-speakers, this typically also leads to making
  phonological generalizations that soon help to break the code. The learner can sound
  out the words on the page and associate them with words and grammar that he or she
  already knows. If not, the learner would be limited to only reading words he or she has
  memorized as equivalents of words he or she knows in the auditory modality,
  resulting in very limited reading. Consider an example of learning to read. A hearing
  first grader who sounds out the following:

                     The cat is under the table. (/ðɘ kæt̚ Iz ʌndɝ ðɘ teybɘl/)


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already understands and is able to speak the spoken version of this sentence in their
everyday life well before they could read it. By age five or six, those of us who can hear and
were being raised with auditory access to English could already understand much more
complicated stories that were read to us than we ourselves could read. Books like the Sally,
Dick, and Jane series that many older individuals learned to read with recognized this and
used very basic words and sentences as we learned to crack the code.




         For children who can hear, their English in the spoken/auditory modality is
  already fully developed before kindergarten. They are simply tasked with learning to
  decode a writing system (orthography) to access the spoken/auditory language of
  which they already have mastery. The outcome of “learning to read” is not the same
  for a Deaf child.

         When a hearing person cracks the code, he or she can read anything. The only
  limitation might be new vocabulary items. This is why reading exams often build
  upon the foundation of vetted lists of vocabulary mastered at specific grade levels.
  When familiarity with the vocabulary is established and when the learner is exposed in
  a natural way to the spoken language and has acquired it at age-level, it can be
  presumed (based upon vocabulary recognition alone) that the learner already has the
  language in place to read at that grade level. For children who can hear, their English
  in the spoken/auditory modality is already fully developed before kindergarten.
  They are simply decoding a writing system (orthography) to access the spoken
  /auditory language of which they already have mastery.

         Once a hearing person cracks the code, he or she can read anything. The only
  limitation might be new vocabulary items. This is why reading exams often build



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upon the foundation of vetted lists of vocabulary mastered at specific grade levels.
When familiarity with the vocabulary is established and when the learner is exposed in
a natural way to the spoken language in their environment and has acquired it at age-
level, it can be presumed that the learner already has the language in place to read at
that grade level.

       While there may be some missing vocabulary, and maybe for children some
syntactic development to undergo (although not much), most people recall that moment
of looking at a page of words as foreign and suddenly, when the code is cracked, seeing
a familiar sight—a language they already know. Part of why school children are taught
to read aloud, is to reinforce the experience that once they can sound it out, they can
understand it.

       We cannot project this same experience onto a deaf person learning to read. They
typically come to school to learn a written form of a language they do not already know.
They may come with prior fluency in a signed language (a language that is not remotely
grammatically related to English), or they may come with no language base at all. Their
experience is more like a monolingual English-speaker learning to read Russian Cyrillic
orthography, which is a gateway into phonemically decoding Russian, not English.



ILLUSTRATION:
                                   Я не понимаю.


       Russian is even more transparent in its orthography than English: /ya ne
ponimayu/. If the learner knows that Я = /ya/ and Ю =/yu/, he or she can work out
the rest of the coding by matching the orthographic symbol to the corresponding
sound (e.g, н=n, etc.).

       One then can pronounce the Russian words. But not having grown up around
the Russian language, one is not already a speaker (or comprehender) of Russian. So,
without already having spoken Russian in one’s repertoire, having broken the code
for Cyrillic will not help the learner to read and understand Russian. Similarly,
breaking the code for English allows English-speakers to understand the English that
they already know but now written on the page. Because of lack of exposure to


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Russian                                                                 growing     up,
English-                                                                speakers lack
the                                                                     foundation of
                                                                        competency in
spoken                                                                  Russian,    just
like a Deaf                                                             person     (who
is pre-lingually Deaf) will at some point in their life (perhaps forever) lack the prior
foundation of competency for English.

       If one were a fluent Russian speaker, sounding out /ya ne ponimayu/ would be
instantly recognized as the Russian equivalent of “I don’t understand.” If the learner
knew a few words of Russian, like ne = not, he or she might even get part of the
meaning: ya not ponimayu. But the patchwork of understanding would be limited by
one’s pre-existing background in Russian vocabulary and grammar, which for most
people not raised speaking Russian is not much.

       Service providers cannot assume that because they have said something or
written something down (even if the receiver can pronounce it and repeat it back to
them), that the individual has understood it. Farside cartoons have played on severe
cases of this, but it is sobering to remember that just because we produced language
in speech or writing, it has not necessarily been understood as we think it has. It is
critical to remember the following Farside experience when looking at what a Deaf
person can and cannot read as well as what they do when they read aloud.

       When Deaf people read aloud, they often produce a sign for a word they know
(not always the conceptually accurate sign, but one with a similar spelling) and
fingerspell the ones that they do not. Their ability to fingerspell a word is simply the
ability to transpose (or code) written letters into fingerspelled letters of the English
alphabet. Fingerspelling does not indicate anything beyond the ability to code the
written word into fingerspelling—just as the English-speaker transposes Russian
Cyrillic into the pronunciation of unfamiliar Russian words and grammar. Ability to
fingerspell does not mean that an individual understands what they have
fingerspelled. It typically means that they did not. They can simply convert it from
one meaningless symbol to another.



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            It is also possible to buy a phrase book and memorize certain sentences like ya
   ne ponimayu and use them to say I don’t understand. This would work in specific
   contexts to convey information, but it would not foster understanding of each word’s
   significance or the sentence grammar. The phrases would be unanalyzable wholes—
   equivalent to learning a word, but not something that could be productively
   manipulated to make new words and sentences.

            Many Deaf people also have difficulty understanding syntax in the written
   English language. In most assessments of reading, vocabulary level is coupled with
   reading level. This is most blatantly evident in the San Diego Screening that will be
   discussed below. In fact, almost all reading tests are, at heart, vocabulary tests. They
   work on the premise that if one can recognize the vocabulary at a given grade level,
   they can read at that grade level. But, critically, the benchmark between someone at a
   third-to-fourth grade reading level and someone above that level has little to do with
   vocabulary. It concerns whether an individual can use syntax for reading
   comprehension. And if one has not mastered the grammar yet, they cannot use its
   syntax to understand sentences that they can “sound out.”



Misconception: If you know English well, you don't need interpreters
One of the hardest requests for accommodations for hearing service providers to wrap their
heads around are requests from the 8% of Deaf consumers, like Dr. Rowley for example, who
have proficiency in English, but do not have the sensory access (hearing) that allows them to
reliably access the spoken English in their environment.


Out of necessity, all Deaf people in the U.S. are expected to be bilinguals who may use
ASL for face-to-face communication but rely upon some form of English for written
communication in non-face-to-face situations or when spoken communication breaks
down. ASL does not typically have a written version associated with it,2 so many Deaf
individuals use one language for face-to-face communication (ASL) and another language

2
  There are written systems for signed languages. One such writing system is SignWriting (www.signwriting.org),
which codes signed communication into a written form, using a set of symbols (adapted over time from dance notation)
that capture handshapes, movements, facial expression, eye gaze and body posture. SignWriting is used internationally,
but its use is not widespread. It has very limited use in the U.S. As with any written system, while it can be re-produced
from the written form, understanding it depends upon already knowing the signed language that is written.


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for written communication (some level of English). However, as stated earlier in this
report, fluency in English is often more challenging for Deaf individuals because of lack
of access to the spoken English around them and poor educational upbringing, often
resulting from conflicting philosophies in Deaf Education. As a result, there is a significant
majority of Deaf people who remain at a third-grade reading level all of their lives. This is
below the point where students finally transition from “learning to read to reading to
learn.”


It is beyond the third-grade reading level that students use syntax (sentence grammar) to
decode meaning, rather than relying upon expectation. For example, you don't need
syntax to understand the meaning of The dog bit the mailman or even The mailman was bitten
by the dog. You can use your word knowledge and world knowledge to predict the
intended meaning. However, to successfully decode and understand The dog was bitten by
the mailman (an unexpected event), syntax needs to drive the interpretation of the sentence.
One cannot rely on other strategies like expected events.


Since many individuals who are Deaf haven’t learned how to read with full efficacy, the
skills needed to read to learn aren’t present and English usage remains low. Yet, 6-10% of
the Deaf population are born to either one or two Deaf parents themselves. This small
percentage is more likely to have full communication access from birth since they can
share their parent’s signed language. The chances for this portion of the population (Deaf
parented Deaf individuals) to be balanced bilinguals in both ASL and English is much
higher than for the rest of the Deaf population.


Being a balanced bilingual means that one will navigate both ASL and written English
with much more ease than other Deaf people. Yet, sensory access to spoken language still
remains out of reach for these people despite being balanced bilinguals. Having
competency in written English does not mitigate the need for an interpreter, especially
when people who can hear typically access interactive communication with their service
providers primarily through spoken communication instead of written communication.


For people who can hear, communicating in spoken language is less cumbersome, much
more efficient, and much more spontaneous than communicating through written


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language. The same is true for the use of signed language by Deaf people whose primary
and preferred language is ASL. While a Deaf signer who is a balanced bilingual in ASL
and English might be accommodated by CART (Communication Access Real-time
Translation; where a trained stenographer types the message and it appears for the Deaf
person on a computer screen), this would be a secondary preference because it also
requires scheduling and compensation for the stenographer (similar to contracting with
an interpreter) and tends to require attention to the computer screen, distancing the Deaf
person from direct interaction with their interlocutor(s), especially in meetings with more
than one person. CART can be preferred by such individuals in some classes or meetings
where precise access to the exact English form is prioritized over personal interaction.


One might think that another logical alternative is to just write back and forth. Before
embracing that option, think for yourself whether you, as a consumer would want to have
your interactions with your service providers exclusively via writing back and forth.
Would the interchange be truly parallel?


When written communication is expected to be used as the primary form of
communication, law enforcement personnel and other individuals tend to rush through
and reduce how much they write, since the time needed for writing is much more labor
intensive and time consuming than for a spoken language interchange. As a result, the
Deaf person is shortchanged from a full discussion on the legal issues. This often leads to
the Deaf person “being left in the dark” due to communication limitations.


Setting aside a variety of disincentives to writing back and forth including less use and
proficiency with script and more reliance on printing as well as the fact that only a small
percentage of Deaf people read English with native-level proficiency, requiring additional
probing for understanding, clarification, and contextualization and expansion of
information, the law enforcement domain still presents many obstacles for Deaf people
when relying only upon written communication.


The legal system is very difficult to navigate even for a hearing person who may not know
all the necessary vocabulary or expected rules of behavior. Even a Deaf person with fluent
ASL and competent written English may have a low fund of knowledge in this area. Part


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of acclimating to such settings, learning how to behave, as well as much information
comes from a fluid interchange with the people around them and from overhearing the
interactions of others as well.


Deaf balanced bilinguals are also much more likely to have received more academic
training. And, with this education level, they want to understand legal issues they may
have in more detail. They will ask more questions and expect more detailed answers. This
takes more time in a back and forth interchange. Writing takes a long time and as a result
people on both sides of the dialogue tend to share less information. This leads to
frustration from both parties and curtailed communication. As a result, a Deaf person
restricted to reading and writing will not be able to share and access as much information
as a hearing person interacting with a hearing service provider using speech.

Background on American Sign Language

       In addition to the misconceptions addressed above,           a very common
misconception is that American Sign Language is just a manual coding of English
on the hands. This is not true. American Sign Language and English are two
completely distinct languages that are mutually unintelligible and do not even fall
into the same typological categories the way French Italian, and Spanish (Romance
languages); or English, German, and Dutch (Germanic languages) do. They
grammatically differ in how they mark subjects and objects, in how they ask
questions, make relative clauses, order information in the sentence, mark gender on
pronouns, omit versus require pronouns in subject position, use prepositions, mark
verbal aspect (duration, iteration, etc.), tense (present, past, future), as well as
adverbials (carefully, recently, etc.). They are as different from one another as
English is from Russian, for example—even more so. In fact, in terms of language
typology they fall into even more distinct typological classes. English (like German,
Spanish, French, and even Russian) is an isolating language that tends to express
information in a sequence of isolated words configured in a particular sentence
order relative to one another. There is a limited morphology in English that typically
adds suffixes to words to indicate person, number, and tense. American Sign
Language (like many of the Native American languages (e.g. Algonquian languages,



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Greenlandic Eskimo, etc.), on the other hand, is a polysynthetic language, with a
complex verb-internal morphology that can express via a single word the same kind
of information that entire sentences in English convey. These languages differ not
only in the modalities in which they are expressed (auditory versus visual) but also
in way words are formed, sentences are arranged, and syntactic signaling of
questions, conditionals, relative clauses, topics, and other constructions are done.

       An interpreter needs to take the input from one language, understand it, and,
concept for concept, convey that information in the grammatical forms of another
language. Consider some interesting points of confusion for a hearing interlocutor
observing ASL. The examples given in this section are characteristic of ASL and not
taken from the evaluated plaintiffs in particular. The remaining examples in the
individual assessment sections are taken from the evaluated plaintiffs directly.

Suppose a Deaf signer voiced concurrently with signing the following compound sign
GOOD^ENOUGH in ASL. The hearing interlocutor might assume that the utterance
meant “sufficient, fine” when instead it means “barely adequate, with a lick and a
promise.”

In the following sign string, the letters a and b indicate locations in space used to mark the
beginning and endpoints of signs to allow establishment of a relationship between a noun
phrase referent (e.g., WOMAN or MAN) with a point in space (point a or point b). This is
accomplished in ASL by signing the noun phrase and then pointing (IX) to a point in space
(a, b, etc.). Later pointing back to those locations (IXa, IXb, i.e., pronouns) or verbs that
spatially move from or to these positions (e.g., bHITa) serve to indicate who did what to
whom. Because ASL also marks subject and object (more specifically, the indirect object
or locative object that has been incorporated spatially on the verb), many orders are
possible. The example below involves topicalization of the object, WOMAN, and the
subject MAN in an afterthought position. Information about subject and object in English
is conveyed through word order. The noun phrase before hit is the subject or agent; the
noun phrase after hit is the direct object or patient. If one were to voice the nouns and
verbs while signing the following grammatical sentence in ASL, a non ASL signer would
misunderstand the sentence’s intended meaning as “The woman hit the man,” but an ASL




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interpreter would have no problem ascertaining the correct meaning from the subject and
object agreement on the ASL verb: “The man hit the woman.”

       Concurrent mouthing/voicing: woman        hit              man
       ASL signing:          WOMAN IXa, hit,        MAN IXb
       meaning of glosses: woman at-point a person-at-point b-hit-person-at-
       point a MAN at-point b
       English Translation: “The man hit the woman.”

Obviously, if any factual determinations were being made here without the benefit of an
interpreter, dangerous misunderstandings would be possible.

Another potential language-based misunderstanding concerns grammatical facial
expressions marking wh-question sentences (those involving who, what, why, when, how,
etc.) and relative clauses. In spoken languages like English, facial expressions play little
role. In fact, for most people facial expressions serve in caricature (making faces) or in
showing affect (emotion). However, while these uses are relevant to ASL signers as well,
there are also sets of purely grammatical facial expressions that serve an essential
grammatical role in the language. Grammatical facial expressions are distinct from
affective facial expressions. However, for non-ASL signers for whom these expressions
have no distinct grammatical meaning, these expressions are similar enough to be
confused with affective facial expressions. Two types of questions are marked by specific
grammatical facial expressions: yes/no questions (questions requiring a “yes” or “no”
answer) and wh-questions (questions involving who, what, where, etc.). Yes/no questions
involve raised eyebrows and a forward projection of the head. Wh-questions involve
furrowed brows, a facial expression often also associated with the affective facial
expression expressing anger. Question facial expressions sometimes occur over a single
wh-word and other times spread across the whole sentence. In these spreading cases they
can be easily misunderstood by a non ASL-signing observer as affective in nature--in the
case of wh-questions as anger and in the case of yes/no questions as surprise.

We will offer a somewhat extended discussion of relative clauses in ASL as one example
of the nature of this language. Relative clauses in ASL are marked by a special facial
expression that occurs over the relative clause as in:
       rc_______________
       DOG CHASE CAT COME HOME
       “The dog that chased the cat came home.”


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Without the relative clause facial expression, the same manual string of signs would mean,
“The dog chased the cat and it [the dog] came home.” Or, it could mean “The dog chased
the cat and it [the cat] came home.” It all depends upon the spatial agreement on the verb.
       DOG[location a] [aCHASEb CAT[location b] aCOME[location of narrator] HOME
       “The dog chased the cat and it [the dog] came home.”

       DOG[location a] [aCHASEb CAT[location b] bCOME[location of narrator] HOME
       “The dog chased the cat and it [the cat] came home.”

If the verb COME agrees with the dog’s location in space (aCOME), the sentence
indicates that “the dog came home.” If it agrees with the cat’s location (bCOME), the
sentence indicates that “the cat came home.” Notice that the ASL word order is the
same in both sentences. Only the spatial agreement differs.

If we spread the relative clause facial expression over the first clause in each of the two
sentences above, we see an even more drastic difference between the grammars of English
and ASL, especially their word orders. Notice that the word order for ASL doesn’t change
at all, only the spread of facial expression and the spatial agreement.

       ________________________________rc
       DOG[location a] [aCHASEb CAT[location b] aCOME[location of narrator] HOME
       “The dog that chased the cat came home.”


       ________________________________rc
       DOG[location a] [aCHASEb CAT[location b] bCOME[location of narrator] HOME
       “The cat that the dog chased came home.”


If the facial expression spread instead over CAT COME HOME, the sentence would mean
“The dog chased the cat that came home.”

Relative clauses involve a tensing of the cheek muscles and a raising of the upper lip
spread over the relativized clause (somewhat similar to the English affective facial
expression for disgust). While very different from relative clauses in English, which
involve a movement of the relativized noun phrase to the head of the clause, creating a
complex noun phrase (e.g., The dog that chased the cat __; or The cat that the dog chased
__), the relative clause construction in ASL is within the range of possible relative clauses
that occur cross-linguistically. They are much like what is referred to as the “tonosyntax”



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of relative clauses in the African languages like Hausa, where a relative clause is marked
by a tone that spreads over the relative clause. In ASL, a facial expression is spread over
the relative clause without any change in word order or use of a complementizer like that
or which. The closest to what happens in English might be when instead of using the
question form of a sentence like Did he leave yesterday? we just use a change in intonation
to indicate what is called and echo question: He left yesterday?

We have presented this expanded example of relative clauses to make the point that
American Sign Language, and signed languages in general, are fully fledged members of
the class of human languages, with all the structure and complexity of any other language
in that class. We have used these examples to point out that ASL is a distinct language that
is typologically very different from English. To assume otherwise, as many individuals
unfamiliar with signed language may do, opens up the risk of serious communication
breakdowns.

The overlap of components of grammatical and affective facial expressions increased the
likelihood that non-ASL signers observing ASL conversations will misinterpret a signer’s
emotional affect. For example, the relative clause facial expressions discussed above have
been reported to be confused by non-signers with the facial expression for disgust.
Interpreters circumvent this misunderstanding by conveying the signer’s actual affect in
their voice quality and by explaining the role of grammatical facial expressions if such a
misunderstanding were still to arise.

Another potential difference is the fact that ASL is a “null subject” language. This means
that in cases where the reference is recoverable from context or from agreement on the
verb, subjects may be omitted. In fact, it is stylistically preferable to omit them. Note the
missing referents (labeled as “[e]”) in the following passage:

       [e] TAKE [e]. [e] THINK-BUBBLE-OPEN(imagine) [e] FLY [e] TAKE
       THINK-BUBBLE-CLOSE
       'He (Mr. Koumal) took them (the feathers) and he imagined himself flying.'

       [e] CLIMB-UPWARD++ [e] JUMP-OFF [e] [e] FALL-DOWN-right, down
       'He climbed upward on the mountain, jumped off of it and he fell down.'




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High Context and Low Context Discourse. How individuals express information can
vary based on their language and culture. We mentioned earlier how ASL and English
differ in backchanneling and how understanding of the message is conveyed. Let’s
consider a difference between the typical deaf and hearing experience. Hearing
individuals are bombarded throughout their day with information about news events and
popular culture by radio, TV, overhearing of casual conversation, newspapers, etc. As a
result, when hearing people communicate, they presume a great deal of shared knowledge
about current events and popular culture. Hearing people speak in abbreviated terms
because they presume this shared knowledge. Deaf individuals have less access to
information in the ambient environment. They must actively seek it out and definitely
miss the redundancy of hearing every issue mulled over numerous times in the passive
overhearing of others’ conversations. A consequence of this is that in introducing a new
topic or answering a question, there is a tendency for a deaf person to go to great lengths
to establish the background and context of the new information to be conveyed. An
answer to a yes/no question can get a prelude that at times seems to the hearing person
like an autobiography or daily diary of events as the signer contextualizes their response.
If interpreted verbatim, it comes across as overkill. Frequently, the deaf person's response
is cut short on the assumption that there is too much irrelevant information and the
response is taken to be a non sequitur. In contrast, a hearing person’s conversation comes
across to a Deaf person as curt, often sketchy--sometimes as the intentional withholding
of information.

In social interactions, similar presumptions can leave a Deaf participant feeling left out.
Hearing people presume that individuals present at an event can get the gist of what’s
going on from passive observation and monitoring of the proceedings. But, hearing the
conversation and having a context for what is being said is crucial to this process. Thus,
without a concerted effort to include Deaf participants and fill them in on what is
happening, they will remain in the dark.




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General Background on Interpreting

When is an interpreter needed? Deaf individuals are likely to request an interpreter in
situations where they are anxious to be sure that they are able to share and have addressed
all their concerns. In the case where Deaf individuals do request clarification on points
missed (when they can determine this), a tension can arise between the hearing person
and deaf individual as a result of added time, effort and frustration in the communication
context. This is a situation most Deaf individuals are all too familiar with. It adds to the
stress of the situation because the Deaf individual fears that the services that they receive
may be compromised or withheld as the result of a negative rapport with the service
provider.

The best rule of thumb is to take a Deaf person's request for an interpreter as a valid
indication of need. They know themselves well and know best where communication
breakdowns and unreliable communication are likely to occur. It is also important for
service providers to recognize they need reliable communication as well and if they sense
that communication is not happening, even if the Deaf person does not request one, that
an interpreter should be offered. We would not hesitate to do so if the other person were
speaking Chinese or French and we don't understand them or they don't seem to be fully
understanding us. Not doing so with ASL can follow from the misconception that ASL is
“English on the hands” or the assumption that ASL is not a language—both invalid
assumptions.

In addition, the Deaf individual is in the best position to determine that a particular
interpreter, interpreting team, or other accommodation may not be a good match for them.
They may only be able to explain this as, “I don’t understand,” but they know a
breakdown is occurring.

Interpreting and Credentialing of Interpreters:

In this section, we will review the range of credentials that can be encountered when
seeking interpreters. Not all of these credentials would indicate an appropriate interpreter
match for a law enforcement situation. However, it is important to review the range of
credentials that exist because any of these may be listed as a “certified” interpreter.



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So, in law enforcement or legal contexts where rights, obligations, or rules may be
discussed, and where there is a possibility of arrest or incarceration or other related power
dynamics at play, it is not only prudent to seek certified interpreters, but it is also
preferable to seek certified interpreters with a specialization in legal interpreting.
Regardless of the setting, if the individual’s fund of knowledge is limited, or their signing
is compromised or atypical, not every interpreter may be a reasonable match. It would be
best in these circumstances to consider a Deaf/Hearing team, which includes a Deaf ASL
interpreter familiar with a much wider range of signing variation in ASL. If the person’s
communication is indicative of severe language deprivation bringing in a Deaf ASL
interpreter may not offer the best match—a visual/gestural specialist as opposed to an
ASL interpreter may be a better match. Sometimes it takes feedback from the Deaf
consumer, recognition by an interpreter that they are not the appropriate match, and
access to resources the interpreter or interpreting agency can offer to get the right match.

Finding the right interpreter can be a bit like buying clothes. Most people can buy right
off the rack. Others need their clothing altered, or even custom made. Once the consumer
tries it on, they can feel and see if it’s a good fit. Sometimes, they have to send it back and
try something different. Sometimes the person keeps the item, tries to make do with what
they got, but it doesn’t quite work. Other times they can’t figure out how to return it and
it just hangs in the closet unused. The latter would be the Deaf person nodding even
though they aren’t understanding.

There exists in the United States the National Registry of Interpreters for the Deaf (RID,
Inc., 333 Commerce Street, Alexandria, VA 22314; www.rid.org). Until 2016, this body was
responsible for the evaluation, certification, and professional maintenance of interpreters
nation-wide. Since 2016, RID has shifted responsibility for evaluation and certification to
an independent entity and remains focused upon being a registry of interpreters and
documenting professional maintenance of signed language interpreters nation-wide. In
June 2016, RID established the Center for Assessment of Sign Language Interpretation,
LLC (CASLI) to take over the ongoing development and maintenance of credentialing
exams. The change-over to a new credentialing system and the development of new
credentialing tests has been slower than expected and has been slowed even more by the
COVID 19 pandemic.



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In 2016, the Specialist Certificate Legal (SC:L) and The Oral Transliterator Certification
(OTC) examinations were discontinued. In addition, as of 2016, there is a moratorium on
the Educational: K-12 certification (ED:K-12), although the qualifying assessment, the
Educational Interpreter Performance Assessment (EIPA) is still offered. Previously
passing the EIPA knowledge exam and a score of 4.0 or higher on any one of the six
performance exams plus an education requirement of a BA or higher was recognized by
RID as ED:K-12 certification. There is a moratorium until RID establishes a set of criteria
for recognizing tests other than those developed by RID. Once these criteria have been set,
the ED: K-12 as well as other non-RID developed tests like the BEI (discussed below) may
be recognized and added to the list of certifications. All previously awarded certifications,
such as ED: K-12 and retired certifications, are still recognized by RID.

Passing the RID certification generalist test (CI and CT; CSC; or RSC for Deaf interpreters)
or the current RID/NAD National Interpreter Certification (NIC) test or the CDI test for
Deaf interpreters assures the minimum standard skills in American Sign Language and
English, the interpreting process, and ethical decision making to adequately interpret.

The CDI written test is currently available, and a new performance test is under
development. Both the NIC written test and performance tests are currently available,
however, a new performance test is expected to be released in a few month (depending
upon COVID-19 delays. The CI and CT tests, as well as the previous CSC (Comprehensive
Skills Certification) and RSC (Reverse Skills Certificate; focusing specifically on
interpreting skills from ASL into English) are no longer offered. The NAD test is also no
longer administered. All prior certifications are still recognized.



Certifications for interpreters who are Deaf. It is generally accepted in professional
spoken language interpreting venues that an interpreter interprets into their A (native)
language, not their B (second) language.3



3
 Seleskovitch, D. 1968 L’interprète dans les conférences internationales, problèmes de langage et
de communication, Paris, Minard Lettres Modernes, 262 p., 2ème édition 1983. Translated
into English as Interpreting for International Conferences. 2nd revised edition, Washington
D.C, Pen and Booth, 1994.


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In high stakes spoken language interpreting (typically interpreting in international
conferences), when native fluency cannot be assured on both sides of the interpreted
exchange by a single interpreter who is a balanced bilingual with native-level fluency in
both the languages in use, a second interpreter is brought in and as a team the two
interpreters provide native-level services. Beyond conference interpreting, there are cases
where spoken language interpreters are weaker in one language than another.


When a Spanish, Somali, or Chinese interpreter is brought in to a healthcare encounter or
law enforcement situation, that interpreter is typically strongest in the language used by
the patient as opposed to the majority language (English) used by the dominant language
user—the healthcare provider or law enforcement officer. As a result, the service provider,
as the receiver of the weaker language interpretation, is in a position to monitor the quality
of the interpretation and request a change in interpreter if necessary. Such requests are
usually heeded since the service provider has more influence within the situation than the
patient does.


The field of sign language interpreting is not unique in also having many practitioners
who are natively fluent in only one of the languages they interpret between. However,
they are unique in the fact that the interpreter’s weaker language (ASL) is typically the
one used with the minority culture patient and not with the service provider. As a result,
it is the Deaf consumer rather than the hearing provider who is best able to monitor the
quality of the interpretation. However, the Deaf consumer does not typically wield the
same power and influence in an institution as a service provider working for that
institution would. As a result, sub-par performance is harder to detect and less readily
acted upon.

To reiterate, service providers who can hear and speak English as their primary language
expect native-level interpretation into English. In the case where spoken language
interpreters are not balanced bilinguals, their weaker language (or B language) is typically
used with the service provider, who is typically a native speaker of the dominant
language. This means that the doctor or nurse, lawyer or police officer, or any other
consumer from the dominant culture has the ability to monitor the effectiveness of the
interpreter working into their weaker language. This is typically not the case in


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interpreting situations involving signed language interpreters. Most sign language
interpreters are members of the dominant culture and native speakers of English. Most
are second-language users of ASL and have learned it in adulthood. Hearing service
providers hear an interpreter working into their native language (English) and can only
monitor for short fallings in the ASL interpretation to Deaf consumers via non-sequiturs
from their Deaf interlocutors. This difference in the experience of dominant language
service providers is significant and speaks strongly to the need for service providers to
take special heed of the feedback from Deaf consumers regarding the effectiveness of the
interpretation.

The only way to assure native-level interpretation to Deaf consumers is to use interpreters
who are balanced bilinguals (typically Deaf parented interpreters) or to use a team of a
certified Deaf interpreter as the interface with the Deaf consumer and a native speaking
hearing interpreter as the interface with the service provider. Consumers of ASL/English
interpreting services, particularly from interpreters not vetted via credentialing in their
language and interpreting skills, need to be aware of this potential imbalance in language
proficiency and cognizant of the fact that what their consumer is receiving could be
considerably less fluent and culturally matched than what they themselves are receiving.

Those of us who are hearing expect native-level interpretation into English. And most of
the time, we get it, even in encounters with ASL/English interpreters, since most of these
interpreters are native speakers of English. Even if the interpreter had issues with
comprehending the ASL, what comes out in English at least sounds good to us. We are
less able to recognize when the interpretation isn’t working for the Deaf consumer.

Interpreter Credentialing:

The overview of interpreting here covers the range of interpreter credentialing broadly.

Certifications for Interpreters who are Deaf. Interpreters who are themselves Deaf and
hold the RSC or CDI certification are critical to the provision of linguistically and
culturally effective interpreting services. Deaf interpreters have an intimate familiarity
with Deaf culture and are recognized by Deaf consumers as sharing their culture. They
are also more likely to be heritage language users who have native-level proficiency in
ASL. They have grown up with ASL and intense interaction with the Deaf community (in


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school as well as in social interactions). As a result, they are familiar with a much wider
range of dialects and idiolects of ASL as well as greater familiarity with using non-
linguistic gesture for communication with individuals without a formal signed language
in their repertoire, with atypical signing, or whose fund of knowledge in all or in some
specialized contexts may be low. Deaf interpreters are skilled at bridging the
communication gap for these individuals with atypical communication or limited world
experience.

Deaf interpreters are also more adept at providing an ASL interpretation that provides a
native-level rendition of the target signed language and are preferred especially in high
stakes situations in medical, legal, academic, or professional settings where emotions,
stressors, or demands may be high. These are situations in which Deaf consumers need to
focus their attention on processing and comprehending the information being conveyed
without the hindrance of compensating for the less nuanced ASL interpretation of a
second-language user of ASL. The less schema (background knowledge or experience) a
consumer has in a given setting, the more essential it is to have interpretation that achieves
a native level of expression on both side of the communication equation. Notice that
currently emergency broadcasts for high stakes situations (natural disasters, the COVID-
19 updates and advisories, etc.) are more often being interpreted by Deaf/Hearing
interpreting teams. The person the public sees on screen signing alongside public officials
is, in most cases, a Deaf person working in concert with a hearing interpreter that is
signing the information to them which they then assure is being transmitted in fully
grammatical, native level, ASL signing.

Research has shown that individuals in pain, stress, or emotional duress actually exhibit
a reduced ability to process language input. Studies by Elizabeth Bates and her colleagues
tested language proficient elderly individuals pre- and post-hip replacement surgery and
showed that individuals who tested as fluent processors of spoken languages pre-surgery
exhibited evidence of aphasic (severely language deficient) processing in the extended
painful period of recovery post-surgery.4


4
  Blackwell, A. &, Bates, E. (1995). Inducing agrammatic profiles in normals: Evidence
for the selective vulnerability of morphology under cognitive resource limitation.
Journal of Cognitive Neuroscience, 7(2), 228-257.


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The same has been found for individuals with clinical depression. Patients with medical
appointments tied to potentially serious medical prognoses are often encouraged to bring
along a friend or family member that can better process the information and support the
patient at such difficult times. Under stress, when in pain, or in situations where the
information is dense, complex and unfamiliar; the cognitive resources needed for an
individual’s language processing are diverted to coping with the stressors at hand and
language processing is compromised. In such situations the language provided must be
natively fluent and adapted to the individual’s processing needs. Dr. Shepard-Kegl, who
works frequently in high stakes medical and legal settings, often finds that the same
individual she may work with alone in community or low-stakes settings may well require
a Deaf/hearing team for effective communication access in high stakes situations.

Currently, Deaf interpreters can hold the generalist CDI certification, the older Reverse
Skills Certificate (RSC; retired), or the Specialist Certification: Legal (SC:L; retired) from
RID. RID no longer offers or recognizes the Conditional Legal Interpreting Permit-Relay
(CLIP-R) or the Provisional Certified Deaf Interpreter Certification (CDI-P) that offered a
temporary legal certification without a credentialing test to Deaf and hard of hearing
interpreters who met stringent training and mentoring requirements without having a test
available. They do, however, currently offer the Provisional Deaf Interpreter Certificate
(PDIC) to qualified Deaf individuals until the new CDI performance test is released.

Certifications for interpreters who can hear. When first introduced, the RID National
Interpreter Certification (NIC) had three levels of achievement: NIC, NIC-Advanced, and
NIC-Master. The NIC was considered the minimal level of skill needed to interpret. NIC-
Advanced (like the old CSC) recognized a higher level of achievement on the same test.
NIC Master did not recognize a yet higher level of achievement in interpreting skill than
that recognized by NIC-Advanced; rather, it recognized a higher level of achievement
both in interpreting skill and in ethical reasoning. While the test was psychometrically
valid, there was a lot of concern among the membership that a test developed to assess


Dick, F., Bates, E., Wulfeck, B., Utman, J., Dronkers, N., & Gernsbacher, M. (2001).
Language deficits, localization and grammar: Evidence for a distributive model of
language breakdown in aphasics and normals. Psychological Review, October 108(4): 759-
88.



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the minimal level of skill needed to interpret should also be used to also document higher
levels of skill. In response to much argument, on December 1, 2011 the three levels of
attainment on the NIC test were discontinued and a revised single-level version of the
NIC was introduced that remains to date a test of the minimal skills required to interpret
in the field. This test will soon be replaced by a new version with the same assessment
goals.

At the National Convention of the Registry of Interpreters for the Deaf in Atlanta, Georgia
in 2011, the RID gave the reasons for making the NIC a single-level test and intentions in
the future to develop completely independently a second level test (NIC II) that would
assess interpreters at a higher level which would qualify them to seek specialist
certifications in areas such as legal and medical. This second level of testing has not yet
been implemented, nor has the means by which future specialist certifications will be
handled, e.g. via testing, portfolio submission, etc. However, there are Task Forces at work
addressing such issues. Should new credentialing mechanisms be introduced, all
previously awarded credentials will still remain valid.

A few other forms of national credentialing, other than RID Certification, are also
recognized by the Registry of Interpreters for the Deaf. The two most prevalent are the
National Association for the Deaf Certification (NAD III-V) and the Educational
Interpreter Performance Assessment (EIPA) with a score of 4 or above out of a possible 5,
plus successfully passing the EIPA Knowledge Exam.


NAD Certification. The NAD Certification test is no longer given, but it is still recognized
as certification and RID maintains NAD certification for interpreters who continue to
acquire the required number of approved Continuing Education Units (CEUs) every four
years. The NAD test has five assessment levels: Level I (Novice I), Level II (Novice II),
Level III (Generalist), Level IV (Advanced), and Level V (Master). The three certified levels
are described as follows:

         Level III (Generalist) The individual who attains this level possesses above average
         voice-to-sign skills, and good sign-to-voice skills, and demonstrates the interpreting
         skill necessary for some situations.




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      Level IV (Advanced): The individual who attains this level possesses excellent
      voice-to-sign skills and above average sign-to-voice skills, and demonstrates the
      interpreting skill necessary for most situations.

      Level V (Master): The individual who attains this level possesses superior voice-to-
      sign skills and excellent sign-to-voice skills, and demonstrates the interpreting skill
      necessary for just about all situations.

NAD certification cannot really be compared with the RID certification. It came about at
a time when RID was offering separate certification for Interpretation (CI, working into
ASL as a target language) and Transliteration (CT, working into Conceptually Accurate
Signed English as a target language). Being certified as a CI or CT reflects completely
disparate skills. Transliteration may not be appropriate for many ASL signers, just as ASL
Interpretation may not be suitable for signers more familiar with heavily English-
influenced or English-based forms of signing. NAD took the position that while an
interpreter may favor one or the other, they should have the ability to serve both types of
signers. This shift in priority is reflected in the current NIC assessment that RID and NAD
developed in collaboration. A characterization of the skill levels of NAD tested
interpreters appears below:

      Level 1: POOR/MARGINAL PERFORMANCE
      This person demonstrates very little skill on a given task; scattered phrases
      or concepts may be completed correctly but the person has trouble
      conveying smoothly all that is voiced or signed. Misses more than is
      acceptable, pauses too often; demonstrates jerkiness and lags too far
      behind. May fingerspell too much, use conceptually incorrect signs, or
      demonstrates distracting mannerisms. Not at all ready to interpret.

      Level 2: BELOW AVERAGE PERFORMANCE
      This person may demonstrate ability to facilitate communication on a basic
      level but unable to complete task according to generally accepted
      interpreting standards; may do well in some parts, then do poorly in other
      areas. Exhibits weakness, i.e.: too much deletion, too much fingerspelling,
      and use of conceptually incorrect signs. May demonstrate reasonably good
      ability in voice to sign interpreting in straight English interpreting
      situations but fare poorly in sign to voice situations where reliance on ASL
      may be necessary. Might be of some assistance in a simple one-on-one
      situation where only manually coded English would be required.

      Level 3: AVERAGE PERFORMANCE
      This person demonstrates good interpreting abilities; skill shown is
      acceptable   in     meeting      generally    accepted      interpreter
      standards. Occasional words, or phrases may be deleted in order to keep


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       up with speaker or signer, but the expressed concept is
       accurate. Performance is generally accurate and consistently so; and
       someone you would feel reasonably comfortable with in most interpreting
       situations.

       Level 4: ABOVE AVERAGE PERFORMANCE
       This person demonstrates above average skill in any given
       area. Performance is consistent and accurate. Fluency is smooth, with very
       little deletion, and the viewer has no questions as to the candidate's
       competency. Should be able to interpret and interpret well in any situation.

       Level 5: SUPERIOR PERFORMANCE (IF NOT A NATIVE USER, THEN
       COULD ALMOST PASS FOR ONE) This person demonstrates excellent to
       outstanding ability in any given area. Performance is practically without
       flaw and this is the person you would go out of your way to seek to
       interpret for you.

While all three upper NAD certifications are recognized, in actual practice (job
descriptions, various qualifications, etc.) NAD IV and NAD V are recognized as being in
the same ballpark as having both a CI and CT or having the NIC. A person with only NAD
III is characterized as demonstrating “the interpreting skill necessary for some situations.”
Some is the relevant word here. NAD III interpreters would not be considered ready for
specialized interpreting venues requiring advanced level skills such as legal and medical,
or even for many community jobs. The level III certification exists because NAD,
representing Deaf consumers, felt that one thing lacking was a certification that
recognized beginning level interpreters identified by members of the Deaf community
able to handle some assignments vetted as appropriate by Deaf consumers. NAD III fills
that void, but is not intended as approval of these interpreters for all situations.


The Educational Interpreting Performance Assessment (EIPA).                  The EIPA was
developed as a means of assessing educational interpreters working in K-12 settings.
There are five levels of skill. Like the NAD test, the first two levels are not really
considered interpreter ready. There are some states that accept a 3.0 for working
educational interpreters, but most states require a 3.5 or above. A study was done by EIPA
to see what level on the EIPA was achieved by certified interpreters and they found that
a level 4 or above was typically achieved by RID certified interpreters taking the EIPA test.
Of course, this also depends upon familiarity with working in K-12 settings. The RID
recognized passing the EIPA written test plus scoring at a 4 or above on the performance



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test of the EIPA to satisfy the certification requirement for educational interpreting in K-
12 settings. Until 2016, RID awarded the ED:K-12 certification to interpreters who could
document these achievements on the EIPA. Educational interpreting is a specialized
domain of interpreting, so every certified interpreter would not necessarily have the
background and skills necessary to work in K-12 settings; nor would all interpreters with
an ED:K-12 certification be qualified to work in community settings. In addition, the EIPA
assesses an interpreter’s ability to work with school age children, still in the process of
academic development and language acquisition. The RID tests to date have not assessed
the ability of interpreters for interpret for children.

Like educational interpreting, medical and legal interpreting require specialized
experience and knowledge.

Medical interpreting has never had a specialized certification from RID. There is a written
test through the International Medical Interpreters Association (IMIA). While IMIA has a
commitment to developing a performance assessment for each language, they have only
developed tests for a handful of languages thus far and are exploring ways to certify the
other languages, either through tests or a portfolio system demonstrating competencies.

Recently, after analyzing feedback and market research data and in consultation with two
nationally recognized psychometricians, the Certification Commission for Healthcare
Interpreters (CCHI) has recognized the CoreCHI (Core Certification in Healthcare
Interpreting) as on a par with core or generalist certification in other professions. Testing
for this certification is now offered to all medical interpreters working between English
and any other language, including ASL. The exam requires documentation of prior
experience in general interpreting as well as language proficiency and tests medical
interpreters on specific knowledge in the medical setting as well as:

       …critical thinking, ethical decision making and cultural responsiveness skills
       needed to perform the interpreter’s duties in any healthcare setting.

       CoreChi certification also allows all hospitals, health systems, and healthcare
       providers to show their compliance with The Joint Commission’s interpreter
       qualifications    requirement     and    National      CLAS      Standard    7.
       (http://www.cchicertification.org/news/corechi-announcement).




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Specialization of Legal Interpreters. Until 2016, RID offered a certification in legal
interpreting, the Specialist Certificate: Legal (SC:L). It is currently a retired certification
because the testing materials had become outdated and because of fiscal concerns. RID
has been working to assure that all the generalist certificates for Deaf and hearing
interpreters are updated and available. However, there is a recognition among legal
interpreters and the RID that some credentialing for legal interpreting is needed, and there
is currently an RID Task Force exploring what a new credentialing would look like—an
updated test, a portfolio of evidence of training, experience, and familiarity with the
domain. Some states like Maine, had laws that required interpreters to have an SC: L to
interpret in legal and quasi-legal situations. Some of these laws had to be adapted when
the SC:L was retired. Other states have no certification requirement whatsoever.

Nonetheless, interpreting in the legal domain requires very specialized training and skill.
Typically, interpreters don’t move into this area before they have been working as a
credentialed interpreter for at least five years, although Deaf interpreters often start sooner
because of the limited supply.

What does it mean to be a qualified interpreter? Under federal law applying to sign
language interpreters, a “qualified interpreter” must be effective, accurate, and impartial.
While a qualified interpreter, under the law, need not be certified, one reliable way to
assure quality is to rely upon certified interpreters, who have a specific documented level
of skills and are bound ethically not to accept work for which they are not qualified. Even
the most credentialed interpreter may not be qualified for some assignments. They may
be unfamiliar with the content, they may have a conflict of interest (whether in their own
eyes or in the view of others), or they may have a relationship with the consumer that
could compromise their ability to remain impartial.

It is important to remember that part of being qualified as an interpreter is knowing when
one is not an appropriate match for a given consumer or situation. Perhaps the most
important duty of an interpreter is to inform consumers when interpreting is not working.
A certified interpreter is expected to be conscientious and discriminating in the
assignments that they accept, to know when they are or are not qualified to interpret,
when to call in a team, when the situation requires a Deaf interpreter teaming with a




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hearing interpreter, when the situation requires a legal interpreter, and a host of other
decisions.

No two Deaf individuals sign alike. As with English speakers, there exist a variety of
idiolects, ranging from dialects of formal ASL to an infinitely varying continuum of
contact signing forms of English-influenced forms of ASL or ASL-influenced forms of
spoken or written English. Because 90% of deaf individuals come from hearing, English
speaking families, their exposure to both English and ASL can vary greatly, yielding the
potential for many cases where deaf individuals command only a partially fossilized form
of the target language in question. They may be native speakers of neither, and
interpreters are experienced in finding the communication mode best suited to their
production and comprehension skills.

Hearing service providers have greater and lesser degrees of familiarity in interacting with
Deaf interlocutors. Professional interpreters (both hearing and Deaf) are skilled at
facilitating these interactions and assuring that communication is indeed happening; and
if it is not, calling in the appropriate interpreting resources needed.

Interpreters are also bound by a strict code of conduct that assures their professional
behavior (demeanor, confidentiality, self-evaluation of ability to perform the interpreting
task, etc.) in all interpreting situations. One important characteristic of a certified
interpreter is the ability to determine when and if their skills are not up to the task and the
professionalism to withdraw from the interpreting situation and calling in an individual
or interpreter team with the appropriate background and skills.

Video Remote Interpreting (VRI)

Traditionally, ASL/English Interpreting has been provided face-to-face. However, with
continuing development of internet technology, a remote form of interpreting has
developed. Video Remote Interpreting (VRI) uses videoconferencing technology where
one individual, typically the interpreter, is at a different location than the consumers. In
contrast to Video Relay Services (VRS), which are highly controlled by the FCC and
require that the hearing and Deaf consumers be at different sites, VRI frequently uses a




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remote interpreter to facilitate communication between deaf and hearing consumers that
may be at the same site.

It is useful to step back in time and review the technology out of which VRI arose. Our
information here draws crucially on conversations with Douglas Newton, CSC, SC: L,
former director of Pine Tree Interpreting Services, a non-profit referral agency in Maine.
Maine has seen the early appearances of this technology and can see its applications in
other rural areas as well. Mr. Newton had one of the earliest grants to set up and study
the initial use of Video-based interpreting in Maine. This service was offered locally via
the same interpreting pool that was serving Deaf individuals face-to-face.

Telemedicine has always paid special attention to the reliability and resolution of the
video technology used with patients.

                           Notice in the picture to the left the size of the screen, the
                           attention to lighting, the remotes that can move video angle
                           and focus at both the local and remote site, the wheels that
                           allow for “portability.” The videoscreens used in telemedicine
                           are large with high resolution. Maine uses dedicated double
                           DSL lines that can send and receive data at a very rapid pace
                           to avoid freezing and dropped signals. Over 30 years ago,
                           when telemedicine was introduced as the remote link between
                           doctors and patients, it was hospital and healthcare
                           professionals that set the standards and best practices for
                           remote communication. Those standards are not substantially
                           different from what Deaf patients are expecting today when
                           accessing communication with their doctors via remote means.
Doctors addressed the need for quality equipment, training on that equipment, regular
testing of the equipment to assure it was in working order, equal pay for doctors providing
remote consultations, and the remaining need for contact (touch) on site.

The following link provides access to a news article by Barbara Kermode-Scott in the
Canadian Family Physician, vol. 11, July 1995 that gives a feel for the issues at the time:




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http://www.ncbi.nlm.nih.gov/pmc/articles/PMC2146174/pdf/canfamphys00089-
0131.pdf

The regulations regarding the bandwidth at which video signals are transmitted was set
for medical and educational situations with needs for transmission and reception of high
resolution signed language communication in mind. So, early on, even when remote
access to medical care was directly between doctor and patient, great care was taken to
assure the quality, both technologically and human, of those remote medical encounters.
Part of this awareness is recognizing when remote communication is not working. A
standard practice paper on VRI has been published by the National Registry of
Interpreters for the Deaf (RID, Inc.):

http://www.rid.org/UserFiles/File/pdfs/Standard_Practice_Papers/VRI_SPP.pdf

This standard practice paper addresses a number of issues that are directly related to this
case. RID defines VRI interpreting, distinguishes it from Video Relay Services (VRS) that
are regulated by the FCC, and addresses the benefits and limitations of using VRI as a
delivery system for the provision of interpreting services.

This paper characterizes successful VRI sessions as follows:



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       Successful VRI sessions use qualified sign language interpreters who have
       linguistic competence, are experienced in settings for which they will work, and
       adhere to professional interpreting standards. Additionally, successful VRI
       sessions have shared understanding of the benefits and limitations of VRI, common
       elements of established meeting preparation protocols, training regarding
       equipment and videoconferencing protocols, effective environmental controls, and
       compatibility of technical set-up and connectivity.

We would also like to cite from this standard practice paper the following excerpt on the
Benefits and Limitations of VRI:

               When used appropriately, VRI has several benefits such as “providing easier
       and faster access to quality services, and effective use of fiscal resources.”
       [Lightfoot, 2006] VRI provides communication access for situations with an
       immediate need for interpreters. In addition, it meets interpreting demands when
       qualified on-site interpreters are not available, especially in rural areas where
       qualified interpreters are less accessible. VRI can reduce interpreting costs through
       fee structures and the elimination of travel and mileage costs.
               While providing a viable option for interpreting services, VRI is not a
       comprehensive replacement for onsite interpreting. In order to assure that equal
       access is achieved, the decision to utilize VRI should be made with input from all
       participants. VRI may not be appropriate for:
           • Situations involving high interactivity, such as multiple participants with
               less structured turn-taking protocols.
           • Situations with complex dialogic exchange, such as abstract philosophical
               exchange or dialogue with veiled intentions or multiple meanings;
           • Situations involving communications of a sensitive nature
           • Situations involving individuals with a secondary disability (e.g., low
               vision) that impedes their ability to use the technology.
       In addition, Deaf interpreters are recommended for situations involving young
       children, foreign-born individuals, and those who have underdeveloped language
       or who use idiosyncratic language patterns.


VRI is not to be confused with VRS (Video Relay Services), which is controlled by the FCC
and its use prohibited in settings where the Deaf consumer and the service providers are
at the same site. Video Remote Interpreting involves contracting with a company that
provides standard interpreting services (for a fee) but delivered remotely over a computer.
The decision to use Video Remote Interpreting (VRI) versus calling in an on-site
interpreter also requires discretion as to consumer and situation. VRI, while possible in
many situations, is not one-size-fits-all. VRI interpreters are as ethically accountable as on-
site interpreters in this regard. The final decision of whether remote versus on-site
interpreting is effective in any given situation with any given consumer cannot be a


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blanket business decision on the part of the institution. The consumers’ perspective and
the professional interpreters’ perspective are critical components in such decisions.


When an on-site interpreter is brought in, that individual usually has a “check in period”
to interact with the Deaf person and to understand the situation and that person’s signing
style before interpreting begins. This allows for a more accurate interpretation where both
the interpreter and the Deaf consumer are on the same page. There is also the likelihood
that that interpreter may work with the same client again. When using VRI, this “check
in” is frequently skipped and there is often little to no time for the interpreter to become
familiar with the Deaf consumer’s signing style or their concerns. Furthermore, when a
call is dropped the next interpreter to pick it up may be different and unfamiliar with what
has gone before. VRI is not as bad as VRS, where such preparation time is prohibited and
where any dropped call will result in a different interpreter.

The widespread use of VRI has been problematic for some Deaf consumers, especially
when there are existing factors that interfere with the interpreting process. Obvious issues
include technological interruptions such as firewalls, poor reception, blurred video, or
disconnected calls. Others include the nature of the interaction; namely, one-to-one
communication works better than group meetings or several individuals in a room, or
even multiple individuals hearing and signing coming into meetings from remote sites.
VRI interpretation can also be problematic with individuals who have vision loss, or with
individuals whose signing is atypical or who need the specialized services of a Deaf
interpreter (although some VRI companies have Deaf interpreters on staff). VRI is effective
if used appropriately, with discretion, and with dependable technology and signal
strength. The latter technological challenges have recently begun to be addressed more
rigorously.


Using reliable technology with high resolution and appropriately sized screens, there can
even be advantages to VRI at times, especially if an individual is in a very remote area
where legally trained interpreters or Deaf interpreters are in short supply. Georgia
currently has eleven (11) SC:L interpreters and four (4) CDIs to draw from across the state,
but there are three hundred twenty four (324) SC:Ls and two hundred ten (210) CDIs
nationwide. If arrangements can be made to have experienced legal interpreters and


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Deaf/Hearing teams working over VRI, rural clients may well be better served. However,
as Douglas Newton’s studies revealed, there is also an advantage to having legal
interpreters familiar with dialects within a state and the potential for the same team to
work with someone on a regular basis. Local agencies providing VRI services can match
clients better with local interpreters they know are a good match. One VRI method that
has been successfully used in some areas is to place a Deaf interpreter on-site with a
hearing team over VRI.


For high stakes situations, because of the effects that stress can have on comprehension, it
would be advisable to have an on-site team. However, as we are experiencing at present
in COVID-19 times, where face-to-face meetings may not be possible, or where masks and
social distancing may be necessary (masks hide the face, where much of ASL grammar
information is conveyed), the right match of a legal interpreting team to the Deaf
individual over VRI may be the best option. One positive side effect of the pandemic is
the fact that video technology as well as technological expertise among ASL/English
interpreters has definitely made some serious progress.


A year ago (pre-COVID; and note that the clients here were requesting interpreting
services Pre-COVID and continue to do so post-COVID), VRI interpreting (which was still
in its infancy) was plagued by a host of issues that often made its use problematic. The
pool of interpreters experienced with and willing to do VRI interpreting (as opposed to
face-to-face interpreting) was small and VRI interpreters specialized for medical, legal and
other specialties were few and far between. The equipment and infrastructure on the user
end for VRI interpreting was often old and outdated (small iPads or tablets with poor
video processing cards, recycled laptops, and even smartphones with very small video
screens), the internet sites were not using high speed processing, locations of the
equipment could be in places where a video signal was poor, and in institutions firewalls
designed to protect internet security often interfered with reception. As a result, video
reception on the user end became pixelated, frozen, and compromised. Frequently
connections could not be established or were dropped. The equipment was present, but it
was not in working order. The VRI systems were primarily designed for one-to-one rather
than one-to-many conferencing, so if there were more than two people in the room, VRI
interpreters would have a hard time seeing or hearing everyone involved and could not


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indicate who was talking when. The end user may have had the equipment on hand, but
the training on that equipment was often done quickly and, without repeated use, would
quickly be forgotten. Or worse, turn over would be high and the person originally trained
on the equipment would leave, and a new person would be at a loss in terms of how to
use it. So, much time would be spent in futile attempts to set up the equipment and connect
to the VRI service, and often the VRI device would be left in a room somewhere unused.
Maintenance on the equipment was unreliable and sporadic, and often maintenance
people would be unaware if they were dealing with an equipment problem or the lack of
facility of the end user to set up and use the equipment. Deaf consumers who were
becoming more familiar with remote interpreting in the context of Video Relay Services
or direct videocalls to friends via their high speed Videophones at home would be used
to a better signal than they were getting via VRI and would be less tolerant of bad
resolution and dropped calls, yet no better equipped to get things up and running than
the service provider would. The growing pains were great and there were rarely back-up
systems in place if VRI failed such as a second working system, quick access to an on-site
interpreter. Finally, having committed to a VRI system, there was often a one-size-fits all
mentality that encouraged the use of VRI for every interpreting encounter. This will not
work if the person is severely visually or cognitively impaired, has atypical signing or
problems viewing a videoscreen, lying down, incapacitated, compromised by medication,
among other factors. VRI always needs to be used with discretion.


Even a year ago (pre-COVID), we would have projected that in perhaps five years the
technology for VRI would catch up to the demands of ASL/English interpreting.
However, the current expanded needs for videoconferencing for education, business,
medicine, law, and industry for the hearing population in general have been a catalyst to
advancing the needed technology and working around the firewalls that previously
interfered with video signals. As a result, very recently the low incidence Deaf population
has benefitted from a more universal need for communication at a distance. Distance
conferencing has opened up the opportunity for numerous individuals at multiple sites to
meet and for interpreters and even captioners to be brought in as one (or more) additional
sites. It has been a very steep learning curve that is still in process, but interpreting
problems in videoconferencing like how to pin both the speaker and the interpreters, how



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interpreters can pin the speakers and Deaf consumers, how to make the interpreter larger
so they can be seen, even with screen sharing, etc. are being solved step by step.


Temporarily, because of the demands placed on us by the pandemic, there have also been
relaxations in FCC requirements regarding when VRS can be used to allow for
Telemedicine to be used in conjunction with Video Relay Services and not just VRI.
Regulations have been relaxed to allow for selected non-HIPAA compliant platforms like
Zoom and others to be used in medical settings and other settings (including, but not
limited to law enforcement settings) typically requiring special encryption. These are
suspected to be reinstated once the crisis has subsided.


Beyond one-on-one routine probation meetings, legal proceedings like depositions and
court can become very complicated when done remotely with remote interpreters. The
more people in the meeting, the more difficult the arrangements and the more risk there
is of a failure of technology. Interviews Dr. Shepard-Kegl has done with legal interpreters
and Deaf/hearing teams reveal a steep learning curve, but definite progress is being made
in solving some of the logistics of such proceedings. There are ways to pin the critical
interpreter so that the Deaf consumer has clear visual access and many interpreting teams
and consumers are using dual devices—one for the general meeting and one for the
interpreter and Deaf consumer; and, for some, yet another between the members of
interpreting team.


VRI, even in its current form, is still not one-size-fits-all. It does not work for all situations.
It does not work for all individuals. It does not work in all situations for even the same
individual. What works for someone in familiar settings and low stakes situations, may
not work for the same person when they are in an unfamiliar setting and communicating
about high stakes issues. Similarly, the same interpreter or interpreting team may also
work in low stakes situations but not necessarily in high stakes situations. Under stress
our ability to express ourselves can be compromised and our language comprehension
drops. When our comprehension drops, the ability to process an incoming interpreter in
2D as opposed to 3D also decreases.




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An on-site Deaf/hearing team may not be required for relatively routine probation
meeting, but such a team may be required if more complex or emotionally charged topics
are to be addressed. A Deaf/hearing team may not be needed in simple traffic court
proceeding but may be critical when being charged with a felony or having a plea bargain
agreement explained. In all these cases, a legal interpreter would still be needed.


Should friends and family members interpret?

Both language and professional ethics training are essential to meeting the communication
needs of an individual as an interpreter. Bringing in “a signer” (someone who knows some
ASL, or a friend or relative of the deaf individual) is never appropriate. A social
acquaintance with conversational skills in ASL is neither trained nor qualified to facilitate
communication between two or more parties.


Both the Code of Professional Conduct of the Registry of Interpreters for the Deaf that
professional interpreters adhere to and all laws relating to interpreting specifically note
that a qualified interpreter must not only be able to interpret effectively, but they must
also be impartial. Friends and family are by definition not impartial. They have a stake in
what transpires and can filter or even skew the message without service providers or
consumers being aware of what is happening. Deaf parents wouldn’t want their child
interpreting for their own disciplinary meeting as school. A counselor would not want an
abusive spouse interpreting for their partner. A doctor trying to preserve autonomy in
making end of life decisions would not want family members with their own opinions
about what to do interpreting for their loved ones. All of these situations, and in fact most
encounters, can be compromised if the interpreter is not neutral.

The American Sign Language/English interpreting profession has strict codes of
professional conduct that all interpreters are expected to adhere to as a guide to ethical
behavior. These tenets are for the benefit of consumers, both deaf and hearing. People too
close to a situation should not interpret. The guiding principles under the third tenet of
the Code of Professional Conduct for interpreters developed by the National Registry of
Interpreters for the Deaf (RID) and the National Association of the Deaf (NAD) speak to
this issue:



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       3.0 Conduct:
       Tenet: Interpreters conduct themselves in a manner appropriate to the interpreting
       situation.

       Guiding Principle: Interpreters are expected to present themselves appropriately in
       demeanor and appearance. They avoid situations that result in conflicting roles or
       perceived or actual conflicts of interest.

       Conflict of Interest in this same document is defined as follows:

       Conflict of Interest:
       “A conflict between the private interests (personal, financial, or professional) and
       the official or professional responsibilities of the interpreter, in a position of trust,
       whether actual or perceived, deriving from a particular interpreting situation.”


Finally, the following interpreter behaviors are also listed under the tenet above and Tenet
2.0 regarding Professionalism:

       Relevant Interpreter behaviors:

       3.2 Decline assignments or withdraw from the interpreting profession when not
       competent due to physical, mental, or emotional factors.

       3.3 Avoid performing dual or conflicting roles in interdisciplinary (e.g., educational
       or mental health teams) or other settings.

       2.5 Refrain from providing counsel, advice, or personal opinions.

       Link to the RID page on the Code of Professional Conduct:
       https://drive.google.com/file/d/0B-_HBAap35D1R1MwYk9hTUpuc3M/view

All of these tenets speak against family members taking on the role of interpreter. They
are emotionally involved. They are serving in a dual role as interpreter and family
support. They are prevented from offering their personal counseling, advice or opinions
and at the same time are enabled to interject such opinions into the interpretation without
being transparent.

Friends and family—even ones highly trained and credentialled in interpreting—are by
definition still not impartial, and therefore unqualified. They have a vested interest in what
transpires and are not bound by any code of professional conduct to remain neutral. They
can, and often will, add or omit information, skewing the message. Imagine a close family


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member required to convey a terminal diagnosis to a patient. If their role is to be there for
support and a doctor says that there is no hope, do they interpret that as stated? When
their support role would have them recommend a second opinion, deny the outcome and
say, “The doctor could be wrong. There is always hope, and we will get through this,” etc.
Should a family member be denied that role for lack of a professional, qualified
interpreter? If a patient is given a series of treatment options and the family member has
a strong opinion on which choice should be made, are they the person to be interpreting
these options to the patient and interpreting the patient’s response to the doctor? And, on
the flip side, should a fluently signing interpreter who has called in a domestic violence
complaint against their spouse interpret for that family member when the police arrive;
or even worse should an interpreter who is the abusive spouse interpret their partner’s
statement to the police? The obvious answer is, “No.”

However, one might argue, the family member knows this person better than anyone else.
There may be idiosyncratic things about the way the person communicates that they will
pick up on, that an interpreter may not. There is a place for this kind of input in the
interpreting process. It is called the “communication ally.” Professional interpreters in
situations where family members, friends, direct service providers, or others who may
know an individual intimately is bound to use every means at their disposal to accurately
convey message equivalent. If a friend or family member notices a misunderstanding on
the part of an interpreter or knows a family sign that the interpreter would not be aware
of, as a communication ally, they are welcome to share that information with the
interpreter. But, the interpreter makes the ultimate determination of what the
interpretation is and is solely responsible adhering to ethical standards in the interpreting
assignment.


In summary, friends and family are inherently conflicted from serving as qualified
interpreters. They are present in the role of family support and cannot serve in this role
while also interpreting. Allowing/relying upon family members to interpret not only
denies them their primary role as emotional support, it also opens the door to filtering
information that they are uncomfortable sharing with their parents or adding information
to the discussion that is their own advice or opinion. It also allows them to be privy to
information that the Deaf individual may not feel comfortable sharing with them.


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Children of Deaf Adults are put in a very uncomfortable position when professional
interpreters are requested but not provided. Even when their skills are not up to the task
or their role is compromised, they find it impossible to stand by and see their parents
denied access. This is a form of coercion. For this reason, even when a child concedes to
provide communication access as a last resort, this cannot be taken as willingness on the
part of all participants to have that individual interpret. Under no condition is falling back
on the family to interpret when an interpreter is required an appropriate course of action.




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Methodology: Elicitation, Text Analysis (linguistic analysis, coding)

Every day, when Dr. Shepard-Kegl walks into an interpreting assignment she is making
judgments about the language background and language needs of the consumers that she
works with. She does this through interacting and conversing with them. This is an
informal means of eliciting the data she needs to make decisions regarding her
interpreting approach. What we are doing in this report is similar, but on a larger scale.
We are gathering the information we need regarding the evaluated plaintiffs in this case
that will allow us to offer an expert opinion on their background and communication in
the context of our expertise in linguistics, interpreting, Deaf education, ASL, and Deaf
culture.


The standard methodology used in the linguistic profession is elicitation and linguistic
analysis, typically text analysis. The process is very much like the experimental method.
A hypothesis is posed and data are elicited to help us to confirm or disconfirm the
hypothesis. Standardized testing will not give us the individualized data that we need to
inform our opinion. Deaf people are far too diverse and their language backgrounds are
very heterogeneous. We need to look at each evaluated plaintiff in an individualized way,
using a single case study methodology. The need for individualized assessment is noted by
almost every researcher in the field of deafness, especially regarding reading abilities.
Some of these opinions are addressed quite well.5

That is not to say that we do not at times make use of standard materials that have been
developed to assess reading, interpreting proficiency, or ASL proficiency. We just do not
apply them in a one-size fits all fashion. We have relied here upon pre-vetted grade-level
vocabulary lists from research on basal readers, from screening assessments such as the
Flynt Cooter Reading Inventory and the San Diego Reading Screening.




5
 Mounty, Judith and Martin, David S. (eds.) 2005. Assessing Deaf Adults: Critical Issues in Testing and
Evaluation. Washington, D.C.: Gallaudet University Press


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Individual Assessment: Brandon Cobb (male, 32)

I. Linguistic/Cultural Profile


I.1. Responses: (also in ASL on video)


I.1.a. Born deaf? He had a high fever at two years of age. However, his description of his
fever looks very similar to meningitis. It is possible this is what he had; but, as is common,
he was not informed of the name of this condition nor does he know what meningitis
means.


I.1.b. Deaf parents? He has no deaf relatives. He has several half siblings, but no full
siblings. All can hear. He grew up alone with his mother. No one in the family signed with
him. His mom fingerspells and uses some signs. She has no proficiency in ASL.
Communication at home was lacking.


I.1.c. Attended residential school for the Deaf? He started school at the Arizona School
for the Deaf and Blind in Tucson and then moved to the Phoenix Day School for the Deaf.
He is unsure of the age he attended these schools due to lack of communication with his
family. He thinks he moved to Georgia around 10 years of age. He attended a mainstream
school, then moved to the Atlanta Area School for the Deaf (AASD), and then to the
Georgia School for the Deaf (GSD). He moved back and forth between those schools
several times because of behavior problems. His last school was Central High School in
Carrolton, GA, where he was expelled as well. He still received a diploma. Looking back,
he realizes if he knew then what he knows now, he would have behaved better and stuck
it out at the School for the Deaf, where he could understand teachers as opposed to being
mainstreamed with limited access to ASL.


I.1.d. Tends to associate primarily with Deaf people? Because of his history, Mr. Cobb
avoids socializing with Deaf people. He has no driver’s license because he was in prison.
He is working to get his license now. He communicates with people through writing back
and forth or teaching hearing co-workers very basic signs or fingerspelling.



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I.1.e. Is a member of Deaf clubs and organizations? No. He is not a member of any Deaf
clubs or organizations.


I.1.f. Married a Deaf spouse? No, he is not married and is not in a relationship.


I.1.g. Typical Deaf occupation? Currently, Mr. Cobb works at a restaurant/bar as a
dishwasher and does general chores such as cleaning. He works six days a week, starting
at 5 p.m. and works until closing (usually 3 a.m.). Prior to prison, he had a job that
Vocational Rehabilitation found for him doing landscaping for a hospital. Between ages
13-15, he enjoyed physical labor, working at his mother’s lodge. These are all typical Deaf
occupations in the sense that one can perform one's everyday tasks without much need
for communication via English on a daily basis.


I.1.h. Awareness of dB loss? He says he is fully deaf and does not know what decibel (dB)
loss he has. He is profoundly deaf. He used hearing aids when he was younger, but he
does not use them now. He had problems with the noise.


I.2 Early Life Choices: In terms of early life choices, the decisions made for Mr. Cobb, by
his birth and his family’s school choices, were mixed. While he attended Deaf schools and
used sign language, his family did not sign. He was also put in some mainstream
programs where some signed communication (not necessarily ASL) was used, so access
to ASL was varied.


I.3 Later Life Choices: Mr. Cobb’s later life choices indicate an individual with
identification with Deaf Culture. He recognizes himself as a Deaf individual and prefers
to use ASL as his primary form of communication. He also has some Deaf friends that he
socializes with, but not many because of his criminal history.


II. Individual’s use of Interpreters
Mr. Cobb regularly requests interpreters for his appointments. He had interpreters in his
mainstream high school after he got expelled from the Deaf schools. He states that he only
had one interpreter who knew ASL while the others used Signed English, which he did


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not understand. He hasn’t been able to use interpreters for many other things. He mostly
relies upon his mother for very rudimentary communication access.


Previously at court, Mr. Cobb reported that he had one interpreter that he didn’t
understand. He said that he had to interrupt the interpreter and to get clarification from
his mom, and then that the interpreter left. There are a range of certified interpreters and
transliterators, but not all are a match for someone who does not freely range between
ASL and more English-influenced variants of signing. From our interactions with Mr.
Cobb it is clear that he needs interpreters with strong ASL use. The best way to guarantee
this is to provide a Deaf/Hearing team of interpreters to assure native level ASL is used
with him.


Currently, Mr. Cobb reports requesting a Deaf Interpreter and hearing interpreter team
all the time. It is not clear whether this is a Certified Deaf Interpreter (CDI), or not based
on how he referred to the Deaf Interpreter. It is a Deaf interpreter that he feels is
comfortable with his signing. He reports needing a Deaf/Hearing team for interactions
with the police, court, parole, doctor etc. A Deaf interpreter brings not only native-level
signing to the interaction, but a Deaf interpreter also has more facility with catching other
needs resulting from lack of familiarity with the setting, holes in fund of knowledge, etc.


III. American Sign Language Proficiency
Based upon his auditory status and his cultural profile, Mr. Cobb’s primary and preferred
means of communication and the language in which he most reliably produces and
comprehends information is expected to be ASL since he has indicated that he does not
understand other signing forms other than ASL. In the next sections of the assessment we
will seek to confirm or disconfirm this expectation following from his responses on the
cultural profile.



III.1 ASL Production (Grammar)
Mr. Cobb’s language production was assessed using a variety of tasks as well as free-
flowing background conversation between Mr. Cobb and the experts. ASL production
elicited by the 1.5-minute Mr. Koumal cartoons also contributed to this analysis, but these


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will be discussed in their own section. Mr. Cobb’s ASL production demonstrates a near-
native (but not native) proficiency in ASL grammar, and a solid command of ASL
production. In his signing, he demonstrates verbs of motion and location, spatial
morphology, reduplication, ASL forms of direct address, and classifier use, in addition to
many other features. He uses facial grammar such as non-manual markings for yes/no
and wh-questions, as well as for relative clauses and conditionals. He is fluent and
comfortable while signing ASL.


III.1.a. Verbs of Location (Topological Relations Task).

Mr. Cobb’s word ordering on the Bowerman Task strongly favored Ground before Figure
in his responses to the Topological Relations Task. Of the 25 stimuli presented, he
produced 17 using the Ground before Figure order (68%). His production followed the
ASL as opposed to English ordering. When he used the English-like order in Figure before
Ground, the usage was not clear and showed hypercorrection of English which was not
natural. When the Ground before Figure order was used, ASL was used to convey where
the objects were instead of English and was much clearer.



III.1.b. Background conversation. In background conversation throughout the testing,
Mr. Cobb used primarily ASL. At times when the hearing interviewer intentionally
shifted to a more PSE6 (English influenced) signing, he did not match her, but he
occasionally did shift toward a form of signing he likely uses with hearing family
members, where he strings together ASL words as isolated items rather than using the
complex spatial inflection that he clearly has mastery of. With these exceptions, his use of
ASL was very steady. When observed interacting with the hearing interviewer, he still
tended to lean toward stronger ASL but at a slower pace. With the Deaf interviewer, his
pacing was quicker.

6
  Pidgin Sign English (PSE) is an older name for what is currently referred to as “contact signing.” It really
isn’t as basic as a pidgin, which occurs between two completely mutually unintelligible languages. This
form of language (sometimes called and interlanguage) involves the use of language variation on a kind of
sliding scale between full ASL and a range of signing that is influenced by English to varying degrees. In
PSE, a signer might follow an English word order more and use less of the complex agreement and
morphology characteristic of ASL. Deaf people who are more bilingual than Mr. Cobb can shift to using PSE
at times when signing with hearing people who are not native in their ASL skills. There is no one “form” of
PSE, it varies depending upon the interlocutors are and what their range of language use is.


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III.2 ASL Comprehension.
Throughout the testing, he demonstrated consistent understanding of ASL with ease. If
something signed was unclear, he would readily ask for clarification. Most of the issues
he needed clarification with concerned content rather than signs themselves.


III.2.a. Background Conversation.

He understood background conversation very well. There was a lot being discussed and
he was able to follow most of it with appropriate scaffolding7 and clear ASL.



III.2.b. Bird of a Different Feather (Bahan).
Mr. Cobb was not already familiar with Bird of a Different Feather. In viewing, Bird of a
Different Feather. He did understand the general story line. He did not recognize the
allegory, but he was able to present the parallels between the storyline and the experience
of a Deaf child growing up in a hearing family, after a lot of scaffolding by the interviewer.
He struggled to watch the story and complained of fatigue and that the video was not
clear.


When Dr. Rowley recognized that Mr. Cobb was fatigued and struggling to maintain
attention, she recognized that he was more likely to follow and stay engaged if she broke
the story into smaller pieces and discussed those as they went along, which she did. She
realized that, as an adult with less immersion in the Deaf community and Deaf cultural
events, Mr. Cobb was not accustomed to the genre of adult storytelling and that
adjustments needed to be made. This is similar to what a CDI might do in similar
circumstances and one reason we feel working with a CDI is beneficial for Mr. Cobb.




7
  By "scaffolding," we mean that information is presented with sufficient context to reinforce understanding. If a
concept or point is just thrown out there, it may be understood by someone who already has a foundation of
background knowledge to know where it is coming from. But, if a person does not, then we need to contextualize it
so that the new information coming in builds upon what the person already knows. The metaphor is that just like in
building a house, you build a scaffold for the construction worker to stand upon as they add new layers and new
materials.


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One thing that a CDI will do is to assess the extent to which the Deaf consumer is fully
following the information and adjust accordingly. Perhaps what is being conveyed lacks
context that the consumer may need, which the CDI fills in. Perhaps the information is
coming in too quickly or the dialect of signing is less familiar to the consumer. The CDI
would adjust for that. In the case of the Bird of a Different Feather story mentioned above,
we believe that Mr. Cobb is not familiar with watching 20-minute long narratives in ASL.
This is a specific genre in ASL that he has less experience with as an adult without strong
immersion in the Deaf community currently. As a child in school, ASL stories would have
been broken up into pieces and kids would look at pictures, etc. Since, the goal of the task
was to assess comprehension of natively signed ASL and to see if he could recognize the
allegory in this story, Dr. Rowley was simply adapting it to a form that would be more
likely to test those issues. Had she not done so, he would have phased out portions of the
narrative and been less responsive to the follow up questions we asked.


When the story was retold and expanded upon, Mr. Cobb was able to understand the
story, but he did not have enough background knowledge to understand the whole story
with ease. This involves more world knowledge and cultural Deaf knowledge than
language as a factor. He is weak in those areas.


III.2.b. DWI (Composed and signed by David Rivera).
Mr. Cobb had not seen DWI previously. He understood the classifier story with little
difficulty. He recognized the productive forms involving Size and Shape Specifiers
(SASSs): sports car, cab of truck (grille), trailer of truck detaching (skidding), and bottle of liquor.
He recognized most of the object classifiers used: spokes, speedometer, pedal to the metal,
rabbit, rabbit in headlights, and rumble strip. He got the handling classifiers: hands on chest
(slow down), and the gurney being brought down the hill. There were many
cinematographic perspective shifts throughout the story. He caught most of them. He
caught that the car landed upside down, but he was not able to identify if the passengers
were dead or alive. All of this comprehension depends upon being able to process the
productive use of classifier constructions (depiction) in ASL.


As a follow up, there were two errors in this story. First, although the car landed upside
down the ambulance people treated the car as if it was right side up. In the rabbit version


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there was a vehicle classifier that signed it upward as well. Upside down the woman was
incorrectly on the driver’s side and the man on the passenger side. In addition, the
ambulance drivers break the windows to access the driver and passengers, but the
windows had already been shattered. He did not catch these errors. He recognized that
the car was upside down, but he did not understand who the passengers were and
whether or not they were actually switched. Again, he is also not used to watching stories
and then being asked to do meta-analysis on the signing, like catching errors. This falls
into the area of Cognitive Academic Language Proficiency (CALP), where he is weak. He
watched for the content.


A version of this ASL text is available online at:
https://www.youtube.com/watch?v=Lie0EnyusgU


III.3 BICS vs. CALP.
It is important when looking at language proficiency to distinguish between proficiency
in Basic Interpersonal Communication Skills (BICS) and Cognitive Academic Language
Proficiency (CALP).


III.3.a. Basic Interpersonal Communication Skills (BICS).
Mr. Cobb has full mastery of BICS in ASL. In casual conversation, he is fluent and
comprehends easily.


III.3.b. Cognitive Academic Language Proficiency (CALP).
When language becomes more academic in nature or involves explanation of new
unfamiliar information or tasks, he is not proficient at engaging in analysis, synthesis and
evaluation using ASL. His analysis of the allegory in Bird of a Different Feather indicates a
weakness in this area. His struggle with various topics also fits with our recognition of his
limited use of academic language in ASL, unless scaffolding was used.


Summary of ASL language proficiency.


Mr. Cobb was observed in both conversational ASL and elicited ASL samples. The
conversational samples showed that his lexicon was largely ASL with a few English-like


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signs in places, but he would not be considered an English-like signer at all. His ASL
tendencies are very strong. One example of an English-like sign would be PENNY. He
signed it with a P handshape whereas many people sign with a 1 handshape. He also has
errors in his lexicon such has using the sign for BEGIN instead of BECOME. His ability to
discuss a variety of topics was largely limited by his command of CALP. The more
academic or philosophical topics were challenging because of a lack of world knowledge
and Deaf history; and the lexicon for that was also not plentiful. He indicated that he has
seen the news and the interpreting related to Covid-19 has not been accessible for him.
This goes back to his weak foundation in CALP. When pictures were clear, he was able to
produce some clear classifier or depiction use although it was not as evident as regular
vocabulary.


His morphology shows mastery of ASL and his use of syntax followed strong ASL order.
He did not include a wide range of ASL syntax, he tended to stay within simple sentences,
but he did show a command of questions, direct quotation, verb agreement, and topic
marking. His use of time and sequence was sometimes not clear and required the listener
to ask for clarification. He showed he could incorporate some depiction with role shifting.
It was very sloppy but still visible to the native signer. His comprehension was dependent
on the topics as well. He did not catch the meanings of all classifiers, only some which are
typically used. Missing this did not seem to interfere with his overall comprehension of
ASL. However, with topics that dealt with CALP more than BICS, he was often not able
to understand and quickly gave up. His frustration level was high and immediately
recognizable.


We also watched Mr. Cobb in a segment of a webcast on YouTube: HEARD Webinar on
Mass                    Incarceration                      and                  COVID-19:
https://www.facebook.com/watch/live/?v=605640566719277&ref=watch_permalink)
In the question and answer exchange in this webinar, Mr. Cobb was in his element and
communicating about what he knows and he has experienced. In this setting, his strong
mastery of ASL came through. He was articulate, comprehended all comments and
questions, and responded with appropriate backchanneling. He came through as a fluent,
articulate, adult signer with strong proficiency in ASL.



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IV. English Proficiency
Mr. Cobb signs ASL with near-native language proficiency, but in a more conversational
than academic form. The remaining question is the extent to which English can or cannot
serve alone as a communication alternative to ASL for him.


IV.1. Spoken English Competency.
Mr. Cobb’s speech is not intelligible.


IV.1.a. Speech.
After signing and writing renditions of the two 1.5-minute Mr. Koumal cartoons, Mr. Cobb
was asked to speak a rendition of each of the Koumal cartoons. He was not comfortable
speaking, and he resisted a bit, but he did the task. For someone not comfortable with
speaking, being forced to do so can feel demeaning. Yet, we do need samples of his speech
to complete our analysis. His comfort level in these two languages/modalities is evident
when comparing the videos of his signed narratives with his spoken narratives.


IV.1.a.i. Speech Quality.


Mr. Cobb’s speech samples appear below:

       Mr. Koumal Flies like a Bird (spoken)                               Brandon Cobb
       One guy to mountain again again saw [only signed: bird] can fly. Mmm. Fly but fail. Bird laugh hah.
       Can't fly. Lose hair. Steal to again climb. Fly again. Finish [only signed: walk] bird. Bird, "Ha ha."
       [only signed lost] all hair. [only signed: then saw] bird [only signed many many] steal some bird hair then]
       make. Fail.

       Transcription of speech using the International Phonetic Alphabet (IPA): /wʌ ga tu mãʊ̃. ɛ ɛ
       suw kɪ̃ fay tʌ. mmmm. bɛ fɛ. ɪ læ: hɛ. kæ fɛ. lɛ hɛ. sɛ tu gɛ kɪ. fɪ ɛ̃. c bʊɹ. bʊ hɛ hɛ. ɔ ɛ. [click sound].
       mɛy. fɛ./ [link to spoken sample]


       Mr. Koumal Battles his Conscience (spoken)                            Brandon Cobb
       One man walk to see homeless. [He signed, "This is sick. I bothers me to voice." Dr. Shepard-Kegl
       responded, "Try your best please."] Saw man beg penny one coin give. Woman give coin. Dollar fall
       fuw. Saw mmm [onomatopoeia: thinking] balloon, "house, and earth, plus negative plus. Give to
       cash. God happy. Okay, red foot to head. Devil pull, keep. Fight, fight, fight. Fight. Saw puw
       [onomatopoeia (steal)]. Finish, where? See care oooo [onomatopoeia (drive by)]. Finish.

       Transcription of speech using the IPA: /wʌ mæ̃ wʊ tu siy hʌlә. Started again: suw mɛ bɛ pɛ: wʌ
       sɛy kʊ ɛʊ. wʌ gɪ kæ. dʊ fɔ fuw. tɔ mmm bʌʊw, wә kʊ, ә uw, pʌ nɛv pʌ. wɛ tʊ kæ. ga pɛɪ. kʊ. ɹɛ: fɛʔ
       ʊ ɛ. diy pɪ. k.. fʌfʌfʌ fʌ. sɔ puw kuw. Fuw, wɛ. siy kɔ uw. fɪ./ [link to spoken sample]




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IV.1.a.ii. Intelligibility.
Mr. Cobb’s speech production is minimal and very difficult to understand. He was unable
to speak without concurrently signing. He had to concentrate to remember both to
phonate sufficiently and to produce speech at all. Even with repeated viewing of the video
with him signing as well as speaking, there were still stretches of the speech that Dr.
Shepard-Kegl was not able to identify reliably.


Not a single word was pronounced in full. Final consonants and consonant clusters in
syllable were consistently omitted. Initial consonant clusters were consistently simplified
and often all initial consonants were omitted. Multisyllabic words were reduced to single
syllables (e.g., mountain became the initial consonant and the first diphthong nasalized:
/mãʊ̃/.


With lipreading (and repeated viewing) of his spoken English without reference to the
signing, none of his speech could be understood. It is important to note that the evaluator
of these data a certified oral transliterator8 and is very familiar with Deaf speech. Mr.
Cobb’s extremely poor articulation would likely be impenetrable to a person unfamiliar
with deaf speech, as well as to individuals very familiar with deaf speech.


Mr. Cobb frequently forgets to phonate and also often signs without speaking. When
speaking, his grammar also follows the grammar of ASL more than that of English.


IV.1.a.iii. Auditory monitoring alone.
With auditory monitoring alone, not a single word could be identified. Clips of his spoken
renditions of both cartoons are provided at the end of the transcriptions above using a
phonetic transcription of what could be heard.


In summary, Mr. Cobb's speech is not intelligible and cannot be used to share information.



8
  A certified oral transliterator hold the Oral Transliteration Certificate from RID has met the training requirements
and skills testing to certify their ability to mouth in clear English with adjustments for homophenous words the
information from a hearing consumer to a Deaf consumer who relies upon lipreading and, which necessary, to voice
back to the hearing consumer the speech that the Deaf person has produced. Dr. Shepard-Kegl holds the OTC.


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IV.1.b. Lipreading

The other side of communicating through speech is using lipreading to receptively process
the speech of others. The lipreading task involves two presentations of each stimulus
(either a word or whole phrase or sentence). Each presentation was loud and very precise.
If Dr. Shepard-Kegl felt Mr. Cobb was close, she sometimes repeated the item more than
twice. Each word, phrase or sentence was enunciated clearly and loudly, allowing the best
possible chance of being understood.

It must be reiterated that Mr. Cobb was tested under ideal conditions. The room was well-
lit and devoid of background noise. We were directly facing each other one-on-one in close
proximity over a Zoom screen. Items were repeated, and the stimuli were produced by a
certified oral transliterator (OTC) trained to produce clear speech. Even the knowledge of
the logistics in setting up such an environment would be beyond the knowledge set of his
service providers.


We had several technological glitches in terms of the data being saved on Zoom. Unless
in gallery mode, Zoom does not record anyone but the host. As a result, we tested Mr.
Cobb several times. Repeated testing did not improve his performance in any way.


IV.1.b.i. Words Of the 17 words, Mr. Cobb correctly identified none (0%). At times he
would copy Dr. Shepard-Kegl’s mouth movements, but he had no idea what she was
saying. He did make one guess that showed he was attempting to do some phonemic
processing. Presented with theory, he responded Thank you. He was able to get the first
consonant sound, a voiceless affricate, /θ/. He also caught the palatal glide /y/ at the end
of the word. He produced two words, which suggests that he recognized that what was
produced had two syllables: /θɪ-ɹɪy/. Finally, he may have caught that the first vowel was
made in the front rather than the back of the mouth because the lips were not rounded,
although the rounding on the r /ɹ/could have obscured that. We suspect that once he got
the /θ/ and the /y/, he went for one of the few words that he says he is able to lipread,
Thank you. However, in a prior testing, when Dr. Shepard-Kegl presented him with several
words he said he could lipread, he failed to get Thank you. He did get I love you.



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IV.1.b.ii. Sentences and Phrases Of the 47 sentences and phrases, Mr. Cobb correctly
identified only 1 (2%): What's your name? This is only negligibly better than his lipreading
for words and this is one of the most routinized and frequent phrases one encounters.

       correct   incorrect   Stimulus (lipreading)           % correct   % incorrect

       1         63          64 stimuli                      2%          98%

       0         17          17 words                        0%          100%

       1         46          47 phrases and sentences        2%          98%


Most of the time Mr. Cobb could not even venture a guess. However, when he did it
showed some phonemic awareness. For the number forty two, he responded I love you
(three syllables, and the final vowel /uw/were correct). He also caught the word plan in
the sentence, Do you have a retirement plan?


IV.1.c. Impact on communication
Of the total 64 stimuli, he got only one correct (2%).


In a well-lit environment face to face over Zoom, Mr. Cobb could lipread 2% of what was
said; namely, one item. He is an extremely poor lipreader. This fits with his extremely
poor speech skills.


Lipreading cannot serve Mr. Cobb as a means of communication access.

IV.2. Written English Competency
Mr. Cobb’s written English was tested by collecting written renditions of the two Koumal
cartoons (Mr. Koumal Flies like a Bird and Mr. Koumal Battles his Conscience) and two
wordless books by Mercer Mayer, Frog, where are you? and Frog goes to Dinner. We also
included a sample of Mr. Cobb’s Facebook posts that had been entered into evidence by
the defendants at a preliminary injunction hearing (Exhibits 6-9). These written samples
were analyzed for their grammatical accuracy, their influence from ASL, and for their
argument structure distribution, which is an indication of their performance that can be


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compared with native speakers of English, other Deaf ASL signers, other deaf writers of
English, and individuals with a frank language disability, agrammatic aphasia.


IV.2.a. Argument Structure Distribution: Data Collection
A full argument structure analysis is best with a minimum of 150 verbs and their related
arguments. The data considered for this analysis were the written recountings of the two
Koumal cartoons, two wordless books, and Facebook interchanges. Four recountings were
collected during our testing. The fifth (Facebook interchanges; Exhibits 6-9) were provided
to us by Mr. Cobb’s lawyers. These were a court exhibits at a preliminary injunction
hearing. An analysis was done on each of the narrative samples to see if there were any
major differences, and then they were combined. Mr. Cobb produced a sample of 159 total
utterances. The individual samples were sufficient to yield a reliable individual
distribution. However, we will address the fact that the Facebook posts differ somewhat
from the narrative samples collected during testing.


Narrative Recounting (combined): 159 verbs; 98 external arguments (62%); 59 non-
copular unaccusatives (37%); and 2 copular constructions (1%). Based upon all narratives
combined, Mr. Cobb appears to pattern most closely with Deaf ASL signers writing
English. His percentage of non-copular unaccusatives was not parallel to hearing writers
of English (typically 25%) and he had a much lower percentage of copular constructions
(1% as opposed to 25%). A lower percentage of copular constructions would be typical of
deaf writers of English in general (independent of whether they sign or not). He patterns
like deaf writers of English in this regard as well.


In the following sections, each type of narrative is analyzed separately to see if the pattern
is consistent throughout.


IV.2.a.i. Movies. n/a


IV.2.a.ii. Nonverbal Cartoons. Mr. Cobb recounted Mr. Koumal Flies Like a Bird and Mr.
Koumal Battles his Conscience. This yielded a set of 50 utterances. 50 verbs; 29 external
arguments (58%); 21 non-copular unaccusatives (42%); and 0 copular constructions (0%).



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The content of the two Koumal cartoons during the testing are below:

      Mr. Koumal Flies like a Bird (written)                          Brandon Cobb
      guy walk to mountain top. I saw bird can fly with wings. I try fly with wings. finally it, but failed
      wreck. bird laughte at guy, Can't fly wing. BIrd have few lost hair guy made wings hair try again
      jump fly wing it again wreck. bird again laugh at guy. bird lost all hair. guy made lot hair wing.
      again full wreck. guy see chickens lot. ateal chickens hair. again made full hair. again jump failed.

      Mr. Koumal Battles his Conscience (written)                          Brandon Cobb
      Guy take penny from his pocket give to homeless hat penny and women give to homeless penny
      too. Woman lost cash left. Guy saw cash left floor. He image how much gain $$ and earth move to
      where place. Guy change mind give to woman back cash and hug god. Guy half hell and angle
      fight over cash. Homeless saw it then steal cash. Guy half hell and angle lost mind. Homeless new
      car ride give to guy back penny.

The argument structure distribution for the written Koumal stories most closely patterns
with Deaf ASL signers writing English. There is a higher occurrence of non-copular
unaccusatives in keeping with this group (42% as opposed to 25%). In addition, the
occurrence of copular constructions is zero with deaf writers in general (0% as opposed to
25% for hearing writers of English).


IV.2.a.iii Wordless Books
Mr. Cobb recounted the following wordless books: Frog, where are you? and Frog Goes to
Dinner. He produced these recountings during the Zoom testing, as we observed, took
photos, and texted them to us. His wordless book recountings yielded 91 utterances: 81
verbs; 48 external arguments (59%); 33 non-copular unaccusatives (41%); 0 copular
constructions (0%). There were ten more utterances than verbs because Mr. Cobb
produces quite a few copular constructions (e.g., X is Y) with zero verbs. Such
constructions are very typical of ASL, but not English. The transcripts of his written
recountings appear below:

      Frog, where are you? (written)                           Brandon Cobb
      Mercer watch to frog and dog smell to frog. Mercer and dog sleep. frog try out of glass. when
      Mercer and dog wake up and see frog was gone. Mercer search for frog try find it. dog smell in
      glass smell. frog Ø not there. Mercer yell where you go? dog stuck with glass. open window.
      dog fall outside from window. Mercer at dog. glass is broke. dog lick to mercer's face. they walk
      search yell. tree with bee hive dog play with bee hive. Mercer yell hole. animal bite Mercer's
      nose. dog pull on tree bee hive fall on floor. bees Ø angry. Merce still search tree. Mercer fall to
      tree. owl Ø angry. dog run away from bees follow. Owl pick on mercer. Mercer stand on Rock.
      dog slow walk. deer head stuck from Mercer. deer run and dog run bark. deer stop Mercer fall
      and dog fall. fall on water. they see wood. water. Mercer shH and dog shh. check back wood.
      they saw frog with another frog. and frog's babys. frog let one frog go with Mercer bye to frogs.
      dog Ø happy and Mercer Ø happy!




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       Frog Goes to Dinner                                      Brandon Cobb
       Mercer dress on mirror dog and turtle Ø sad. Mercer soon leave. bye. frog jump mercer dress.
       Bedroom family they read menu Frog jump on sing. frog jump sing's face. broke drum. they
       sing angry frog jump to food. serive bring food. Women see frog sit on food. frog jump women
       scry. frog jump in drink. women angry at serive. frog kiss men's nose. serive try get to frog.
       women Ø dizzy. men hold to women dizzy. serive hold up. door fire ext. merces see my frog.
       Merce that Ø my frog. Serive kick to merce family got o Ext of restxxxnt. mercer Ø happy frog
       back with. his parents and his's sister Ø mad at mercer they said go to room. mercer walk to his's
       room. mercer and frog laugh. dog and turtle dont know what goin on.



IV.2.a.iv. Facebook Interchanges
We were also provided with a series of text messaging interchanges that were provided
as evidence of his English use by Defendants at a preliminary injunction hearing (Exhibits
6-9). The images of those Facebook pages are included as an attachment, but the
transcribed text of just Mr. Cobb’s side of the conversation appears below:

    4/15/19: I have p3 is videophone for interpreter. I call us and on Interpreter talk u too. Can I call ur number
         XXXXX rigth?

    5/13/19: OK.

    7/26/19: Hello michelle. My name is brandon cobb and I Ø deaf. My mom help me pay $25 jpay last Tuesday.
         Here Ø pic jpay. Thank you and have nice day.

    7/26/19: Hello michelle. It Ø me brandon cobb and I Ø deaf. Last Friday pay to jpay $50. I send you pic for
         jpay.
         [He sends image of confirmation of payment]
         Have nice day.
    8/1/19: what u mean?
         U mean I come u parole office on tmw?
         No ride for me
         Oh ok.
         Did you get my text 2nd pic $50 jpay last friday
         Welcome and have a nice day
    9/9/19: Hey Michelle. Can I ask u. Can I work bar for washdishera and clean bathroom too. Start work 5pm to
         2am off. Ø That ok?

Mr. Cobb’s English in his text messaging posts differs from his narrative recountings. First,
they do show awareness of shortcuts common to texting like using "u" for you. His
communication is very routine and formulaic. Interchanges are limited. We see the same
phrasing used over and over. He is usually generating the topic of message. When the
topic of the message is generated by the parole officer, he asks for clarification and it takes
him a while to understand. He is using strategies like assuming from context rather than
using syntax. For example, the officer asks him, “Why are you reporting tomorrow?,” and



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he appears to not understand and responds with, “What you mean?” Then she changes
her wording and asks, “Are you reporting tomorrow?” He clarifies, seeing if he
understands her and says, “U mean I come parole office on tomorrow?” She re-asks, “Do
you plan to? I need to know because I won’t be in the office.” He still thinks he is being
asked to report and responds with, “No ride for me.” She responds with, “You don’t have
to come. I won’t be here.” He appears to finally get the message and responds, “Oh ok.”
Then he asks about a payment he made that he has asked about several times in almost
the same way. Almost every interchange ends with Thank you or Welcome and have (a) nice
day. His text is very simple and formulaic: My name is Brandon Cobb; I deaf; Thank you and
have nice day. Notably, the only place where we see him use the copular verb is is in these
canned formulaic posts.


Mr. Cobb’s Facebook posts yielded a set of 30 utterances. 28 verbs; 21 external arguments
(75%); 5 non-copular unaccusatives (18%); and 2 copular constructions (7%). This
argument structure distribution does not quite pattern like the others. First, while there is
still a much smaller percentage of copular verbs than a hearing person would produce
(7% as opposed to 25%), we don’t see overt copular verbs like those we see in his other
narratives. Also, we see a lower percentage of non-copular unaccusative constructions—
only 18% in comparison with 41% for his other narratives. A hearing writer would
produce about 25%. Finally, 75% of his utterances use external arguments, which indicate
use of simple sentences following a subject-verb-object order. This high a percentage is
indicative of reliance upon formulaic utterances. And this is exactly what we see in his
posts. His use of English in these posts is limited to a set of repeated phrasings cobbled
together to share and request a limited body of information. The most productive post is
the last one, where he asks about a job he wants to take. Adding his Facebook to his other
data doesn’t change the pattern much, but they are not his more spontaneous writing
style.


IV.2.b. Argument Structure Distribution: Data Analysis
Mr. Cobb’s argument structure distribution as a whole was then compared with those of
four groups: typical hearing speakers of English, speakers with agrammatism, Deaf ASL
signers writing English, and Deaf non-signing individuals writing English. We will report
his percentages with and without the Facebook posts as follow: X%/Y%, where X is the


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data with the Facebook posts, and Y is the data without them. The resulting distributions
in terms of comparison with these groups are the same.


IV.2.b.i. Group 1: typical hearing speakers of English In terms of his movie recounting,
Mr. Cobb does not pattern with this group 59%/62% external arguments (typically for
hearing writers it is only a little over 50%); and 41%/37% non-copular unaccusatives,
considerably higher than typical speakers of English. And 1%/0% copular constructions
drastically lower than the 25% for hearing speakers).


IV.2.b.ii. Group 2: speakers with agrammatism producing English. Mr. Cobb definitely
does not pattern with individuals with a frank agrammatism or any kind of language
disability. Individuals with agrammatism should have almost no non-copular
unaccusatives and at least 25% copulars, likely more. He in contrast, has 41%/37% non-
copular unaccusatives and 1%/0% copulars. The exact opposite pattern [?].


IV.2.b.iii. Group 3: Deaf ASL signers writing English Mr. Cobb does strongly pattern
with this group, with a much higher percentage of non-copular unaccusatives and a
negligible percentage of copular constructions.


IV.2.b.iv.   Group 4: non-signing deaf individuals writing English. Again, he also
patterns with Deaf writers of English (independent of whether they sign or not) in
producing little to no occurrences of the verb to be.


Overall, Mr. Cobb’s argument structure distributions pattern with Deaf ASL signers
writing English.


IV.2.c. Specifics of English grammar production.
Argument structure distribution indicates a basic patterning that may or may not be
influenced by ASL intrusions or by a language-based learning disability. It is not
indicative of mastery of English grammar per se. Looking more closely at the grammar of
one’s actual writing can be informative. Full analysis of the grammar produced appears
in the excel sheet called “English Grammar analysis,” where every sentence produced
contains multiple grammar errors.


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Lexicon: Mr. Cobb’s vocabulary is limited. He frequently substitutes one word for another
(walk for climb, wreck for crashed into, hair for feathers, cash for stack of bills, hell for devil, ride
for drive, glass for jar, with for attached to, wood for log, dress for jacket, sing for musician, begin
for become, sit for hide, gain for earn or accrue, give for drop, pull for push, floor for ground,
etc.). He also produces circumlocutions to get his meaning across (kick to go to exit for kicked
them out; deer head stuck from Mercer for caught Mercer in its antlers; dog run away from bees
follow for the bees chased after the dog; fly with wings for flapping my arms, how much gain $$
for the interest he would accrue from investing the money; earth move to for travel around the
world; new car ride for drove by in his new car; try get to (“try grab to himself”) for try to catch;
see frog sit on food for saw the frog hiding in her salad etc.). Other times he would use a single
word to stand in for a whole phrase: wreck for crashed to the ground; half for split in half; dress
for get dressed; wing for flap his wings; etc.


He also has many instances of the misuse of prepositions: omissions, additions, and
substitutions of one for another. Prepositions are omitted (often in cases where the locative
or directional meaning would be part of the ASL verb): jump Ø for jump off; jump Ø sing’s
face for jumped into the musician’s face; frog jump Ø Mercer dress for the frog jumped into
Mercer’s pocket; guy saw cash left floor for the guy saw the stack of bills that were left on the
ground; etc. In other instances, in an attempt at hypercorrection, he adds prepositions to
English words that already have locative meanings (smell to for smell; smell in for smell
something in; give to for give; give to back for give back; lick to for lick; etc.). ASL distinguishes
smell (intransitive) as in “experience a smell” and smell (transitive) as in “sniff at”, and the
latter meaning incorporates the locative movement of “to” into the verb. English allows
the following syntactic alternation, one sentence using a preposition and the other not:
The man gave the book to the woman versus The man gave the woman the books. ASL allows
only the second option that incorporates the directional preposition into the verb rather
than using a prepositional phrase. This recognition that the ASL verb means “give-to” is
often reflected in Mr. Cobb’s writing of give to rather than just give.


Mr. Cobb’s prepositions are also highly interchangeable: to for from; Mercer fall to tree for
Mercer fell from the tree (to the ground); to for around (earth to move), with for in (and also on
(tree with beehive, “the beehive is on the tree”; the ASL sign WITH indicates two things in


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contact with each other); etc. We also see to for into (fall to water for fell into the pond) or
onto , watch to for look at, etc.

Finally, in ASL the locative and directional meanings that are expressed in English using
prepositions, are expressed in ASL as verbs. As a result, Mr. Cobb produces many
sentences where the English “preposition” is actually serving as the verb: frog try out of
glass (“to get out of”); Mercer at dog (“to be next to”); deer head stuck from Mercer (“the deer’s
antlers caught Mercer and moved him off of the rock”). He also uses noun forms in place
of verbs, such as image for imagined (He image how much gain $$); half for split in half (Guy
half hell and angle fight over cash “The man split in two with his devil (good) side and angel
(bad) side fighting over what to do with the money.” And, he used adjectives in place of
nouns, such as homeless for homeless person.


Morphology: Mr. Cobb has a limited command of English morphology. Most verbs are
not marked for tense. Occasionally, however, we see irregular forms with tense marking
like was, went, lost, made, broke, etc. This indicates that he is not regularly applying a
morphological rule (like adding -ed) to indicate past, but that he has in some cases learned
a separate lexical item for these forms. In addition, he exhibited a form of tense marking
that does not come from ASL, but it is fairly common among deaf writers with a limited
command of English, both signers and non-signers. It is often discussed as a common
feature of “Deaf English” and involves the use of a form of have or be in combination with
a verb to indicate past tense: Previously, we discussed the fact that such deaf writers use
was killed (e.g., Bill was killed John) to indicate the past (“Bill killed John”) as opposed to the
passive, where it is actually John that did the killing (Bill was killed by John). Mr. Cobb’s
misunderstanding of I was pulled from the hole as “I pulled something from the hole” in the
Flynt Cooter Sentence Screening indicates this is his analysis of these forms. Use of have
and be are actually conspicuously absent in Mr. Cobb’s narrative recountings. The word
is only occurs twice in his Facebook posts in very routinized uses. The one time we see
have, it is in a compound tense marker: Bird have few lost hair (“The bird lost a few
feathers.”) The absence of have and be as auxiliary verbs, the use of null subject (no
pronoun in subject position ([e]), and the lack of to be forms in linking verb (copular
constructions; X is Y) are all typological features of what have been termed “Null Subject”
languages. ASL is such a language; English is not.


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Mr. Cobb’s lack of mastery of the passive, as was seen in the reading task, combined with
his use of these Deaf English compound past tense forms attests to his limited mastery of
English morphology.


We also see issues with his marking of number (e.g., using women for woman; not adding
or inconsistently adding -s/-es for plural marking on nouns (e.g., frog kiss men’s nose),
misuse of possessives my for his, his’s for his), give to homelessø hat penny for dropped a penny
into the homeless person’s cap; lack of marking of progressive forms with ing that mark
continuous action (the only one seen is goin on, which looks like a learned alternative for
happening), etc.


Syntax: There are many ways in which Mr. Cobb’s sentence grammar (syntax) in his
writing diverges from English syntax. There is a conspicuous absence of determiners (use
of a, an, the) which are the indicators of noun phrases. His word order sometimes reflects
the ASL ordering of Ground before Figure as opposed the robust English ordering of
Figure before Ground (give to homeless hat[ground] penny[figure]; women give to
homeless[ground] penny[figure] too; Bedroom[ground] family[figure] for the family[figure]
was in the bedroom[ground]; etc. Quantifiers frequently follow rather than precede
nouns: guy see chickens lot. The ordering of noun phrases in ditransitive constructions
(verbs requiring two objects like give) follows the required ASL order (women give to
homeless penny) rather than the required English order, the woman gave the penny to the
homeless person. There is also a conspicuous dearth of adjective phrases. The only one we
saw was new car. And, notably, there was very little use of pronouns. Showing co-
reference between an antecedent noun phrase and as subsequent pronoun referring back
to it required considerable syntactic ability to do. One needs to know not only when he,
her, she, it they, them, we, us, etc. are used (subject position and object position), but also
what the plural forms are, and the syntactic domain in which one can use these pronouns,
and the syntactic domain in which one must use the reflexive pronouns himself, herself,
themselves or it means someone else. So, John hurt himself means “John got hurt”, but John
hurt him means “someone else got hurt.” Mr. Cobb does not have the syntactic mastery to
pull this off reliably, if he relies on ASL, the rules are different. ASL, like Korean, but
definitely not like English, can use SELF to refer back to a person other than John in an


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intimate way and in different points in the discourse to refer back to John in a way that
English cannot do.


Mr. Cobb makes frequent use of direct quotation for things that people say or things that
people think to themselves. However, instead of using the English convention of an
introductory phrase like “The man said, . . . ” followed by a change from third person (she,
he, they) to first person (I, we), he instead uses the ASL grammar rules for such quotations.
ASL can, but does not require, such a lead in phrase, but it does involve a shift of the body
from the narrator position and a breaking of eyegaze with the addressee combined with
the change from third person to first person. While writing English or speaking English,
Mr. Cobb assumes these non-manual markers of direct quotation and simply changes the
person marking from he to me. While immediately recognizable to a signer of ASL, such
forms are foreign to English users. When indicating what a person is thinking, he does
have a lead in, but again instead of something like “John thought to himself, ‘I could
accrue a lot of wealth by investing this money or I might travel the world,’” Mr. Cobb used
his English version of the ASL lead in to such musings.


In ASL, one can point to the person that they will quote (optional), and then roleshift to
that position and break eyegaze as mentioned above. But then, the signer produces a sign
glossed (labeled) as THINK^BUBBLE which is like the thought bubble seen in comic
strips. In his writing Mr. Cobb uses the word image for this: He image how much gain $$ and
earth move to where place. Interestingly, in his spoken English we actually heard him say
balloon for this: Saw mmm [onomatopoeia: thinking] balloon, “house, and earth, plus negative
plus.” ASL is able to not only quote what a person is saying or thinking, but also what a
person is doing (constructed action as opposed to constructed dialogue). And for this ASL
construction, the person role shifts, breaks eyegaze, and signs the action in the first person.
Mr. Cobb frequently uses such ASL grammar in both his writing and his speech. Consider
the beginning of his written rendition of Mr. Koumal Flies like a Bird:

guy walk to mountain top.      Narrator: “The man climbed to the top of the mountain.”
I saw bird can fly with wings. Quote the action from the point of view of the man:
                               “I am seeing the bird.”
                               Quote what he says to himself:
                               “I can flap my arms and fly.”



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I try fly with wings               Quote the action from the point of view of the man:
                                   “I am trying to fly by flapping my wings.”

There is no way to faithfully translate this into English. It must be restructured as not
involving all the quotation: “The man climbed to the top of a mountain and saw a bird.
He thought to himself, ‘I can flap my arms and fly.’ So, he tried to do so.” Someone with
no knowledge of ASL grammar however would more likely understand this as the
narrator stating that a man climbed a mountain and then the narrator saw a bird up there
as well and thought that he (the narrator) could do the same. So, he tried to flap his arms
and fly.


In summary, Mr. Cobb’s grammar use in English is comparable to second-language
learners of English who have only partially developed English grammar. Such individuals
are fluent in their first language, but they have very little fluency in their second language.
They have learned just enough to “get by.” Grosjean (1979)9 characterized such second
language users as having a fossilized grammar of English that uses some formulaic
conventions for ordering, often just strings together words without syntactic arrangement,
and often is actually driven by the grammar of their first language. In Mr. Cobb’s case this
first language would be ASL.


Summary: We conclude that Mr. Cobb is such a second language user with only a
fossilized grammar of English. It is important to note that while Mr. Cobb has little in the
way of English grammar competency, he is near-native in his fluency in ASL.
Furthermore, he uses the grammar of ASL to structure his English writing. Basically, Mr.
Cobb is using the words he has in English to write ASL. Given this, a fluent signer of ASL
(with sufficient context) may be able to decode Mr. Cobb’s writing via knowledge of ASL
grammar and recover much of what he is trying to say, but someone with no knowledge
of ASL grammar trying to read his English will either be stymied by it, or worse, will
misunderstand it in serious ways. For this reason, written English cannot reliably serve as
a means of communication access for Mr. Cobb to share information he needs to share (via
writing) or as we will see below to receive information he needs to have via reading.



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    Grosjean, F. (1979) Life with Two Languages. Cambridge, MA: Harvard University Press.


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IV.2.d. Reading


Based upon our assessment, Mr. Cobb can read at a second-grade level at best, but not
above. His vocabulary is weak, and his struggle with reading is exacerbated by not having
much command of the morphology and syntax of English. There is a transition in reading
ability that occurs at about a fourth-grade level, where a person transitions from “learning
to read” to “reading to learn.” Making that transition requires not only vocabulary but
also sufficient command of the syntax of English to be able to decode and comprehend
sentences that convey information that is new or unexpected. In the background
discussion, we talked about someone without proficiency but with recognition of some of
the words in a sentence (such as those underlined below) being able to guess the meaning
of the sentence The dog bit the mailman or even The mailman was bitten by the dog by relying
upon their knowledge of the world without recourse to English grammar. But without
recourse to grammar, the same person would assume the same meaning for the sentence,
The dog was bitten by the mailman (namely that “the dog bit the mailman”). To understand
that the sentence means “the mailman bit the dog,” a reader must rely upon more than
guessing and expectations based on world knowledge. When the literature talks about
many Deaf readers plateauing at a fourth-grade reading level, what is really being said is
that they are not using syntax to decode sentences. Cobb has not made that transition. His
reading is fossilized at a stage where he is not yet “reading to learn.”


IV.2.d.i. Flynt-Cooter Reading Inventory
The Flynt Cooter Reading inventory is administered in three steps.
   •   First, we ask the individuals to look at a list of three sentences at each level and to circle
       any words they do not know.
   •   Second, we ask them to read each of the sentences at each level (1-9). We further check
       for understanding if the sentences are just coded word for word or if it is not clear from
       the response that they understood the meaning. For example, sentence 1 under Level 3,
       The forest was something to see, has a figurative meaning. We check to be sure they aren’t
       just giving the literal meaning, like “there was something to see in the forest.” Sentence
       3 under Level 2 is a passive form. In some Deaf English was pulled is used to convey the
       past tense rather than the passive. We ask, “Who pulled” and “Who was in the hole?”



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        At times we draw a picture and ask them, “Which one is you?” We also look for
        additional unknown words that were not circled. If an individual who is Deaf misses
        either the figurative or the passive reading, it is marked as incorrect, but reading at that
        level is not ruled out. Deaf individuals can have less exposure to figurative language
        and the passive construction is really something mastered at the fourth-grade level. We
        delved deeper into their reading level at the next step.
    •   Third, we present the person with a set of graded reading passages associated with each
        level. We typically start at or just above anywhere they got all three sentences correct on
        the sentence screening, with the exception of allowing for issues with the two sentences
        mentioned above. Based upon their performance on the sentence screening, we present
        a reading passage vetted as indicative of that level of reading. Depending upon
        performance at that reading level, we move up and down from there.


Flynt Cooter Sentences (levels 1-9).
Mr. Cobb’s performance on the sentence screening is documented below, with notes
regarding the items he missed. A “1” indicated successful reading of the sentence and a
“0” indicates an unsuccessful response. While he didn’t get the passive at Level 2, we still
counted that level as indicative of where to start the passages.


 FORM A: Level 1 You Cannot Fly
 1. He wanted to fly.                                   1
 2. The family got together.                            1
 3. The boy was jumping.                                1

 FORM A: Level 2 The Pig and the Snake
 1. I was walking fast to town.                         1
 2. He cried about going home.                          1
 3. I was pulled out of the hole.                       0      did not get the passive

 FORM A: Level 3 The Big Bad Wolf
 1. The forest was something to see.                    0      see something in the forest
 2. I was enjoying sleeping when my Mom called.         0      called- used wrong sign (named)
 3. I had to go to bed early last night.                0      had to

 FORM A: Level 4 New Clothes
 1. I dislike being the youngest.                       0      bring=being
 2. I'm always getting into trouble.                    1
 3. They insisted on watching the show daily.           0      insisted, daily

 FORM A: Level 5 Hot Shoes
 1. Athletic shoes come in all kinds of colors.         1
 2. Serious players manage to practice a lot.           0      manage=assistant
 3. A cheap pair of shoes doesn't last very long.       0      pair

 FORM A: Level 6 Mountain Fire



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 1. He was searching for the evidence.                         0    evidence
 2. He realized the rock formations were too high.             0    realize; formations=form
 3. The conservationist hoped to reforest the mountain.        0    conservationist, reforest

 FORM A: Level 7 The Canoe Trip
 1. Unfortunately, she was confused about the next activity.   0    unfortunately
 2. The submerged rocks were dangerous.                        0    submerged
 3. She disappeared around the bend at a rapid rate.           0    disappeared, bend, rapid

 FORM A: Level 8 The Eagle
 1. Ascending the mountain was rigorous and hazardous.         0    ascending, rigorous, hazardous
 2. The cliff provided a panoramic view of the valley.         0    cliff, provided, panoramic, valley
 3. The incubation period lasted two weeks.                    0    incubation period

 FORM A: Level 9 The Case of Angela Violet
 1. The abduction made everyone suspicious.                    0   abduction, suspicious
 2. The detective was besieged by the community.               0   detective, besieged, community
 3. Her pasty complexion made her look older.                  0   complexion



Flynt Cooter Reading Passages 1-9
Based upon a strict scoring of the Flynt Cooter sentence screening, Mr. Cobb would be
expected to read solidly a 1st-grade level. However, since we make an exception for the
passive sentence at this level, we started with the Level 2 (or second-grade) reading text
and moved up and down from there. The number in parentheses after the title of the
passage indicates the order in which we presented that passage. This is followed by a
commentary on performance at that level.


        Level 1 You Cannot Fly (4)
        Having started at Level 2 and progressing to Level 3 where he had some partial
        reading ability and Level 4 that was clearly above his ability, we returned to the
        Level 1 passage, which he was able to read and understand with ease.


        Level 2 The Pig and the Snake (1)
        We started at this level. He read all the words and we feel understood the sentences
        fine up until the sentence How can you bite me after I helped you out of the hole? He
        was coding at this point and when we would ask questions, he would come back
        with verbatim answers. Our sense is that he got the gist, but he wasn’t really
        processing the grammar construction. However, since he got the point, we will
        accept that he reads okay at this level--with some syntactic limitations that he seems
        able to work around to get at meaning.




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      Level 3 The Big, Bad Wolf (2)
      He read the first few sentences okay, but vocabulary quickly took a toll (chimney,
      poor, nightgown, woodcutter) and phrases like “freeze to death,” “ran for his life,” etc.
      were not fully understood. The combination of missing vocabulary, idiomatic
      phrases, and limited English syntax made his reading comprehension increasingly
      patchy, and in the end, comprehension was lacking. He also had problems making
      the connection to the children’s story, Little Red Riding Hood, and that this passage
      was a twist on it. He could not tie in the last paragraph where the wolf’s wife
      sarcastically says, “Just you wait, those humans will make up a story about how
      big and bad you were.” He had problems with inference, and he was just coding
      sporadic words at that point. He cannot read reliably at a third-grade level.


      Level 4 New Clothes (3)
      Even though he did not pass Level 3, we tried the next level up to see if schema
      would help. He was immediately overwhelmed by the amount of text. He tried to
      read it on his own and said he could not understand it. We spent a little extra time
      encouraging him to try to fully read this text to allow us to establish a firm upper
      limit at which he could not read. He couldn’t even get by the word youngest in the
      first sentence. He read being as become and our for or. He didn’t know television
      (although he would have recognized TV), hand-me-down, afford, replied, bought, cut
      back, and approached. He didn’t get the figurative meaning of the idea hit him. He
      understood little of this passage and read by coding word for word, but without
      comprehension of the sentences or text.


      Level 5 Hot Shoes n/a
      Level 6 Mountain Fire n/a
      Level 7 The Canoe Trip n/a
      Level 8 The Eagle n/a
      Level 9 The Case of Angela Violet n/a


Mr. Cobb does read to himself rather than engaging in the “read aloud” activity. The latter
often signals coding rather than reading for meaning. And he is able to quickly determine
what he can read and what he cannot.


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Based upon the sentence screening and performance on reading the Flynt-Cooter
passages, we would place Mr. Cobb’s reading level just barely second grade, but not
above. Second-grade reading does not come easy to him, but he can understand most of
it.


IV.2.d.ii. San Diego Screening. To corroborate our assessment of reading level, we also
analyzed Mr. Cobb’s responses on a strictly vocabulary-based reading screening, The San
Diego Quick Assessment of Reading Ability. This test is a reliable predictor of reading level
based upon vocabulary alone, independent of grammar.


According to the San Diego Screening, Mr. Cobb would be expected to read independently
only up through the 2nd-grade level, and with frustration above that level. He got zero
items incorrect, however he only recognized a few words. He did not make any attempts
to guess what he didn’t know. Above the second-grade, however, he had numerous gaps.


        Mr. Cobb’s results for the San Diego Screening appear below:


                   1   9           2              9               3             3
        road           1          our             1              city           1
        live           1          please          1              middle         1
        thank          1          myself          1              moment         0
        when           1          town            1              frightened     0
        bigger         1          early           1              exclaimed      0
        how            1          send            1              several        0
        always         1          wide            1              lonely         0
        night          1          believe         1              drew           0
        spring         0          quietly         0              since          0
        today          1          carefully       1              straight       1
         4             2           5              3               6             1
        decided        1          successful      1              bridge         1
        served         0          business        1              commercial     0
        amazed         0          develop         0              abolish        0
        silent         0          considered      0              trucker        0
        wrecked        1          discussed       0              apparatus      0
        improved       0          behaved         1              elementary     0
        certainly      0          splendid        0              comment        0
        entered        0          acquainted      0              necessity      0
        realized       0          escaped         0              gallery        0
        interrupted    0          squirming       0              relativity     0
        7              0          8               0              9              0



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      amber          0          capacious        0            conscientious   0
      dominion       0          limitation       0            isolation       0
      sundry         0          pretext          0            molecule        0
      capillary      0          intrigue         0            ritual          0
      impetuous      0          delusion         0            momentous       0
      blight         0          immaculate       0            vulnerable      0
      wrest          0          ascent           0            kinship         0
      enumerate      0          acrid            0            conservatism    0
      daunted        0          binocular        0            jaunty          0
      condescent     0          embankment       0            inventive       0
       10            0           11              0
      zany           0          galore           0
      jerking        0          rotunda          0
      nausea         0          capitalism       0
      gratuitous     0          amnesty          0
      linear         0          risible          0
      inept          0          exonerate        0
      legality       0          our              0
      aspen          0          luxuriate        0
      prevaricate    0          piebald          0
      barometer      0          crunch           0

Overall, the rough reading screening, the sentences and excerpts from the Flynt Cooter
indicate that Mr. Cobb reads independently, but with some effort, at a second-grade level.


IV.2.d.iv. Reading behaviors.     Mr. Cobb’s reading activities consist of reading the
headlines, but he prefers to watch in ASL instead. However, news like the Daily Moth is
too advanced for him and not ASL-friendly enough. He uses Facebook, but this does not
imply extensive reading. He looks at pictures, short comments, posted news. He watches
television with closed captions and reads them but with many gaps. He recognizes that
he does not understand many words, which also limits the benefits of closed captioning.

IV.2.e. Vocabulary
You cannot read, lipread, or write what you don’t understand. Since Mr. Cobb is an adult,
we might also expect him to have acquired some specialized vocabulary that a child reader
would not have. Therefore, it is important to look at some of the specialized vocabulary
he might encounter as an adult. The following vocabulary lists present first a list of
twelfth-grade words, typically acquired through reading. The next list is a mixture of
medical and general vocabulary someone might encounter in a healthcare situation. The
last list is comprised or words one might encounter in a law enforcement context.




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The results of Mr. Cobb’s vocabulary test appear below:

       correct   false +   category               incorrect   recognized   unrecognized   total        % correct   % incorrect

             0         0   twelfth grade                 90            0            90            90         0%          100%
           14          5   hospital and general          76          19             71            90        16%            85%
           24          6   police                        66          30             60            90        27%            73%
           11          2   employment                    79          13             77            90        12%            88%
           49         13   total                        311          62            298        360           14%            86%



IV.2.e.i. Twelfth Grade (grade-level reading list)
Mr. Cobb got none of the 90 twelfth-grade vocabulary items correct (0%). He didn’t even
falsely recognize any. We can say in this case that he seemed to know what he didn’t
know reliably.


IV.2.e.ii. Medical and General Vocabulary
He did better recognizing medical and general vocabulary. He got 14 of the 90 vocabulary
items correct (16%). He thought he recognized 19 medical and general vocabulary (21%),
but 5 of these were incorrect. He confused admission to the hospital with ambulance, change
the dressings with change the dress, consent with doesn’t have, and follow up with follow and
up. So, 20% of the time when he thought a word was correctly recognized, it was incorrect.
He was a little better at recognizing words in this category, but he was also less reliable at
distinguishing words he knows and doesn’t know.


IV.2.e.iii. Law Enforcement Related Vocabulary
Mr. Cobb was able to identify 25 of the 90 law enforcement words correctly (27%): abuse,
accident, address, alcohol, arrest, assault, attorney, bail, charged with a crime, court, driver's
license, fault, felony, found guilty, injury, license, and motor vehicle. He thought he recognized
30 words (33%), but 6 of these were incorrect. He confused, accident report with to report
someone, booking with a book, DUI with drinking but not the violation, DWI with drugs
(although we suspect that he does know these and was just attributing one to drugs and
the other to drinking and never specified it was a violation; it would only bring him from
27% to 30% however), fact with agrees with you, where’s the other party with party as in a
festive event, and he didn’t know the word impaired in hearing impaired. Notably, he did
not know words like alleged, consent, dismissed, identification, incarcerate, remain silent,


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sobriety, take into custody, and waive. So again, 20% of the time, when he thought he
recognized a law enforcement word, he was incorrect. If we count, DUI and DWI as close
enough, then he got 30% correct and he was unreliable only 13% of the time.


He is better at recognizing words related to law enforcement and is similar in his ability
to distinguish words he knows from words he doesn’t know to what was seen in the
medical vocabulary. He is still at best only getting 30% of the vocabulary in this domain.


IV.2.e.iv. Employment Related Vocabulary


Although he works quite a bit, Mr. Cobb’s employment consists mostly of odd jobs and
blue-collar work, so he is not familiar with the full range of employment vocabulary. He
was able to identify 11 of the 90 employment-related words correctly (12%): bullying, clock
in, fired, hired, IRS, overtime, bail, charged with a crime, court, driver's license, fault, felony, found
guilty, injury, license, and motor vehicle. He thought he recognized 13 words (14%), but 2 of
these were incorrect. He confused, breaks with break in and sick leave with if you are sick you
leave. So, 15% of the time, when he thought he recognized an employment-related word,
he was incorrect.


Mr. Cobb has no 12th-grade vocabulary, which are words typically derived from reading,
but he also tends not to assume he knows more words than he actually does. This makes
his knowledge of vocabulary at the 12th-grade level non-existent, but not unreliable.
However, he does have some adult-acquired vocabulary in the specialized areas of
medical, law enforcement, and employment, where he has some world knowledge. His
vocabulary is highest in the law enforcement domain 27-30%, but it is also the most
unreliable in that domain, but only slightly more. The issue is that even 30% is a poor
vocabulary. Also, acquiring specialized vocabulary as an adult does not impact reading
level. Mr. Cobb’s vocabulary in English is very limited and unable to support effective
communication access.


V. Narrative Production (ASL v. English written v. English spoken)




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In this final section of the assessment, we compare the volume and articulateness of Mr.
Cobb’s production of three renditions of the same narrative in three different forms:
signing in ASL, writing in English, and speaking in English.


V.1. Narratives signed in ASL
Mr. Cobb’s renditions of Mr. Koumal Flies Like a Bird and Mr. Koumal Battles his Conscience
demonstrate strong competency in ASL grammar (see videos).


His signed narratives demonstrate ADJECTIVE fluency in ASL.

      Mr. Koumal Flies like a Bird (signed)                       Brandon Cobb
      HCL:S(2h)-SWING-PICK+++[upward] ON MOUNTAIN. CL:B-EXTEND[upward on incline]
      CL:B#CL: ON++[upward] HCL:S(2h)-SWING-PICK+++[upward] CL:1[horizontal]#CL:X-TO-
      ON^TO+++[up] SUCCEED TOP HCL:S(2h)-SWING-PICK. SEE^IX[left] BIRD FLAP-
      WINGS(FLY)++ †SBP[koumal, head back and forth]#LOOK-AT3p[left, bird]. [facial gesture: hm].
      CURIOUS IF SUCCEED CL:B#CL:bentV-JUMP-OFF (FLAP-WINGS)FLY++. WRONG [IT
      WORK]neg TUMBLE+++ HIT. DREAM THEN THINK HOW. SEE SEE CL:V-FALL UH..UH..f-u-
      r shoulder#CL:V-ON-FROM. NAME TRUE KNOW^NOT NAME. CL:V-FALL[floating,
      downward]. LOOK-AT[down, feather] 1pPICK-UP[feather] MAKE arm#CL:4-ON+++[along].
      TRY FLAP-WINGS(FLY)++ CL:V-FALL^CL:1(2h)-TUMBLE++. EAGLE LAUGH+++++, CL:1(2h)-
      TUMBLE++[downward] CL:1(2h)-TUMBLE++[downward], †††[headnod(Tag)]. MORE LOSE h-a-
      i-r FINISH TRY AGAIN MAKE FULL arm#HCL:lotus-PUT-ON[along] SBP-
      UPWARD(JUMP)^(FLAP-WINGS)FLY++. CL:1(2h)-TUMBLE++[downward] AGAIN. THEN
      ††
         [LAUGH BIRD LAUGH+++]. LOSE h-a-i-r FINISH ††[NAKED BEGIN FINISH. MAKE AGAIN
      SBP-UPWARD(JUMP)^(FLAP-WINGS)FLY++. AGAIN CL:1(2h)-TUMBLE++[downward].
      neg[SUCCEED]. s-o FIND BIRD MANY. DECIDE GATHER+++ TAKE3p[down, feathers]
      shoulder#HCL:S(2)-CARRY-ON+++. arms#HCL:lotus-PUT-ON[both]. FLAP-WINGS(FLY)++.
      SBP-DOWNWARD. [gesture: well] FAIL.

      “He climbed up a mountain swinging a pickaxe. It was steep. He went upward swinging his pick
      until he succeeded in reaching the top. Throwing down his pick, he saw a bird flapping its wings
      and watched it moving back and forth. Hm, he thought, I am curious if I successfully jump off this
      peak and fly as well. He was wrong, it didn't work and he tumbled downward, finally hitting the
      ground. He dreamed about it and then thought about how. He saw fur [feathers] falling from the
      bird's body (Comment: I really don’t know the name for those.) and floating downward. He
      looked down at the feathers, picked some up, and put them along his arms to make wings. He
      flapped his wings, fell, and again tumbled to the ground. The eagle laughed as (the man)
      tumbled downward, he did; and lost even more hair [feathers]. Filling his arms with feathers, the
      man jumped off and flapped his wings, but again tumbled to the ground. Then the eagle laughed
      hysterically until it lost all of its hair [feathers] and became naked. Again the man made wings
      with them and again he jumped, flapped his wings, and tumbled to the ground. He didn’t
      succeed. So, he found many birds and decided to gather up [their feathers], throw them over his
      shoulder, and carry them [back up the mountain]. He put them on both arms, flapped his wings
      again, and went down. Well, he failed.”

      †
       Quantifier float: Shifts[back and forth] from verb to SBP; later his articulation of FINISH puts its
      movement on the preceding SBP
      ††
         ASL verb sandwich (simple verb-noun-more complex morphological form)
      †††
          A deep head nod like this tends to mark a sentential Tag (e.g., The eagle laughed, he did.)




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Note that it took a full six minutes to get Mr. Cobb to begin to produce his ASL rendition
of Mr. Koumal Battles his Conscience. This was the first cartoon presented to him. In the end,
Dr. Rowley got him started by giving him the beginning and then he took over the rest.
For purposes of comparison of how prolific his ASL versus written narratives are, we will
compare his renditions of Mr. Koumal Flies like a Bird (signed and written that were
collected on another day when he was more rested and ready to engage in the task.
However, even with having been started on Mr. Koumal Battles his Conscience, the
difference in what he can convey via signing, writing, and speaking is clear.

       Mr. Koumal Battles his Conscience (signed)                   Brandon Cobb
       RIGHT. rs:(koumal)1pGIVE-TO3p[left] rs(beggar): [1pHCL:T-handle cap"-HOLD-OUT-
       TO3p[right,woman]]. OTHER WOMAN rs:(woman): [1pGIVE-TO3p[beggar] PENNY RIGHT.]
       WOMAN LOSE c-a-s-h THOUSAND ON GROUND. s-o [MAN]topic SEE ON FLOOR.
       THINK^CL:C(2h)-BUBBLE-OPEN[gradually]. 1pWISH HOME KING HOUSE BEAUTIFUL
       KING. CHANGE, SECOND EARTH. CHANGE, POSITIVE++ NEGATIVE CHARGE MONEY.
       1pGIVE-TO3p[right] TO IX[det, right] WOMAN MONEY 1p#back-TO3p[woman]. NEXT,
       GOD[left] shoulder#CL:H-ON POSS3p[right] START f-o-o-t TO h-e-a-d HALF RED DEVIL
       rs[devil][SELF 2pPULL-TO DON'T LET 2pGIVE-TO3p[right,woman]. 2pKEEP CLOSE. WHAT
       WANT SPEND. UM.. START OTHER MAN rs(beggar):[SEE3p[money] STEAL3p[money]].
       A[money]THUP rs(koumal):[[gesture: what's happened] CL:1#CL:1-TO-ON[reciprocal]. THEN
       BECOME SUSPICIOUS 1pSEE CL:3-[left]FROM-TO[rightward]. [beggar]#back HCL:T=>L-FLICK
       PENNY CL:B[palm]#CL-1-TO-ON. FINISH.

       “Right. He gives something to a beggar holding out his cap. Another person, a woman, gives a
       penny to the man. Right? The woman loses a thousand dollars of cash that falls on the ground. So,
       the man sees it on the ground and thinks to himself, “I wish I had a royal mansion” Then his
       thoughts change to (traveling) the world. Then they change to seeing a list of monetary
       transactions, credits and debits. He considers giving the money back to the woman. Next, with
       God on one side and the devil on his shoulder, he is pulled apart starting from his feet and
       moving to his to his head. Half of him is now the red devil, who says, “Pull that money to
       yourself. Don’t let anyone give it back. Keep it close. Spend it on what you want.” But the other
       man (the beggar) sees the money on the ground and steals it. It is gone in a flash. The man
       (Koumal) is wondering what happened. His good and evil sides rejoin. Then, he becomes
       suspicious as he sees a car drive by. The beggar flicks the penny back to him and it lands in the
       palm of his hand. That’s it.”



Mr. Cobb's signed narratives are far more prolific than his written English narratives,
conveying much more visual and spatial detail than any of his English narratives. His
ability to express himself in both ASL and written English is very different. While his
signing at times may be a bit sloppy, overall we see repeated evidence of mastery of ASL
grammar and vocabulary. We have some concern that his extended lack of contact with
the Deaf community and interaction primarily with hearing people and family members
can have led to his producing a kind of hybrid ASL that at times just strings together signs



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in a way that limited signers might be able to follow in a telegraphic way. This somewhat
atypical signing style often happens with people who have been isolated from the
language and the community for extended periods and who know they can only sign or
gesture so much to get by, leaving the rest to shared context. We don’t believe this was his
signing style at baseline, but currently, while ASL is his best language for communication,
his style can be a little vague and a little more difficult to unpack. This is one reason we
feel a Deaf interpreter is necessary for any high stakes situations where he needs to fully
understand and be understood.


Mr. Cobb’s written renditions of the same Koumal narratives can be seen in section IV.2.a.
and are copied here for comparison purposes. Most of the grammatical issues were listed
in section IV.2.c.


         Mr. Koumal Flies like a Bird (written)                          Brandon Cobb
         guy walk to mountain top. I saw bird can fly with wings. I try fly with wings. finally it, but failed
         wreck. bird laughte at guy, Can't fly wing. BIrd have few lost hair guy made wings hair try again
         jump fly wing it again wreck. bird again laugh at guy. bird lost all hair. guy made lot hair wing.
         again full wreck. guy see chickens lot. ateal chickens hair. again made full hair. again jump failed.


         Mr. Koumal Battles his Conscience (written)                           Brandon Cobb
         Guy take penny from his pocket give to homeless hat penny and women give to homeless penny
         too. Woman lost cash left. Guy saw cash left floor. He image how much gain $$ and earth move to
         where place. Guy change mind give to woman back cash and hug god. Guy half hell and angle
         fight over cash. Homeless saw it then steal cash. Guy half hell and angle lost mind. Homeless new
         car ride give to guy back penny.


As can be seen, his command of English is very limited and difficult to understand.
Writing, except in the most rudimentary of interchanges, cannot serve his communication
needs.


V.3. Narratives in spoken English
Mr. Cobb was not comfortable nor used to speaking. He was actually upset at having to
do so. For many Deaf people, including him, being forced to speak is embarrassing and
felt to be demeaning. His spoken English is not only less grammatical than his written



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English, it is also completely unintelligible. Cajoling individuals into speaking is often the
most unpleasant part of the assessment for us.


The discrepancy between Mr. Cobb’s skill in any modality of English and his ability to
communicate in ASL is vast. What is written below is Dr. Shepard-Kegl’s transcription of
what she believed to be his intended speech targets based upon lipreading and seeing
concurrent signing. These spoken recountings are reproduced below from IV.1.a.i.

       Mr. Koumal Flies like a Bird (spoken)                               Brandon Cobb
       One guy to mountain again again saw [only signed: bird] can fly. Mmm. Fly but fail. Bird laugh hah.
       Can't fly. Lose hair. Steal to again climb. Fly again. Finish [only signed: walk] bird. Bird, "Ha ha."
       [only signed lost] all hair. [only signed: then saw] bird [only signed many many] steal some bird hair then]
       make. Fail.

       Transcription of speech: /wʌ ga tu mãʊ̃. ɛ ɛ suw kɪ̃ fay tʌ. mmmm. bɛ fɛ. ɪ læ: hɛ. kæ fɛ. lɛ hɛ. sɛ tu
       gɛ kɪ. fɪ ɛ̃. c bʊɹ. bʊ hɛ hɛ. ɔ ɛ. [click sound]. mɛy. fɛ./ [link to spoken sample]

       Mr. Koumal Battles his Conscience (spoken)                            Brandon Cobb
       One man walk to see homeless. [He signed, "This is sick. I bothers me to voice." Dr. Shepard-Kegl
       responded, "Try your best please."] Saw man beg penny one coin give. Woman give coin. Dollar fall
       fuw. Saw mmm [onomatopoeia: thinking] balloon, "house, and earth, plus negative plus. Give to
       cash. God happy. Okay, red foot to head. Devil pull, keep. Fight, fight, fight. Fight. Saw puw
       [onomatopoeia (steal)]. Finish, where? See care oooo [onomatopoeia (drive by)]. Finish.

       Transcription: /wʌ mæ̃ wʊ tu siy hʌlә. Started again: suw mɛ bɛ pɛ: wʌ sɛy kʊ ɛʊ. wʌ gɪ kæ. dʊ fɔ
       fuw. tɔ mmm bʌʊw, wә kʊ, ә uw, pʌ nɛv pʌ. wɛ tʊ kæ. ga pɛɪ. kʊ. ɹɛ: fɛʔ ʊ ɛ. diy pɪ. k.. fʌfʌfʌ fʌ. sɔ
       puw kuw. Fuw, wɛ. siy kɔ uw. fɪ./


V.4. The influence of English on ASL and vice versa
There is some English influence on Mr. Cobb’s ASL, but it is usually the tendency to
produce uninflected ASL verbs at times or strings of signs, rather than a grammar
influence on ASL. Once in a while a conceptionally inaccurate sign choice like the sign
WORK (meaning “do a job”) where it should be SUCCEED (meaning “it worked”). There
is indeed an ASL influence on his written and spoken English. In fact, the grammar of ASL
(including ordering) often drives his English production.


V.5 Comparison of narrative production in English and ASL
In comparing the Koumal narratives in ASL and English, it is clear that Mr. Cobb is most
comfortable with ASL signing. He is not proficient in written English. He is by no means
a balanced bilingual in these two languages and modalities.



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Individual Assessment: Joseph Nettles (male, 52)

I. Linguistic/Cultural Profile


I.1. Responses: (also in ASL on video)


I.1.a. Born deaf? No, he was not born deaf. Meningitis is suspected; however, he says he
became deaf from a fever at 2 ½ years old.


I.1.b. Deaf parents? No, his family is not deaf. He is the 6th of 8 children. There are other
relatives who are deaf as well. He only knows one cousin but has not met the others.


I.1.c. Attended residential school for the Deaf? He started at Georgia School for the Deaf
in Cave Springs at 4 years old then moved to Louisiana School for the Deaf in Baton Rouge
at age 7 in 1974.


I.1.d. Tends to associate primarily with Deaf people? Due to his criminal record and
probation conditions he has very limited socializing with Deaf or hearing people. If that
was not an issue, he would prefer socializing with other Deaf people. For that reason, he
tends to have superficial socialization with hearing people.


I.1.e. Is a member of Deaf clubs and organizations? No.


I.1.f. Married a Deaf spouse? His current girlfriend is Hard of Hearing and his ex-wife is
Deaf. They have 4 children together. All of the children are hearing but use some ASL.
None are certified interpreters, and some are not fluent ASL signers.


I.1.g. Typical Deaf occupation? He worked as a machine operator out of high school,
making glass for fluorescent light bulbs. He has had many job experiences since such as:
Walmart, McDonalds, Applebees, Outback. He started as a janitor, then moved up to cook.
He tends to communicate with other employees through gestures and some rudimentary,
highly routine spoken phrases. New employees don’t understand him but become used



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to him later on, for very job-specific communication. He worked in manufacturing on an
assembly line for Live Oak mobile homes, then left his job due to better pay at a shrimp
factory. He worked as a big truck driver there. Since prison he has held a variety of
different jobs.


I.1.h. Awareness of dB loss? He knows he is profoundly deaf but does not know what his
hearing loss in terms of decibels (dB).


I.2 Early Life Choices: In terms of early life choices, the decisions made for Mr. Nettles
by birth and by his family’s school choices were not mixed. He only had consistent access
to sign language once he began attending the Georgia School for the Deaf. His family did
not communicate with him in sign language while he was growing up. They only spoke
or used gestures.


I.3 Later Life Choices: Mr. Nettles’ later life choices indicate an individual with
identification with deaf culture. He has relationships with people who use ASL and has
grown up at a school for the Deaf and has used ASL most of his life. When he was in
prison, he socialized with other people there who signed. This shows a strong affinity for
communication in ASL. When questioned about his identity, he clearly showed his pride
in being Deaf.


II. Individual’s use of Interpreters
Mr. Nettles reported to us that he was in prison in Georgia until 2011 and that he expects
to be on probation until 2021. Many times, during his legal proceedings, Mr. Nettles
reports not having been provided interpreters, and at other times interpreters were not
provided in a timely manner. His daughters and mother were frequently recruited to
interpret for him. He reports only having interpreters provided during his actual trial.
While in prison, he reports never having had interpreters. There was one incarcerated
person who could sign that the officers at times used as an “interpreter.” However, Mr.
Nettles was very uncomfortable having a fellow incarcerated person know the personal
details about his life, his offense, and his probation that were discussed. Upon his release,
Mr. Nettles reports that he also met with prison officers without an interpreter. They
showed him a map and circled places on it. He didn't know what these referred to and


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thought it was places he should go after prison. He did not understand the conditions of
his release. His mother picked him up from the prison and officers talked with her and
informed her where Mr. Nettles should report for probation within 72 hours of release.
There was no interpreter at the probation office. Instead, probation said that they needed
to have the court arrange for an interpreter to come to the probation office. Mr. Nettles
reports that during this meeting, the probation officer handed him a large stack of papers
that he could not read that he believed were likely his conditions for release and probation.
The officer asked Mr. Nettles’ mother to interpret the documents. She is not an interpreter,
nor is she a fluent or capable signer. For fear that he would not be allowed to leave the
probation office, he signed the papers without understanding them. Mr. Nettles reports
that he could neither access the content of the documents, nor ask questions about them.
He further reports that his mother could neither understand the documents nor answer
his questions. He has been on probation for 9 years, with three different probation officers.
In the first eight years, he was never provided an interpreter for any of the bimonthly
visits with the probation officer. Mr. Nettles reported that inspections of his living area
were done without any communication with him and that he was given lots of papers and
documents to read, sign, and comply with. As discussed further below, Mr. Nettles’
English is very limited, and written documents above a first- to second-grade level are not
accessible to him without an interpreter.


Mr. Nettles informed us that there were also no interpreters provided for annual meetings
at the county sheriff’s office where he needed to sign more papers. The experts assume
that such papers would apprise him of any changes in the rules or conditions on his
probation. He reports that he didn’t understand the papers, but still signed them for fear
that he would be reincarcerated if he did not. As a certified interpreter, Dr. Shepard-Kegl
frequently checks up on comprehension of papers that have been signed by Deaf
individuals not in the presence of an interpreter. Such individuals often report, as does
Mr. Nettles here, that they signed the papers for fear of being denied services or looking
like they were not cooperating.


Mr. Nettles noted that in one meeting at the sheriff’s office, his daughter was asked to
interpret for him. During that meeting, the officer reacted to Mr. Nettles’ signing and
indicated that he felt it was threatening. Recall from our prior discussion that the ASL face


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for who, what, where, wh-questions (wh-questions) is a facial expression often mistaken by
hearing people as an angry facial expression. His animated signing and facial expressions
could not have been understood by an officer as markers of grammar, and they were likely
misunderstood by the officer as an expression of anger. Such misunderstandings are
common. Professional interpreters would have done a cultural adjustment in this case
both conveying a lack of anger in their intonation and via explanation that this is grammar
on the face, not affect (emotion). Prisoners are often written up for aggressive
communication when they are simply using ASL grammar.


Based on our interview, we ascertained that Mr. Nettles has been receiving VRI
interpreting since 2019, but that he still struggles to understand many hearing interpreters
and would benefit from a Certified Deaf Interpreter if an interpreter is needed or
provided. He informed us that when he has received interpreting services, the information
is still sometimes over his head, but he nods anyway even when he does not understand.
This is the nodding behavior mentioned earlier, and there are many reasons why it can be
happening: self-esteem issues, power imbalance, hesitance to criticize or correct someone,
etc. The point is that if it is happening, it is an indication that while being provided an
interpreter, it may not be the right match of an interpreter for his needs. No interpreter
should accept nodding as an indication of comprehension. Probing for understanding
with open ended questions as well as “teach back” (“so explain back to me to me what I
just told you.”) is standard practice. Deaf Interpreters are particularly attuned to such
behaviors and are regularly probing for understanding. The fact that Mr. Nettles nods is
one more reason why it would be prudent to use as CDI with him. It is important to
remember that the interpreter is there for both interlocutors. Both need to effectively share
information and to have it shared with them.


With the current pandemic, there have been many interpreters on TV along with
governors and other prominent officials. When asked about understanding what was
being signed on TV, Mr. Nettles admitted that he did not follow along too well. This is
possibly for at least two reasons: the content being covered was above his level of
understanding, or the interpreter was not using enough ASL and was more English
directed. All of this supports the need for a Certified Deaf Interpreter in high-stakes
situations like hospitalization, emergency room visits, explanations of prognosis and


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treatment, arrests, non-routine probation meetings, meetings with therapists and social
workers, depositions, court, etc. In less high-stakes situations, a strong ASL-signing
interpreter who regularly probes for understanding can be used.


Mr. Nettles reported to us that he regularly requests interpreters for his medical
appointments, hospitalizations, probation meetings, and for legal proceedings.



III. American Sign Language Proficiency
Based upon his auditory status and his cultural profile, Mr. Nettles’ primary and preferred
means of communication, and the language in which he most reliably produces and
comprehends information, is expected to be American Sign Language. The following
assessments are designed to confirm or disconfirm that expectation based upon his
answers in the cultural profile.


III.1 ASL Production (Grammar)
Mr. Nettles’ language production was assessed using a variety of tasks as well as free-
flowing background conversation. ASL production elicited by the 1.5-minute Mr. Koumal
cartoons also contributed to this analysis, but these will be discussed in their own section.
Mr. Nettles’ ASL production demonstrates a fluent proficiency in ASL grammar, and he
has a competent command of ASL production. In his signing, he demonstrates verbs of
motion and location, spatial morphology, aspectual morphology, reduplication, ASL
forms of direct address, and complex classifier use, in addition to many other features. He
uses facial grammar such as non-manual markings for yes/no and wh-questions, as well
as for relative clauses and conditionals. He is fluent and comfortable while signing ASL.

III.1.a. Verbs of Location (Topological Relations Task (Bowerman Task)).
In the Topological Relations Task, Mr. Nettles’ word ordering strongly favored the
Ground before Figure ordering of ASL as opposed to the Figure before Ground ordering
of English. Of the 25 stimuli presented, he produced 16 using the Ground before Figure
order (64%). His production mostly followed the ASL as opposed to English ordering. On
the ones that he used Figure before Ground, he also added signs for English locative words
(prepositions), such as when describing a line drawing of a yellow ball under a chair. He



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signed UNDER BALL YELLOW WITH CHAIR. The use of English in this sentence and
others was not clear and shows hypercorrection of English. The English preposition with
is the only one in English that allows the ordering of Ground before Figure: a table
(Ground) with a cup (Figure) on it versus a cup (Figure) is on a table (Ground). Notice in
the previous ASL sentence, Mr. Nettles sprinkles in the English word with as a form of
hypercorrection, but he does not actually have command of the syntactic structure of the
with-construction. With no awareness of ASL on the part of the receiver, the sequence
would be more likely understood as “the chair was under the yellow ball.” When the
Ground before Figure order was used, ASL grammar was consistently used to convey
where the objects were in relation to each other, making his utterances easier to
understand than the isolated strings of words he produced when he tried to use English.


III.1.b. Background conversation. In background conversation throughout the testing,
Mr. Nettles used primarily ASL. At times when the interviewers shifted to a more PSE10
signing he would match that as best he could. While the hearing interviewer was talking,
he tended to voice (not intelligibly) and sign in a more English order, while the deaf
interviewer used ASL, he matched that effortlessly.


III.2 ASL Comprehension.
Throughout the testing, he demonstrated consistent understanding of ASL with ease. If
something signed was unclear, he would readily ask for clarification. When content was
more challenging, he asked for more clarification.


III.2.a. Background Conversation.
He understood our conversation throughout the assessment well. We took every
opportunity to converse with him throughout the assessment. There was a lot being



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   Pidgin Sign English (PSE) is an older name for what is currently referred to as “contact signing.” It really
isn’t as basic as a pidgin, which occurs between two completely mutually unintelligible languages. This
form of language (sometimes called and interlanguage) involves the use of language variation on a kind of
sliding scale between full ASL and a range of signing that is influenced by English to varying degrees. In
PSE, a signer might follow an English word order more and use less of the complex agreement and
morphology characteristic of ASL. Deaf people who are more bilingual than Mr. Cobb can shift to using PSE
at times when signing with hearing people who are not native in their ASL skills. There is no one “form” of
PSE, it varies depending upon the interlocutors are and what their range of language use is.


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discussed, and he could participate in all the topics addressed with appropriate
scaffolding and clear ASL.


III.2.b. Bird of a Different Feather (Bahan).
Mr. Nettles was not familiar with the Bird of a Different Feather composed in ASL and
signed by Ben Bahan, a Deaf native signer of ASL. In viewing, Bird of a Different Feather,
Mr. Nettles understood the general story line. He did recognize the allegory and was able
to present the parallels between the bird storyline and the experience of a Deaf child
growing up in a hearing family. While there were many opportunities to catch parallels
between deaf experiences and the bird experiences in this story, he only caught a few.
Some of the allegory requires a higher level of analytical knowledge, or what is referred
to as CALP. He was not able to catch or discuss any of these more sophisticated analogies,
which would have required more cultural background in ASL and a genre of
communication (Academic ASL) that is learned and used in educational settings.


III.2.b. DWI (Rivera).
Mr. Nettles had previously not seen the story DWI composed and signed by David Rivera.
He understood the classifier story with ease. He recognized the productive forms
involving Size and Shape Specifiers (SASSs): sports car, cab of truck; grille, trailer of truck
detaching and skidding, and the bottle of liquor. He recognized the full range of object
classifiers used: spokes, speedometer, pedal to the metal, trees going by, rabbit, rabbit in
the headlights, woman’s head against the window, man’s head against the passenger
window, man’s head against the driver’s window and man’s head through the
windshield. He got the handling classifiers: Woman’s hands hitting man’s chest, cigar and
it smushing into the windshield. There were many cinematographic perspective shifts
throughout the story. He caught them all. He caught that the car landed upside down. All
of this comprehension depends upon being able to process the productive use of classifier
constructions (depiction) in ASL.


As a follow up, there were two errors in this story. First, although the car landed upside
down the ambulance people treated the car as if it was right side up. Upside down the
woman was incorrectly on the driver’s side and the man on the passenger side. In



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addition, the ambulance drivers break the windows to access the driver and passenger,
but the windows had already been shattered. He caught these errors.


III.3 BICS vs. CALP.
It is important when looking at language proficiency to distinguish between proficiency
in Basic Interpersonal Communication Skills (BICS) and Cognitive Academic Language
Proficiency (CALP).


III.3.a. Basic Interpersonal Communication Skills (BICS).
Mr. Nettles has full mastery of Basic Interpersonal Communication Skills (BICS) in ASL.
In casual conversation, he is fluent and comprehends easily.


III.3.b. Cognitive Academic Language Proficiency (CALP).
When language becomes more academic in nature or involves explanation of new
unfamiliar information or tasks, he is not as proficient at engaging in analysis, synthesis
and evaluation using ASL. His analysis of the allegory in Bird of a Different Feather testifies
to some weakness in this area. Even though he was able to catch some of the allegory,
others were harder. He may have some CALP, but his Academic ASL is not strong and he
does better with more scaffolding.


Summary of ASL language proficiency.
In summary, the factors in the cultural profile that would predict ASL fluency as well as
a strong identification with Deaf culture were reliable predictors of Mr. Nettles’ ASL
production and comprehension. He has passable, but not strong, Cognitive Academic
Language Proficiency (CALP) in ASL.11 This is not surprising given the amount or
academic training he has experienced in ASL, but limited education in a post-secondary
setting.


IV. English Proficiency



11
  CALP is discussed in detail in the background section of this report. Basically, concerns the ability to use
language for synthesis, analysis, and evaluation. It is a level of language use learned in school, not just
picked up through casual conversation as BICS (Basic Interpersonal Communication) skills are.


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Mr. Nettles signs ASL with near-native fluency. The remaining question is the extent to
which English can or cannot serve alone as a communication alternative to ASL for him.


IV.1. Spoken English Competency.
Mr. Nettles’ speech has very limited intelligibility.


IV.1.a. Speech.
After signing and writing renditions of the two 1.5-minute Mr. Koumal cartoons, he was
asked to speak a rendition of each of the Koumal cartoons. He was not comfortable
speaking, but he did perform the task. His comfort level in these two
languages/modalities is evident when comparing the videos of his signed narratives with
his spoken narratives.


IV.1.a.i. Speech Quality.
It is best to review Mr. Nettles' speech by listening to the speech samples included in the
videos. Transcriptions of Mr. Nettles’ speech samples appear below:

       Mr. Koumal Battles his Conscience (spoken)                          Joseph Nettles
       Same story that story? The man in pock(et) give to homeless the money. Other man give the
       money give money too. So, that man lost money. Then dream somehow fight devil angel. Then
       homeless got money. Then buy a car. Give the coin to man back. Fine, guess that right. I don't
       know.

       Mr. Koumal Flies like a Bird (spoken)                            Joseph Nettles
       A man dig mount(ain)...top. On ground think g ood (thumbs up) feel. Look..(th)e(m)..saw bird...I
       can fly. Umph fall on ground. How..feather put in. I can fly. Fly, fall. Go other farm on chicken a
       lot. Try work fly. Mountain phhhht. Find lot of gold. Then put business store. What. Gold a lot.

Mr. Nettles’ speech production is very difficult to understand. He was not comfortable
speaking, but he did do the task to the best of his ability. Listening to his spoken renditions
of the two Koumal cartoons, especially without knowing their content immediately
reveals that he cannot rely upon speech for communication.


IV.1.a.ii. Intelligibility.
With rewatching many times and lipreading him as he recounted Mr. Koumal Battles his
Conscience, Dr. Shepard-Kegl (who also was familiar with the story) was able to transcribe
much of what he was saying, but not with complete reliability. In the rendition of Mr.



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Koumal Flies Like a Bird, where he chose to sign while speaking, it was easier as a signer to
recover the target words, but so much speech was omitted and replaced with signs that
the spoken rendition of the story was completely unintelligible. Mr. Nettles is not
comfortable speaking without signing, so unless the person he is speaking with also
knows ASL, speech will be unintelligible to them.


Some basic words and possibly a few routine phrases are recognizable for someone
familiar with Deaf speech or very familiar with Mr. Nettles’ speech (like a family member).
His speech overall had a nasalized quality frequently seen in people with hearing loss.
There is no auditory feedback letting him know that the velum at the back of the mouth
has dropped so the sounds /b/ and /m/, /d/ and /n/, /g/ and /ng/ sound the same.
Voiced and voiceless distinctions are also collapsed so /b/, /p/, and /m/; /t/, /d/, and
/n/ fall together. In addition, all vowels have a nasal quality. The same lack of auditory
feedback allows all the target locations of consonants produced to be imprecise, leading
to a slurring of speech. In addition, multiple syllables are often collapsed into one (e.g.,
money is sometimes pronounced “muh”; other is pronounced “the,” and angel becomes
“each”), and even more frequently syllables are added (e.g., give is pronounced “giv-uh,”
homeless is pronounced “ho-me-less”). Initial consonant clusters are often simplified (story
becomes “tori”) and at times omitted (e.g., somehow becomes “emaw”). Final consonant
clusters are usually simplified and often omitted (e.g., lost becomes “law”; pocket becomes
“pahk”). Final consonants are either omitted or a vowel is added after them (as in giv-uh).
Even with repeated viewing and knowing the context, there were stretches of speech that
Dr. Shepard-Kegl could not identify or could only guess at with a high degree of
unreliability.


Confounding understanding Mr. Nettles’ speech even further (as can be seen in his
writing) is that he is by no means a native speaker of English. His word order is different,
he uses English prepositions as if they are verbs, he omits pronouns as he should in ASL,
but should not in English. See the analysis of his English grammar in the writing section,
but consider the following example from the very beginning of his spoken rendition of
Mr. Koumal Battles his Conscience. The context is that a man is about to climb a mountain.
Mr. Nettles says “tuh mae in pahk.” A hearing listener would likely assume he was trying
to say, “The man was in the park.” In ASL, in is a verb, much like enter in English. So,


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following the grammar of ASL, Mr. Nettles says, “Man in pocket.” In actuality, he is
saying, “The man put his hand in his pocket.” His speech is rife with such structures, and
thus misunderstanding, even by the most proficient in understanding Deaf speech, is
inevitable.


Except for the most routine communication and with an individual that has become
familiar with his speech, spoken English is not a viable means of communication for Mr.
Nettles.


IV.1.a.iii. Auditory monitoring alone.
With auditory monitoring alone, Mr. Nettles’ speech was almost completely
unintelligible.


IV.1.b. Lipreading
The other side of communicating through speech is using lipreading to receptively process
the speech of others. The lipreading task involves two presentations of each stimulus
(either a word or whole phrase or sentence). Each presentation was loud and very precise.
If Dr. Shepard-Kegl felt Mr. Nettles was close, she sometimes repeated the item more than
twice. The Zoom camera was focused on her face and upper torso and she was well lit.
Each phrase or sentence was enunciated clearly and loudly, allowing the best possible
chance of being understood.


It must be reiterated that Mr. Nettles was tested under relatively ideal conditions. The
room was well-lit and devoid of background noise. Although we were on Zoom, we were
directly facing each other one-on-one. Items were repeated and the stimuli were produced
by a certified oral transliterator (OTC) trained to produce clear speech. Even the
knowledge of the logistics in setting up such an environment (in a face-to-face setting)
would be beyond the knowledge set of law enforcement officials working with him.


IV.1.b.i. Words Of the 17 words, Mr. Nettles correctly identified 5 (29%). His incorrect
responses demonstrated that he was doing his best to recognize the words. For example,
for city he responded “T” and then “ten.” “T” correctly identifies the second syllable. In
his second guess, he got the initial consonant and the vowel, although made lower in the


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mouth is a front vowel like the vowels in city. Front vowels in English spread the lips,
while back vowels in English round the lips. He was using this information. For chin, he
said chicken, getting the initial /ch/ sound, the high front vowel and the final nasal correct.
And for split, he said please, missing the s in the initial consonant cluster but getting the
pl and the frontness of the vowel. In addition, the final /s/ is made in the same place as
/t/, but it in a continuant as opposed to a stop consonant. He does his best, but his best
isn’t good enough.


IV.1.b.ii. Sentences and Phrases Of the 47 sentences and phrases, Mr. Nettles correctly
identified 15 (23%). This is his best performance, under ideal conditions. The sentences
and phrases produced are both routine and highly expected and less expected. Mr. Nettles
successful responses were limited to highly routine sentences like What’s your name?,
What's your address?, What's your favorite movie?, Can you understand me?, What's your
telephone number?, What's your social security number?, How long have you been working here?,
and Do you have a TTY? (routine for Deaf people). The only exception was Have you ever
had a transfusion? He struggles with numbers. And, when presented with You have the right
to remain silent, he responded “talk about dialysis; you have replace for dialysis.”

A summary of his results appears in the following chart.


 correct    incorrect     Stimulus (lipreading)                         % correct      % incorrect

 15         49            64 stimuli                                    23%            77%

 5          12            17 words                                      29%            71%

 10         37            47 phrases and sentences                      21%            79%


IV.1.c. Impact on communication
Of the total 64 stimuli, he got 15 correct (23%). His lipreading is a below average for the
range of possible lipreaders and not sufficient to support communication via speech
reading. The average is about 30%. In a well-lit environment while face to face, Mr. Nettles
could lipread only 23% of what was said.




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In a legal setting, even if Mr. Nettles were in a well-lit room, seated in front of his
interlocutor, relaxed, and well-rested to avoid the loss of lipreading with fatigue, and even
if the interlocutor were willing to repeat words and sentences several times and to probe
for understanding, less than 30% of the message is the best he would be able to get. Mr.
Nettles’ lipreading is poor at baseline and will get cumulatively worse over the course of
a conversation as misunderstanding builds. In high stakes situations that add stress to the
mix it will degrade even further, not just for Mr. Nettles, but for any lipreader. Lipreading
is not an option for Mr. Nettles in terms of access to communication.


IV.2. Written English Competency
Mr. Nettles’ written English was tested by collecting written renditions of the two Koumal
cartoons ant two wordless books: Mr. Koumal Flies like a Bird and Mr. Koumal Battles his
conscience. These written samples were analyzed for their grammatical accuracy, their
influence from ASL, and for their argument structure distribution, which is an indication
of their performance that can be compared with native speakers of English, other Deaf
ASL signers, other deaf writers of English, and individuals with a frank language
disability, agrammatic aphasia.


IV.2.a. Argument Structure Distribution: Data Collection
A full argument structure analysis is best with a minimum of 150 verbs and their related
arguments. The data considered for this analysis were the written recountings of the two
Koumal cartoons and two wordless books. Two recountings were collected during testing.
And two were produced between our testing sessions. An analysis was done on each of
the narrative samples to see if there were any major differences, and then they were
combined. Mr. Nettles produced a sample of 164 utterances. The individual samples were
sufficient to yield a reliable argument structure distribution.

In the binder of testing materials, we included a set of materials that convey a set of stories
and folktales completely through pictures. The goal of these materials is for the individual
to find a story they already know, like Little Red Riding Hood, The Boy Who Cried Wolf, The
Pied Piper, Rip Van Winkle, etc. and to use the prompts to help them remember and retell
the story. We only use these materials if we cannot collect a large enough sample of data
from the Koumal stories and wordless books mentioned above.


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However, in addition to the samples described above, Mr. Nettles, on his own, also
produced an additional recounting on his own based upon graphic prompts for the story
of Rip Van Winkle. These graphic prompts are designed to prompt a person who already
knows a story to recount it fully and are not meant to be used by someone unfamiliar with
the underlying story. Since we already had a large enough of sample from Mr. Nettles’
other four written recountings, and Mr. Nettles didn’t actually know the Rip Van Winkle
story prior to viewing the graphic prompts, we did not include his Rip Van Winkle sample
in the argument structure analysis. We did use it in our more general examination of his
grammar.


Narrative Recounting (combined): 164 verbs; 81 external arguments (49%); 77 non-
copular unaccusatives (47%); and 6 copular constructions (4%). Based upon all narratives
combined, Mr. Nettles appears to pattern most closely with ASL signers writing English.
His percentage of non-copular unaccusatives was not parallel to hearing writers of English
(typically 25%) and he had a much lower percentage of copular constructions (4% as
opposed to 25%). A lower percentage of copular constructions would be typical of deaf
writers of English in general (independent of whether they sign or not). He does also
pattern like deaf writers of English.


In the following sections, each type of narrative is analyzed separately to see if the pattern
is consistent throughout.


IV.2.a.i. Movies. Mr. Nettles did not recount any movies. In lieu of movies, we had him
write stories from two wordless books by Mercer Mayer. Included in our materials is a set
of wordless prompts for familiar fairy tales. Without our asking, we wrote from the one
associated with Rip Van Winkle. However, since we had a sufficient sample and he was
not actually familiar with that story, we did not include it in the argument structure
analysis.

       Rip Van Winkle (written)                                            Joseph Nettles
       The man and dog with pole And He Look the yard and house.
       The man talk with people about fish. He sit on chair and people Listen what He say about this.
       The man stop at women Farm. the women strict talk to him about help something milk cow, cut
       wood with Axe And building roof Redo.
       The man dream About women get yelling and Argue About a thing to do So He think not to good
       idea.


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        He dream think about 2 different His opsion best for him to Easy get fish not Milk Cow.
        He look up the Little man with old Wood & Roll up Hill. He was plan go to fish with pole but He
        Look up the man sort with wood barr
        The man help with push wood barr & Roll with short man Hill up.
        Finally ARRive on Ground yard a lot people short man Excite about wood Barr and the man shock
        it Look alot people short man.
        Then The man drink whine and 2 two Short man happy and drink winee hair with
        Then the man sit and Lay on tree, sleep All day and every a year become too Old and white hair
        with beard white
        Then the man wake up from 1775 until 1790 Then the man Walk up on yard think He feel about
        Women The man walk with wood pike his hand.
        He dream again think about the house.
        He think about old house or Look up one good house He was dream. Other people Look up the
        old man.
        The man think about women on his dream and other men think about Grave it. And people laugh
        what men talk about Grave it. So The old man jump and joy drink beer with cup of beer and He
        was upset something about this.
        The old man sit talking about what happen accident from thunder with Short man people That
        how He became too fast old and White hair and The man List what His talking the story!



IV.2.a.ii. Nonverbal Cartoons. Mr. Nettles recounted Mr. Koumal Flies Like a Bird and Mr.
Koumal Battles his Conscience. This yielded a set of 30 utterances. 30 verbs; 18 external
arguments (60%); 11 non-copular unaccusatives (37%); and 1 copular construction (3%).

The content of the two Koumal cartoons during the testing are presented below:


        Mr. Koumal Battles his Conscience (written)                          Joseph Nettles
        The man was pocket tore up pocket with coin and give to homeless that man sidewalk sit so other
        men give to coin to homeless that man and that person men fall off his pocket a lot dollars so he
        dream about angel and devil over the money fight about his pocket fall on ground and homeless
        man took the dollars and buy the car give to coin to men

        Mr. Koumal Flies like a Bird (written)                                  Joseph Nettles
        The man dig hills on mountain on top ground he is joy then saw the bird can fly and he think
        same he can fly fall on ground get bird feather see if he can fly but not work then other farm
        chicken feather all chickens the if he can fly again not work fall ground mountain break down
        found gold and he own store a lot gold

The argument structure distribution for the written Koumal stories most closely patterns
with Deaf ASL signers writing English. There is a higher occurrence of non-copular
unaccusatives in keeping with that group (37% as opposed to 25%). In addition, the
occurrence of copular constructions is low with deaf writers in general (3% as opposed to
25%).


IV.2.a.iii Wordless Books




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Mr. Nettles recounted the following wordless books: Frog, where are you? and Frog Goes to
Dinner. He produced these recountings on site during the testing but between sessions
and send us photographs of his written work. His wordless book recountings yielded 134
utterances: 134 verbs; 63 external arguments (43%); 66 non-copular unaccusatives (49%);
5 copular constructions (4%). This almost produced sufficient data to perform an
argument structure analysis for the Frog Stories on their own. However, the distribution
for the Koumal cartoons and the Frog stories were similar enough to allow them to be
combined. The transcripts of his written recountings of the Frog Stories appears below
with paragraph marks indicating line breaks.
      Frog, Where are You? (written)                           Joseph Nettles
      The boy LOOK the Frog on Glasses with Tank and dog LOOK Frog too His's bedroom.¶ The boy
      and dog Asleep on bedroom and the frog try Jump the tank¶ The boy shock frog gone and He
      with dog on bed¶ He LooK everywhere at his Room. He try Find frog anything Hide But it's Not.
      The dog go in the Hole tank Dog Head.¶ He LooK the Window Call the frog and dog stuck with
      tank Glasses.¶ He Loo the dog fall on Ground.¶ He LooK mad at the dog and Broke Glasses
      Tank And the dog Lick the boy face.¶ He still LooK over Frog with dog And He call yelling for
      Frog.¶ The Forest All Wood and tree had hole and the bee the Case Hold the tree.¶ The boy call
      on ground hole and dog play with bee Case.¶ dog play push the tree So bee get mad bite bog
      nose and the Animal Come out the hole Ground.¶ The boy LooK the tree hole and dog play with
      bee and the Case Hold tree Fall it and bee alot chase with dog.¶ The dog Run from bee Chase on
      them and The boy fall on Ground bec. Owl come out the hole tree.¶ The Owl Chase the boy and
      Rock was hide and deer LooK Alike tree.¶ The boy stand with rock hold hand from AnK deer
      Also dog under Rock on Ground. He Keep call LooK for Frog.¶ Deer Head it up the boy shocK
      and dog wAs beside of Rock side¶ Deer Run with boy up with his deer Head and dog Run too¶
      Dear Stop the boy and dog fall from hill ALSO bottom Lake Ground.¶ Both ya'll fall from hill and
      LaKe water so Deer LooK up to them¶ Both dog and boy in LaKe water get Wet.¶ The boy say
      hush the dog¶ Both Look at something from big old tree.¶ The boy and dog Look up two frog
      together and He was happy.¶ Both was shock it About frog had own baby frog¶ The Frog give to
      him one baby frog and He and dog WALK Off with baby Frog.¶


      Frog Goes to Dinner (written)                                      Joseph Nettles
      The boy look mirror His tie and Look everything good Clothes and dog, turtle and Frog Look up
      the boy. ¶. The boy's parent open the door. Also the girl with parent get boy go Somewhere go
      but Before the bou get Coat When Frog Jump in his Coat pocket and dog and turtle stay his Room.
      ¶ His's parent and sister went to Resturant from Drives car to stop Restaurant. ¶Ya'll sit on table
      for order to Food List with men slip ticket what ya'll order and the Frog Jump 4 people song play
      music. ¶Frog was Lay the men His face all men stop song music then Frog Keep Jump other men
      fell off Drum Broke cRush it ¶The men upset about Drum Broke and two men Laugh about Frog
      then the frog keep Jump to plate food on top the men hand high Top and other women and men
      Look up people mess it with Drum & stop song music.¶ So they man was Top plate hand High
      when frog Hide food put on table what women order for it and the women get fork to Eat SAW
      frog on Her food She Shock it. ¶ She was yelling on frog on table Her food and Chair fell it and
      Frog scaRe jump it to Glasses for wine where Frog in it and the men going to drink Glasses wine
      and other people Look up Frog go in Glasses wine.¶ Several people talking about where Frog and
      they Look where is frog So the men sit on table with His's wife and both ya'll Look up Frog sit on
      Glasses wine.¶ One men try get frog on table and Resturant is mess everything on table on floor
      and Then men Hold His wife Look Alike pass out and other men Look up at Lady going pass out¶
      Then men got it frog with His hand go out the door And frog belong the boy they Reached with
      them and His's parent get mad and Look up the boy Also frog too




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IV.2.b. Argument Structure Distribution: Data Analysis
Mr. Nettles’ argument structure distribution as a whole was then compared with those of
four groups: typical hearing speakers of English, speakers with agrammatism, Deaf ASL
signers writing English, and Deaf non-signing individuals writing English.


IV.2.b.i. Group 1: typical hearing speakers of English In terms of his movie recounting,
Mr. Nettles does not pattern with this group: 49% external arguments is parallel (typically
it is a little over 50%); 47% non-copular unaccusatives (typically it is around 25%); and 4%
copulars (typically it is around 25%).


IV.2.b.ii. Group 2: speakers with agrammatism producing English. Mr. Nettles definitely
does not pattern with individuals with a frank agrammatism or any kind of language
disability. Individuals with agrammatism should have almost no non-copular
unaccusatives and at least 25% copulars, likely more. He in contrast, has 4% of copulars
and 47% non-copular unaccusatives (where someone with agrammatism would have
almost none).


IV.2.b.iii. Group 3: Deaf ASL signers writing English Mr. Nettles does pattern with this
group. The Koumal narratives have a higher percentage of non-copular unaccusatives
(47%), compared to the 25% expected in hearing speakers of English.


IV.2.b.iv. Group 4: non-signing deaf individuals writing English. Again, he not only
patterns like ASL signers writing English with a high occurrence of non-copular
unaccusatives (47%). But he also patterns with this group in terms of his low occurrence
of copular constructions (4%). Deaf writers tend to have little or none.


Overall, Mr. Nettles’ argument structure distributions pattern with Deaf ASL signers
writing English.


IV.2.c. Specifics of English grammar production.
Argument structure distribution indicates a basic patterning that may or may not be
influenced by ASL intrusions or by a language-based learning disability. It is not



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indicative of mastery of English grammar per se. Looking more closely at the grammar of
one’s actual writing can be informative.


Lexicon: Mr. Nettles’ vocabulary is limited. He made many lexical substitutions for words
he didn’t know: dig for climb with a pickaxe, slip ticket for order pad or check, tank for jar, case
for beehive, hold for is attached to, barr for barrel, cup for beer mug, etc. Circumlocutions were
frequent: small man for dwarf, wood pike for cane or walking stick, top ground for peak or
summit, food list for menu, if can for try, etc. Other words are close but not quite accurate:
look alike for look like, rock for boulder, lake for pond, break down for collapse or crumble down.
Others are partial like AnK for antler. Others like bowling, bowling pin, lightning, etc. were
avoided. Finally, his choice for English prepositions was erratic, frequently substituting in
for on, off for from, on for onto, or using the wrong particle in verb particle constructions
like look up for look at; yelling on for yelling at, and also look up Ø for look up at. Often
prepositions were omitted. Other times extraneous prepositions were added (e.g., what
women order for it for what the woman had ordered). At times where and ASL sign would be
used for two different English words, he would interchange them (e.g., drink with for drink
together).


Morphology: His marking of tense, and number was typically lacking or incorrect: tense:
go for went, get for got, sit for sat, laugh for laughed, etc.; number: parent for parents, men was
frequently used in place of man as well as women for woman. He also overgeneralized the
possessive marker (‘s) to possessive pronouns (e.g., his’s).


While Mr. Nettles showed little evidence of mastery of English morphology, he did have
an interesting construction in his English that was influenced by both his Southern dialect
of English and a morphological process in ASL. It involved his use of the word ya’ll:

       Ya’ll sit on table for order to Food List with men slip ticket
       “They all sat down at the table with menus to order food from the waiter.”

       What ya'll order
       “The waiter asked, ‘What will you all be ordering?’”

       So the men sit on table with His’s wife and both ya’ll Look up
       “So, the man sat at the table with his wife and the two of them looked up.”



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       Both ya’ll fall from hill and LaKe water
       “The two of them fell from the top of the hill into a pond.”

Notice that only the second example uses ya’ll in the way it would be used with a Southern
accent—referring to second person (you) in an inclusive way (all of you). ASL has a
pronoun and verb agreement marker that indicates “all of” as well. It can be marked on
pronouns (you-two, we-two, they-two, you-plural, we-plural, they-plural—not “each of”
(distributive), but all of (inclusive). Mr. Nettles in his English has clearly marked ya-ll as
having this more extended use found in ASL. In fact, in general, as will be seen in next
discussion of syntax, Mr. Nettle is basically writing English using ASL grammar.


Syntax:
Mr. Nettles produces ASL-driven English. He uses words from English, arranged as much
as possible according to the grammar rules of ASL. Without prior knowledge of ASL
grammar, it is very difficult to reliably understand his written English. Just a few of the
many ASL features of Mr. Nettles’ English are discussed below.


Null Subjects. Except in commands, English is a language that requires subject position
to be filled, so much so that when a verb doesn’t select for a subject the pleonastic
(dummy) pronoun it is inserted to satisfy this requirement. It is raining; It is five o-clock; It
is time to leave. ASL favors null subjects, in fact except in cases of emphasis, ASL avoids
pronouns in subject position. When there is a previous topic in the discourse or agreement
on the verb, ASL can leave both subject and object positions empty. This is a prevalent
characteristic of Mr. Nettles’ English.

       The man dig hills on mountain on top ground he is joy then Ø saw the bird can fly and he think
       same he can fly Ø fall on ground Ø get bird feather Ø see if he can fly but Ø not work

In terms of typological characteristics of languages, null subject languages like ASL have
a set of characteristics that English does not share: null subjects, lack of pleonastic
(dummy) pronouns that don’t mean anything but fill positions requiring a subject to be
present (e.g., it rained, There is a cup on the table), and a lack of auxiliary verbs (was running,
is walking). The lack of these features or a misuse of them is characteristic of Mr. Nettles
English throughout. Once in a while, we see an auxiliary, but rarely does it co-occur with
a progressive -in form (e.g., He was dream). An auxiliary plus uninflected verb is a typical



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way of forming the past tense in Deaf English as well, so John was kissed Mary would mean
“John kissed Mary” and not “John was kissed by Mary.”


Ground Figure Ordering. English consistently uses the ordering of Figure before Ground:
e.g., the cup (figure) is on the table (ground). In the Topological Relations Task, Mr. Nettles
favored this ordering 64% of the time. In narratives we frequently also see Ground before
Figure or Ground preceding verbs with a null figure.

       The boy look mirror His tie
                      G       F
       "The boy looked at his tie in the mirror.
       The man was pocket tore up pocket with coin.
                        G                G          F
       "The coin tore a hole in the man's pocket."


       that person men fall off his pocket a lot dollars.
               G                       F/G            F (here man is figure and pocket is ground; then
                                                              pocket is figure with dollars as ground)
       "A wad of bills fell from the man's pocket.


       Finally ARRive on Ground yard a lot people
                               G           F
       "Finally, a lot of people arrived in the field."

In addition, Mr. Nettles’ uses the word it, erratically in his English. It seems as if he knows
English needs certain positions to be filled with a pronoun, but he has no idea where it
actually goes.

       So they man was Top plate hand High when frog Hide food put on table what women order for it and the
       women get fork to Eat SAW frog on Her food She Shock it.
       "So the waiter who was carrying a tray held up high when the frog hid in the salad. When he served the
       woman the food she had ordered, she grabbed her fork to eat it, when she saw the frog in her food and she
       was startled."

       She was yelling on frog on table Her food and Chair fell it and Frog scaRe jump it to Glasses for wine
       where Frog in it
       "The woman was yelling about the frog in her food on the table in front of her and her chair fell backwards.
       The frog was scared and it jumped in another patron's wine glass."

       then the frog keep Jump to plate food on top the men hand high Top and other women and men Look up
       people mess it with Drum & stop song music.

       "Then, as the man and woman were distracted by the chaos with the broken drum and the music stopping,
       the frog jumped onto the tray the waiter was carrying."




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          [This example not only shows one of his sporadic uses of it. It also shows a consistent use of the work keep
          to indicate as (something happening at the same time) and a reordering of the event to reflect chronological
          ordering—all of these are ASL influenced phenomena that he is trying to reflect in his English.]

          Then men got it frog with His hand go out the door
          "Then the waiter caught the frog with his hand and headed for the exit."

          the Case Hold tree Fall it and bee alot chase with dog.
          "The beehive attached to the tree fell and a swarm of bees chased after the dog."

          Deer Head it up
          "The deer raised its head"

          Both was shock it About frog had own baby frog
          "Both of them were shocked that the frog had its own babies."

          the man shock it Look alot people short man
          "The man (Rip Van Winkle) was surprised to see so many dwarves."

Prepositions as verbs. Locative and directional forms that serve as prepositions in English
actually function as verbs in ASL. Sometimes, it is hard to tell if it is the absence of the
copular verb to be or the use of a preposition as verb (e.g., He with dog on bed), but many
other times it is clear that the preposition serves for him as a verb (e.g., Deer Head it up).


Reading through Mr. Nettles’ written narratives reveals a very different word ordering in
general from what would be grammatically required in English. In addition, he produced
relatively long utterances in English that appear to convey complex forms like relative
clauses and conditionals, but without the conventional ordering, function words
((determiners (a, the, etc.), complementizers (that, which, etc.), auxiliaries (forms of have and
to be), etc., and punctuation) to signal such constructions, they are not able to be
understood by English users unfamiliar with ASL grammar.


Overall, in summary, Mr. Nettles’ writing uses what basic vocabulary he has or
circumlocutions for vocabulary, but the grammar is strongly driven by ASL structure and
not English structure. Mr. Nettles’ grammar use in English is comparable to a second-
language learner with only partial mastery of English grammar. In fact, Grosjean (1982)12
would refer to this form of English in a bilingual as “fossilized,” meaning that it is actually



12
     Grosjean, F. 1982. Life with Two Languages. Cambridge, MA: Harvard University Press.




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very limited in terms of English grammar and more partially developed English
vocabulary mapped on the grammar of his first language, ASL.

IV.2.d. Reading


Based upon this initial screening, Mr. Nettles should be able to read at a 1st grade level.
He definitely cannot read at a third-grade level. At the second-grade level, he missed the
sentence with a passive: I was pulled out of the hole. However, passive is a construction
typically mastered between the third- and fourth-grade level, so while incorrect, this alone
did not rule out the possibility that he reads at a second-grade level. However, his inability
to read the second-grade narrative completely ruled this out.


IV.2.d.i. Flynt-Cooter Reading Inventory


Based upon his Flynt Cooter Sentence Screening, Mr. Nettles should be able to read
reliably at a 1st grade level.


Flynt Cooter Sentences (levels 1-9).
Based upon the Flynt Cooter sentence screening, Mr. Nettles might be expected to read
solidly a 2nd grade level. He definitely cannot read at a third-grade level. At the second-
grade level, he missed the sentence with a passive: I was pulled out of the hole. However, the
passive is a construction typically mastered between the third- and fourth-grade level, so
while incorrect, for us, it does not rule out the possibility that he might be able to read at
a second-grade level. However, his inability to reliably read the second-grade narrative
ruled this out.

 FORM A: Level 1 You Cannot Fly
 1. He wanted to fly.                                   1
 2. The family got together.                            1
 3. The boy was jumping.                                1

 FORM A: Level 2 The Pig and the Snake
 1. I was walking fast to town.                         1
 2. He cried about going home.                          1
 3. I was pulled out of the hole.                       0     Did not get the passive

 FORM A: Level 3 The Big Bad Wolf
 1. The forest was something to see.                    0     Did not get figurative meaning
 2. I was enjoying sleeping when my Mom called.         0     sleeping with mom
 3. I had to go to bed early last night.                0     have to



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 FORM A: Level 4 New Clothes
 1. I dislike being the youngest.                              0   begin for being
 2. I'm always getting into trouble.                           1
 3. They insisted on watching the show daily.                  0   insisted, daily, show-wrong meaning

 FORM A: Level 5 Hot Shoes
 1. Athletic shoes come in all kinds of colors.                1
 2. Serious players manage to practice a lot.                  1
 3. A cheap pair of shoes doesn't last very long.              0   last- wrong meaning

 FORM A: Level 6 Mountain Fire
 1. He was searching for the evidence.                         1
 2. He realized the rock formations were too high.             0   formation=form
 3. The conservationist hoped to reforest the mountain.        0   conservationist=service

 FORM A: Level 7 The Canoe Trip
 1. Unfortunately, she was confused about the next activity.   0   Unfortunately=unfunctional
 2. The submerged rocks were dangerous.                        0   submerged
 3. She disappeared around the bend at a rapid rate.           0   rapid

 FORM A: Level 8 The Eagle
 1. Ascending the mountain was rigorous and hazardous.         0   ascending, rigorous, hazardous
 2. The cliff provided a panoramic view of the valley.         0   panoramic
 3. The incubation period lasted two weeks.                    0   incubation period

 FORM A: Level 9 The Case of Angela Violet
 1. The abduction made everyone suspicious.                    0   abduction
 2. The detective was besieged by the community.               0   besieged= behind
 3. Her pasty complexion made her look older.                  0   pasty complexion

Flynt Cooter Reading Passages 1-9

Since he got all the second-grade level but the passive on the screening sentences, we
started reading the level 2 passage and moved up and down from there. Even though he
did poorly at the third-grade level, we tried to fourth- and fifth-grade level to see if he
might do better in topics where he had more schema. However, at the third-grade level
and above his sentence structure and vocabulary were too limited.


        Level 1 You Cannot Fly: Read this 5th. Misunderstood tried (tired) and arrived.

        Level 2 The Pig and the Snake: This level was read first. He read it fast and jumped
        to incorrect conclusions. Therefore, we had to walk him through it, and he
        understood more, but not fully. He has the vocabulary, but he cannot read reliably
        at a second-grade level.

        Level 3 The Big, Bad Wolf: Read this 2nd. Missed: sudden, fast asleep, chimney
        (chime), woodcutter (machine?), nightgown (night cover), note on door, house in the
        woods (made of wood). He lacks vocabulary at this level and cannot use sentence
        structure and context to determine the meaning of words he does not know.




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       Level 4 New Clothes: Read this 3rd. Missed: being (begin), hand me down, responded
       (recognize), replied (lied), besides (behind), approach, fee, cut back (discount), younger
       (youngest), approached (around).

       Level 5 Hot Shoes: Read this 4th. Missed: beebop, pump up (jump up), lace up,
       chuckled, is a matter of history (doesn’t matter history), got to the point (point at).

Based upon the sentence screening and performance on reading the Flynt-Cooter
passages, we would place Mr. Nettles’ reading level at first grade. He reads more reliably
at a first-grade level. Even there though, he confused words like tried with tired, even when
questioned about them.

IV.2.d.ii. San Diego Screening. To corroborate our assessment of reading level, we also
analyzed Mr. Nettles’ responses on a strictly vocabulary-based reading screening, The San
Diego Quick Assessment of Reading Ability. This test is a reliable predictor of reading level
based upon vocabulary alone. However, hearing readers for whom English is a first
language, are assumed to have sentence level grammar and morphology in place, so their
vocabulary performance better predicts reading level. Deaf readers with partially
developed syntax can have more vocabulary, but they are hampered by a lack of syntactic
mastery.


Recall from the background discussion, that the San Diego Screening identifies three
reading levels: reads independently (0-1 errors); reads with supervision (2 errors), and
reads with frustration (3 or more errors). According to the San Diego Screening, Mr.
Nettles would be expected to read independently only up through the 2nd-grade level,
and with frustration above that level. While this looks one grade level higher than his
Flynt Cooter assessment, we must remember that he is not a native user of English and
his grammar impacts reading. But, we can say that he has the vocabulary of a second-
grade level reader.


At the lower levels (up to third grade), Mr. Nettles was able to ascertain when he was not
sure what a word meant. His assumptions included misidentifying acquainted with
acquitted, trucker with truck, comment with common sense, relativity with relative, dominion
with dominoes, condescend with a lower scent, molecule with mole, jaunty with janitor, jerking
with idiot (jerk), gratuitous with graduate, legality with lawyer’s papers, barometer with car


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meter (speedometer), capitalism with captain, and amnesty with anesthesia. Above the 2nd-
grade, however, he had numerous gaps and misunderstandings. He got many items
incorrect, however he also made many educated guesses and actually did well on the
fourth-grade level words. However, he had already failed at the third-grade level.


      Mr. Nettles’ results for the San Diego Screening appear below:


                 1   10                  2           10                 3             8
      road            1                 our           1                city           1
      live            1                 please        1                middle         1
      thank           1                 myself        1                moment         1
      when            1                 town          1                frightened     0
      bigger          1                 early         1                exclaimed      0
      how             1                 send          1                several        1
      always          1                 wide          1                lonely         1
      night           1                 believe       1                drew           0
      spring          1                 quietly       1                since          1
      today           1                 carefully     1                straight       1
       4              9                  5            7                 6             4
      decided         1                 successful    1                bridge         1
      served          1                 business      1                commercial     1   advertisement
      amazed          1                 develop       1                abolish        0
      silent          1                 considered    1                trucker        0   truck
      wrecked         0                 discussed     1                apparatus      0
      improved        1                 behaved       1                elementary     1
      certainly       1                 splendid      0                comment        0   common sense
      entered         1                 acquainted    0   acquitted    necessity      0
      realized        1                 escaped       1                gallery        1
      interrupted     1                 squirming     0                relativity     0   relative
      7               0                 8             0                9              0
                                                                       conscientiou
      amber          0                  capacious    0                 s              0
      dominion       0    dominoes      limitation   0                 isolation      0
      sundry         0                  pretext      0                 molecule       0   mole
      capillary      0                  intrigue     0                 ritual         0
      impetuous      0                  delusion     0                 momentous      0
      blight         0                  immaculate   0                 vulnerable     0
      wrest          0                  ascent       0                 kinship        0
      enumerate      0                  acrid        0                 conservatism   0
      daunted        0                  binocular    0                 jaunty         0   janitor
      condescend     0    Lower scent   embankment   0                 inventive      0
       10            0                   11          0
      zany           0                  galore       0
      jerking        0    idiot         rotunda      0
      nausea         0                  capitalism   0    captain
      gratuitous     0    graduate      amnesty      0    anesthesia
      linear         0                  risible      0



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       inept         0               exonerate      0
                         lawyer’s
       legality      0   papers      superannuate   0
       aspen         0               luxuriate      0
       prevaricate   0               piebald        0
       barometer     0   car meter   crunch         0

Considering Mr. Nettles’ performance on the set of reading tasks, we conclude that he
reads at a 1st-grade level, or slightly above with some vocabulary gaps. He is held back
from reliably reading at higher levels by the combination of grade-level vocabulary and a
lack of proficiency in English grammar. It is at a fourth-grade level that a child’s
acquisition of vocabulary and mastery of English grammar combine to allow them to read
to learn as opposed to simply learning to read. Mr. Nettles is still at the learning to read
stage. He is a very rudimentary reader of English.


IV.2.d.iv. Reading behaviors. Mr. Nettles does not read anything except what is on his
phone and he doesn’t do that very well. He has a Fox News App on his phone that he tries
to read, but he often feels overwhelmed because many words are not familiar to him. He
watches television with closed captions, but again many words are not familiar, so he does
not watch often.


As a result of his limited reading abilities, he is very isolated from information on current
events. Dr. Shepard-Kegl sent him a link where he can watch a program on YouTube
called The Daily Moth: https://www.dailymoth.com/blog. This program, signed in ASL
by a Deaf signer, presents a synopsis of major news events of the day (typically 3). Because
of his lack of contact with the Deaf community, he was completely unaware of this
program. He said it was exactly what he was looking for. Without ASL access, he cannot
even reliably access the news of the day, let alone restrictions on probation or new
information shared by his probation officer.

IV.2.e. Vocabulary


You cannot read, lipread, or write what you don’t understand. Since Mr. Nettles is an
adult, we might also expect him to have acquired some specialized vocabulary that a child
reader would not have. Note that more specialized adult vocabulary does not indicate an



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increased reading level. Therefore, it is important to look at some of the specialized
vocabulary he might encounter as an adult.


The following vocabulary lists present a list of twelfth-grade words, typically acquired
only through reading. The next list is a mixture of medical and general vocabulary
someone might encounter in a healthcare situation. Another list is comprised of words
one might encounter in a law enforcement context. And, the last list focuses on
employment related terminology.


The results of Mr. Nettles’ vocabulary test appear below:



 correct    false +   category               incorrect   recognized   unrecognized   total   % correct   % incorrect
 2          45        twelfth grade          88          47           43             90      2%          98%

 60         19        hospital and general   30          79           11             90      67%         33%

 44         30        police                 46          74           16             90      49%         51%

 57         22        employment             33          79           11             90      63%         37%


      163        26   total                  197         279          81             360     45%         55%


IV.2.e.i. Twelfth Grade (grade-level reading list)
Mr. Nettles got 2 of the 90 twelfth-grade vocabulary items correct (2%). He thought that
he recognized 48 of the 90 twelfth-grade vocabulary items (54%), but 47 of these were
incorrect. He confused abduct with duct tape, ally with alloy, amorphous with acetaminophen,
apathy with path, askance with ask, audacity with city, augment with argument, caustic with
cause, correlate with correct/late, cultivate with culture/cult, defunct with function, denote with
note, despot with spot, discreet with secret, facetious with face, fatigue with fainting, felicity with
fantasy, figment with flesh, finesse with fine, homogenous with transsexual, impervious with
impressed, inordinate with order, mortal with karate (Mortal Kombat), nondescript with no
writing, novice with no vice president, overt with over T, persevere with served, petulant with
pet, pious with pigeon, ponderous with pond, protract with truck, recluse with use, regale with
regular ale, relegate with gate, reticence with retire, scourge with encourage, senile with Nile
Virus, sinuous with sin, sordid with did, stature with state, succulent with success, tantamount
with amount, tenet with tetanus, topography with top and graphy, tractable with able, transitory


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with story, turgid with grid, unwitting with not writing, usurp with syrup, vestige with vest,
volatile with violation, and volition with violation. One can see a pattern here. If he recognizes
a part of a word, or the words are fairly similar, he thinks he knows it. So, 52% of the time
when he thought a word was correctly recognized, it was incorrect. His command over
vocabulary at the 12th-grade level is not only poor, it is also highly unreliable. He doesn’t
know what he doesn’t know.


IV.2.e.ii. Medical and General Vocabulary
Mr. Nettles did considerably better at recognizing medical and general vocabulary. He
got 60 of the 90 vocabulary items correct (67%). He recognized 79 medical and general
vocabulary (88%), but 19 of these were incorrect. He confused actual with activity, acute
with cute, anemia and anesthesia with asthma, beneficiary with benefits, caffeine with coffee for
diet, colon with have cancer in intestine, consent with scent, deceased with discount, fluids with
fluid in lungs, hospital administrator with in hospital, living will with will live/willing to live,
mechanical diet with hospital food, laceration with lace, pulmonary with pump, refer to another
physician with refer to physical, sedation with vaccine, and waiver with wave. So, 24% of the
time when he thought a word was correctly recognized, it was incorrect. He was much
better at recognizing words, and also at distinguishing words he knows and doesn’t know.
Notably, he does not know words like consent and waive, which would be critical in
establishing informed consent.


IV.2.e.iii. Law Enforcement Related Vocabulary
Mr. Nettles was able to identify 44 of the 90 law enforcement words correctly (49%). He
thought he recognized 74 words (82%), but 24 of these were incorrect. He confused accident
report with report an accident, accident scene with insurer come to check out, altercation with
accident that happened, arraignment with agreement, assault with problem/trouble, booking with
writing a book, breathalyzer with breathing, disoriented with very drunk, disturbing the peace
with no more bothering/now peaceful, incarcerate with create, incident with dentist, insurance
holder with hold your insurance, interrogation with ego, intoxicated with toxic, lewd behavior
with behavior, liability with cheap payment, mandated reporter with report date, motor vehicle
with check inside motor, operating motor vehicle with operating construction equipment, police
report with reporting to police, remain silent with silent (doesn’t know remain), resist with resign,
restraining order with revoke, under the influence with bad advice, waive with wave and where


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is the other party with other party (social). So, again, 32% of the time, when he thought he
recognized a law enforcement word, he was incorrect. He was slightly better in his ability
to distinguish words he knows from words he doesn’t know to what was seen in the
medical vocabulary.


IV.2.e.iv. Employment Related Vocabulary
Mr. Nettles was able to identify 57 of the 90 employment words correctly (63%). He
thought he recognized 79 words (88%), but 22 of these were incorrect. He confused
collective agreement with collect/credit agree, collegiality with college, commendation with
command, confidentiality with confidence, dependent with depend on you, dock your pay with
increase, fixed term contract with termination, foreman with man who wears reflective vest,
immediate supervisor with see supervisor immediately, IRA with IRS, minimum wage with how
much you earn per hour, OSHA with insurance, probationary period with must have probation,
promotion with work with me, quality control with operators control, roster with rotation, shop
steward with send things to shop, strong work ethic with strong work (doesn’t know ethic), take
home pay with bring home extra money, withholding with how much in bank, work station with
fire station, and worker’s comp with working man. So, again, 28% of the time, when he
thought he recognized an employment word, he was incorrect. He is similar in his ability
to distinguish words he knows from words he doesn’t know to what was seen in the
medical/law enforcement vocabulary.


Mr. Nettles has a negligible twelfth-grade vocabulary. These are vocabulary items
typically learned via reading. Since Mr. Nettles reads at a first-grade level, this result is
not surprising. However, when presented with unfamiliar words, he grossly
overestimates his ability to understand them. He doesn’t know what he doesn’t know.
While he only got two items correct, he identified an additional 45 items as recognized.
Often such items contained a simpler word that he recognized. For example, he circled
apathy thinking that it meant path; tractable with able; etc. This makes his knowledge of
vocabulary at the 12th-grade level unreliable. However, he does have a larger and slightly
more reliable vocabulary in areas where he has more world knowledge. However, without
proficiency in sentence level grammar in English he is left unable to reliably understand
those specialized words in the context of sentences.



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V. Narrative Production (ASL v. English written v. English spoken)
In this final section of the assessment, we compare the volume and articulateness of Mr.
Nettles’ production of three renditions of the same narrative in three different forms:
signing in ASL, writing in English, and speaking in English.


V.1. Narratives signed in ASL
Mr. Nettles’ renditions of Mr. Koumal Flies Like a Bird and Mr. Koumal Battles his Conscience
demonstrate strong competency in ASL grammar (see videos).

       Mr. Koumal Battles his Conscience (signed, version 1)                          Joseph Nettles

       MAN 1pGIVE-TO3p WHO SIT h-o-m-e-l-e-s-s BEG++. THAT SIT h-o-m-e-l-e-s-s THEN
       MAN[left] rs(koumal left):1p[left]PUT-TO3p[right] MONEY SAME 1p[left])]PUT-TO3p[right]
       WHAT. THEN POSS3p[right,woman=Ø] MONEY b-a-g bag#FROM-FALL-TO[down] WHAT.
       THEN FIGHT++ TWO BOTH, DEVIL WOMAN ANGEL WHAT THEN FEEL AGREE m-a-n
       CL:bentV#HOP[foward]+++ heart#SASS:CLbabyC(2)-ON TO 3pDROP-TO[left, woman] MONEY
       TEN^THOUSAND HCL:claw(2)-CARRY-TO[left, woman]. DREAM TALK TO XXX(sign off
       video), IX-1p GUESS, WHAT FIGHT++ CL:1#CL1-WARD[reciprocal]. WHAT BOTH DEVIL
       MAN WOMAN ANGEL. IX[adv, down, money] MONEY IX3p[left] WHO h-o-m-e-l-e-s-s
       money#3p(beggar)GRAB MONEY ALL WHAT HCL:C(2)-DRIVE+++ CL:S#3p(beggar-
       HCL:FROM-TAKE^THROW-TO[right, koumal] MONEY 3p(beggar)HCL:THROW-TO[right,
       koumal] MAN.

       A man gives (something) to a homeless person who is sitting on the ground begging. Then the
       man (means woman) gives money to the same homeless person. While she gives him
       (something), money falls from her bag. Then what happens? Both/two, a Devil and a female angel
       are fighting with each other. Then what? I feel they agree that the man, being goodhearted, goes to
       the woman and gives her (back) the money, carrying the wad of $10,000. He dreams of talking to
       XXX(God?) I guess. Then what? The two parts of him stand off and fight again. Then what
       happens? The devil man and the woman angel (are fighting) and the money is there on the
       ground. The man who is homeless grabs up all the money and drives (away). He takes money (a
       coin) from his hand and throws to the man.


We felt he was more just listing the events than constructing a narrative, so we asked him
to do it again in ASL telling the full story. The following story is more complete and more
coherent.


       Mr. Koumal Battles his Conscience (signed, version 2)                Joseph Nettles
       MAN WHAT pocket#HCL:lotus-REACH-INTO 3pPOSS p-o-c-k-e-t BREAK pocket#HCL:lotus-
       REACH-THROUGH h-o-l-e. pocket#HCL:lotus-PULL-OUT 3p(koumal)HCL:H-GIVE-TO(beggar)
       h-o-m-e-l-e-s-s. THEN OTHER MAN 3pGIVE-TO3p(beggar) IX3p(beggar). THAT MAN h-o-m-e-l-
       e-s-s SAME. THEN rs(beggar): HCL:T-HOLD-OUT(hat). WHAT. THEN pocket#CL:V-FROM-
       FALL-TO[down] p-o-c-k-e-t THAT MONEY WHAT MUCH MONEY IX-HCL:B[adv, left,down]. s-
       o NOW CL:1#CL:1-ON-FROM[reciprocal] DEVIL HALF TWO-OF-THEM[front] FIGHT+++
       OVER ABOUT MONEY. WHAT. [right shift]DEVIL WANT. [left shift]WOMAN rs(woman):
       HCL:5(2)-NO++ FEEL WANT 1pGIVE-TO(man2)3p. WHAT MONEY RED POOR HAVE. MAYBE
       THAT MEAN THINK 3p(koumal)GIVE-TO3p(2nd man) WHAT. s-o #or MONEY 3p(i,j)POSS



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       MONEY -CL:B#HCL:lotus-IN KEEP. [pocket#CL:V-FROM-FALL-TO[down]]conditional
       pocket#HCL:lotus-PUT-BACK-IN. WHAT WRONG pocket#CL:V-FROM-FALL-TO[down]
       WHAT. s-o [gesture: "What are you doing to do?"] [GOD]topic WHAT MAN DREAM WHAT
       HALF heaven#CL:V-ASCEND-TO God#CL:V-WALK-UP-TO MAN 3pGIVE-TO3p[God] MAN d-
       o-n-a-t-e MONEY rs(God):HUG+++. WHAT. THEN THINK CL:1#CL:1-ON-FROM[reciprocal]
       IX3p FIGHT[reciprocal]++ BOTH DEVIL ANGRY MAN. WHAT. 1pGUESS WHAT s-o IX[adv,
       right,down] MONEY 3pTAKE-FROM[money] THAT FROM h-o-m-e-l-e-s-s. THEN HCL:C(2)-
       DRIVE+++ CL:S#3p(beggar-HCL:FROM-TAKE^THROW-TO[right, koumal]. WHAT THAT
       WHAT.

       What the man did was to reach into his pocket. He actually reached right through, creating a hole.
       He pulled a small flat object out (a coin) and gave it to a homeless person. Then another man gave
       money to that same homeless person. Then, as the homeless person sat there holding out his hat,
       money fell from the man's pocket. It was a lot of money just lying there on the ground. The man
       was torn between two mindsets. His devil half wanted the money. His female side said, "No,
       leave it be. I feel I want to give the money back to that man—that poor red man who had the
       money. Maybe that means he thought he should give it back to the other man. After all, it was his
       money that he kept in his pocket. It fell out by accident. If it fell out, it should be put back. So,
       what does the man do? He dreamt that half of him ascended to heaven, walked up to God and
       donated the money to him. In return, God hugged him. Then, the man was again of two minds
       and his devil side started to battle with his angry side. So, I guess that the money was stolen by the
       homeless person who then drove by and tossed a coin to the man.

Mr. Nettles’ signed narratives are much more prolific and detailed than his written
English narratives. They also convey much more visual and spatial detail than any of his
English narratives. When comparing Mr. Nettles’ signing to his written renditions of the
same narratives, the disparity between the two is evident.

Mr. Nettles’ written renditions of the same Koumal narratives can be seen in section IV.2.a.
and are copied here for comparison purposes. Most of the grammatical issues were listed
in section IV.2.c.

       Mr. Koumal Battles his Conscience (written)                          Joseph Nettles
       The man was pocket tore up pocket with coin and give to homeless that man sidewalk sit so other
       men give to coin to homeless that man and that person men fall off his pocket a lot dollars so he
       dream about angel and devil over the money fight about his pocket fall on ground and homeless
       man took the dollars and buy the car give to coin to men

       Mr. Koumal Flies like a Bird (written)                                 Joseph Nettles
       The man dig hills on mountain on top ground he is joy then saw the bird can fly and he think
       same he can fly fall on ground get bird feather see if he can fly but not work then other farm
       chicken feather all chickens the if he can fly again not work fall ground mountain break down
       found gold and he own store a lot gold



V.3. Narratives in spoken English
Mr. Nettles was not comfortable speaking, but he did provide a spoken sample. His
spoken English is less prolific and even less grammatical than his written English



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(especially when he signs concurrently or his signed ASL narrative). Both are far less
prolific or grammatical than his ASL. His spoken recountings of the Koumal cartoons are
reproduced below from IV.1.a.i.

      Mr. Koumal Battles his Conscience (spoken)                          Joseph Nettles
      Same story that story? The man in pock(et) give to homeless the money. Other man give the
      money give money too. So, that man lost money. Then dream somehow fight devil angel. Then
      homeless got money. Then buy a car. Give the coin to man back. Fine, guess that right. I don't
      know.

      Mr. Koumal Flies like a Bird (spoken)                            Joseph Nettles
      A man dig mount(ain)...top. On ground think good (thumbs up) feel. Look..(th)e(m)..saw bird...I
      can fly. Umph fall on ground. How..feather put in. I can fly. Fly, fall. Go other farm on chicken a
      lot. Try work fly. Mountain phhhht. Find lot of gold. Then put business store. What. Gold a lot.

V.4. The influence of English on ASL and vice versa
There is little English influence on Mr. Nettles’ ASL, but there is strong influence of ASL
on his written English, enough to say that his English is strongly driven by the grammar
and discourse conventions of ASL.


V.5 Comparison of narrative production in English and ASL
In comparing the Koumal narratives in ASL and English, it is clear that Mr. Nettles is most
comfortable with ASL signing. He is far less proficient in English. He is not a balanced
bilingual in these two languages and modalities. In fact, ASL can serve his communication
needs easily. The only limitation concerns fund of knowledge and more academic forms
of discourse. Except in the most rudimentary encounters, English in any modality via
speech, writing, or lipreading, cannot provide him communication access. Required to
rely upon English he is juvenilized both by his imprecise speech and his limited mastery
of grammar and vocabulary. He does not present as the intelligent adult he is. He is also
unable to access and comprehend the English around him, leading to frustration on his
part and on the part of individuals attempting to communicate with him in any
substantive way. In contrast, via American Sign Language, he presents as the mature and
competent adult that he is.




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Conclusions and Expert Opinions:


Summary of Conclusions based upon our Assessment: Brandon Cobb


Etiology:
Mr. Cobb became deaf at age two from what he reports to be a "high fever." The
description sounds like meningitis, although the exact nature of his illness was never
shared with him by his mother. This lack of access to medical history is common in
families that do not sign and even has a name: Dinner Table Syndrome. 13


Cultural Affiliation:
Mr. Cobb's cultural affiliation is mixed. He became deaf at an early age, but his family
could all hear and did not sign with him, other than home gestures. His early education
in schools for the Deaf speaks to an early Deaf identity and exposure to ASL and Deaf
culture. His later life choices do not show a strong affiliation with the Deaf community as
a cultural haven, but he does have a strong Deaf identity and uses ASL as his primary
language.


English: Having been raised in the U.S., Mr. Cobb has had a minimal exposure and
education related to English, but there is no modality of English (speech, lipreading,
reading, or writing) that serve as an adequate means of access to communication for him.


Speech. Some Deaf people can speak but choose not to. This is not the case for Mr. Cobb.
He does not have mastery of the articulatory mechanics that are used to produce speech.
He was very uncomfortable being asked to speak and could not produce a spoken
message in the absence of also signing. Not a single word was pronounced in full. Final
consonants and consonant clusters in syllables were consistently omitted. Initial
consonant clusters were consistently simplified and often all initial consonants were



13
 Meek, D. 2020. Dinner Table Syndrome: A Phenomenological Study of Deaf Individuals' Experiences
with Inaccessible Communication. In the Qualitative Report, vol. 25, no. 6, pp. 1676-1694.




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omitted. Multisyllabic words were reduced to single syllables. Mr. Cobb's discomfort with
being required to use speech is understandable. His speech is ineffective and his using
speech presents him as a juvenile, less competent, and less articulate person than we see
in his adult, fluent, and articulate use of ASL. To require the use of speech for him is
demeaning. Mr. Cobb's speech is unintelligible, even to individuals familiar with Deaf
speech. While a family member may learn to recognize some of his spoken words or
phrases when combined with gesture; even at home, speech could not have served for
substantive communicative access or even casual conversation.


Lipreading. Not surprisingly given his problems with speech, Mr. Cobb's lipreading is
negligible. He recognized none of the 17 isolated words with which he was presented and
only one of the 47 words and phrases (What's your name?). His attempts showed attempts
at phonemic processing, but he doesn't have enough mastery to recognize even the most
basic information on the mouth. He listed, at one point, the words he could lipread: Thank
you, I love you. However, when these were added among the lipreading stimuli, he even
missed thank you and caught I love you. He cannot "make do" with basic lipreading.


Reading. Based upon the sentence screening and performance on reading the Flynt-
Cooter passages, Mr. Cobb reads just barely at a second-grade level, but not above.
Second-grade reading does not come easily to him, but he can understand most of it. He
is still at the stage of "learning to read" rather than "reading to learn." The heart of this is
that he does not use syntax to decode sentence. He is working primarily from a basic
subject verb object sense of order and guesses at meaning based upon plausibility. On a
positive note, Mr. Cobb does read silently to himself rather than reading aloud, which
often signals coding rather than reading for meaning. He is also quick to determine what
he can read and what he cannot. We pushed our assessment beyond his self-identification
to really determine where his reading falls, but in general he was accurate in his reporting
of where he struggled. Mr. Cobb is not a reader. He uses Facebook to find the latest news
and skims the internet for news information. Rather than read the news, he prefers to
watch signed news on Facebook, and occasionally The Daily Moth, a vlog on YouTube.
However, even though that is signed, he struggles because the signing is too English-
influenced and requires a lot of CALP to understand. He struggles reading captions on
the TV.


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Vocabulary.
Based upon The San Diego Screening, a vocabulary test with words vetted for grade level
that is predictive of reading level (for individuals who are native users of English), Mr.
Cobb should be able to read independently (without need for help) at a second-grade level
but with frustration above that level, but this must be qualified by the fact that he doesn't
have the command of English syntax that a hearing second-grader, already a native
speaker of English, would have.


Adults, in their world experience, also acquire specialized vocabulary in certain domains.
This vocabulary may well involve words that a second grader would not know. However,
you still have the same base vocabulary and syntactic competence so knowing more words
in this case does not change your reading level. We looked at Mr. Cobb's reliable
recognition of domain-related vocabulary in four areas (listed here with the percent of
words recognized): twelfth-grade words (words typically acquired through reading) 0%);
medical mixed with some general vocabulary (16%); law enforcement vocabulary (27%);
and employment-related vocabulary (12%). Mr. Cobb's adult acquired vocabulary is low
across the board, though it is slightly higher in the law enforcement area than in others.
His employment vocabulary is lowest, but this fits with the fact that his jobs tend to be
blue collar work and not the type of jobs that would involve things like HR, sick leave,
overtime, etc.


Writing.
Mr. Cobb's written English competency was analyzed in two ways: argument structure
analysis and grammaticality.


Argument Structure Distribution. The purpose of an analysis of Mr. Cobb’s argument
structure distribution is to rule out any patterns that might suggest that the individual has
a frank aphasia or other organically based syntactic deficit that would account for any
problems with written language. Mr. Cobb does not have agrammatism. In contrast with
the grammatical constructions that individuals with agrammatism cannot produce, he
produces the same constructions in an overabundance. Furthermore, his English writing
patterns most strongly with the argument structure patterns of Deaf ASL signers writing


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English and also with the English writing of Deaf people in general (whether they sign or
not) in terms of a lack of use of copular constructions (sentences with linking verbs like is
(e.g., X is a Y). This argument structure profile is independent of whether an individual
has impeccable grammar in English or whether the grammar errors are rampant.


Grammaticality. To get a sense of how much Mr. Cobb's English conformed to the
grammatical rules of English, we took the same written data and analyzed it sentence by
sentence for grammatical errors at the word level (lexicon), word formational level
(morphology; how person, tense, number, aspect, and agreement are marked), and at the
sentence level. Errors were seen at all levels of the linguistic organization of Mr. Cobb's
English. He had insufficient vocabulary, rarely and inconsistently applied English
morphological rules, and when he did still made errors. His syntax was also highly
ungrammatical. He substituted words for others, used circumlocutions, freely omitted
prepositions or exchanged them with one another, rarely produced the English articles (a,
an, the); frequently omitted or erred in marking of person, tense, aspect, and number. He
even made errors like substituting women for woman and men for man. He produced longer
strings of words but there was no conformity to English word order or marking of
constructions like questions, relative clauses, conditionals, direct speech, etc. If any
grammatical structure was to be seen, it was coming from ASL grammar. He makes all the
errors of a very beginning second-language learner of English who relies on his first
language to configure what vocabulary he has into sentences. His errors occur in every
sentence and throughout all levels of English grammar. He has a fossilized development
of English grammar, minimal grammatical competency in English and reliance on
ordering strategies and ASL-driven grammar.


Basic Interpersonal Communication Skills (BICS):
Mr. Cobb's communication in English is limited at even the basic conversational level. His
only vehicle for conveying English is reading and writing, where he functions at best at a
beginning second-grade level. His reading exceeds his writing because the grammar is
done for him, but he is still relying upon limited word knowledge and expectations based
upon world knowledge rather than grammar to read or write.




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Cognitive Academic Language Proficiency (CALP):
Mr. Cobb does not exhibit language that has been established through education that can
tackle and analyze new concepts and unexpected ideas. He struggles with synthesis,
analysis and evaluation in general, which is indicative of a weak education. But, in
contrast with ASL, he cannot even be scaffolded via English grammar to acquire new
knowledge. He has no Cognitive Academic Language Proficiency in English.


American Sign Language:
Mr. Cobb's primary and preferred language is American Sign Language. While he is from
a hearing family and currently has less contact with the Deaf Community, he did have
early exposure to ASL, and this exposure is evident in the language production and
language comprehension we observed. His language can probably be best compared with
that of a high school freshman who comes to high school with native fluency in English,
but upon encountering poetry and literary analysis for the first time finds it odd and
pedantic. Mr. Cobb understands his language, ASL, and converses with ease and full
comprehension. However, challenged with the task of using more academic language to
analyze, synthesize, and evaluate the more refined genres of ASL via language discourse,
he is not in his area of expertise and language comfort. His education has not prepared
him for that.


Production: Mr. Cobb's sign articulation is accurate, but at times it can lack the crispness
and precise articulation used in careful, elaborated signing. He often exhibits the
sloppiness and informality of a teenager, yet the grammar is complex and intact. He was
at times hard to code, not because of grammatical error, but because of the imprecision of
his articulation. However, his precision of articulation varied based upon his engagement
with the subject matter being discussed. We saw him at his best on a webinar segment
where he was discussing his prison experiences. There his signs were crisp and precise,
his eye gaze, turn taking, and backchanneling were native-like and his energy was high.
Nonetheless, even when articulation was lax, his ASL grammar was consistent.
Acceptable native-like fluency can range from proficient, to articulate, to eloquent in ASL.
Mr. Cobb falls into the proficient category; which, while not making him an accomplished
storyteller or orator, definitely recognizes his baseline efficiency and proficiency in the
language. He can express any concept or point he wishes to convey in this language.


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Our assessment reveals strong fluency in ASL in terms of grammar as well as discourse
organization. His lexicon is strong. There are words in his sign vocabulary that are
articulated as initialized signs that are more typical of signs learned in a school context,
but these are not prevalent. They are also likely indicative of an arrested development in
his ASL style after leaving school. After he left school his contact with the Deaf community
lessened and he has had less opportunity to develop and adapt to a more adult register of
ASL, hanging onto some of the school-based initialized signing used in his youth. He does
not strive to develop skills that will entertain his Deaf peers with engaging story telling or
his academic prowess.


Mr. Cobb is in his element when engaging in conversation in ASL (BICS). His ability to
use more academic ASL forms (CALP) for analysis, synthesis, and evaluation is limited
by educational factors, not language competency. Again, he can hold his own in any
conversation, comprehending fully and with ease. He is comfortable with the genre of
conversation and inquiry. He has basic skills in the narrative genre. He can construct and
tell a story, but he hasn't mastered the genre of storytelling as an art form. He can engage
in basic expository language (explaining how to do things), but he is not a master of
explanation. He can make a basic persuasive argument, but he is by no means a debater.
Language for him has a utilitarian purpose.


Comprehension: Mr. Cobb's comprehension of ASL is solid. In the genre of face-to-face
conversation, he excels. He gets the basic information conveyed in narrative, but, like the
high school freshman encountering poetry for the first time, only with some scaffolding
can he delve into the deeper meaning or structural organization of a narrative. When he
watched Bird of a Different Feather, he watched it for the basic storyline, but quickly his
interest waned. Like the Englishman who reads Gulliver's Travels as a somewhat
interesting children's story, it takes some scaffolding to get him to recognize the story as
a satire on the British politics of the time. Only when the pieces of the story were repeated
in more palatable chunks and he was scaffolded to look for the parallels with growing up
deaf in a hearing family was he able to build a sense that the story was actually allegorical.
In contrast, he watched a classifier story, DWI, in ASL told through the very productive
formation and most complex narrative style in ASL with the engagement and attention


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with which someone would watch an adventure movie. He missed some artful play with
signs and a few classifiers were not fully understood, but he followed the story with ease.
Again, his comprehension of ASL is solid. It is his familiarity with various narrative and
academic genres of ASL that is weak, because he has not acquired that academic language,
which is learned in school and from very articulate Deaf teachers.


Expert Opinion: Brandon Cobb


We have been asked to opine on the following questions:
While there may be a weighting at time in terms of who is best suited to the analysis of
assessment material (e.g., Dr. Shepard-Kegl can hear and is therefore best suited to code
and assess data presented or received via sound, and Dr. Rowley is a native Deaf signer
and a core member of the Deaf community and thereby most appropriate to assess issues
pertaining to ASL, Deaf culture, and Deaf education) both of us are indeed experts in the
range of areas covered in our assessments and our responses in terms of our expert
opinion should be viewed as being in consensus on all matters of opinion, offering them
both individually and as a team.


In what situations (if any) are sign language interpreters necessary for communication
between Mr. Cobb and a person who cannot communicate fluently in ASL?
Based upon our assessment of Mr. Cobb and the conclusions we reached in that
assessment, it is our expert opinion that in any substantive interactions where Mr. Cobb
must access and share information with service providers (including, but not limited to,
law enforcement officials, probation officers, medical personnel, and counselors) who
cannot fluently communicate with him in ASL directly, a professional, qualified
ASL/English interpreter is required.


Which type?
Based upon our assessment of Mr. Cobb and the conclusions we reached in that
assessment, it is our expert opinion that in relatively benign and routine interactions, or
interactions where the stakes are not high and the interaction is not stressful or
emotionally charged, and in which Mr. Cobb had a reasonable fund of knowledge in the
subject matter at hand, he would require the services of a competent and qualified


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interpreter (or interpreter team) who can consistently interpret between ASL and English.
Such an interpreter needs to be able to maintain consistent interpretation into ASL and
not fall back on more English-influenced variants of signing and needs to be sensitive to
regularly probing for understanding as well as for gaps in the fund of knowledge Mr.
Cobb brings to the situation. In our expert opinion as a team consisting of an experienced
and credentialled ASL interpreter and an expert on ASL from the vantage point of a Deaf
native signer, Mr. Cobb is best served by an interpreter or interpreter team that can
provide native-level interpretation into both the source language and the target language
of each communication interchange.


In what situations (if any) does this person require Deaf Interpreters?
Based upon our assessment of Mr. Cobb and the conclusions we reached in that
assessment, it is our expert opinion that he would always be best served by a Deaf/hearing
team or a Deaf ASL signing service provider because this would provide both native level
language input and shared membership in a community of Deaf individuals who share
life experiences in having navigated their world visually and as a deaf person. However,
we have been asked to delineate those situations (if any) in which Mr. Cobb would require
the services of a Deaf interpreter. The factors that we feel play a role in our decision in this
regard are fund of knowledge, language proficiency, the need for CALP to access and
assess the information, and the extent to which the communication that must be shared
and accessed have important consequences (are high stakes) for Mr. Cobb. In our expert
opinion, in any high stakes encounter where the risk of misinterpretation is high and the
consequences of that to Mr. Cobb could be detrimental, the services of a team consisting
of a Deaf interpreter and a hearing interpreter are required. Mr. Cobb lacks the fund of
knowledge to function knowledgeably in the legal domain, the academic level language
skills in ASL to unpack the information received in a way that he can evaluate and assess
it in sufficient depth and detail to make autonomous and informed decisions regarding
his case, the native-level proficiency and sensitivity to culturally-based styles of behavior
and discourse that will make both conveyance of the content of information and the
cultural brokering necessary to convey that information in a culturally familiar and
appropriate way that will minimize stress and anxiety stemming from cultural clashes
that could compromise trust and understanding. In terms of interchanges relating to
probation we would argue that a Deaf/hearing team would not be required at every


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meeting, but such teams would be required in any annual meetings where conditions of
probation are reviewed or altered or any probation meeting where significant events have
occurred that may need to be processed or resolved. Otherwise, based upon the results of
our assessment of Mr. Cobb, in our expert opinion, more routine probation meetings
regarding familiar topics would require only a competent and qualified interpreter (or
interpreter team) with legal specialization, who can consistently interpret between ASL
and English and are sensitive to probing regularly for understanding.


In what situations (if any) is relying on the person speaking and getting information
by speechreading appropriate/reliable?
Based upon our assessment of Mr. Cobb's speech and speech reading and the conclusions
we reached in that assessment, it is our expert opinion that there is no situation of any
consequence in which Mr. Cobb can reliably express or receive information via speech and
speechreading.


In what situations (if any) is relying on writing notes back and forth reliable for
effective communication?
In our expert opinion, for any situation in which a hearing individual is given the benefit
of using the spontaneous communication allowed by speaking back and forth with a
service provider, for a Deaf person to have equal access a similar spontaneous mode of
communication needs to be provided. The litmus test would be to consider whether a
hearing person required to write back and forth in these situations to assure equal access,
would be comfortable with the accommodation. Because writing back and forth is
effortful, time consuming, and in some cases not as reliable as speaking, all participants
would be at a disadvantage. The service provider, pressed for time, will undoubtedly
curtail the amount of information passed back and forth, the consumer, hearing or Deaf,
will be shortchanged the same communication experience that would be had without
passing notes. We have never seen the passing of notes to result in an equal exchange of
information as would happen via spontaneous speech or signing. However, a second
factor needs to be considered and that is the competency in the language being written or
read.




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Based upon our assessment of Mr. Cobb's reading and writing and the conclusions we
reached in that assessment, it is our expert opinion that his proficiency in writing English
and in reading English is insufficient to support writing notes back and forth. He reads at
a beginning second-grade level and his writing is even less reliable and effective than his
reading. This level of English competency is insufficient for him to engage in any
substantive interchange in this manner.



In what situations would “teach-back” or another method to ensure comprehension be
necessary? (put another way, any insight into whether the person is susceptible to “deaf
nod” even if they don’t fully understand).


Based upon our assessment of Mr. Cobb's communication and the conclusions we reached
in that assessment, it is our expert opinion that when his fund of knowledge is lacking in
a given area and when processing the information requires a degree of CALP, Mr. Cobb
becomes easily frustrated and less able to effectively communicate. When this happens,
he will first resist doing the task or simply give up. However, if cajoled or encouraged to
continue, he will indeed engage in some nodding, just to get the task over with.


Our first comment on this issue comes from things discussed previously in our general
background section. In our experience, with both Deaf and hearing people, all of us have
our breaking points where we realize that continuing to ask for clarification, straining to
understand information that is new and unfamiliar, communicating in a second language,
and making efforts to get people to slow down or re-explain are unlikely to yield
understanding, may result in frustration aimed at us, or are just not worth the effort, we
all "nod." In our expert opinion and based upon our familiarity with many Deaf
individuals and their behavior, Deaf individuals in general, in situations where they lack
sufficient access to communication as a result of not having an interpreter, or just because
of their own limitations using a language, will "nod" for this reason. In this regard, Deaf
people and people who can hear are really behaving alike. It is just that Deaf people, who
have experienced over their lifetimes a repeated lack of communication access and
ineffective communication with people they cannot hear, have a lower threshold at which
they will "nod." Nodding is often a very welcomed behavior. The Deaf person can hasten


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the end of the interchange; and the hearing person can feel comfortable in the delusion
that they are being understood and will proceed through the conversation. Teach-back is
a valuable tool that doctors use with discretion when assuring that the information to be
conveyed is placed at a premium. When getting out the door is placed at a premium, teach-
back is not likely to be used.


Here we offer our expert opinion as experts on Deaf culture and communication. There is
a second use of nodding in ASL. This use is a cultural and linguistic expression of politeness
and attention. And this use of nodding is different from nodding in the hearing population
in the U.S. It also has a different meaning than nodding in English and this is a place where
cultural confusion often occurs. We are reiterating discussion from our general
background as well. In ASL people nod to say, I am attending to you. It is not a sign of
agreement or understanding. The indication of understanding involves a Y-handshape, a
fist with the pinkie and thumb extended. This means I get it. Nodding without this
backchanneling signal is not seen as understanding and the Deaf person will invariably
repeat the information. For hearing people, a similar signal of attending is maintaining
eye gaze. We can sometimes listen but not look at a person. Often, however, we will find
the person repeating the information over and over, assuming we have not attended to it.
Children are especially prone to reacting in this way.


For both these reasons, systematic probing for understanding, one effective means of
which is "teach-back," is an essential tool in the interpreter's communication arsenal. So,
in response, in our expert opinion, Mr. Cobb is prone to nodding. His threshold is a bit
higher than some. He will likely shut down first, but when fund of knowledge is low and
demand for academic kinds of language use and reasoning occur, he will indeed nod.

Summary of Conclusions based upon our Assessment: Joseph Nettles


Etiology:
Mr. Nettles reports becoming deaf at age two and a half from what he reports to be a "high
fever." He was not able to offer more details about the exact nature of this illness.




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Meningitis is suspected. This lack of access to detailed medical history is common in
families that do not sign.14


Cultural Affiliation:
Mr. Nettles identifies as culturally Deaf. His early education at the Georgia School for the
Deaf (age 4) and later the Louisiana School for the Deaf (1974-77) speak to his having a
Deaf identity and early exposure to ASL and Deaf culture. His later life choices (former
wife was Deaf and current girlfriend is Hard of Hearing) also show identification with the
Deaf community, but at present because of probation restrictions he has little interaction
with that community. If that were not an issue, he reports that he prefers to socialize with
Deaf people. He has a strong Deaf identity and, as is confirmed by our assessment, ASL is
his primary language.


English: Having been raised in the U.S., Mr. Nettles has had limited exposure to English
in his education. However, he is not proficient in English. There is, in fact, no modality of
English (speech, lipreading, reading, or writing) that serves as an adequate means of
access to communication for him. In addition to a poor foundation in English, Mr. Nettles
is unreliable in distinguishing what he knows from what he does not know. He will often
assume he recognizes a word if he recognizes part of it; e.g. confusing apathy with path,
abduct with duct tape, askance with ask, etc.

Speech. Mr. Nettles' speech has very limited intelligibility. Listening to his spoken
renditions of the two Koumal cartoons, especially without knowing their content,
immediately reveals that he cannot rely upon speech for communication. Only with re-
watching many times and lipreading him as he recounted Mr. Koumal Battles his
Conscience, was Dr. Shepard-Kegl (who also was familiar with the story) able to transcribe
much of what he was saying, but not with complete reliability. In the rendition of Mr.
Koumal Flies Like a Bird, where he chose to sign while speaking, it was easier as a signer to
recover the target words, but so much speech was omitted and replaced with signs that


 14
      Meek, D. 2020. Dinner Table Syndrome: A Phenomenological Study of Deaf Individuals' Experiences
        with Inaccessible Communication. In The Qualitative Report, vol. 25, no. 6, pp. 1676-1694.




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the spoken rendition of the story was completely unintelligible. If required to try to
communicate via speech, Mr. Nettles would tend to accompany his speech with signing.
Some basic words and possibly a few routine phrases are recognizable for someone
familiar with Deaf speech or very familiar with Mr. Nettles' speech (like a family member).
His speech overall had a nasalized quality frequently seen in people with hearing loss.
Confounding understanding of Mr. Nettles' speech even further (as can be seen in his
writing) is that he is by no means a native speaker of English. His word order is different,
he uses English prepositions as if they are verbs, and he omits pronouns (as he should in
ASL but should not in English). Speech cannot serve as a means of communication for
him.

Lipreading. Mr. Nettles' lipreading is also poor, He was able to recognize 15 of the 64
items presented (23%). He recognized 5 of the 17 isolated words he was presented with
(29%) and 10 of the 47 words and phrases (21%). Most were very common and routinized
word and phrases: What's your name?, What's your address?, What's your telephone number?,
How long have you been working here? How old is your son? What's your favorite movie?, and
Can you understand me? His responses indicated attempts at phonemic processing: force you
for forty-two; read please for green beads (d, n, and s are made in a similar place in the mouth).
He often produced responses that shared the first sound with the items spoken, or shared
features of front versus back vowels. The problem is that getting close does not actually
get you closer to the meaning. For example, he saw Are you aware of your rights? as Have
you been arrested; and You have the right to remain silent as you have replace for dialysis. He
caught many similar sounds, but came nowhere near the meaning of the item produced.
His most surprising correct response was Have you ever had a transfusion? Despite trying
hard, Mr. Nettles is quite below average among deaf people in lipreading (and, as noted
in the main report, even the most skilled lipreaders still get only about 80%. He cannot
reliably use lipreading as a means of accessing communication except perhaps quite
sporadically recognizing highly contextualized and routinize phrases.

Reading. Mr. Nettles' reading is extremely weak. Based upon vocabulary alone (The San
Diego Screening) he might have been expected to read solidly at a second-grade level. But,
a second-grade vocabulary in the absence of a second-grade mastery of sentence grammar
(syntax) does not allow reliable reading at that level. Mr. Nettles' performance on reading



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passages at various grade levels revealed an inability to read fully reliably at even a first-
grade level. However, give his vocabulary and ability to get the overall gist at the first-
grade level, we would place his reading there. He has the vocabulary of a second grader,
perhaps even a bit higher, just not the grammar competency to match it. He even got quite
a few words at the fourth-grade level. It is his limited understanding of English syntax
that impacts his reading most.

Mr. Nettles doesn't read anything except what is on his phone, and he doesn't do that very
well. He feels isolated from information. Dr. Shepard-Kegl sent him a link where he can
watch      a      program           on   YouTube        called      The      Daily      Moth:
(https://www.dailymoth.com/blog). This program, signed in ASL by a Deaf signer,
presents a synopsis of major news events of the day (typically 3). Because of his lack of
contact with the Deaf community, he was completely unaware of this program. He said it
was exactly what he was looking for. Without ASL access, he cannot even reliably access
the news of the day, let alone complex content (like restrictions on probation), or new
information shared with him in printed form. Reading orientation manuals or even letters
is not an option for Mr. Nettles. Passing notes is not reliable except in the simplest, most
routine exchanges of information and only when geared to a first-grade reader. Mr.
Nettles cannot read to amass new information. He is frozen at the very beginning stage of
"learning to read" and has an insufficient foundation in reading to allow him to "read to
learn."


Vocabulary. Mr. Nettles does have a second-grade vocabulary and a smattering of words
above that, even some fourth-grade verbs. But, as mentioned, his limitations in English
syntax limit his reading ability.


However, adults, via their world experience, also acquire specialized vocabulary in certain
domains. This vocabulary may well involve words that a second grader and above would
not know. However, specialized vocabulary does not change the base vocabulary and
syntactic competence, so knowing more words in this case does not change your reading
level. We looked at Mr. Nettles' reliable recognition of domain-related vocabulary in four
areas (listed here with the percent of words recognized): twelfth-grade words (words
typically acquired through reading) (2%); medical mixed with some general vocabulary


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(67%); law enforcement vocabulary (49%); and employment-related vocabulary (63%). Mr.
Nettles' adult-acquired vocabulary indicates a person who does not read as an adult (only
2% of the words typically acquired through reading), but it is notable that he has acquired
a reasonable number of vocabulary items in all his other domains of experience.
Surprisingly, his vocabulary in the area of law enforcement is lower than the others,
suggesting a reduced fund of knowledge in this area. One cannot, however, get by in any
of these domains on vocabulary alone. Knowing vocabulary words without
accompanying syntax may allow Mr. Nettles to understand, for instance, the topic of a
document written at a higher reading level, but he would not be able to understand
through reading what the document said about that topic -- instructions, prohibitions,
warnings, conditions, etc.


Writing.
Mr. Nettles' written English competency was looked at in two ways: argument structure
analysis and grammaticality.


Argument Structure Distribution. The purpose of an analysis of an individual's argument
structure distribution is to look for any patterns that might suggest that the individual has
a frank aphasia or other organically based syntactic deficit that would account for any
problems with written language. Mr. Nettles does not have agrammatism. In contrast with
the grammatical constructions that individuals with agrammatism cannot produce, he
produces the same constructions in an overabundance (47%, where individuals with
agrammatism would produce few to none and hearing writers of English would produce
about 25%). Furthermore, his English writing patterns most strongly with the argument
structure patterns of Deaf ASL signers writing English and also with the English writing
of Deaf people in general (whether they sign or not) in terms of a reduced number of
copular constructions (sentence with linking verbs like is (e.g., X is a Y)). This argument
structure profile is independent of whether an individual has impeccable grammar in
English or whether the grammar errors are rampant.


Grammaticality. To get a sense of how much Mr. Nettles' writing conformed to the
grammatical rules of English, we took the same written data used for the argument
structure analysis and analyzed it sentence by sentence for grammatical errors at the word


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level (lexicon), word formational level (morphology; how person, tense, number, aspect,
and agreement are marked), and at the sentence level. Grammatical errors were seen at all
levels of the linguistic organization of Mr. Nettles' English. He uses what vocabulary he
has but often needs to substitute simpler words and to use circumlocutions for lack of the
vocabulary items he needs, and frequently omits or errs in marking of person, tense,
aspect, and number. His syntax is also highly ungrammatical. He freely omits
prepositions, exchanges them with one another, or uses them as verbs. He rarely produces
the English articles (a, an, the). He produces longer strings of words, but word order or
marking of constructions like questions, relative clauses, conditionals, direct speech, etc.
is absent. One can see in his writing attempts to convey questions, relative clauses, topic
marking and other syntactically organized information, but he does not have command
of the functional level of English grammar (the glue that indicates the syntactic
arrangement of words in sentences, such as determiners (a, an, the), morphological
markers of tense, number and agreement, auxiliary verbs (forms of to be and to have), and
complementizers that indicate one sentence to be subordinate to another (that, which,
infinitive-to, etc.) If any grammatical structure is to be seen, it is coming from ASL
grammar. He makes all the errors of a very beginning second-language learner of English
who relies on his first language to configure what vocabulary he has into sentences. He
has a fossilized development of English grammar, minimal grammatical competency in
English and reliance on ordering strategies and grammar coming from his knowledge of
ASL.


Basic Interpersonal Communication Skills (BICS): Mr. Nettles' communication in English
is limited at even the basic conversational level. His only means for attempting to convey
English is reading and writing, where he functions at best at first-grade level. He tries very
hard to express himself, but just does not have the English foundation to convey in writing
messages of any level of complexity that are understandable to an English user who is not
also familiar with the grammatical organization of ASL.


Cognitive Academic Language Proficiency (CALP): Use of CALP in a second language
tends not to exceed the proficiency seen in a person's first language and Mr. Nettles' CALP
is present, but weak, in ASL. His ability to communicate in English for the purposes of
analysis, synthesis, or evaluation is limited by his lack of basic English language


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proficiency and his limited educational experience in English. While able to be scaffolded
to acquire new knowledge via ASL, this option is not available to him in English.


American Sign Language:
Mr. Nettles' primary and preferred language is American Sign Language. While he is from
a hearing family and currently has less contact with the Deaf community, he has had early
exposure to ASL, and this exposure is evident in the language production and language
comprehension we observed.


Production: Mr. Nettles' sign articulation is clear and accurate. His vocabulary is at an
adult level. His proficiency in word formation and sentence grammar is strong,
approaching the fluency of a native signer.


Comprehension: Mr. Nettles' comprehension of ASL is also strong. He understood
background conversation with ease and performed well on understanding both the more
traditional narrative Bird of a Different Feather and the grammatically challenging classifier
story, DWI. He has a passable, but not strong, CALP in ASL. This speaks to weaknesses in
his education as opposed to issues with language fluency. For example, he fully
understood Bird of a Different Feather as one would understand a children's story. He
struggled when he needed to approach that story at a more analytical level to unpack the
evidence that it was actually an allegory. He caught the fact that the experiences of the
straight-beaked bird in a curved beak family were similar to the experiences of a deaf child
in a hearing family, but he was not able to comprehensively construct the argumentation
for that.


In summary, Mr. Nettles is a strong signer of ASL with adult level fluency and competency
in that language. Via ASL, he can communicate and have communicated to him all he
needs. His English, which lags far behind his ASL, is fossilized and cannot serve his needs
for communication access. In addition, while highly fluent in ASL, Mr. Nettles has a low
fund of knowledge in many areas and lack of a strong foundation in the ASL learned from
Deaf adults in a secondary and post-secondary academic environment. As a result, he
needs support and scaffolding when introduced to new or unfamiliar information or
when he is trying to function in a setting unfamiliar to him.


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Expert Opinion: Joseph Nettles


We have been asked to opine on the following questions:
While there may be a weighting at times in terms of who is best suited to conduct the
analysis of assessment material (e.g., Dr. Shepard-Kegl can hear and is therefore best
suited to code and assess data presented or received via sound, and Dr. Rowley is a native
Deaf signer and a core member of the Deaf community and thereby most appropriate to
assess issues pertaining to ASL, Deaf culture, and Deaf education; or the two working in
conjunction as a linguist and ASL specialist in signed language assessment) both of us are
indeed experts in the range of areas covered in our assessments and our responses in terms
of our expert opinion should be viewed as being in consensus on all matters of opinion,
offering them both individually and as a team.


In what situations (if any) are sign language interpreters required for communication
between Mr. Nettles and a person who cannot communicate fluently in ASL?
Based upon our assessment of Mr. Nettles and the conclusions we reached in that
assessment, it is our expert opinion that in any substantive interactions where Mr. Nettles
must access and share information with service providers (including, but not limited to,
law enforcement officials, probation officers, medical personnel, and counselors) who
cannot fluently communicate with him in ASL directly, the accommodation of a
professional, qualified ASL/English interpreter is required.


Based upon our assessment of Mr. Nettles and the conclusions we reached in that
assessment concerning his limited ability to access and share information via English, both
because of his sensory hearing loss and by virtue of his being a second-language user of
English with only minimal mastery of its vocabulary and grammar, it is our expert opinion
that there are no ideal situations where information could be accurately and effectively
shared via English in a manner that would afford him access equivalent to that of a hearing
individual who is a fluent user of English; nor would such access even remotely
approximate the level of access that would be afforded by interpretation of that
information into and from ASL. Since ASL is the only language that Mr. Nettles
understands and expresses with little to no errors in production or breakdowns in


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comprehension, it is our expert opinion that he can receive equal access only via
interpretation provided by a highly fluent ASL interpreter.


Which type?
Based upon our assessment of Mr. Nettles and the conclusions we reached in that
assessment, it is our expert opinion that in relatively benign and routine interactions, or
interactions where the stakes are not high and the interaction is not stressful or
emotionally charged, and in which Mr. Nettles has a reasonable fund of knowledge in the
subject matter at hand, he would require the services of a competent and qualified
interpreter (or interpreter team) who can consistently interpret between ASL and English.
Such an interpreter needs to be able to maintain consistent interpretation into ASL and
not fall back on more English-influenced variants of signing and needs to be sensitive to
regularly probing for understanding as well as for gaps in the fund of knowledge that Mr.
Nettles brings to the situation. In our expert opinion as a team consisting of an experienced
and credentialled ASL interpreter and an expert on ASL from the vantage point of a Deaf
native signer, Mr. Nettles is best served by an interpreter or interpreter team that can
provide native-level interpretation into both the source language and the target language
of each communication interchange.


In what situations (if any) are Deaf Interpreters required?
Based upon our assessment of Mr. Nettles and the conclusions we reached in that
assessment, it is our expert opinion that he would always be best served by a Deaf/hearing
team or a Deaf ASL signing service provider because this would provide both native level
language input and shared membership in a community of Deaf individuals who share
life experiences in having navigated their world visually and as a deaf person. However,
we have been asked to delineate those situations (if any) involving Mr. Nettles where the
services of a Deaf interpreter would be required. The factors that we feel play a role in our
decision in this regard are fund of knowledge, language proficiency, the need for CALP
to access and assess the information, and the extent to which the communication that must
be shared and accessed has important consequences (is high stakes) for Mr. Nettles. For
this reason, and focusing upon the issues at hand regarding probation and legal
proceedings, we feel that the services of a team consisting of a Deaf interpreter and a
hearing are required in any high stakes situation where there is a risk of misinterpretation


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that could have detrimental consequences for Mr. Nettles. Mr. Nettles lacks the fund of
knowledge to function knowledgeably in the legal domain. His academic level language
skills in ASL to unpack the information received in a way that he can evaluate and assess
it in sufficient depth and detail to make autonomous and informed decisions regarding
his case are present, but weak. The native-level proficiency and sensitivity to culturally-
based styles of behavior and discourse afforded by access to a qualified Deaf Interpreter
will make possible both conveyance of the content of information and the cultural
brokering needed to convey that information in a culturally familiar and appropriate way
that will minimize stress and anxiety stemming from cultural clashes that could
compromise trust and understanding. In terms of interchanges relating to probation, we
would argue that a Deaf/hearing team would not be required at every meeting once an
understanding of the objectives and protocol for such meetings is established, but such
teams should be provided in annual meetings where conditions of probation are reviewed
or altered or any probation meeting where significant events have occurred that may need
to be processed or resolved. Otherwise, based upon the results of our assessment of Mr.
Nettles, in our expert opinion, more routine probation meetings regarding familiar topics
would require only a competent and qualified interpreter (or interpreter team) with legal
specialization, who can consistently interpret between ASL and English and is sensitive
to probing regularly for understanding.


In what situations (if any) is relying on the person speaking and getting information
by speechreading appropriate/reliable?
Based upon our assessment of Mr. Nettles' speech and speech reading and the conclusions
we reached in that assessment, it is our expert opinion that there is no situation of any
consequence in which Mr. Nettles can reliably express or receive information via speech
and speechreading.


In what situations (if any) is relying on writing notes back and forth reliable for
effective communication?
In our expert opinion, for any situation in which a hearing individual is given the benefit
of using the spontaneous communication allowed by speaking back and forth with a
service provider, for a Deaf person to have equal access, a similar spontaneous mode of
communication needs to be provided. If a hearing person were required to write back and


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forth in these situations to assure equal access, would they be comfortable with the
accommodation? Because writing back and forth is effortful, time consuming, and in
some cases not as reliable as speaking, all participants would be at a disadvantage. The
service provider, pressed for time, will undoubtedly curtail the amount of information
passed back and forth, the consumer, hearing or Deaf, will be shortchanged the same
communication experience that would be had without passing notes. We have never seen
the passing of notes to result in an equal exchange of information as would happen via
spontaneous speech or signing. However, a second factor needs to be considered and that
is the competency in the language being written or read.


Based upon our assessment of Mr. Nettles' reading and writing and the conclusions we
reached in that assessment, it is our expert opinion that his proficiency in writing English
and in reading English is insufficient to support writing notes back and forth during any
substantive interchanges. He reads at a beginning second-grade level and his writing is
even less reliable and effective than his reading. This level of English competency is
insufficient for him to engage in any substantive interchange in this manner.


In low key situations, however, such as asking “where is the bathroom” or “I need
screws” at the Home Depot, or “Big Mac Meal with fries and Coke” at McDonalds, it
would be okay to write back and forth because of the low level of risk associated with
those situations. The dialogue is short and usually not interactive and it doesn’t lead to
harm to the Deaf person. Anything else where the value of the information is more
significant or there is inherent risk of harm to the Deaf person, to write back and forth
with Mr. Nettles would be problematic and risk much confusion and misunderstanding.
In our expert opinion, relying on written communication would not allow Mr. Nettles to
communicate information fully.


In what situations would “teach-back” or another method to ensure comprehension be
necessary? (put another way, any insight into whether the person is susceptible to “deaf
nod” even if they don’t fully understand).


Based upon our assessment of Mr. Nettles' communication and the conclusions we
reached in that assessment, it is our expert opinion that when his fund of knowledge is


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lacking in a given area and when processing the information requires a degree of CALP,
Mr. Nettles needs support to effectively communicate. When such communication
support is lacking, he will engage in "nodding." From our interviews with Mr. Nettles it
quickly became clear that being viewed as cooperating with authorities and complying
with whatever is required of him to remain in compliance with conditions of his probation
takes priority over his demand for communication access. For example, it is clear to us
from our discussion with Mr. Nettles, that he would not refuse to sign any paper handed
to him by an authority in the probation system, even when he didn't understand that
paper, for fear of being seen as noncompliant and being reincarcerated. With this level of
perception of a power imbalance (whether real or imagined) and his willingness to do
anything to keep in compliance, there is a great need for any authority figure interacting
with him to remain appraised of his level of understanding and not to take nodding or
expression of willingness to comply as an indication of understanding. Teach-back is an
effective tool for probing for understanding and, in our expert opinion, would offer an
effective means of both assuring Mr. Nettles' understanding and for building his trust in
the probation process and reinforcing in him his right to understand and to express to
others when he is not understanding.


The behavior of "nodding" needs to be unpacked and seen from several vantage points.
Our first comment on the issue of nodding comes from things discussed in our general
background section. In our experience, with both Deaf and hearing people, all of us have
our breaking points where we realize that continuing to ask for clarification, straining to
understand information that is new and unfamiliar, communicating in a second language,
and making efforts to get people to slow down or re-explain are unlikely to yield
understanding, may result in frustration aimed at us, or are just not worth the effort, we
all "nod." In our expert opinion and based upon our familiarity with many Deaf
individuals and their behavior, Deaf individuals in general, in situations where they lack
sufficient access to communication as a result of not having an interpreter, or just because
of their own limitations using a language, will "nod" for this reason. In this regard, Deaf
people and people who can hear are really behaving alike. It is just that Deaf people, who
have experienced over their lifetimes a repeated lack of communication access and
ineffective communication with people they cannot hear, have a lower threshold at which
they will begin to "nod." It is a sign of resignation to the fact that efforts to gain


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communication access have failed and are likely to continue to fail. Nodding is often a
very welcomed behavior. The Deaf person can hasten the end of the interchange; and the
hearing person can feel comfortable in the delusion that they are being understood and
will proceed through the conversation. Teach-back is a valuable tool that service providers
(particularly those in the medical profession) use with discretion when assuring that the
information to be conveyed is placed at a premium, in cases of assuring informed consent,
for example. However, when a priority is placed on time and when getting out the door
is placed at a premium, teach-back is not likely to be used and understanding is not likely
to be verified.


Here we offer our expert opinion as experts on Deaf culture and communication. There is
a second use of nodding in ASL. This use is a cultural and linguistic expression of politeness
and attention. And this use of nodding is different from nodding in the hearing population
in the U.S. It also has a different meaning from nodding in our wider hearing culture and
this is a place where cultural confusion often occurs. We are reiterating discussion from
our general background as well. In ASL people nod to say, "I am attending to you." It is
not a sign of agreement or understanding. The indication of understanding involves a
concurrent signing of Y-handshape, a fist with the pinkie and thumb extended. This
means, "Oh, I see." It is even glossed with the ASL acronym for this phrase (O-I-C, which
if read aloud sound like Oh, I see.) Nodding without this backchanneling signal is not seen
as understanding within Deaf culture, and the Deaf person will invariably repeat the
information in the absence of the manual backchanneling mentioned above. For hearing
people, a similar signal of attending is maintaining eye gaze. We can sometimes listen but
not look at a person. Often, however, we will find the person repeating the information
over and over, assuming we have not attended to it. Children are especially prone to
reacting in this way.


For all of these reasons, systematic probing for understanding, one effective means of
which is "teach-back," is an essential tool in the interpreter's communication arsenal. So,
in our expert opinion, Mr. Nettles is definitely prone to "nodding" as an indication of
compliance, as a response to resignation that understanding is not going to happen no
matter how much he asks for clarification, and as a cultural factor of how he as a Deaf
person signals his attention to the person communicating with him. For Mr. Nettles,


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probing to verify understanding is an important component in communicating with him
and teach-back is an effective means of doing so. Therefore, in our expert opinion based
upon our assessment and interactions with him as part of that assessment, the
accommodation of an interpreter or interpreter team skilled at not only communicating
with him in native-level ASL, but also adept at probing for understanding and sharing
with service providers when such understanding is not happening, are essential to
maintaining effective communication access for him.


Overall opinion.
Based upon our assessments of the two Deaf individuals in this case and our collective
knowledge of American Sign Language, Deaf culture, and the accommodation of
ASL/English interpreting, it is our joint opinion that both Mr. Cobb and Mr. Nettles have
insufficient mastery of English in any modality to allow them to access information in a
probation setting (particularly in meetings that are not low stakes or routine in nature)
and in legal proceedings without the accommodation of an ASL/English interpreter or
interpreting team. To be effective, such interpreters must be capable of consistently
conveying information to these individuals in a native level of ASL without falling back
upon English-influenced forms of the language the evaluated plaintiffs are not likely to
understand. Furthermore, it is our expert opinion that to be effective, such interpreters
must also be committed to not only providing interpretation, but to probing for
understanding at regular intervals over the course of their interpretations. Based upon the
results of our assessment of these two plaintiffs and our knowledge of the range of
interpreting resources available to draw from, it is our expert opinion that when either
plaintiff participates in the high stakes interactions, the appropriate accommodation to
provide would be a team of a qualified Deaf and hearing interpreter trained and
specialized in legal interpreting.




       Dr. Judy Shepard-Kegl                    Dr. Amy June Rowley
       Dated: August 11, 2020                   Dated: August 11, 2020




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Appendix A: Background on Components of the Evaluation

I. Linguistic/Cultural Profile:

In research on Deaf individuals, we generally begin with the following cultural profile,
which indicates what the likelihood is that a deaf individual will use ASL as their primary
and preferred means of communication. The more positive responses to the questions
below (except for the last), the more likely that the individual in question will be culturally
Deaf; and, as culturally Deaf, will have ASL as their primary and preferred means of
communication. Being culturally Deaf means that a person is most comfortable in the
company of other Deaf people, uses ASL, and views oneself as a member of a cultural
minority rather than as a member of the dominant hearing culture with a pathological
deficit—deafness. For more background, see the material discussing cultural Deafness In
the Introductory section of this report.


Being born Deaf of Deaf parents is a major (but not definitive) factor in predicting ASL
as one's primary and preferred language. However, individuals falling into this category
are also the most likely to have strongly mastered English writing and literacy skills.
This latter correlation is attributed to the fact that such individuals have had a language
(in this case ASL) from birth and, therefore, their English acquisition is building upon a
strong first-language base.


Attending a residential school for the Deaf is another major factor because this
maximizes exposure at an early age to strong ASL language models and to Deaf culture.
Beyond these additional factors indicative of individuals who are likely to be culturally
Deaf are the group they choose for social interaction, membership in Deaf organizations,
marriage or significant relationships to a Deaf partner, and choice of an occupation that
would require little use of English on a day to day basis and would also attract other
Deaf people. These are attitudinal indicators Deaf identity and cultural affiliation.


To better appreciate a greater feeling of affinity with Deaf peers, the chosen social
community of many Deaf people, as opposed to their own families in which they may




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feel foreign, we recommend reading, A Journey into the Deaf World, by Harlan Lane,
Robert Hoffmeister, and Ben Bahan (San Diego: Dawn Sign Press, 1996).

The Linguistic/Cultural Profile was initially used in research labs at the Salk Institute in
San Diego, CA and the Center for Molecular and Behavioral Neuroscience at Rutgers, The
State University of New Jersey. It was developed as a way to independently predict a
person’s cultural identity as a member of Deaf Culture and the likelihood that American
Sign Language was premorbidly (before any stroke or degenerative brain disease) the
individual’s primary and preferred language. Those labs were working with Deaf
individuals who had had aphasia (language loss) or a motoric impact on their ability to
produce and receive language as the result of an acute event like a stroke or a degenerative
process such as Parkinson’s disease. The individual would come to us as a research subject
after diagnosis, and we needed an independent way to determine that the premorbid
signing was indeed ASL.

I. 1. Culturally Deaf Responses
       Name: NAME                                                          Cultural Profile
       1. Prelingually deaf? yes
       2. Deaf parents? yes
       3. Attended residential school for the Deaf? yes
       4. Tends to associate primarily with Deaf people? yes
       5. Is a member of Deaf clubs and organizations? yes
       6. Married a Deaf spouse or has a Deaf partner? yes
       7. Traditional Deaf occupation? yes
       8. Knowledge of decibel loss? no

A culturally Deaf identity is indicated by yes answers to all but the last question above. A
final indicator of cultural identity, number (8) on the profile, is whether an individual
knows their dB loss (the decibel level at which they can hear). The culturally Deaf indicator
is a no answer to this question.

I.2 Early Life Choices

The first three questions in the cultural profile address choices made for a deaf individual
early in life, either by the etiology of their becoming deaf, whether there were other Deaf
people in the home signing as they grew up, or the educational decisions made for them,
typically by their parents. These are choices that influence a person’s identity with Deaf



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culture and their early exposure to ASL. However, they result from decisions over which
the deaf individual had little or no control.

I.3 Later Life Choices

The last questions in the cultural profile address choices made by the individual later in
life and offer evidence regarding their personal cultural identification as adults.
Affirmative answers are suggestive of identification with Deaf culture. Identification with
Deaf culture is indicative of a person’s identity as a Deaf person, of their seeking out the
community of others who are also Deaf and sharing their language and cultural values.
But most relevant here, it is predictive of a preference for American Sign Language as
one’s primary and preferred language.

II. Use of interpreters

The evaluated plaintiffs are questioned about those situations in which they would
request interpreters as well as when they have used interpreters. This gives us a sense of
those encounters the individual views as low stakes versus high stakes communication
encounters as well as their experience in requesting and using of interpreters.

III. American Sign Language proficiency.

To understand whether an evaluated plaintiff can use an interpreter if one were provided,
and to understand what the target language interpretation should be, we need to elicit
information that informs our sense of the that individual’s proficiency in American Sign
Language. We focus on three aspects of ASL competence: ASL production, ASL
comprehension, and we also determine whether ASL serves primarily the basic
interpersonal communication needs of the evaluated plaintiff, or whether they also have
the capacity to use ASL at a more sophisticated level to access information in academic
and other learning spheres. For more information about Academic ASL see the ASL in
Academics Series available on-line from the Office of Bilingual Teaching and Learning at
Gallaudet    University,    which    can    be   viewed    at   the   following    website:
http://www.gallaudet.edu/office_of_bilingual_teaching_and_learning/academic_asl/a
sl_in_academics.html




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III.1 ASL Production (Grammar)

It is standard practice in language assessments to pick out certain grammatical
competencies that are indicative of grammar mastery as a whole. Exhaustive testing of
every single component of ASL grammar would be highly inefficient, cumbersome, and
redundant. The practice of tapping into a subset of features that are predictive of the
language as a whole has been followed in the ASL Developmental Checklist developed by
Dr. Judith Mounty when she was at Educational Testing Services.15 Dr. Shepard-Kegl
served as the linguistic consultant to Dr. Mounty as she developed this checklist and the
training materials for using it. This practice was also followed by Supalla and Newport in
their development of a Test Battery for American Sign Language Morphology and Syntax.16
This and other ASL assessments are reviewed in Haug (2009).17


While never published, the Test Battery for American Sign Language Morphology and Syntax
has been used and adapted for many research projects and the peer-reviewed articles
published in conjunction with them. Dr. Shepard-Kegl was trained by Supalla and
Newport to administer this test battery and was given permission to use it in her linguistic
research. Before using components of the test battery in expert witness cases, she used
portions of it in her neurolinguistic research on control subjects and individuals with
Parkinson’s disease and aphasia under grants from the National Institutes of Health
(NIH), as well as the population study she conducted under a National Science
Foundation (NSF) grant to study the emergence of a signed language in Nicaragua.


In her own research and teaching on the linguistics of American Sign Language, Dr.
Shepard-Kegl has identified several grammatical features of ASL that distinguish it in
very salient ways from the grammar of English, including Figure and Ground
constructions and the use of classifiers in verbs of motion and location. In both cases, the
word order and grammatical rules of ASL are very distinct from English. The following

15
   Mounty, J. (1994). Signed Language Development Checklist. Princeton, NJ: Educational Testing Service.
16
   Supalla, T., Newport, E., Singleton, J., Supalla, S., Coulter, G., & Metlay, D. (unpublished). The Test
Battery for American Sign Language Morphology and Syntax.
http://cbpr.georgetown.edu/researchlabs/slrl/projectsandresearch/psychoneurolinguistics/asltestbatter
y)
17
   Haug, Tobias. 2009. Review of Sign Language Assessment Instruments. In Baker, A. and Woll, B. (eds.),
Sign Language Acquisition, vol. xi, pp. 51-85.



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two tasks both tap into Figure/Ground relations, one in the context of locative verbs using
classifiers and the next in the context of motion verbs using classifiers.


III.1.a. Verbs of Location (Bowerman,Topological Relations Task)

To look at grammar production, evaluated plaintiffs are presented with a series of line
drawings from the Topological Relations Task developed by Melissa Bowerman. These
drawings depict numerous locative relations between items (a cup on a table, an apple in
a bowl, a book on a shelf, etc.).




In ASL, each stimulus elicits a response that uses classifiers, figure/ground relations, and
locative verbs. The constructions elicited are the hallmarks of ASL grammar use.


In American Sign Language, the expected ordering is Ground before Figure as indicated
in figure above. In English, the exact opposite ordering, Figure before Ground, is expected.
In ASL, the spatial relation (e.g., on, in, behind, etc.) forms the core of the verb; whereas
in English this spatial relation is typically expressed using a preposition. Finally, the
English expression of these relations is expressed using full noun phrases as the
arguments. In ASL, full noun phrases can be expressed, but the critical spatial relation is
expressed by a complex verb of location that first expresses the location as well as some
abstract or physical characteristic of the object that serves as a Ground (e.g., CL:B (flat
surface) AT location a—“a flat surface is located at position a.” This pre-verb is cliticized
(attached) to the beginning of a second verb of location that expresses the Figure and its
topological relation: So, the ASL examples above would be more precisely transcribed as


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the following, where the "#" indicates the Ground (e.g., table, bowl, etc.) being attached to
the beginning of locative verb comprised of the figure (e.g., cup, apple, book. etc.)
incorporated into a locative verb (e.g., on, in, etc.). Remember that in ASL on, in, at, under,
to, from, etc. function as verbs, not prepositions (as they would be in English).


        FLAT-SURFACE#CLYLINDER-ON
        table                 cup              be on
        The cup is on the table.


        CYLINDER#SPHERE-IN
        bowl           apple        be in
        The apple is in the bowl.


        FLAT-SURFACE#FLAT-SURFACE-BE-ON
        table                 book                  be-on
        The book is on the table.


The Topological Relations Task was originally designed by Melissa Bowerman at the Max
Planck Institute to elicit expressions of spatial relations from young children. It was
developed further by Bowerman and Pedersen to elicit spatial relations for crosslinguistic
comparison, the purpose we are using it for here. These stimuli have been used in
linguistic fieldwork world-wide.18

Recently, for purposes of streamlining these assessments, the items on the Topological
Relations Task have been winnowed down to a set of 20 out of the original 52 that have
been shown to consistently yield Ground/Figure or Figure/Ground ordering.


III.1.b. Verbs of Motion Production (VMPA, from the Supalla, et al. Test Battery)



18
  Bowerman, M. and Pederson, E. (1992) Topological relations picture series. In S.C. Levinson (Ed.), Space
Stimuli kit. Nijmegen: Max Planck Institute for Psycholinguistics. (http://hdl.handle.net/11858/00-001M-
0000-0011-5614-1).




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The Verbs of Motion Production Task, Version A (VMPA) from the Test Battery of American
Sign Language Morphology and Syntax is parallel to the Topological Relations Task, except that
it focuses on verbs of motion rather than verbs of location. Like the Topological Relations
Task, each stimulus elicits a response that uses classifiers, figure/ground relations, and
locative verbs. Similarly, the motion verb constructions elicited in this task are also among
the hallmarks of ASL grammar use. We tend to only use this second task if an individual’s
grammar is very limited or if they have trouble understanding line drawings.


A language like English has a relatively fixed vocabulary supplemented by word
formation rules that change words to indicate differences in tense, number and aspect or
rules that derive nouns from verbs (e.g., ride+er changes the verb ride to the noun rider);
or verbs from adjectives (e.g., red+en changes the adjective red to the verb redden. A
language like ASL or Navajo is distinctively different. Rather than a large lexicon of pre-
formed frozen signs, ASL has a very productive word formation morphology that is
constantly creating words anew. Verbs of motion and location and classifiers use the very
productive word formation morphology in ASL to construct words on the fly. Some of
these words end up conventionalized and in a vocabulary that can be listed, but even
those tend to have a transparent internal organization that reflects the word formation
process. Like Greenlandic Eskimo, ASL has verbs that are really sentential in nature. They
include a basic action as well as all the nominal arguments involved and the roles they
play (source, goal, agent, etc.). Like sentences, which allow an infinite set to be produced,
the ASL lexicon has that same richness.


Verbs of motion and location and the classifiers that they contain allow ASL to produce
spatially precise and three-dimensionally descriptive verbs that are able to serve the
demands of the very visually oriented and attuned signers that use this language. They
are a challenge for non-native interpreters to master, but mastery of this component of the
grammar is critical.


Medical terminology is rife with words that are comprised of complex morphology.
Consider the longest word in the English language:
        Pneumonultramicroscopicsilicovolcanoconiosis which is the medical term for black
        lung. Much information is packed into this term:


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            pneumon- relating to the lungs
            ultra- extremely
            microscopic-so small you need a microscope to see them
            silico-a naturally occurring mineral in rock and soil (silica)
            volcano- from volcanos
            coni-a cone-shaped area of the right ventricle from which the pulmonary artery
            emerges
            osis- disease
The word tells us that this is a lung disease, particularly affecting the cone-shaped area of
the right ventricle of the heart that is caused by the inhalation of microscopically fine silica
dust particles typically found in volcanos.


English is happy with black lung and if you know what black lung means you are fine.
However, compound English word black lung does not translate into ASL in any way that
makes sense. ASL uses something more like the latinate system of word formation that
medical terminology uses.


Word formation rules that create verbs of motion and location. Nominalizations of those
verbs create another set of constructions in ASL called size and shape specifiers (SASSs)
that sculpt the shape of objects in space allow ASL to visually create message equivalent
forms in ASL for critical medical terms. The CATIE Center at St. Catherine’s University in
Minnesota offers trainings nation-wide, DVD trainings on medical terminology and the
discussion of medical systems such as the cardiovascular system, the gastrointestinal
system among others. These training share in common a focus on using understanding
and using verbs of motion/location and classifiers to convey these concepts.19


The ASL production stimuli used on our assessment elicit evidence of the extent to which
evaluated plaintiffs use these aspects of ASL grammar and would comprehend them with
ease.


19
     The following is a link to the CATIE Center Training Site:
(http://minerva.stkate.edu/offices/academic/interpreting.nsf/pages/medicalinterpreting)




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III.2. ASL Comprehension

In addition to predicting comprehension from the grammar used in producing ASL, our
assessment also includes other ways of determining comprehension of ASL and also
familiarity with more pidginized or contact forms of ASL that incorporate features of
English. Exploration of the comprehension of different forms of signing is threaded
through the background conversation that occurs throughout the testing. A more specific
assessment of ASL comprehension is done using a videotape of two ASL stories, signed
in ASL by the accomplished Deaf storytellers that composed them.

III.2.a. Background Conversation
Testing begins with a background conversation where we elicit information that informs
the cultural profile. During this initial portion of the testing, we try to maintain a more
ASL use of signing. As we move into more of the English oriented paper and pencil tasks,
we weave in and out of different forms of signing to see not only what is understood and
what isn’t, but the evaluated plaintiff’s comfort with receiving these other forms of
signing. In another part of the assessment, we used a range of signing varying between
ASL and more English-influenced variants of ASL.


III.2.b. Bird of a Different Feather (signed by Ben Bahan)
In addition to ASL used in background conversation, we also include a comprehension
task involving the signing of a 20-minute story, Bird of a Different Feather, composed in ASL
by a native signer, Ben Bahan, who is a renowned storyteller.20


This is an allegorical tale about a straight-beaked bird born into a family of curved-beak
eagles. The story examines the family’s response to this “different” family member with
many experiences that mirror the experiences of a deaf child growing up "different" in a
hearing family.




20
  Supalla, S. and Bahan, B. (1994). ASL Literature Series, Teacher’s Edition. San Diego, CA: Dawn Sign Press.
[Workbook and DVD]



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In this story about a family of eagles, the parents give birth to four eaglets, one of whom
differs by having a straight as opposed to a curved beak. This difference is perceived to be
a serious deficit and the parents spend much time trying to rectify it, calling in doctors,
faith healers, and shamans; sending the eaglet to a special school designed to make it like
other eagles and finally opting for surgery.


The story parallels the experience of deaf children in many hearing families and the goal
of this exercise is to tap into the individual’s comprehension of ASL as well as their ability
to recognize the parallels with Deaf culture. We tend to show the story chapter by chapter
through the part that mirrors the family’s decision to pursue surgery (for a deaf child this
would be a cochlear implant) to make the bird more like them. Evaluated plaintiffs are
asked to view the story in ASL and to answer questions about it. We look for both
consistent comprehension, awareness of Deaf culture, and ability to recognize and argue
for it being allegorical. Exploring the extent to which one can recognize and talk about
how this story is allegorical indicates the individual’s capacities with respect to Cognitive
Academic Language Proficiency (CALP) in ASL. CALP will be addressed in Section III.3).


III.2.c. A Classifier Story (DWI by David Rivera)
In some cases, where comprehension of classifiers is a focus, we will also have evaluated
plaintiffs view a classifier story in ASL by a Deaf storyteller named David Rivera.
Classifier stories make a point of using only the productive set of classifiers, SASSs, and
motion/location verbs and avoiding any lexically frozen signs. To understand them, the
individual must have command of the most productive word formation rules in ASL
grammar.


DWI was a story that David Rivera signed at a competition called Deaf Idol in New York
City (September 13, 2008) and qualified him for the finals of that competition. This ASL
text by Rivera can be viewed at: http://www.youtube.com/watch?v=ueTrYy7OA4g. It
relates in graphic detail the story of the events leading up to and following a car crash
involving a drunk driver.


The two videos used for comprehension represent different uses of ASL. The first is an
allegory created in a pretty creative and articulate, but fairly standard form of ASL. The


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second is a classifier story that maximizes the use of the most productive part of ASL
grammar and word formation. While they harken back to a traditional form of face-to-face
storytelling (called Visual Vernacular), classifier stories of the sort used here are also more
indicative of more modern forms of ASL storytelling and performance.


We follow up our discussion of these two stories by asking which type of story the
individual felt was easier to comprehend, or if there was no difference. The response often
reveals comfort with narrative genre in ASL and exposure to different kinds of artistic and
cultural uses of the language.


We follow that question with a presentation of three short utterances, each of which would
mean “I have two pictures in my room. Before they were together. Now they are apart.”
This juxtaposition of three forms was taken from a presentation by Charlotte Baker-Shenk,
an ASL linguist. One is presented in Manually Coded English. One is presented in Pidgin
Sign English (Contact Signing). And another is presented in ASL. The evaluated plaintiff
is asked to choose the form(s) they prefer.


III.3. BICS vs. CALP
When looking at language competency, it is important to look at the functional abilities a
given individual has, particularly when looking at a second language. In the case of Deaf
individuals who come to ASL late, this is also an area that needs to be examined. In 1979
Jim Cummins introduced two terms that describe the functionality of an individual’s
grammar: Basic Interpersonal Communication Skills (BICS) and Cognitive Academic
Language Proficiency (CALP).


III.3.a. Basic Interpersonal Communication Skills (BICS)
BICS is needed to socialize, and the more one socializes the more fluency in BICS is
attained. It is not taught. It is acquired through exposure and interaction. As long as you
aren’t in school, going to court, seeing a doctor, or in any situation where you have to
glean information in a low context and highly cognitively demanding situation, BICS will
do.


III.3.b. Cognitive Academic Language Proficiency (CALP)


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CALP is needed to succeed in learning environments, to take tests and to have unfamiliar
cognitively demanding information transmitted in low context situations. CALP is needed
for metalinguistic and metacognitive awareness and learning.


Cummins’ work focused upon bilingual immigrants learning a second language, but the
distinction applies to Deaf language users as well. The notion of fluency in a language can
be misleading. Within two years of language exposure most hearing immigrant children
demonstrate fluency in communicating with their peers in social contexts. Teachers also
tend to view them as fluent users of the language, yet in classes, tests, and cognitively
demanding situations that move beyond the everyday social interactions one engages in,
apparently fluent individuals with BICS do not perform on a par with their academic
peers. Cummins discovered that despite the fact that teachers noted that peer-appropriate
conversational fluency in English developed rapidly (within about 2 years), “a period of
5-7 years was required, on average, for immigrant students to approach grade norms in
academic aspects of English.” In other words, while BICS developed in two years, CALP
took 5-7 years to develop.


This is the pattern for individuals who are learning language and can also hear it spoken
around them continually. Deaf individuals do not necessarily follow this same trajectory,
even in their first language. A Deaf child of Deaf parents who is exposed to ASL (a first
language from birth) and who attends a school for the Deaf where the teaching is in ASL
and peers use ASL would be expected to develop CALP in ASL in parallel with the
development of CALP in English by hearing peers. With CALP in place in their first
language (ASL), these individuals may follow a similar trajectory as hearing immigrants
in terms of developing CALP in a second language, namely English. Although Deaf
students are not getting the same constant auditory exposure to English that hearing peers
get, the better Deaf readers and writers tend to come from this group of Deaf children with
Deaf, ASL-signing, parents.


A deaf child with hearing parents may enter school without any fluency in ASL or English.
Those that enter a residential Deaf school like the one described above are then entering
school as an immigrant child might. They would be expected to have fluent BICS in two
years and catch up to their native ASL signing peers within 5-7 years.


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However, the language exposure experiences of deaf children are extremely diverse. Some
children come from hearing families who do not sign and attend mainstream schools
where they are expected to access their education via interpreters. They may be the only
deaf student in the school without any native signing language models, and the skills of
interpreters can vary greatly. While they may do well, there is also the possibility that
coming to school without ASL and only having exposure to ASL in the classroom and not
socially, we may see BICS seriously delayed and CALP may never be developed. If CALP
is seriously delayed or not present in the first language, we can expect repercussions in
learning a second language, English. For this reason, it is important to look at both the
Basic Interpersonal Skills (BICS) and the Cognitive Academic Language Proficiency
(CALP) of each evaluated plaintiff.21


A short explanation of BICS and CALP by Cummins appears on-line at
http://iteachilearn.org/cummins/bicscalp.html. Our assessment of BICs uses all the
background conversation. We use the recognition of Bird of a Different Feather as an
allegory and the individual's ability to argue for parallels to get a sense of their CALP.

IV. English Proficiency

To form an opinion about the English proficiency of an evaluated plaintiff, various aspects
of English production and comprehension need to be looked at: speech, lipreading,
writing, reading, and vocabulary. We will address these different areas separately, but
they do interact. For example, you cannot lipread a vocabulary item you are unfamiliar
with. Also, reading and vocabulary knowledge are so intertwined that most reading
assessments are really relying primarily on vocabulary level with an assumption that the
mastery of grammar at the level of word formation and syntax is already mastered. Such
assessments are based upon hearing users of English, who but for reading and writing,
have already acquired English before entering school.


IV.I. Spoken English Competency

21
  Cummins, J. (1979) Cognitive/academic language proficiency, linguistic interdependence, the optimum
age question and some other matters. Working Papers on Bilingualism, No. 19, 121-129.



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We elicit a sample of spoken English using two 1.5-minute, nonverbal Czech cartoons: Mr.
Koumal Flies like a Bird and Mr. Koumal Battles his Conscience. The evaluated plaintiff views
the cartoon as many times as is needed (typically 2) and is asked to recount the story three
ways: signed, written, and spoken. The content of the cartoons appears in Section V. on
Narrative Production near the end of this Appendix. The spoken version is used for the
analysis of speech.


IV.1.a. Speech Skills
Spoken English Competency is assessed in three ways: for quality, intelligibility and for
the impact that it has on communication.

IV.1.a.i. Speech Quality
The assessment of speech quality is made by observing a number of features. Does the
evaluated plaintiff produce recognizable syllables? If the word is multisyllabic, can each
distinct syllable be discerned? Are the vowels in each syllable recognizable as the intended
target articulation? Are the consonants clearly articulated and can they be recognized? Are
the onsets and offsets of the syllable produced and recognizable? Are consonant clusters
reduced or omitted? Are voiced versus voiceless distinctions made? Is the amplitude
(loudness) of the speech controlled? And, finally is prosody (intonation) maintained while
speaking or is the production more halting and staccato?


IV.1.a.ii. Intelligibility
The intelligibility of speech is looked at in two ways, with and without visual cues.
Remember that we know the content of the passage, so we have an advantage in terms of
recognizing speech produced that individuals unfamiliar with the text would likely miss.
At times we will play the speech for someone unfamiliar with the text to get a sense of
what it would be like to understand without context. In addition, Dr. Shepard-Kegl, who
assesses this component of the testing, is a certified Oral Transliterator (OTC) and is
proficient lipreader familiar with Deaf speech. So, her assessment gives an advantage to
the speaker.


IV.1.a.ii.1. Auditory monitoring alone




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Dr. Shepard-Kegl listens to the spoken sample and determines a rough percentage of what
she can recognize without lipreading the evaluated plaintiff. This is most indicative of
what an individual unfamiliar with Deaf speech and not trained or experienced in
lipreading would experience.

IV.1.a.ii.2. Lipreading and auditory monitoring

Dr. Shepard-Kegl then looks at the signer while monitoring the speech to see to what
extent lipreading aids her understanding. In addition, she carefully transcribes the spoken
narrative to the best of her ability stopping and rewinding the tape, and attending to any
signing that may be concurrent with the speech, etc.


IV.1.b. Lipreading
Lipreading is a very labor intensive and difficult task. Even strong lipreaders tire quickly,
and with fatigue ability to lipread declines. Many words look alike (are homophenous).
Every mouth shape has at least three different sounds associated with it.22


If one looks in a mirror the words in each of the rows below look identical:
                PAN          MAD           BAT
                NAP          DAM           TAB


 The following video link by Rachel Kohl gives the hearing viewer a sense of what the
 lipreading                           experience                           is                        like:
 https://https://www.youtube.com/watch?v=n1jLkYyODsc

Lipreading Task. The stimuli for the lipreading task include within them words and
sentences taken from a list of words taken from the Wide Range Achievement Test
(WRAT) as well as sentences and phrases taken from lipreading assessment used by the
Central Institute for the Deaf (CID), but the list is expanded to include additional highly


22
  Nitchie, E.P. (1916). The use of homophenous words. The Volta Review, 18, pp. 85-93. Berger, K.W. (1972).
Visemes and homophenous words. Teacher of the Deaf, 70, pp. 396-399.
  Erber, N.P. (1974). Visual Perception of Speech by Deaf Children: Recent developments and continuing
needs. Journal of Speech and Hearing Disorders, 39, pp. 283-287.



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expected stimuli, low expected stimuli, and some phrases and sentences expected to be
encountered in employment, medical, and law enforcement contexts. The lipreading task
involves two presentations of each stimulus (either a word or whole phrase or sentence).
Each presentation is loud and very precise. There are 64 lipreading stimuli in all: 17 single
words and 47 phrases of varying length. It is important to note that only 30% of members
of the deaf population have enough residual hearing and other capacities to allow them
to be successful lipreaders. Having had speech training is no assurance of success.
Ambiguity and guessing are inherent in this system, where most of the articulatory
distinctions are hidden within the mouth (vibration of the larynx, dropping of the velum,
laxing of the pharynx, etc.).

Note that the lipreading conditions under which these stimuli are presented are ideal. The
room is well-lit and quiet. The examples are repeated, sometimes more than twice, face to
face and in close proximity by a certified oral transliterator trained to produce clear
speech. The goal is to capture the deaf individual’s best lipreading under the best
conditions. Such ideal conditions cannot be replicated in most of the evaluated plaintiff’s
interactions by hearing service providers.

As a result of the need to do testing at a distance because of COVID-19 restrictions,
lipreading assessment is currently being done virtually face-to-face using Zoom. This
allowed for both clear presentation and the ability to repeat or not as the evaluated
plaintiff's responses dictate. We have done the lipreading assessment at a distance in
previous cases as well and the results are parallel. There is the added advantage that both
the stimuli and the responses are available in the Zoom recording.


IV.1.b.i. Words
The single words are all words a Deaf evaluated plaintiff would typically be expected to
know (milk, city, in, tree, animal, himself, between, chin, split, form, crazy, stretch, theory,
contagious, grieve, toughen, and aboard).


IV.1.b.ii. Sentences and Phrases

The words and phrases were constructed to feature several different characteristics: highly
routinized expressions that a deaf lipreader would encounter frequently (e.g., What’s your


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address?; What time did you show up for work this morning?); sentences that are infrequent
(e.g., I like to visit the zoo; The circle is a round drawing); numbers alone (42, 1996) and
numbers in context (e.g., President Kennedy was shot in 1963); sentences that might be
encountered in a medical or law enforcement context (e.g., Do you have a living will?; You
have the right to remain silent); and a few phrases that are known to be homphenous (look
alike) on the lips (e.g., green beads, red beans). There is also a case near the end of an
unfamiliar vocabulary item that one might be able to lipread, but which may not be on
one’s repertoire (We found a nodule.) The full list of items appears below:
       1. The cat has fur.
       2. Bob can run fast.
       3. His arm hurt.
       4. The train was crowded.
       5. If you shout, he’ll hear you.
       6. Put down the correct answer.
       7. The circle is a round drawing.
       8. Heaven surrounds the earth.
       9. Parents educate their children.
       10. The material was expensive.
       11. The house was in ruin after the fire.
       12. Can you understand me?
       13. What's your name?
       14. How many children do you have?
       15. What's your address?
       16. Can you tell me your social security number?
       17. What's your telephone number?
       18. Do you have a tty?
       19. I like to visit the zoo.
       20. The dress is now in fashion.
       21. I believe you are right.
       22. My suggestion was followed.
       23. What time did you show up for work this morning?
       24. How long have you been working here?
       25. When's the last time you met Fred?
       26. What's your mother's maiden name?
       27. Do you have a living will?
       28. What is your retirement plan?
       29. President Kennedy was shot in 1963.
       30. My family lives in (name of city),
       but I have a cousin that lives in (name of city or county).
       31. What's your favorite movie?
       32. seven
       33. 42
       34. 1996
       35. When did you graduate from high school?
       36. Have you ever had a transfusion?


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       37. Do you own your house?
       38. How old is your son?
       39. red beans
       40. green beads
       41. Are you aware of your rights?
       42. You have the right to remain silent.
       43. You will need to have chemotherapy.
       44. You have an appointment for the twenty-first.
       45. We will need to reschedule you for the eighteenth.
       46. We found a nodule.
       47. Your test was positive.

When a person has extreme difficulty with this task, we will also present very common
items like their name, thank you, I love you, etc.; telling them we are saying numbers and
asking them to identify which ones; or in extreme cases where an individual may have
cognitive limitations, presenting a word and having the individual choosing items from a
set of four pictures.


IV.1.c. Impact on communication
Finally, we look at the impact on communication. How comfortable is the Deaf evaluated
plaintiff using speech? Does the speech have characteristics that might juvenilize the
evaluated plaintiff in the minds of others? Does the evaluated plaintiff limit speech to
words that can be pronounced or does the evaluated plaintiff struggle with speech result
in putting out less information? This last point will be examined later in Section V. on
Narrative Production.


IV.2. Written English Competency
We looked at two aspects of the evaluated plaintiffs’ writing: argument structure
distribution and grammaticality. The argument structure distribution tells us whether
they potentially have an organically-based language deficit like agrammatism that affects
the use of language and it also compares the profile of the evaluated plaintiff's English
writing to three groups: hearing speakers; Deaf ASL signers; and Deaf people in general
(whether they sign or not).


This argument structure profile one exhibits is independent of whether an individual has
impeccable grammar in English or whether grammar errors are rampant. We then do a
subsequent analysis looking at the actual grammatical or ungrammatical aspects of the


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evaluated plaintiff's word choice (lexicon), word formation (morphology) and sentence
grammar (syntax).


IV.2.a. Argument Structure Distribution: Data Collection

The evaluated plaintiff’s skills in written English are tested by eliciting sample written
narratives generating at least 150 clauses with their verbs and associated noun phrase
arguments. Several means of elicitation are used.

IV.2.a.i. Movie Recountings

The evaluated plaintiff is asked to recount a movie or something they recently
experienced. This format replicates prior studies of agrammatic aphasics conducted by
Myrna Schwartz, Elinor Saffran, and Rita Berndt. (See reference below: Berndt, et al.
(2000).) Dr. Shepard-Kegl was trained in this procedure by Myrna Schwartz and continued
to use the elicitation of such narratives in her own research on agrammatism as well as in
these assessments. An argument structure analysis requires 150 verbs and their arguments
to be elicited. Movie recounting is only used when we cannot collect sufficient written
data via the remaining forms of elicitation. For virtual elicitation, we have added
additional wordless books to increase the written samples produced.

IV.2.a.ii. Nonverbal Cartoons

As a check on consistency for the narrative task done on-site versus at home, two shorter
narratives are always elicited during testing and are also analyzed separately for their
argument structure distribution. In this way, the same narrative is also collected from
every evaluated plaintiff assessed, well over 200 to date. Collection of a sample during
testing was done to control for any reliance on captioning to generate the written
narratives, or reliance on other resources for help with writing such as dictionaries, spell
checkers, or friends and family members. For the past few years, we have been eliciting
written narratives at home or off-line using the Frog Stories instead of movies.




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Along similar lines, Berndt, et al. elicited the same Cinderella narrative from each of their
subjects. These Cinderella narratives were elicited by viewing a picture book of the
Cinderella story as a memory aid.23

However, many Deaf individuals don’t have the same experience with English stories that
hearing individuals have. Instead, we chose to use two 1.5-minute Czech cartoons to elicit
the written narratives on site: Mr. Koumal Flies Like a Bird and Mr. Koumal Battles his
Conscience. Parallel with the elicitation of the speech sample mentioned earlier, Evaluated
plaintiffs can watch the short video as much as they like (typically twice) and then write
their rendition of the story. The next elicitation task involving wordless books is even more
parallel to the Cinderella narratives, but it lacks the continuity and spontaneity we see
when the whole cartoon is watched and then the story is told. So, we now use both.



IV.2.a.iii Wordless Books
With evaluated plaintiffs who have memory problems, we introduced the use of several
wordless books by Mercer Mayer, typically Frog, where are you? and Frog Goes to Dinner.
The Frog Stories have been used by a variety of researchers cross-linguistically to elicit
narrative data (Berman and Slobin, 1994). Over the past two years, we have begun to use
them even with individuals evaluated who do not have memory problems because they
elicit more data.24


There is also a large database of transcribed data from these elicited narratives in many
spoken languages available on-line: https://childes.talkbank.org/access/Frogs/




23
  Berndt R, Wayland S, Rochon E, Saffran E, Schwartz M. Quantitative production
analysis: A training manual for the analysis of aphasic sentence production. Hove, UK:
Psychology Press; 2000.)

24
 Berman, R. and D. Slobin. (1994). Relating Events in Narrative: A Crosslinguistic Developmental Study.
Hillsdale, NJ: Laurence Erlbaum.




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We also have access to completely graphic and wordless memory aids for a variety of
stories and folktales ranging from Little Red Riding Hood, to aids in recalling the movie
Harriet (about the life of Harriet Tubman), to stories from the Odyssey. These graphic
memory aids have been created by Nicaraguan Sign Languages, Inc. for the training of
Deaf teachers in storytelling. We rely upon these when the evaluated plaintiff is familiar
with any of them and we need to elicit a larger sample. For virtual testing, we have the
potential to supplement the two Frog stories with a series of wordless graphic novels that
we have created to prod the memory of an individual who already knows a story via
pictures as they relate it. These are used when we feel we need more data than the Koumal
cartoons or Frog stories produce. Individuals can choose from the stories they recognize:
Don Quixote, Little Red Riding Hood, Rip van Winkle, The Boy Who Cried Wolf, The Girl with
the Green Neckband, etc.

IV.2.b. Argument Structure Distribution: Data Analysis

The written English narratives are retyped into an Excel file and each verb produced is
isolated and coded with respect to the number and type of noun phrase arguments it
requires as well as whether all those arguments were expressed. This coding assumes that
there are three possible arguments: external, direct, and indirect. These three types of
arguments fill the subject, direct object, and indirect object positions relative to the verb at
a lexical level of representation before any syntactic operations have applied.

Once the argument structure distribution for the evaluated plaintiff is determined, it is
compared with the argument structure distributions of four distinct groups of writers of
English: 1. typical hearing speaker of English; 2. individuals with a particular form of
aphasia called agrammatism, which impacts their ability to perform syntactic operations;
3. Deaf signers of ASL writing English; and 4. Deaf non-signers writing English.

IV.2.b.i. Group 1: typical hearing speakers of English

Research on hearing individuals writing English has revealed that just slightly over 50%
of the constructions produced tend to be those requiring an external argument. The
remaining two types of unaccusative constructions tend to be divided evenly between




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copular constructions and other unaccusatives. For comparison purposes, we can imagine
an idealized pie chart of the following sort:



                             Native English Speakers' Argument
                                   Structure Distribution


                            non-
                           copular
                                                  external
                            25%
                                                arguments
                                                   50%
                               copular
                                25%




IV.2.b.ii. Group 2: speakers with agrammatism producing English25

The second group consists of individuals with a form of aphasia that directly impacts
their ability to perform syntactic operations. These are typically called agrammatic
aphasics. These individuals produce those constructions that adhere most closely to the
arrangement of noun phrases and verb that is specified in the lexicon before any
syntactic rearrangements would occur. In English these would be the constructions that
have external arguments. In case of agrammatism, the non-copular unaccusatives, which
require overt syntactic movement are absent. In addition, there are many uncodable
utterances. And, the category copulars, which are transparent in their ordering expands
to cover the missing unaccusatives with simple circumlocutions. The argument structure
distribution for individuals with agrammatism appears below:




25
  Kegl, J. 1995. "Levels of Representation and Units of Access Relevant to Agrammatism." Brain and
Language, 50, 151-200.


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                     Typical Argument Structure Distrbution seen
                     with speakers of English with Agrammatism
                                      Non-copular unaccusatives
                                                0%



                                      uncodable
                                         15%
                                                     copular
                                                   unaccusatives
                                                       32%



                                      external
                                     arguments
                                        53%




If an evaluated plaintiff has a syntactic deficit we would expect this sort of patterning. A
syntactic deficit tied to a learning disability or acquired aphasia is different from lack of
syntactic mastery resulting from language deprivation or incomplete mastery of a given
language.

IV.2.b.iii. Group 3: Deaf ASL signers writing English26

In contrast with the avoidance of unaccusative constructions in agrammatic aphasics, Deaf
users of English whose primary and preferred language is ASL tend to have an expanded
use of the category of non-copular unaccusatives. This may be attributable to the rich use
of verbs of motion and location in ASL, which tend to be non-copular unaccusatives. The
occurrence of copular constructions is also very reduced. So, Deaf ASL-signing
individuals writing English produce a preponderance of the unaccusative constructions
that require syntactic operations to be well-formed and are harder for English speaking


26
  Kegl, J. and H. Poizner. 1997. “Crosslinguistic/ Crossmodal Syntactic Consequences of Left-Hemisphere
Damage: Evidence from an Aphasic Signer and his Identical Twin.” Aphasiology, vol. 11, no. 1, pp. 1-37
  Kegl, J., Baynes, K., Brentari, D. and Poizner, H. 1996. “Landau-Kleffner Syndrome: Modality
Independence of Linguistic Competence.” Society for Neuroscience 26th Annual Meeting: Abstracts. Part 1,
pg. 184.)



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individuals with agrammatism to produce. And, they also produce fewer copular
constructions, the easiest construction for individuals with agrammatism to produce.


                         Typical Distribution of Deaf ASL signers
                                     writing English




                                                        Non-copular
                                                       unaccusatives
                                          external         32%
                                         arguments
                                            63%

                                                                   copular
                                                                     5%




IV.2.b.iv. Group 4: non-signing deaf individuals writing English

The reduction in the use of copular constructions seen with Deaf ASL-signers is not limited
to that group. Copular constructions typically involve contraction of the unstressed is onto
another element in the sentence. The low acoustic salience of these copulars may account
for their reduced occurrence in the English of Deaf ASL signers. Support for this comes
from the fact that this generalization holds not only for signing Deaf individuals, but for
deaf individuals who adhere to an oral philosophy of communication as well (deaf non-
signers). This means that the absence of copular constructions is characteristic of the
English of both signing and non-signing deaf individuals. The inconsistent use or
omission of copulars was also noted in Berent (1996).27

An argument structure analysis requires a certain level of English competency. In cases,
where an evaluated plaintiff’s writing is extremely limited, to the point where they cannot




27
 Berent, G. (1996). The acquisition of English syntax by deaf learners. In Ritchie, W. and Bhatia, T. (eds.),
Handbook of Second Language Acquisition. San Diego, CA: Academic Press.


                                                                                                        169
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reasonably produce a 150-verb corpus of data, and argument structure analysis is not
done.


IV.2.c. Specifics of English grammar production

The results discussed above are based upon the argument structure patterns exhibited by
an individual, but a person can have a limited mastery of English but still show the ability
to produce the full range of argument structures. Examination of argument structure
distribution addresses the question of whether an individual writer’s capacities for
language at the level of syntax are intact as well whether the pattern of argument structure
distribution resembles that of hearing individuals native in English, Deaf individuals
writing English, or Deaf individuals with ASL as a primary and preferred language. They
are not indicative of the individual’s mastery of aspects of English-specific grammar rules.
A person can have a limited mastery of English but still show the ability to produce the
full range of argument structures.


The same narrative data elicited for the argument structure distribution analysis can be
examined from the point of view of grammaticality to get a sense of how proficient an
individual is in following the grammatical rules of English.         In this section of the
assessment, examples are drawn from the narrative sample to give a feel for the kinds of
errors one would encounter in reading the evaluated plaintiffs’ narratives. Where
relevant, errors that are related to the use of ASL as a first language will be noted. A deaf
person’s English writing is often awkward to a non-ASL signer, but it can be clear to one
familiar with ASL grammar.


The data will be divided into various types, corresponding to the various levels of
linguistic structure: lexical (errors in word choice or word category (noun, verb, adjective,
etc.), morphological (errors in the application of morphological rules like the marking of
person, number and tense or any word formation rules), syntactic (errors at the level of
the sentence regarding the formation of questions, relative clauses, passives, etc.), and
semantic (errors related to meaning).


IV.2.d Reading


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It is important to remember here our prior discussion of how learning to read is a different
experience for learners who can hear and already have the language in place and those
who do not.

Presentation of sentences and passages that are designed to be at specific grade-levels is
still the standard for reading assessments. The methodology used throughout is to present
the evaluated plaintiff with pre-vetted materials independently determined to be at
specific grade levels. Our interpretation of performance on those grade-level materials is
complemented by our syntactic analysis of the materials and knowledge of Deaf readers.
The results we come up with are always at or above the level the individual would be
determined to be at in a stricter application of the assessment.

There are no standardized reading instruments that can adequately assess Deaf readers of
English because of the highly varying degrees of exposure to English they may experience.
Many reading inventories, even the Flynt Cooter Reading Inventory used here are
inadequate as a standardized reading test for Deaf individuals. When grade-level
sentences and passages are used there are still confounds like the use of figurative
language that will cause Deaf students problems. Educators and psychometricians agree
that the best assessment for Deaf readers is individualized rather than standardized. But
this isn’t feasible in large populations. It is possible in a single case study such as the one
being used here. The approach we take is a mixture of the two. We use the standard
practice of selecting pre-vetted grade-level sentences and reading passages for testing, but
we also bring to the task awareness of factors like figurative language and differences in
incidental exposure to vocabulary and syntactic constructions.

In most assessments of reading, vocabulary level is coupled with reading level. This is
most evident in the San Diego Screening that will be discussed below. In fact, almost all
reading tests are at heart vocabulary tests. Yet the critical benchmark between a third- to
fourth-grade reading level and above that level that is invariably attributed to a sizeable
portion of Deaf readers has little to do with vocabulary. It concerns whether an individual
can use syntax for reading comprehension.

The classic case is mastery of the passive voice. Consider the sentence The dog bit the
mailman. We use our syntactic knowledge that English is a Subject-Verb-Object (SVO)



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language to determine that the dog is the subject/agent and the mailman is the
object/patient. However, we also just know from world experience that dogs tend to bite
mailmen, and not vice versa. It is possible to understand the sentence without resorting to
any syntactic analysis. The same thing is true for the following passive sentence: The
mailman was bitten by the dog. One doesn’t need to resort to syntactic processing to get the
right understanding of that sentence. But, now consider another passive: The dog was bitten
by the mailman. To understand that the meaning of this sentence runs counter to our
expectations, we must understand that it is a passive. The divide between the level at
which a large number of deaf readers plateau and beyond is the point at which syntactic
mastery impacts reading. This is also the point at which reading is no longer a skill to
master. It becomes a viable tool to allow one to access to the rest of one’s education and to
information that is unknown and unexpected. Without syntactic processing, Cognitive
Academic Language Proficiency (CALP) is unattainable.

For Deaf people reading at a fourth-grade level or below, passive morphology poses a
problem. Many have reanalyzed the passive morphology was VERB+ed/-en as an alternate
past tense ending. In fact, they regularly use it in their writing as in The dog was bitten the
mailman, meaning “The dog bit the mailman.” Or, more commonly with the –ed ending
as in Mary was killed John, meaning “Mary killed John.” The ability to do a linguistically
based single case study analysis that connects an individual’s production with issues of
comprehension reveals much more than pooled results yielded by standardized tests. This
is our reason for taking the approach that we do.

Numerous studies have addressed the reading and English grammar levels of Deaf
individuals. The following sources place the average reading level of Deaf individuals at




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a 3-4th grade reading level.28 Only 10% of the deaf population is reported to have above
an 8th grade reading level.29

The following is an excerpt from a book by Peter Paul on this matter:

        ...it is well documented that most students with severe to profound hearing
        impairment do not read as well as their hearing counterparts upon
        graduation (Allen, 1986; CADS, 1991; King & Quigley, 1985; Quigley &
        Paul, 1989). The recent findings on the SATs are similar to those reported
        for the unadapted versions of achievement tests in the early 1900s (e.g., see
        research review in Quigley& Paul, 1986). Two general findings can be
        stated. One, the results consistently reveal that average 18- to 19-year-old
        students with hearing impairment are reading no better than average 9- 10-
        year-old students with typical hearing. Two, the results show an annual
        growth rate of only 0.3 grade level per year with a leveling off or plateau
        occurring at the third- or fourth-grade reading level. There is also some
        agreement that these general achievement batteries might be
        overestimating the reading ability of students with hearing impairment
        (Davey, LaSasso, & Macready, 1983; Moores, 1987). Thus, the true reading
        achievement levels of most students in special-education programs may be
        even lower than the levels reported.30


The evaluated plaintiffs’ reading was looked at through various lenses that work together
to offer insight into the individualized reading abilities that inform our expert opinion.
These methods all shared the standard presentation of vetted grade-level reading



28
  Institute for Child Behavior and Development. [Analyzing reading materials commonly used with deaf
students in the above study, found that many deaf students were not able to process the very reading
material from which they were supposed to be learning]

  Conrad, R. (1977). The reading ability to deaf school leavers. British Journal of Educational Psychology,
47, 138-148. [Reports that about half of all 18-year-old deaf students read at or below fourth-grade level]

   Trybus, R. and Karchmer, M. (1977). School achievement scores of hearing impaired children:
National data on achievement status and growth patterns. American Annals of the Deaf, 122, 62-69.
[similar findings to Conrad’s]
29
    Berent, G. P. (1993). Improvements in the English Syntax of Deaf College Students. Annals of the
Deaf, 138(1), 55-61. [excellent overview of the literature]
    Quigley, S.P. and King, C.M. (1980). Syntactic performance of hearing impaired and normal hearing
individuals. Applied Psycholinguistics, 1, 329-356.
                    [The 18-year-old students who participated in these studies (begun in 1973) performed
at significantly lower levels than the 8-year-old hearing participants on all structures investigated.]
   Quigley, S.P., Wilbur, R. B., Power, D. J., Montanelli, D.S. , and Steinkamp, M. (1976). Syntactic
structures in the language of Deaf children. Urbana, IL:
30
   Paul, Peter V. 1998. Literacy and Deafness: The Development of Reading, Writing, and Literate
Thought. Boston: Allyn and Bacon, p. 23.


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materials and was accompanied by our syntactic analysis of those stimuli, except in the
case of the San Diego Screening, which uses only words.



IV.2.d.i. Flynt-Cooter Reading Inventory
The Flynt-Cooter Reading Inventory is what is referred to as an informal reading
inventory designed for teachers looking for levels of materials or basal readers to work on
with their students. (Basal readers are highly planned, vocabulary-controlled readers
designed for specific grade levels.) The Flynt Cooter Reading Inventory provides two sets
of grade-level reading materials ranging from pre-school to 9th grade. There are two
forms, A and B. We use materials from Form A, unless it is a re-testing. This inventory
is often recommended for working with diverse students and students in special
education.

To pin down the reading level more precisely, we present evaluated plaintiffs with a series
of graded reading passages taken from the Flynt-Cooter Reading Inventory.31 This reading
inventory presents a set of three sentences at each grade level to screen for reading ability.
Based on performance with the screening sentences, the individual is then presented with
a reading passage at one or more of the targeted grade levels to better determine the
reading level.


The test materials are the same as those in the 2007 edition. Since we prefer to have the
same materials for all evaluated plaintiffs, we have chosen not to upgrade to the most
recent version of this inventory. However, examination of the new materials reveals that
they are relatively unchanged.

Prior to picking grade-level passages for reading, the evaluated plaintiff is typically
presented with all of the sentences from Form A Levels 1 (first grade) through 9 (ninth
grade). The one exception is if reading proves so frustrating at levels 1-3, and the person
is shutting down, we skip the remainder. The reason for going beyond the standard cut-
off of any level where one is missed is that deaf readers vary greatly in their exposure to


31
 Flynt, E. Sutton. and Cooter, Jr., Robert B. 1998. Flynt-Cooter Reading Inventory for the Classroom (Third
Edition). Upper Saddle River, NJ: Merrill.


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English and do not follow the standard patterns found among readers of English. They
must be looked at individually.

Three sentences are presented at each grade level. The evaluated plaintiff is asked to
indicate any vocabulary they didn’t know and then to read each of the sentences at each
level and tell us what they mean. Technically, getting all the sentences correct up to some
grade level would determine the grade-level text that would be first presented, but there
are idiosyncrasies in many deaf individual’s development of English. So, using the grade-
level sentences and passages as a guide, we are more flexible in our assessment of
performance on these materials. Most of the deaf consumers we test will score higher on
these materials in terms of grade level than they would on the stricter criteria used in
testing with hearing individuals.

The grade-level sentences are presented below with annotations concerning points that
we are flexible with.


       FORM A: Level 1
       1. He wanted to fly.
       2. The family got together.
       3. The boy was jumping.

       FORM A: Level 2
       1. I was walking fast to town.
       2. She cried about going home.
       3. I was pulled out of the hole. [This is a passive. We would note it, but would not rule out
                                         this level or above if it were missed.

       FORM A: Level 3
       1. The forest was something to see [figurative, but often an issue with deaf readers]
       2. I was enjoying sleeping when my Mom called.
       3. I had to go to bed early last night.

       FORM A: Level 4
       1. I dislike being the youngest.
       2. I'm always getting into trouble.
       3. They insisted on watching the show daily.

       FORM A: Level 5
       1. Athletic shoes come in all kinds of colors.
       2. Serious players manage to practice a lot.
       3. A cheap pair of shoes doesn't last very long.

       FORM A: Level 6
       1. He was searching for the evidence.
       2. He realized the rock formations were too high.
       3. The conservationist hoped to reforest the mountain.




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         FORM A: Level 7
         1. Unfortunately, she was confused about the next activity.
         2. The submerged rocks were dangerous.
         3. He disappeared around the bend at a rapid rate.

         FORM A: Level 8
         1. Ascending the mountain was rigorous and hazardous.
         2. The cliff provided a panoramic view of the valley.
         3. The incubation period lasted two weeks.

         FORM A: Level 9
         1. The abduction made everyone suspicious.
         2. The detective was besieged by the community.
         3. Her pasty complexion made her look older.


Based upon performance on these sentences, we then present the appropriate grade-level
text from Flynt Cooter, Form A for the evaluated plaintiff to read. We present that text
and at least one above and below until it can be determined which level the evaluated
plaintiff most comfortably reads at.

IV.2.d.ii. San Diego Screening
One final screening test serves to corroborate our assessment of reading level. The San
Diego Quick Reading Assessment is a quick screening based upon selected vocabulary alone
that determines the reading level at which one would be expected to read independently
(missing one or fewer words); to read well with educational supervision (missing two), to
read with frustration (missing three or more).


We noted earlier that at the heart of all reading assessments is grade-level vocabulary.
This test takes this idea to the extreme and presents only vocabulary. Surprisingly, it does
almost as well as the other assessments in terms of predicting reading level, for hearing
first language users of English. However, it can score too high when the is not a native
user of English and their grammar very limited. Limited grammar reduces the reading
level.


However, it doesn’t give the added information that seeing the evaluated plaintiff read or
examining the results of the Flynt Cooter materials can offer. The stimuli for the San Diego
Screening are presented below. The numbers in each box indicate the grade level.


                                1             2               3



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                         road          our            city
                         live          please         middle
                         thank         myself         moment
                         when          town           frightened
                         bigger        early          exclaimed
                         how           send           several
                         always        wide           lonely
                         night         believe        drew
                         spring        quietly        since
                         today         carefully      straight
                          4             5              6
                         decided       successful     bridge
                         served        business       commercial
                         amazed        develop        abolish
                         silent        considered     trucker
                         wrecked       discussed      apparatus
                         improved      behaved        elementary
                         certainly     splendid       comment
                         entered       acquainted     necessity
                         realized      escaped        gallery
                         interrupted   squirming      relativity
                          7             8              9

                         amber         capacious      conscientious
                         dominion      limitation     isolation
                         sundry        pretext        molecule
                         capillary     intrigue       ritual
                         impetuous     delusion       momentous
                         blight        immaculate     vulnerable
                         wrest         ascent         kinship

                         enumerate     acrid          conservatism
                         daunted       binocular      jaunty
                         condescend    embankment     inventive
                          10            11
                         zany          galore
                         jerking       rotunda
                         nausea        capitalism
                         gratuitous    amnesty
                         linear        risible
                         inept         exonerate

                         legality      superannuate
                         aspen         luxuriate
                         prevaricate   piebald
                         barometer     crunch


IV.2.d.iii. Reading behaviors


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Finally, we ask about reading behaviors. What magazines, books, or newspapers does the
evaluated plaintiff read? Are they comfortable with the captioning on TV? We also look
at behaviors while reading such as reading silently or “reading aloud,” a rather perverse
linking of sign to word and fingerspelling unknown words that can take a person through
a text without actually processing the content of the material. This type of reading is often
detrimental to the task at hand.


IV.2.e. Vocabulary
Processes such as lipreading, reading, writing, and speaking English are inextricably
intertwined with knowledge of vocabulary. You can neither read nor lipread words that
you are unfamiliar with.


To assess vocabulary skills, the evaluated plaintiff was presented with a list of vocabulary
items at the twelfth-grade level, and then terminology typically encountered in medical,
law enforcement, as well as everyday contexts and was asked to circle all words
recognized.


Later in the testing we return to the lists. The evaluated plaintiff is asked to demonstrate
familiarity with each of the circled words. The evaluated plaintiff doesn’t need to know
the exact definition, but is only required to demonstrate familiarity, by giving a synonym,
a related word, or using the word in a sentence.


As can be seen, vocabulary skills have been tapped into at various points already in the
reading tasks. The goal in this portion of the assessment is to get a sense of familiarity with
words in the medical and law enforcement contexts, two of the areas our linguistic work
typically deals with. These words are not chosen for each evaluated plaintiff. They have
been used with all evaluated plaintiffs (over 150) tested to date, giving us an overall sense
of how a wide range of Deaf individuals will perform.


As mentioned earlier, vocabulary level and reading level are typically coupled. However,
when working with adults, their work and life experiences can give them special pockets
of familiarity with vocabulary that may not be expected in generalized test materials. In



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addition, as mentioned before, Deaf individuals have less access to incidental exposure to
English in context than hearing individuals with the same reading levels because they
cannot hear the language going on around them at all times.


A second function of this vocabulary task is to pick up on the extent to which an individual
who thinks they know a word may actually be mistaken. Do evaluated plaintiffs know
what they don’t know? How reliable is their sense of understanding what they read?


IV.2.e.i. Twelfth Grade (grade-level reading list)

The test begins with a vetted list of 90 words at the twelfth-grade level. This is a list of
words taken from lists developed for basal readers. Dr. Shepard-Kegl used it in a study
with George Miller on fourth graders use of dictionaries that challenged the value of the
exercise of looking up an unfamiliar word in a dictionary and using it in a sentence. For
example, the child looks up the word erode and gets the definition “eats out, eats away,”
and then produces the sentence My mother is a terrible cook so my family erodes a lot.


The list of twelfth-grade words is designed to be unfamiliar to most evaluated plaintiffs
or to have some words like bid, shift, or degree that have multiple senses only one or some
of which are known. We have eliminated most of the multiple sense items recently because
they proved difficult to assess. The primary purpose of the twelfth-grade list is to assure
that evaluated plaintiffs do indicate words that are unfamiliar both here and later in the
specialized vocabulary lists. In addition, false identifications reveal the extent to which a
person can rely upon their sense of understanding of vocabulary. Poor readers and the
those with the weakest vocabularies will often identify more of the 12th-grade words as
familiar confusing sinuous with sinus, accrue with accurate, or campaign with champagne
with much confidence. In the healthcare context the confuse anemia with enema, living will
with will live or starve with survive.


The twelfth-grade word list appears below:




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Because the purpose of this vocabulary task is more familiarity of words in a given
domain, the medical and law enforcement words are not from any vetted lists.


IV.2.e.ii. Medical and General Vocabulary


The following is the list of 90 items in the medical and general vocabulary list presented
to evaluated plaintiffs. The words looked at here are common medical vocabulary that
would be used among laymen and not specialized medical terminology that is more
specific like metastatic melanoma. As with the twelfth-grade words they are asked to circle
the ones they recognize and then we come back to the circled words later and they
demonstrate familiarity. Some critical items are addressed even if uncircled including
words like consent and waiver. Phrases like change the dressings are probed to see if there
is actual understanding. Some evaluated plaintiffs will circle this phrase as familiar and
then presented with the written discharge instruction: You can go home from the hospital
today but don’t change the dressings for three days will understand it as “don’t change your
clothes for three days.”




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IV.2.e.iii. Law Enforcement Related Vocabulary

Below are the words from the law enforcement list. The procedure is the same as
discussed above. In this case, one phrase consistently probed further is other party. The
evaluated plaintiff is told that a police officer goes up to a car that has clearly been in an
accident and writes the following question: I see you have been in an accident. Where is the
other party? The goal of probing is to see if they can get the meaning “other person(s)
involved.”




IV.2.e.iv. Employment-related Vocabulary




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Below are the words from the employment word list. The procedure is the same as
discussed above. These words include those that would be encountered in jobs for
companies that would have hiring procedures, performance reviews, work policies and
grievance procedures.




V. Narrative Production (ASL v. English written v. English spoken)


The last component of our evaluation is done to compare how comfortable and how
prolific an evaluated plaintiff will be expressing the same information in ASL, written
English, and spoken English. The material elicited here is also used in the ASL assessment,
English writing assessment, including the argument structure studies, and the assessment
of spoken English. It also has the benefit of offering a concise set of data that can be used
for examples of the evaluated plaintiff’s use of ASL signing, English writing, and speech.


The data in this task are elicited using two 1.5-minute nonverbal cartoons: Mr. Koumal Flies
like a Bird and Mr. Koumal Battles his Conscience. These two cartoons were chosen from
among about 100 different cartoons in the series because of their ability to elicit specific
aspects of ASL grammar including classifiers and verbs of motion and location, verb
agreement, spatial agreement, quantification, aspectual morphology (temporal and
distributional) and role shift.

The Koumal cartoons (of which there are many) have a history of use as stimuli for the
study of the writing of Deaf students. The National Technical Institute for the Deaf started


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using them in 1972 to elicit one component of a communication profile for entering college
students.32

In 1975 Betsy MacDonald and Joan Forman, both at NTID, began using the Koumal
cartoons to elicit linguistic data on ASL. It was their work that led Dr. Shepard-Kegl to use
these materials. NTID stopped using the Koumal cartoons in the early 2000s.

V.1 Narratives Signed in ASL

To assess ASL narrative production, the evaluated plaintiff is asked to watch two 1.5-
minute non-verbal cartoons (as many times as necessary) and to recount the story in ASL.33

Versions of these same cartoon recountings are also collected in spoken and written
English, allowing for comparison in terms of fluency across English and ASL. The results
of this narrative production task were complemented by reviewing the evaluated
plaintiff’s ASL production in the background questioning and conversation. The basic
content of each cartoon appears in the double-lined boxes below:

           Mr. Koumal Flies Like a Bird is about a man who climbs a mountain with a pick-
           axe, and seeing a bird flying about, decides he wants to do the same thing. He
           tries to fly and fails. The bird sees him and laughs, causing some feathers to fall
           off. Mr. Koumal puts them on his arms, tries again, and fails. The bird, laughing
           even harder, loses all its feathers. Koumal gathers them up and puts even more
           on, tries, and again fails, falling into a chicken coop. At night takes feathers from
           all the birds in the coop, which he leaves completely naked looking up at him,
           puts them all over his body, creating heavy, elaborate wings, and tries again. He
           swoops a few times and crashes into the side of the mountain, which collapses
           upon him. As he crawls out of the rubble, he gets an idea. He decides to use the
           feathers to make Indian headdresses and sell them to children for money.


32
 Johnson, D.D. (1975) “Communication Characteristics of NTID Students. “In Journal of the Academy of
Rehabilitative Audiology, vol. 8, pp. 17-32.

Crandall, C. (1975) “Assessment of Reading and Writing Skills in an Adult Deaf Population.” In Journal of
the Academy of Rehabilitative Audiology, vol. 8, pp. 64-69.

Johnson, D. and Kadunc, N. (1980). “Usefulness of the NTID Communication Profile for evaluating Deaf
Secondary-level Students.” American Annals of the Deaf, vol. 125, no. 3, pp. 337-349.
33
     Studio Animovaného Filmu. 1969. Mr. Koumal Flies like a Bird. Bratri v Triku, Prague.
Studio Animovaného Filmu. 1971. Mr. Koumal Battles his Conscience. Bratri v Triku, Prague.




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      In Mr. Koumal Battles his Conscience, Mr. Koumal is standing outside of a
      restaurant and sees a beggar. He feels generous and drops a coin into the
      beggar’s hat. A rich woman comes up and does the same, but in so doing, a large
      bundle of money falls unnoticed from her purse. Mr. Koumal sees it fall and
      battles with himself (in the form of a devil and angel taking control of him) over
      whether to take the money and have cars, riches, and world travel; or to return
      the money and be hugged by St. Peter as he enters the gates of heaven. While his
      good and evil side battle things out, the beggar sneaks in and steals the money. In
      the end, Mr. Koumal stands outside the restaurant with his pockets empty and his
      hand extended. The beggar drives by in a huge car and tosses him a coin, which
      lands in the palm of his hand.

The evaluated plaintiff’s signed rendition of the non-verbal cartoon can be seen on the
video accompanying the assessment. A gloss does not do justice to the ASL sentences
produced because much of the spatial grammar and non-manuals that form the basis for
our evaluation were not transcribed. They are accessible via the raw data, which have been
provided.


V.2. Narratives Written in English

The evaluated plaintiff is also asked to write a version of the cartoon in English. This
written narrative is transcribed and analyzed for argument structure distribution, ASL
grammatical features, content and fluency.


V.3. Narratives Spoken in English
The spoken version of the same cartoon was also collected. It is best viewed on the
accompanying videotape. Dr. Shepard-Kegl also transcribes what she can understand of
the speech using additional cues from both lipreading and, when present, concurrent
signing. This represents the best comprehension possible utilizing visual input for both
lipreading and concurrent signing.


V.4. The influence of English on ASL and vice versa
Using the material elicited as a whole as well as the Koumal narratives, we examine the extent
to which the evaluated plaintiff’s English narratives show influence from ASL as well as
whether the ASL narrative shows influence from English. Because of the emphasis on English
in a school environment, testing can sometimes influence the signer to use school signs or


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attempt to use more English-like constructions. Most evaluated plaintiffs are most at ease and
least “test aware” when signing the Koumal narratives, so their ASL is more natural.


V.5. Comparison of narrative production in English versus ASL
evaluated plaintiffs generally have some fluency in both English and ASL. As a final activity,
we compare the Koumal narratives produced in ASL, written English and spoken English on
the basis of comfort, fluency, intelligibility, and grammatical accuracy. In addition, we note
how prolific they are in each mode. This gives a sense of what language and communication
mode is best suited to the evaluated plaintiff.




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Appendix B: Curriculum vitae
                      Name: Judy Anne Shepard-Kegl (Curriculum Vitae: August 2020)

Current Position: Professor of Linguistics (tenured), Director of the Signed Language Research Laboratory,
                  Coordinator of the ASL/English Interpreting Concentration of the Linguistics Major,
                  Linguistics Department, University of Southern Maine.

 Date of Birth: June 20, 1953          (Evergreen Park, Illinois)
 Address:     Linguistics Department                                      Lab:      Signed Language Research Lab
              University of Southern Maine                                          410 Science Building, Wing A
              96 Falmouth Street (P.O. 9300)                                        Portland, ME 04104-9300
              Portland, Maine 04104-9300 [mailing address]

 Home:        52 Whitney Farms Road                                     Office:     Linguistics Department
              North Yarmouth, ME 04097                                              310 Science Building, Wing A
                                                                                    Portland, ME 04104-9300


 Phone:     Home:           (207)   400-0493      (v/txt/FT)                                  CELL: (207) 400-0493
            Lab:            (207)   780-4582      (voice)       VP:     (207)     766-7097    Email: kegl@maine.edu
            Office:         (207)   400-0493      (voice)

Webpage: http://usm.maine.edu/linguistics/judy-shepard-kegl
NSF Science Nugget: https://www.nsf.gov/news/special_reports/linguistics/examples.jsp [This site
       was developed by NSF to showcase our NSF-funded research.]

Educational Background:
        B.A. 1975              Brown University Field: Anthropology (Magna Cum Laude)
        M.A. 1975              Brown University Field: Linguistics
                               Thesis: Some Observations on Bilingualism: A Look at Data from
                               Slovene-English Bilinguals (Advisor: William O. Beeman)
          Ph.D. 1985           Massachusetts Institute of Technology Field: Linguistics Dissertation:
                               Locative Relations in American Sign Language Word Formation, Syntax and
                               Discourse (Co-chairpersons: Noam Chomsky, James Higginbotham, Wayne
                               O'Neil and John Ross)
          PostDoc 1990-92      Center for Molecular and Behavioral Neuroscience,
                               Rutgers University (Senior Postdoctoral Fellow in Neuroscience)
          Certificate 2002-03 Legal Interpreting Training Program, Front Range Community College
          Certificate, 2003-04 Master Mentor, Northeastern University
          QMHI                 Mental Health Interpreter Training (August, 2018; Practicum January, 2019
                               Exam passed January 2019)

Interpreting/ASL Qualifications:
Registry of Interpreters for the Deaf: Interpretation Certificate (IC; 1978); Transliteration Certificate (TC;
1978); Comprehensive Skills Certificate (CSC; 1980); Oral Transliteration Certificate (OTC; 2001);
Specialist Certificate: Legal (SC:L, 2004); Certificate of Interpretation (CI, 2006), Certificate of
Transliteration (CT, 2007); Educational Interpreting K-12 (ED: K-12, 2007); National Interpreter
Certification-Master Level (NIC Master; 2008); National Association of the Deaf-Level-IV (NAD-IV);
Core Certification from the Certification Commission for Health Care Interpreters (Core-CHI; 2015);
Board of Evaluation of Interpreters, TX (BEI-Master, 2017); State of Alabama Department of Mental
Health (QMHI (Qualified Mental Health Interpreter), 2019); New Hampshire State Screening (1976);
Massachusetts Office of Deafness Screening (1976); Sign Communication Proficiency Rating: Advanced
Plus; American Sign Language Assessment (hi 4). Legal Approved: (Maine 2004; Massachusetts 2005;
New Hampshire). Educational Interpreter Performance Assessment (EIPA): Written Test (passed, 2005);



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Elementary American Sign Language (ASL; 4.5/5); Secondary ASL (4.5/5); Elementary Pidgin Sign
English (PSE, 4.5/ 5); Secondary PSE (4.6/5); Elementary Manually Coded English (MCE; 4.2/5);
Secondary MCE (4.1/5).

Currently also licensed in Maine (#093, until June 2019) and New Hampshire (until September, 2020).
Completed a one year, distance education training course through Front Range Community College,
DO-IT Center, for training as a distance specialist in interpreter education (January 2003; refresher
January 2006)

Fellowships and Awards (since 1975):
1975 Harvey A. Baker Fellowship (Brown University, grant toward graduate education at the
                university of my choice)
1975 Samuel T. Arnold Fellowship (alternate) (Brown University, grant supporting travel abroad to do
                independent research)
1977 Collimore-Rogers Fellowship (M.I.T., one year tuition and living stipend, awarded yearly to one
                female graduate student)
1980 Fellowships to attend the 1980 and 1981 Seminar on Slovene Language, Literature and Culture
                (University of Ljubljana, Yugoslavia; travel stipend awarded by the Slovene National
                Benefit Society)
1991 Fellowship to attend the 1991 James S. McDonnell Summer Institute in Cognitive Neuroscience
                (Topic: Emotion and Attention), Dartmouth College (July 1-12)
1993 Fellowship to attend the James S. McDonnell Summer Institute and Conference, Lake Tahoe,
                California.(June 27-July 16)
1995 Gift from Merrill Lynch, Inc. to Rutgers University to support research on the transition from
                homesign to signed language. Research Project: “Critical Period For Signed
                Language Acquisition” Judy Kegl, Principal Investigator. ($4000)
1999 Admitted to the Lyons Township High School Hall of Fame for research on neurolinguistics,
                ASL syntax, and the emergence of a signed language in Nicaragua. (LTHS, Class of
                1971)
2007 Award from Maine Registry of Interpreters for the Deaf, Outstanding Contribution to the
            Interpreting Community (May 20)
2009 Special Commendation Award for contribution to the Deaf Community, Maine Deaf Community,
            Maine Deaf Culture Week, Hall of Flags, State House. (September 24)
2010 Betsy Reifman Award, Maine Registry of Interpreters for the Deaf. (April, 2010)
            (http://www.mainerid.org/betsy-reifman-leadership-award/)
2010 Region I RID Career Achievement Award, Region I conference, Albany, NY (August 15, 2010)
2013 The Honor Society of Phi Kappa Phi, founded to recognize and encourage superior scholarship in all academic
                disciplines. Faculty invitation. (April, 2013)
2015 Service Award. Faculty Senate. University of Southern Maine.

Grant Support: (currently active grants indicated in bold italics)
1979     Grant from the Mellon Foundation to develop courses in Anthropology and
         Linguistics at Hampshire College; Course Developed: "Language, Culture and Politics"
         (with Mark Feinstein and Leonard Glick)
l980     Grant from New England Telephone with matching funds from AT&T to furnish
         and equip an American Sign Language Laboratory and set up a regular summer
         institute at Hampshire College for the study of American Sign Language Linguistics
         $50,000
1981-83  NIH. (NS14923), National Institute of Neurological Disorders and Stroke, Processing Units in
         American Sign Language of the Deaf. Northeastern University. (Co-P.I., with Harlan Lane and
         Francois Grosjean) $92,080
1983     Biomedical Sciences Grant #9460 (#RR07142, Dept. of Health and Human Services,
         Beginnings and Endings of Signs. (with Kerry Green) $2000
1985-    Biomedical Sciences Grant, Northeastern University. Research on the



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  86      Perception, Memory and Semantics of ASL. (with Mordechai Rimor and Dana Ginsberg)$1500
1985-     RSDF (Research and Development Fund Grant), Northeastern University.
  86      Acquisition of American Sign Language in a Bilingual Environment. $2365
1984-     Also had partial involvement in a multi-user computer grant, a
   86     grant to purchase an eye tracker and video equipment, biomedical sciences grant to purchase
          a spectrograph. (all funded)
1987      LSA Travel Grant to Attend AILA Conference in Sydney Australia. $700.
1989      NSF (NSF#89-50-990) Equipment Grant for "Swarthmore Phonetics Laboratory" (Co-P.I., with
          Donna Jo Napoli) $27,000 NCSA Computer Access Grant #12582 from the National Center for
          Supercomputing Applications 6 hours of supercomputer time, plus 2 hours for students
          sponsored in subprojects Sloan Foundation Fund. For course development: Linguistics 45:
          Phonetics and Phonology $5000 Joel Dean Fund. Summer Research Support. Swarthmore
          College (Nicaraguan Sign Language Research) $2000 Faculty Research Support. Swarthmore
          College. $1400. Curricular Development Fund. Swarthmore College. Psychology/Linguistics
          60: Concepts, Word Meaning, and Development (with Debby Kemler-Nelson) $1750
  1990-   NSF. (NSF#BNS-9000407) The Structured Use of Space and Movement In a Visual
          Language, $100,000/year (Co-P.I. with Howard Poizner, P.I.)
  1991    NIH-NIDCD. (NIH# DC 01664) The Neural Basis of American Sign Language.
          (funded 5 yrs. (7/92-6/97) Annual Costs -$100,021 (Co-investigator with Howard
          Poizner, P.I.)
 1992     NSF. (NSF#BNS-9000407) The Structured Use of Space and Movement in a Visual Manual
          Language (1989-1992; renewal funded for (12/92-11/95), co-P.I., with Howard Poizner)
          NIH-NIDCD/NINDS (NIH#DC01656) (First Award; funded for 5 yrs (9/92-8/97; annual
          budget $100,000; no cost ext. to 1998) Access to Argument Structure in Agrammatism. (P.I.)
 1994     NSF. (#SBR-9410562) (11/94-10/97). The Architecture of Functional Categories in
          American Sign Language. ($350,000 over three years; Rutgers subcontract-$164,518; Co-P.I.,
          with Carol Neidle (Boston University) and Otmar Foelsche (Dartmouth College))
          http://web.bu.edu/ASLLRP/talks.html
 1995     NSF. (#IRI-9528985; IRIS & CDA; CISE Directorate and ARPA). (10/1/94-8/31/99; no cost
          extension to 10/31/99) Signstream: A Multimedia Tool For Language Research. Project
          Director, with Carol Neidle (Boston University), P.I.. Total Costs $748,000; Rutgers Subcontract-
          $91,000 (Kegl, P.D.).
          NSF. (NSF#SBR-9513762) The Structured Use of Space and Movement in a Visual Manual
          Language (8/1/96-7/31/99) (P.I) Total costs $384,874. 1997
          Merrill Lynch. “Language Assessment in Deaf Adults and Children with Atypical Exposure to
          ASL,” $5000.
 1998     NSF. (#SBR-9729065) (4/98-3/01). The Architecture of Functional Categories in American Sign
          Language. ($350,000 over three years divided between Rutgers and Boston University) (P.I.,
          with Carol Neidle, Co--P.I.; collaborative grant). Total Costs: $350,000. Rutgers Component:
          $140,000 Maine Department of Education. (11/98-6/30) American Sign Language (ASL)
          English Interpreting (approximately $133,000 annually over 5 years) Co-P.I., with Wayne
          Cowart, P.I.)
 1999     NSF. (NSF#SBR-9996330) The Emergence of a Sign Language in Nicaragua (8/1/99-7/31/00)
          (P.I Total costs $384,874. [transferred from Rutgers to USM]. NSF. (#SBR-9996297) (4/99-3/01).
          The Architecture of Functional Categories in American Sign Language. $140,000 [transferred
          from Rutgers to USM]
 2002     Maine Department of Education. (9/2002-8/2012) Funding to place 9 working educational
          interpreters from Maine into a three year, distance education program through the DO-IT
          Center, Front Range Community College. (2 Cohorts funded, six educational interpreters each.)
          Currently funded to work with these two cohorts plus 5 additional educational interpreters
          toward credentialing; to under go accreditation by CCIE, and to develop a Master’s program in
          Educational Interpreting.
 2003     Subcontract. U.S. Department of Education (grant awarded to Brenda Schick and Kevin
          William (9/03-10/03) “Development of a Cued Speech module for the Educational Interpreter


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          Performance Assessment” Co-PI with Jeanne Krause, University of South Florida)
 2016     Penobscot Foundation for Developmental Disabilities. Grant to Independence without Fear
(Maine SSP
          Program). Administered by The Iris Network. $15,000.
 2018     Penobscot Foundation for Developmental Disabilities. Bridge Grant to Independence without
Fear
          to purchase Humanity Referral System and cover operations of the program from March-May.
       $1000
       . Administered by USM Community Fund. Grant for $5000 to covering interim program
       operations to
         August, 2018.



 Research Interests (bolding indicates current research involvement): Neurolinguistics: Aphasia, Sign
     aphasia, Effects of motor disorders on signing, fMRI studies of grammatical and affective facial
     expression. Phonology: Autosegmental Phonology, SPE phonology, metrical phonology, Three-
     dimensional phonology, feature geometry Syntax: Transformational Grammar, Relational
     Grammar, Government-Binding Theory; argument structure; Psychology/Psycholinguistics:
     general background, lexical organization and memory, language development, on-line sentence
     processing in interpretation, language deprivation; Cognitive Science: general background with
     a focus on Natural Language Processing, dictionaries as linguistic databases, and connectionism;
     Linguistics of American Sign Language: Syntax, phonology, morphology, phonetics, semantics,
     discourse and narrative structure; Slovenian: Phonology (segmental, syllable structure and accent);
     code switching Other Sign Languages: Idioma de Señas de Nicaragua, French Sign Language,
     Sign Language on Martha's Vineyard, Warlpiri Sign Language, Plains Indian Sign Language,
     Taiwan Sign Language, Brazilian Sign Language (LIBRAS), Peruvian Sign Language.
     Comparative linguistics: American Sign Language and Algonquian Languages (polysynthetic
     languages); Sociolinguistics: Conditions on Code Switching; Pidgins and Creoles. Anthropology:
     Folklore, Slovene Folklore and Superstition, Ethnography, Archaeology (Industrial Age), Field
     Methods and Anthropological Linguistics, Linguistic Fieldwork (Nicaragua, Peru). Interpreting:
     Processing for simultaneous and consecutive interpreting, pedagogical methods in interpreter
     training; The Integrated Model of Interpreting and Process Mediation for mentoring Interpreters.

     Language Interests: Conversant in: American Sign Language, Spanish, Nicaraguan Sign Language,
      Peruvian Sign Language, German, *Slovenian, and *Serbo-Croatian (*limited conversational skills).
      Read: German, Spanish, Slovenian, Serbo-Croatian, limited reading knowledge of Russian and
      French. Structure Courses in: Old English, Middle English and Old Icelandic; Warlpiri, Turkish,
      and Mandarin Chinese. Field Methods Courses: Ngamambo, Kikuyu, American Sign Language,
      Idioma de Señas de Nicaragua, Langue de Signe Francais, Langue de Signe Quebecois, Taiwan
      Sign Language. Limited Work in: Warlpiri Sign Language, Plains Indian Sign Language. Recent
      language study: Abenaki, an Algonquian language of Maine (2 courses).

 Interpreting: American Sign Language, English; also trained in specialty areas of oral transliteration,
         Deaf-Blind interpreting, legal interpreting and medical interpreting. Specialized in
         Postsecondary Education (Linguistics, Psychology, Neuroscience), Conference Interpreting,
         Legal, and Medical Interpreting.

Employment:
  1974-75   Research Asst. to Prof. W.O. Beeman, Anthropology, Brown University
  1975      Research Asst. to Prof. George Lakoff. Summer Meetings of the Mathematical and Social
            Sciences Board (MSSB), University of California at Berkeley
  1975-78   Research Assistant, Research Lab of Electronics, M.I.T.




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1976-77      Research Assistant to Prof. Roger Brown, Harvard University
1976-78      ASL/English Interpreter (Massachusetts Rehabilitation Commission); state certification
1977-81      Asst. Professor of Linguistics, School of Language and Communication, Hampshire
             College, Amherst, Mass.
1978         Sign Language Instructor. School of Social Work, Smith College
1978-pres.   Professional freelance ASL/English Interpreter
1980         Research Associate in the Psychology Dept., Northeastern
1981-87      Asst. Professor of Psychology, Psychology Dept., Northeastern
1986-87      Visiting Asst. Professor of Psychology, Princeton University
1987         Visiting Asst. Prof., Linguistics, Univ. of Pennsylvania (1 course)
1987-88      Lecturer (Asst. Prof. Level), Psychology and Linguistics, Princeton
1988-90      Associate Professor of Linguistics and Psychology, Swarthmore College
1990-92      Senior Postdoctoral Fellow, Cognitive Neuroscience Laboratory, Center for Molecular
             and Behavioral Neuroscience, Rutgers University, Newark Research
1992-98      Assistant Research Professor of Neuroscience, Center for Molecular and Behavioral
             Neuroscience, Rutgers University, Newark
1998-2001    Associate Professor of Linguistics, Linguistics Program, University of Southern Maine,
             Portland, ME
1999-pres    Expert Witness and Language Consultant, Linguistic Consulting Services (ADA cases
             (medical, educational, law enforcement, employment), competency, etc.) New Jersey,
             New York, Maine, Minnesota, California, Florida, Massachusetts, Minnesota, Arizona,
             Connecticut, Oregon, Louisiana, Wisconsin, Illinois and Georgia. (colleagues: Amy June
             Rowley, Romy Spitz, Anne Marie Baer, Betty Colonomos, Eileen Forestal)
             Professor of Linguistics (tenured), Linguistics Department, University of Southern
             Maine, Portland, ME.

2001-pres    University Affiliations:
              1997-2007 City University of New York              supervision of doctoral thesis by
                           Adjunct member of the doctoral        Elizabeth Galletta: On-line Sentence
                           faculty of the Graduate School and    Processing of Agreement in American
                           University Center's Ph.D. Program     Sign Language (ASL) (not
                           in Speech and Hearing Sciences,       continued)
                           Language Sciences
              2003-2011 The Union Institute and University       Brian Edward Cerney PhD, 2004,
                           Field Faculty Advisor                 Relayed Interpretation from English to
                                                                 American Sign Language via a
                                                                 Hearing and a Deaf Interpreter
                                                                 Alysse Rasmussen, Ph.D. (resigned)
                                                                 Brooke Macnamara, M.A,
                                                                 Interpreter Cognitive Aptitudes (2008)
               2005        University of the Basque Country      Summer course: Contrastive
                           Visiting Professor of Linguistics     Analysis of Signed and Spoken
                                                                 Languages
               2005-2008   The University of Texas at            Traci Weast, Ph.D. (2008), How the
                           Arlington                             face works in American Sign Language
                           Special Member of the Graduate
                           Faculty
                           Department of Linguistics and
                           TESOL
               2006-2016   The University of Northern            Facilitator for Legal Interpreter
                           Colorado                              Certificate Program; Course: INTR
                           College of Education and              480 Introduction to the American
                           Behavioral Science; Adjunct faculty   Legal System (Spring 2006); INTR
                           member.                               483-900 Internship: Skills
                                                                 Development in Legal Interpreting
                                                                 (Spring 2013)
               2012-2014   The University of Northern            Graduate courses in interpreting:
                           Florida, Adjunct faculty member       INT 6277 Expansion and



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                                                                 Compression, INT 6435 Mental
                                                                 Health Interpreting




Teaching Experience:
1976       Massachusetts Institute of Technology
           Position: Graduate student
           I.A.P. Course: Field Methods in American Sign Language

1978-81    Hampshire College, School of Language and Communication
           Position: Assistant Professor of Language and Communication
           LC 195 American Sign Language and Its Structure (Fall 1978, 1979, 1980)
           LC 171 Language, Culture and Society (Fall 1978)
           LC 109 Animal Communication (Spring 1979)
           LC 295 Controversial Issues in ASL Linguistics (Spring 1979)
           LC 295 Psycholinguistics of ASL (Spring 1980)
           LC 226 Theory of Language: Phonology part of course (Fall 1980)
           LC 331 Integrative Seminar: Language in Context (Fall 1980)

1979       Smith College, School of Social Work
           Position: Visiting Instructor
           Intermediate American Sign Language (co-taught with Linda Carroll Harris, R.S.C.)

1983       Boston University
           Position: Adjunct Assistant Professor of Deaf Studies
           The Structure of American Sign Language (co-taught with Robert Hoffmeister and James Gee)

1980-86    Northeastern University, Department of Psychology
           Position: Assistant Professor of Psychology
           19.990 Special Topics in Psychology: Unsolved Problems in ASL Linguistics (Winter 1980)
           19.154    Linguistics of American Sign Language (Winter 1981, PSY1363 Fall 1981, Spring
                     1983, Winter 1985, Fall 1985)
           19.235    Animal Communication (Spring 1981, Fall 1982, Fall 1985 (with Harlan Lane))
           19.930    Graduate Seminar in ASL Linguistics (Fall 1981)
           19.930    The Structure of ASL (grad. course) (Winter and Spring 1983)
           19.931    Special Topics in ASL Linguistics: The Locative Hypothesis and Spatial Notions in
                     Language (Winter and Spring 1983)
           19.182    Neurolinguistics/Language and the Brain (Winter 1982, Winter 1983, Spring 1986)
           19.152    Phonetics and Phonology (Spring 1982, Spring 1986)
           no num. Informal Seminar on Language Acquisition (Northeastern University and Boston



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                    University, Winter and Spring 1982)
            19.817  Graduate Proseminar in Language and Cognition (Fall 1982)
            PSY1263 Child Language (Spring 1985)
            PSY1112 Foundations of Psychology 2 (Spring 1985, Winter 1986)
            PSY1663 Seminar in Linguistics (Fall 1985)
            ENG1118 Introduction to Linguistics (Winter 1985)
            ASL1401 American Sign Language Literature (Winter 1984,1985) [with Marie Jean Philip]

            Computer Courses: XYWRITE (seminars for Northeastern faculty and staff, word processing, Winter
                    1986, Spring 1986)

1986-88     Universidad Centroamericana, Managua, Nicaragua (summer)
            Position: Visiting Professor of Linguistics
            Linguistics Institute: Structure of Nicaraguan Sign Language (Field Methods) Sponsored by:
            Lingüistas Pro Nicaragua, July, 1986)
            Nicaraguan Sign Language for Vocational Teachers (Instituto Nicaragüense de Seguridad
              Social y Bienestar; Centro Ocupacional para Discapacitados (Nicaraguan Institute of Social
              Security and Benefits, Occupational Center for the Handicapped); in conjunction with
              fieldwork conducted at the school aimed at the development of dictionary and Grammar of
              Lengua de Signos Nicaragüense

1987-88     Princeton University, Linguistics Program and Psychology Dept.
             Position: Assistant Professor of Linguistics and Psychology (visiting first year)
             LING531 Advanced Phonology Seminar (Fall 1986)
             LING302 Introduction to Syntax (Spring 1987)
             LING301 Phonetics and Phonology (Fall 1987)
             LING213 Introduction to Linguistics (Fall 1987)
             PSY309 Psychology of Language (Spring 1987, 1988)

1987        University of Pennsylvania, Department of Linguistics
            Position: Visiting Assistant Professor of Linguistics
            LING 242 Linguistics of American Sign Language (graduate) (Fall 1987)

1988-90     Swarthmore College, Departments of Linguistics and Psychology
            Position: Associate Professor of Linguistics and Psychology
            Ling 1 Introduction to Linguistics (Fall 1988)
            Psych 1 Introduction to Psychology (Attachment: "Language and Thought when the
              System Breaks Down") (Fall, Spring 1988)
            Psych 34/Ling 34 Psychology of Language (Spring 1989)
            Ling 41 Linguistics of American Sign Language (Spring 1989)
            Psych/Ling 60 Concepts, Word Meaning and Development (Fall 1989)
            Psych/Ling 107 Psycholinguistics Seminar (Fall 1989)
            Psych 6 Critical Issues in Cognitive Science (Fall 1989)
            Ling 40/Phil 40 Semantics (Fall 1989)
            Ling 45 Phonetics and Phonology (Spring 1990)

1994-pres   Position: President of Nicaraguan Sign Language Projects, Inc.

            Coordinated a week long intensive immersion program in Bluefields, Nicaragua for Deaf
            home signers and their families to establish their first contact with a formal signed language,
            Nicaraguan Sign Language. Sponsored by Los Pipitos, Bluefields. (with James Shepard-Kegl,
            Gene Mirus, three Deaf representatives of Associación Nacional de Sordos de Nicaragua
            (ANSNIC), and an ISN/Spanish interpreter). December 31-January 7, 1995.



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            Visiting professor. (July 17-August 26) Escuelita de Bluefields, Bluefields, Nicaragua.
            Intensive Summer Sign Language program for Deaf homesigners and their families. June 23-
            August 30, 1995; Summer 1996 , July-August 1997.

            Coordinator and co-teacher: Sign Immersion Workshop, Condega, Nicaragua.
            December 15-20, 1998. (Part of Hurricane Mitch Relief: two Deaf instructors, 27 deaf
            students (home signers), their parents and siblings). Sponsored by Los Pipitos, Condega.

1990-1991   Rutgers University, Center for Molecular and Behavioral Neuroscience
            Position: Senior Postdoctoral Fellow (1990-91)
            Position: Research Assistant Professor of Neuroscience (1991-98)
            Foundations of Neuroscience: Cognition and Language Component (Spring 1992-1998)

1998-pres. University of Southern Maine. (linguistics, ASL structure, interpreting)
           Position: Associate Professor of Linguistics (1998-2001; sabbatical 2005-06)
           Full Tenured Professor of Linguistics (2001-present)
           LIN 105 Contrastive Analysis: American Sign Language and English (Fall 2013, 2014, 2015;
                 2017-2020)
           EYE 124 The Birth of a Language in Nicaragua (Fall 2009)
           LIN 112E Analyzing Language: The Emergence of a Signed Language in Nicaragua (Fall 2007,
                 2008)
           LIN 112 Interdisciplinary Perspectives on the Birth of a Language (Spring 2014, 2015, Sum
           2016; Fall 2016, 2017-2019; Spring 2020)
           LIN 185J Language, Mind and Society (Spring 1999; Fall 1999) with Dana McDaniel and
                 Wayne Cowart
           LIN 299 Language and the Brain (Spring 1999)
           LIN 310 Signs of Language in the Brain (Fall 1999; Spring 2000; Fall 2002; Fall 2003; Fall 2004;
                 Fall 2018, with Romy Spitz; Spring 2020)
           LIN 232 Introduction to Educational Interpreting (Fall 1999-ITV course; Spring 2000-ITV
                 course; Spring 2001-ITV course; summer 2001-immersion course)
           LIN 305 Contrastive Analysis: ASL and English (Fall 1999; Spring 2000 –ITV course with
                 Jimmy Challis Gore; Fall 2001; Fall 2002; Fall 2003; Spring 2004; Spring 2005; Fall 2006;
                 Spring 2008 (on-line); Spring 2009 (face to face and on-line); Spring 2010; Spring 2011
                 (face-to-face and on-line)
           LIN 310 Signs of Language in the Brain (Fall 2018 (with Romy Spitz); Spring 2020)
           LIN 315 Field Methods (Spring 2000 [Idioma de Señas de Nicaragua], Spring 2002)
                 [Idioma de Señas de Nicaragua]; Spring 2004)
           LIN 231/331/425 Interpreting Immersion Summer Session (Coordinated program and co-
                 taught courses with James Lipsky, CDI-P and Mary Jane Olson Summer 2000; summer
                 2001; supervised a similar interpreter immersion in Bangor March-April 2001 with Jane
                 Hecker-Cain CSC, CI,CT and James Lipsky, CDI-P); summer 2002 (with Lipsky and
                 Olson; summer 2003 (with Olson)
           LIN 236 Not Yet Ready for Prime Time Interpreting (2012-present)
           LIN 321 Advanced American Sign Language I: Literature (Spring 2000 with Roxanne Baker)
           ASL 301 American Sign Language Literature in ASL (Spring 2009 with Regan Thibodeau)
                    Spring 2012)
           ASL 302 American Sign Language Linguistics in ASL (Fall 2010, Spring 2011, 2013; 2015)
           ASL 416 American Sign Language Linguistics in ASL (2018)
           LIN 599 American Sign Language Linguistics in ASL for ASL Teachers (Spring 2016)
           LIN 332 Consecutive Interpreting and Deaf/Hearing Teams (Fall 2000 with Lois Morin;
                 Spring 2002; Spring, 2003 with Guillaume Chastel; Fall 2012 with Stacey Bsullak; Fall
                 2017 with Regan Thibodeau)
           LIN 333 Interpreting: Source Language English (Spring 2009 with Ann Swope)



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           LIN 334 Interpreting: Source Language English (Fall 2000; Spring 2002; Spring 2003;
                 Spring 2004; Spring 2005; Fall 2008 to 2019)
           LIN 336 Observational Internship (2012-2020)
           LIN 425 Advanced ASL Syntax (Spring 2001)
           LIN 425 Preparation for the RID Written Exam (Fall 2001; Spring 2002; Fall 2003; Spring
                 2004; Spring 2008 (on-line); Spring 2011)
           LIN 425 Foundations of Interpreting I (Spring 2008, Fall 2008 with Betty Colonomos)
           LIN 425 Foundations of Interpreting II (Spring 2008, with Betty Colonomos)
           LIN 299 Remedial ASL (Summer 2002) with Guillaume Chastel
           LIN 335 Advanced Interpreting: Source Language ASL (Summer 2001; Summer 2004; Summer
                 2005; Fall 2006; Fall 2007; Spring 2008)
           LIN 399 Advanced Interpreting Lab: Source Language ASL (Spring, 2003)
           LIN 399 Not Yet Ready for Prime Time Interpreting Program (Spring, 2010; Spring 2011;
                 Spring 2015; Fall 2016)
           LIN 411 Practicum 1 (2001-2012; 2013 (supervision); Spring 2014)
           LIN 412 Practicum 2 (2001-2003, 2006 2009-2012; 2013; Spring 2014)
           LIN 413 Supervised Mentoring (Fall 2002, 2003; 2004)
           LIN 415 ASL Literature in ASL (Spring 2018)
           LIN 499 Supervised Interpreting (2001, 2002, 2003; 2004)
           LIN 422 A Cognitive Perspective on Syntax (Spring 2010-2017 with Wayne Cowart and Dana
                 McDaniel)
           LIN 434 Research Practicum (Spring 2010-present; 2018 with Regan Thibodeau)
           LIN 435 Advanced Interpreting + practicum/research (Spring 2010-2015; 2017-2019)
           LIN 436 Advanced Interpreting and practicum II (Spring 2012-2020)
           LIN 425 Deaf-Blind Interpreting and Service Support Professional Immersion (Summer 2010)
           LIN 425 Deaf-Blind Interpreting (Summer 2012)
           LIN 425 Sighted Guide (SSP) Technique and Deaf Blind Interpreting Summer 2012; Summer
                 2013)
           LIN 425 Sighted Guide Technique (Summer 2012, (supervision; instructors Roger Poulin and
                 Veronica Lepore), Fall 2013; Summer 2013)
           LIN 425 Medical Interpreting I, The Essential Piece (Summer 2013; Fall 2014; Summer 2016;
                 Spring 2017; Summer, 2018; Fall 2018; Fall 2019 with Meryl Troop)
           LIN 425 Medical Interpreting II, Medical Terminology (Spring 2015; Summer 2016, 2017;
           Spring 2018, 2019, with Meryl Troop)
           LIN 425 Service Learning: Preparation for the Deaf Blind Retreat, Seabeck, WA (Summer 2013,
                 2014, 2015)
           LIN 499 Seminar in Syntax: Wh-Movement (Spring, 2018; with Sandra Wood, Dana McDaniel,
           and Jeanne Heil)
           LIN 423 Seminar in Syntax: Pronouns (Spring, 2019; with Sandra Wood, Dana McDaniel, and
           Jeanne Heil)
           EPB 500 Mentoring I: Guided Self-Assessment (2004-present)
           EPB 501 Mentoring II: Talking about the work for seasoned interpreters (2004-present)
           EPB 502 Mentoring III: Continued Process Mediation (2004-present)

           Plus numerous internships and independent studies.

1999-2004 Governor Baxter School for the Deaf, Outreach Center. Faculty member ASL
2000-pres. Freelance Interpreter (specializing in medical and legal)
           Pine Tree Society Interpreting Services
           Certified Interpreting
2006-pres. Contract Medical Interpreter, through Certified Interpreting (Maine Medical Center and
           affiliated sites; one day per week)

Immersion weekend (Summer 1999; 2000; 2001; 2002; Winter 2004)

2006-2008, University of Northern Colorado, Adjunct Faculty, Legal Interpreter Certificate Program
2013       INTR 480 Overview of Interpreting in the American Legal System (Section Facilitator)



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(Summer
             2006); Skills Course (Mentor) (Spring 2007); !NTR 483/900 Internship: Skills Development
Legal
            (graduate level, Spring 2013)

2011-2012 Governor Baxter School for the Deaf. One-year course for faculty and staff. How ASL and
          English Differ.

Teaching supervision: Supervise all ASL (until 2002) and interpreting related courses at the University.

Research supervision: Postdoctoral fellow : Dr. Romy Spitz (Cognitive development in home signers
and late learners; 1998-2000); Research Assistant: Helen Stickney (Linguistics of Nicaraguan Sign
Language; 2000-2001).

Doctoral dissertation work: Mary Jack (research supervisor/committee chairperson, Ph.D. dissertation:
Arguments Structure and Circumlocution in Aphasic Subjects--Psychology Department, Rutgers 1997-
1998); Elizabeth Galletta (research supervisor/committee member, Ph.D. dissertation: On-line sentence
processing in ASL -CUNY Graduate Center and University Center's Ph.D. Program in Speech and Hearing
Sciences, New York, NY 1996-1999); Alysse Rasmussen (The Union Institute and University, 2008-2011),
Proficiency level differences between adult hearing mono- and bilinguals after one year of study of ASL.

Doctoral dissertations completed: Psychology Dissertations (Committee member): Mordechai Rimor
(completed 1983); Kerry Green (completed 1984); Charles Rosenberg (completed 1987); Walter Charles
(completed 1988). Linguistics dissertations: Deborah Aarons (committee member, Ph.D dissertation
(completed 1994): Aspects of the syntax of American Sign Language—Linguistics Program, Boston
University; Ann Senghas (research supervisor/committee member, Ph.D. dissertation (completed 1995):
Children’s Contribution to the Birth of a Language—MIT, Dept. of Brain and Cognitive Sciences; Benjamin
Bahan (committee member Ph. D. dissertation (completed 1996): Non-manual realization of agreement in
American Sign Language—Linguistics Program, Boston University; Dawn MacLaughlin (committee
member, Ph.D. dissertation (completed 1997): The Structure of Determiner Phrases in American Sign
Language--Linguistics Program, Boston University; Ruth Grossman (Research supervisor/committee
member, Ph.D. dissertation completed April 2001), A Behavioral, Coding, and Neuroimaging Analysis of
Facial Expression in Deaf and Hearing Signers of American Sign Language—Boston University, University
Professors Program; Brian Cerney, Ph.D., Deaf/Hearing Team Interpreting, (committee member, The
Union Institute (2004); Traci Weast, Univ. of Texas at Arlington (2008), Questions in American Sign
Language: A quantitative analysis of raised and lowered eyebrows.

Master’s work completed: Brooke Macnamara, (Vermont College of Union Institute and
University, 2007). Aptitudes predictive of successful outcomes for the training of ASL/English Interpreters.

Graduate student advising: Michael Patterson (CMBN)--evolution and neurological correlates of
language; Martha Tyrone (CMBN)--Fingerspelling in signers with Parkinson’s disease; Helen
Stickney (USM)—syntax of Nicaraguan Sign Language, and above.

Undergraduate interns: Silvana Mastrolia (argument structure and bilingual aphasia); Dani
Nightingale (aphasia); Rebecca Damon (ASL acquisition); Allison Faunce (neurolinguistics); Sarah
Eberhardt (William’s Syndrome); Jeremy Federman (Landau-Kleffner Syndrome); Saamanta Serna,
Corinna Dauber (Nicaraguan Sign Language, fieldwork at Escuelita de Bluefields. Bluefields,
Nicaragua); Shannon McHale (Peruvian Sign Language and American Sign Language research);
Polly Lawson (Peruvian Sign Language)


Professional Activities:
Consulting:



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1976-77      Boston Regional Language Committee (language curriculum for Deaf children; Newton North
             High School Deaf program)
1976-78      Linguistics consultant to Prof. Roger Brown, Psychology Dept., Harvard University (ASL
             Research)
1979-80      Linguistics consultant to Prof. Harlan Lane, Psychology Dept., Northeastern University (ASL
             Research)
1980         Linguistics consultant to the ASL Laboratory at the Salk Institute, La Jolla
             California (ASL Research; one week)
1981-85      Linguistics consultant to Charlotte Reed and Nathanial Durlach, M.I.T. (Research on tactile
             communication in speech and signing of Deaf-Blind signers)
1980-84      Member of the Advisory Committee for the Deafness Communication/
             Interpreter Training Program, Northern Essex Community College, Haverhill, MA
1982-85      Affiliated faculty member in the Deaf Studies Masters Program in the School of
             Education at Boston University
1988-90      Consultant to Bell Communications Research--participating in research and development
             activities in the field of Artificial Intelligence Consultant to the Cognitive Science Laboratory,
             Princeton University--continuation of research with Prof. George Miller on Lexical Memory
1990-92      Consultant to Judith Orasanu, Army Research Department(1990-91), NASA (1991-92).
             Research on discourse interaction/problem resolution in two person flight crews.
1990-91      Consultant/Expert Witness to Public Defender (NJ); Language Skills Assessment
1991-92      Consultant to Judith Mounty, Sign Assessment, Inc.--checklist for ASL development.
1987-95.     Major Linguistic Consultant to Equinox Films, concerning the production of four films on
             language (3 currently airing on PBS)
             The Human Language Series:
                  Part One: Discovering the Human Language: “Colorless Green Ideas”
                  Part Two: Acquiring the Human Language: “Playing the Language Game”
                  Part Three: The Human Language Evolves: “With and Without Words”
1992-94      Consultant to Educational Testing Services, Princeton (sign language assessment and
             videodisc technology)
1993-94      Resource advisor to the Public Advocate's Office and to the State Department of Mental
             Health and Hospitals with regard to the development of means to evaluate and provide
             adequate services to Deaf individuals entering the mental health system
1994-pres.   Language evaluator, Individual Educational Plan (for home signers, late-
             learners, and fluent signers of ASL); school districts in New Jersey, Pennsylvania, and
             Maine. 1995-pres. Language assessment of Deaf adults in the context of legal
             proceedings (expert witness)—approximately 125 cases to date (New Jersey State
             Prosecutor’s Office, Superior Court of Monmouth County; Clara R. Smit, Attorney at
             Law, NJ and FL; Dierdre Smith, Attorney at Law; Judith Plano, Attorney at Law, ME;
             James Moore, Assistant District Attorney, U.S. Dept. of Justice, Roderick McPherson,
             Minnesota Disability Law Center)
1998-pres    Local Test Administrator for the Registry of Interpreters for the Deaf, and Regional Test Site
             Coordinator 2002-pres Local Test Administrator for the Educational Interpreting
             Performance Assessment
2003-2005    Consultant to Dr. Brenda Schick and Kevin Williams for development of the Cued Speech
             module of the Educational Interpreter Performance Assessment (with Dr. Jean Krause)-
             module completed 2005
2003-2007    Consultant to Dr. Sudeep Sarkar, University of Southern Florida for research on stereo
             processing of multi-channel ASL sentences in development of an interactive ASL information
             kiosk for use at airports (NIH grant; with Brenda Schertz)
2004-2007    CIT representative to the Commission for Intercollegiate Education for development and
             implementation of an accreditation system for Interpreter Training Program in the U.S. and
             Canada, and appointment of the first independent Board of Commissioners (transition
             appointment)
2008-pres    CCIE, rater
2010-2014    Commissioner, Collegiate Commission on Interpreter Education (CCIE); Secretary 2012-2014)



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2006-pres   Member of the Advisory Board of the National Cued Speech Association
2005-2006   Member of committee developing a Medical Interpreting Curriculum for spoken and signed
            language interpreters in Maine (USM, UNE, Catholic Charities, Maine Medical Center, Office
            of Immigrant and Multicultural Services, LANA (Language Access for New Americans,
            AHEC (Area Health Education Center), etc.
2010-pres   Founding member of Independence Without Fear, Maine's Support Service Provider Project,
            The Iris Network, Portland, ME. Approved Support Service Provider 2010-present. SSP/DB
            Interpreting Evaluator 2012-pres.)
2011-2015   Volunteer SSP and Deaf Blind Interpreter, Deaf Blind Retreat, Seabeck, WA.
2017        Consulting Expert for the Certificate in Healthcare Interpreting Written Test

Reviewing:
Editorial Board: Discourse Processes (1987-1991), Behavioral and Brain Sciences,
            Psycholoquy (linguistics, psycholinguistics, sign language)
Granting Agencies: National Science Foundation, NIH--National Institute of Neurological Disorders and
            Stroke (grant evaluator, site visitor, ad hoc representative to Evaluation Committee B);
            National Institute on Deafness and Other Communication Disorders (grant evaluator--small
            grants; review panel; site visitor for Center Grants), American Association of University
            Women (pre-doctoral fellowships);Australian Research Council, Department of Employment,
            Education and Training, Large Research Grants Program; Engineering and Research Council
            Grants (England); Research and Scholarship Development Fund (Northeastern); The
            Wellcome Trust (England); Scientific Research Foundation (China).
Journals: Cognition, Computational Linguistics, Journal of Speech and Hearing Disorders, Natural
            Language and Linguistic Theory, Journal of Phonetics, Language, International Journal of Sign
            Language Research, Restorative Neurology and Neuroscience, Phonology Yearbook, Journal of
            Pragmatics, Brain and Language, Journal of Cognitive Neuroscience, Current Anthropology,
            Journal of Linguistics, Neuropsychologia, Brain and Cognition, Journal of Interpreting.
Publishers: McGraw Hill, MIT Press, Harper and Row, National Textbook Company, Oxford University
            Press, Cambridge University Press
Conferences: BU Language Development Conference, North Eastern Linguistic Society, MIT
            Student Conference in Linguistics, Theoretical Issues in Sign Language Research, TENNET
            (Theoretical and Experimental Neuropsychology), Evolution of Language Conference, West
            Coast Conference on Formal Linguistics (WCCFL), Linguistic Society of America
Conference Organizing: 1977 Coordinator of the Seventh Annual Meeting of the North Eastern
            Linguistics Society, Cambridge, MA 1978 Coordinator of the M.I.T. Symposium on Sign
            Language Linguistics, Cambridge, MA 1979 Local arrangements committee for the winter
            meetings of the Linguistic Society of America, Boston, MA 1981-82 Symposium on American
            Sign Language sponsored by the Sign Language Programs, Northeastern University, Boston,
            MA (May, 1982). 1986-87 Conference on Linguistics in the Undergraduate Curriculum,
            Princeton University, March 1987. 1996-pres. Program Committee, TENNET (Theoretical and
            Experimental Neuropsychology) conference, Montreal 1999-2000 Advisor to the program
            committee for the 2000 annual meeting of the Linguistic Society of America; Beyond the
            Standards, Advanced Interpreter Training and Standards for Legal Interpreters (2007-2008:
            Nov. 9-11, Jan. 26-27, March 28-30, May 30-June 1, co-organizer with Denise Martinez)

  Current Membership in Professional Organizations: Linguistics Society of America, American
  Psychological Society, Academy of Aphasia, Society for Neuroscience, Cognitive Neuroscience
  Society, International Society for Women in Cognitive Neuroscience, American Association for the
  Advancement of Science, National Registry of Interpreters for the Deaf, Maine Registry of
  Interpreters for the Deaf, American Sign Language Teachers Association, National Association of
  the Deaf, Conference of Interpreter Trainers, Mano a Mano (Trilingual Interpreters); NAOBI
  (National Alliance of Black Interpreter, WASLI (World Association of Sign Language Interpreters);
  Member NCIHC (National Council on Interpreting in Health Care); Member IMIA (International
  Medical Interpreters Association), Collegiate Commission on Interpreter Education (2006-present;



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  SSR evaluator; site visitor).

  Positions held:
  Interpreting--Vice President of the Massachusetts Registry of Interpreters for the Deaf (1981-82)
  and Chairperson of the Interpreter Evaluation Committee (1981-83), Local Test Administrator
  (1999-pres.), Coordinator of Regional Testing Supersite for the National Testing System of RID
  (2000-pres.); NJ Registry of Interpreters for the Deaf (1992-93; Chairperson of ByLaws Committee,
  1994-96); Region I Representative to the Council of Interpreter Trainers; member of the
  professional standards committee (2002-2003); Chairperson of the Standards Committee (2003-
  2004); CIT-CCIE Committee on Collegiate Interpreter Education Work Group (for development of
  national accreditation for interpreter training programs) (2004-2006); CCIE Commission on
  Collegiate Interpreter Education (2008-2014; SSR rater and site visitor); Maine Registry of
  Interpreters for the Deaf (President elect May 2010-2012).
  Linguistics--appointed 1993-2000 by the Executive Committee of the Linguistics Society of
  America to be on the Advisory Committee on Social and Political Concerns; Member at Large,
  Section Z for the American Association for the Advancement of Science (AAAS), elected 2003-
  2008)
  Neuropsychology--TENNET (Theoretical and Experimental Neuropsychology Conference,
  program committee (appointed 1996); Academy of Aphasia, membership committee (appointed
  1994-1997)


Administration:

1974-75     Brown University Student Representative to the
            Linguistics Department

1976-77     Massachusetts Institute of Technology
            Student Representative to the Linguistics Department

1978-81     Hampshire College
            1978-79 Five College Linguistics Committee (Hampshire College Rep.),
                     Educational Studies Committee, Academic Advisor
            1979-80 Five College Linguistics Committee, Educational Studies
                     Committee, Academic
                     Advisor, Chairperson of Linguistics Position Search
                     Committee, College Senate
            1980-81 Five College Linguistics Committee, Academic Advisor,
                     College Senate, Affiliated
                     Faculty in Cognitive Science Program, U Mass, Amherst
1981-85     Northeastern University
1981-82     College Council, Linguistics Program Committee, Undergraduate Advisor
            (Psychology), Graduate Admissions Committee (Psychology), Chairperson of
            Cognitive Psychology Position Search Committee
1982-83     College Council, Linguistics Program Committee, Director of the Undergraduate
            Linguistics Program, Undergraduate Linguistics Advisor, Undergraduate Curriculum
            Committee (Psychology), Academic Advisor (psychology)
1983-84     Graduate Admissions Committee (Psychology), Linguistics Program Committee,
            Academic Advisor (Psychology)1984-85 Coordinator of the Psychology Colloquium Series,
            Linguistics Program Committee 1985-86 Linguistics Program Committee, Undergraduate
            Curriculum Committee (psychology), College Honors Committee (elected position)
1987-88 Princeton University
            1987-88 Cognitive Science Committee, Linguistics Program Committee



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1988-90 Swarthmore College 1988-90 Linguistics Program Committee 1989-90 Academic Advisor
           (linguistics), Director of Phonetics Laboratory and American Sign Language Laboratory,
           Linguistics Search Committee, Developmental Psychology Search Committee, Computer
           Science Search Committee
1986-pres. Nicaraguan Sign Language Projects, Inc. Director of Project, President of the Board of
           Trustees. Supervision of Postdoctoral Fellow: Dr. Romy Spitz (Cognitive development in
           Nicaraguan home signers; University of Southern Maine, 1998-2000). Research Supervisor:
           Ann Senghas (1990-pres.; Doctoral dissertation, M.I.T., 1995); Richard Senghas (1991-pres.;
           Master’s Thesis, anthropology, (1992); Doctoral Dissertation, Anthropology, Univ. of
           Rochester, expected 1997); Jane D’Alonzo (Senior Thesis, Linguistics; 1989); Cynthia Norman
           (Senior Thesis, Northeastern Univ.; 1988); Independent Studies: Ute Fischer, Princeton Univ.
           (1987); Josep Fontana, Megan Moser, lingusitics, Univ. of Pennsylvania (1988); Katharine
           Hind, anthropology, Univ. of Edinburg (1988); Gayla Iwata, linguistics (1989-90), Alice Turk,
           Princeton Univ. (1989); Gene Mirus, anthropology, Univ. of Texas, Austin (1994-95); Gary
           Morgan, linguistics, Univ. of Bristol, UK (1995), Jill Morford, psychology, McGill University,
           CA (1995), Darline Clark, Deaf Action Committee for SignWriting (1996); Rodolfo Celis,
           linguistics,University of Chicago (1996); Jennifer Doscher, The Learning Studio (1996); Janice
           Vasquez, linguistics, California State University at Dominguez Hills (1996-1997; Master’s
           Thesis, English (TESL), “Literacy in Nicaraguan Sign Language: Assessing Word Recognition
           Skills at Escuelita de Bluefields (1997) ).

1998-pres. University of Southern Maine
1998-pres. Director, Signed Language Research Laboratory and Coordinator of the
            ASL/English Interpreting Track of Linguistics major, Academic Advisor to students in the
            ASL/English Interpreting Track; Practicum and Internship Supervisor for placements of
            advanced interpreting students
1999-2003; Curriculum Review Committee, College of Arts and Sciences
            2007-2011.
2005-2006 USM representative to interagency committee to develop a Medical Interpreting Program for
            signed and spoken language interpreters in Maine
2010-2011 Faculty Senate, Proxy for Peter Aicher, College of Arts and Science
2011-2017 Faculty Senate, School of Science, Technology and Health (CSTH)
2011-2013 Faculty Ambassador, Center for Educational Technology
2019-pres Patient Safety Committee
2019-pres Committee on Medical Simulations with School of Nursing

Service to the State of Maine (legislative appointments):
1999-2002 Member of the Maine Educational Assessment Advisory Committee
2000-2003 Member of the Needs Assessment Team for the Governor Baxter School for the Deaf
2010-pres USM representative to the Organizing Committee for Independence without Fear (Service
          Support Provider Program for Deaf-Blind and dual sensory impaired individuals in Maine in
          collaboration with The Division of the Deaf , Hard of Hearing and Late Deafened; The Division
          of the Blind and Visually Impaired, The Iris Network, and the Helen Keller National Center.
2011-pres Commissioner, Division of the Deaf, Hard of Hearing and Late Deafened (Dept. of Labor)

Service to the Community:
1998-2001 Member of the Deaf Advocates Group (DAG) in the capacity of a service provider in interpreter
            training
2001-pres. Member of the Deaf Resources Group (DRG) in the capacity of a service provide in interpreter
            training
2003-pres. Member of the Legal Interpreting Committee (Maine)
2010-2012 President, Maine Registry of Interpreters for the Deaf; 2012-pres. Chair of the Professional
            Development Committee)




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National Service:
1999-2020 Supersite director for RID and EIPA Testing; RID LTA
2006-pres Rater/Site Visitor for CCIE Accreditation (have not has assignments since 2014)
2010-2014 Commissioner, Collegiate Commission on Interpreter Education
2020-pres Member, Registry Interpreters for the Deaf SC:L Task Force (to determine new credentialing for
          Legal Interpreters.

International Service:
1995-pres. Coordination and funding of educational programs for Deaf individuals in Nicaragua
2009-2020 Advisor to Congressman Urtecho (to 2009), Peru and to programs supporting Deaf Peruvian
           Signers in Peru

Publications:

Articles in Refereed Journals (32)

1.      Kegl, J.A. and N. Chinchor. 1975. A Frame analysis of American Sign Language. American
        Journal of Computational Linguistics, Microfiche 35. pp. 84-96.

2.      Gee, J. and J.A. Kegl. 1982. Semantic Perspicuity and the Locative Hypothesis: Implications for
        Acquisition. Journal of Education, vol.164, no. 2, pp. 185-209.

3.      Gee, J. and J.A. Kegl. 1983. Narrative/Story Structure, Pausing and American Sign
        Language. Discourse Processes, vol. 6, pp. 243-258.

4.      Rimor, M., J.A. Kegl, T. Schermer and H. Lane. 1984. "Natural Phonetic Processes Underlie
        Historical Change and Register Variation in American Sign Language." Sign Language Studies,
        vol. 43, pp. 97-119.

5.      Atkins, B., J. Kegl and B. Levin. 1988. Anatomy of a Verb Entry: From Linguistic Theory to
        Lexicographic Practice. International Journal of Lexicography, vol. 1.1. pp. 84-125. [Reprinted
        in. Zampolli, A., N. Calzolari, and M. Palmer (eds.) (1994) Current Issues in Computational
        Linguistics: In Honor of Donald Walker. Special issue of Linguistica Computazionale, vol. 9., no.
        10, pp. 237-266.

6.      Miller, G. A., C. Fellbaum, J. Kegl and K. Miller. (1988) WORDNET: An Electronic Lexical
        Reference System Based on Theories of Lexical Memory. Revue Quebecoise de Linguistique, vol.
        17, no. 2, pp. 181-211. [Also appears as Cognitive Science Technical Report 11, Cognitive
        Science Laboratory, Princeton University.]

7.      Poizner, H. and J. Kegl. (1992). The Neural Basis of Language and Motor Behavior:
        Perspectives from American Sign Language. Aphasiology, vol. 6, pp. 219-256.

8.      Aarons, D., B. Bahan, J. Kegl, and C. Neidle. (1992) Clausal Structure and a Tier for
        Grammatical Marking in American Sign Language. Nordic Journal of Linguistics, vol. 15, no. 2,
        pp. 103-142.

9.      Brentari, D., H. Poizner, and J. Kegl. 1995. Aphasia and Parkinsonian Signing: Differences in
        Phonological Disruption, Brain and Language, vol. 48, no. 1, 69-105.

10.     Kegl, J. 1995. Levels of Representation and Units of Access Relevant to Agrammatism.
        Brain and Language, 50, 151-200.

11.     Loew, R., J. Kegl, and H. Poizner. 1995. Flattening of Distinctions in a Parkinsonian Signer.



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        Aphasiology. 9(4), pp. 381-396.

12.     Shepard-Kegl, J., C. Neidle, and J. Kegl. 1995. Legal Ramifications of an Incorrect Analysis
        of Tense in ASL. Journal of Interpretation, vol. 7, no. 1, pp. 53-70. (Special Issue on the
        Bilingual/Bimodal Courtroom)

13.     Kegl, J., Neidle, C., MacLaughlin, D., Hoza, J., and Bahan, B. 1996. The Case for
        Grammar, Order, and Position in ASL: A Reply to Bouchard and Dubuisson. Sign
        Language Studies, vol. 90, no. 1, pp. 1-23.

14.     Kegl, J. and H. Poizner. 1997. Crosslinguistic/Crossmodal Syntactic Consequences of Left-
        Hemisphere Damage: Evidence from an Aphasic Signer and his Identical Twin.
        Aphasiology, vol. 11, no. 1, pp. 1-37.

15.     Loew, R., J. Kegl, and H. Poizner. 1997. Fractionation of the Components of Roleplay in a
        Right-Lesioned Signer. Aphasiology, vol. 11, no. 3., 263-281.

16.     Kegl, J. and H. Poizner. 1998. Shifting the Burden to the Interlocutor: Compensation for
        Pragmatic Deficits in Signers with Parkinson’s Disease, Journal of Neurolinguistics, vol. 11, nos.
        1/2, pp. 137-152.

17.     Neidle, C., B. Bahan, D. MacLaughlin, R.G. Lee, and J. Kegl 1998. Realizations of Syntactic
        Agreement in American Sign Language: Similarities between the Clause and the Noun
        Phrase. Studia Linguistica. vol. 52, no. 3, pp. 191-226.

18.     Baynes, K., Kegl, J., Brentari, D., Kussmaul, C. and Poizner, H. 1998. Chronic Auditory Agnosia
        Following Landau-Kleffner Syndrome: A 23 Year Outcome Study. Brain and Language, vol. 63,
        381-425.

19.     Bahan, B., J. Kegl, R.G. Lee, D. MacLaughlin, and C. Neidle. 2000. The Licensing of
        Null Arguments in American Sign Language. Linguistic Inquiry, pp. 1-27.

20.     Tyrone, M., Kegl, J. and Poizner, H. 1999. Deficits in Coordination in Deaf Signers with
        Parkinson’s Disease. Neuropsychologia, vol. 37, no. 11, 1271-1284.

21.     Kegl, J. , Cohen, H., and Poizner, H. 1999. Articulatory Consequences of Parkinson’s Disease:
        Perspectives from Two Modalities. In Cohen, H. and Kegl, J. (eds.), Special Issue on
        Subcortical Mechanisms in Language and Cognition, Brain and Cognition, vol. 40, no. 2, 355-
        386. .

22.     Neidle, C., D. MacLaughlin, R.G. Lee, B. Bahan, and J. Kegl 1999. Wh-Questions in
        ASL: A Case for Rightward Movement. Language. 74, pp. 819-831.

23.     Spitz, R.V. and Kegl, J. (accepted with revisions). Memory and Visuospatial Analysis
        with and without Language: Lessons from Homesigners in Nicaragua. Neuropsychologia.
        Decided not to resubmit and are preparing the manuscript for submission to the Journal
        of the International Neuropsychological Society (JINS)

24.     Kegl, J. 2003. Pronominalization in American Sign Language. Sign language and linguistics vol, 6, no. 2,
        pp. 245-265.

25.     Kegl, J. 2004. Relational grammar and American Sign Language: Author's Preface. Sign language and
        linguistics vol. 7, no. 2, p. 129.



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26.     Kegl, J. 2004. Relational grammar and American Sign Language. In: Sign language and linguistics vol. 7,
        no. 2, pp. 131-170.

27.     Kegl, Judy: ASL Syntax: research in progress and proposed research: Author's Preface. In: Sign language
        and linguistics 7: 2 (2004) - pp. 171-172.

28.     Kegl, Judy: ASL Syntax: Research in progress and proposed research. In: Sign language and linguistics 7: 2
        (2004) - pp. 173-206.

29.     Grossman, R. B. and Kegl, J. 2006. To Capture a Face: A Novel Technique for the Analysis and
        Quantification of Facial Expressions in American Sign Language. Sign Language Studies, vol. 6. no. 3, pp.
        273-305.

30.     Grossman, R.B., and Kegl, J. (2007) Moving Faces: Categorization of Dynamic Facial Expressions in
        American Sign Language by Deaf and Hearing Subjects. Journal of Nonverbal Behavior, vol. 31., no. 1, pp.
        23-38.

31.     Krause, J., Kegl, J., and Schick, B. (2008) Toward Extending the Educational Interpreter Performance
        Assessment to Cued Speech. Journal of Deaf Studies and Deaf Education, vol. 13, no. 3, pp. 432-450.

32.     Morgan, G. and Kegl, J. (2006) Nicaraguan Sign Language and Theory of Mind: The Issue of Critical
        Periods and Abilities. Journal of Child Psychology and Psychiatry, vol. 47, no. 8, pp. 811-819.

33.     Macnamara, B., Moore, A.B., Kegl, J, and Conway, A.R.A. (2011). Domain-general cognitive abilities and
        interpreter skill production. In Schlesinger, M. and Pöchhacker, F. (eds.). Interpreting: International Journal
        of Research and Practice in Interpreting, vol. 13, no. 1.


Edited journal issues refereed (1):
34.     Cohen, H. and Kegl, J. 1999. The Contribution of Subcortical Structures in
        Cognition and Language. In Cohen, H. and Kegl, J. (eds.), Special Issue on
        Subcortical Mechanisms in Language and Cognition, Brain and Cognition, vol. 40,
        no. 2, pp. 287-288.

35.     Turner, G and Kegl, J. (eds.). 1995. Special Issue on the Bilingual/Bimodal Courtroom,
        Journal of Interpretation, vol. 7, no. 1.


Published Abstracts and Short Papers refereed (10)

In journals:

35.     Kegl, J. and H. Poizner. 1991. The Interplay Between Linguistic and Spatial Processing in a
        Right-Lesioned Signer. Journal of Clinical and Experimental Neuropsychology, 13, 38-39.

36.     Carrithers, C., M. Jack, and J. Kegl. 1995. Access to Argument Structure in Agrammatism:
        Evidence from On-Line Tasks, Brain and Cognition, 28, July-August.

37.     Kegl, J. and M. Jack. 1995. The Resilience of Copular Constructions in Aphasic
        Speech,Language and Cognition, 28, July-August

38.     Kegl, J., R. Gilmore, E. Fennell, D. Bowers, H. Poizner, and K. Heilman. (in press) Wada
        Testing of a Deaf, Left-handed, ASL Signer Reveals Right Dominance for Language. Journal
        of the International Neuropsychological Society.



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39.     Kegl, J. 1995. Levels of Representation and Units of Access Relevant to Agrammatism. Brain
        and Cognition, 28 (1), June. [abstract]

40.     Baynes, K, Brentari, D. and Kegl, J. 1995. Chronic Language Impairment Following
        Landau-Kleffner Syndrome: A Case Study. In Journal of the International Neuropsychological
        Society, volume 1, no. 2, pg. 152. [abstract]

41.     Kegl, J. 1995. Three-place predicates in aphasic narrative production. Brain and
        Language, vol. 51, no. 1, October 1995, pp. 122-124. . [abstract]

42.     Kegl, J. Gilmore, R.L., Leonard,C. , Bowers, D. Fennell, E. Roper, S.N. , Trowbridge, P.,
        Poizner, H. and Heilman, K.M. (in press) Wada and Functional Cortical Mapping of a
        Deaf Signer of ASL, Right Dominant for Signed and Spoken Language. International
        Journal of Neuroscience. [abstract]

43.     Kegl, J., R. Gilmore, C. Leonard, D. Bowers, E. Fennell, S.N. Roper, P. Trowbridge, H.
        Poizner, and K. M. Heilman. 1996. Lateralization and Intrahemispheric Localization Studies
        of a Familially Left-handed, Deaf, Epileptic Signer of American Sign Language, Brain and
        Cognition, 32, (2) 96, 335-338. [short paper]

44.     Kegl, J., K. Baynes, D. Brentari, and H. Poizner. 1996. Landau-Kleffner Syndrome: Modality
        Independence of Linguistic Competence. Society for Neuroscience 26th Annual Meeting:
        Abstracts. Part 1, pg. 184.

45.     Kegl, J. and Poizner, H. 1998. Losing Face: Differential Breakdown in the Production of
        Facial Expressions Society for Neuroscience, Session 160.9 Basal Ganglia: Clinical Disorders
        and Models. Society for Neuroscience 28th Annual Meeting: Abstracts. Part 1.

Invited Journal Articles (5):

46.     Kegl, J. 1994. Conference Report: Linguistic Society of America Meeting, January 6-9, 1994.
        Signpost. vol.7, no. 1, Spring, pp. 62-66.

47.     Kegl, J. 1994. The Nicaraguan Sign Language Project: An Overview. Signpost. vol.7, no. 1, Spring,
        pp. 24-31.

48.     Senghas, R., and J. Kegl. 1994a. Social Considerations in the Emergence of Idioma de
        Signos Nicaragüense (Nicaraguan Sign Language). Signpost. vol.7, no. 1, Spring, pp. 40-46.

49.     Senghas, R., and J. Kegl. 1994b. Soziale Gesichtspunkte bei der Herausbildung der
        Nicaraguanishen Gebärdensprache. Das Zeichen, no. 29, September, pp. 288-293. [German
        translation of Senghas and Kegl (1994a)]

50.     Kegl, J., McKinley, F. and Reynolds, D. 2005. The Role of Deaf interpreters: Lessons from the past and a
        vision for the future. Interpres. vol. 18, no. 4, pp. 16-18.

Books (3)

51.     Kegl, J. A. (1985) Locative Relations in American Sign Language Word Formation, Syntax, and
        Discourse. MIT Working Papers in Linguistics, Cambridge, MA.

52.     Neidle, C., Kegl, J., MacLaughlin, D., Bahan, B., and Lee, R.G. 2000. The Syntax of American
        Sign Language: Functional Categories and Hierarchical Structure. Cambridge, MA: The MIT Press.



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53.     Shepard-Kegl, J. M. , Vega, B. J., and Kegl, J. Nicaraguan Sign Language Handbook. (2013;
        revised 2014; Second Edition 2017); Third Edition 2018. North Yarmouth, ME: Nicaraguan
        Sign Language Projects, Inc.

Edited volumes (3):
53.     Kegl, J., D. Nash and A. Zaenen (eds.) 1977. Proceedings of the Seventh Annual Meeting of the
        North Eastern Linguistics Society. Cambridge, Mass.: North Eastern Linguistics Society.

54.     Freidin, R, J. Kegl, and K. Miller (eds.) 1988. Linguistics in the Undergraduate Curriculum, CSL
        Report 17, Cognitive Science Laboratory, Princeton University, Princeton, NJ.

55.     Napoli, D.J. and J. A. Kegl (eds.) 1991. Bridges between Psychology and Linguistics: A Swarthmore
        Festschrift for Lila Gleitman. Hillsdale, NJ: Lawrence Erlbaum Associates.



Articles in Edited Volumes (30)

56.     Chinchor, N., J. Forman, F. Grosjean, M. Hajjar, J. Kegl, E. Lentz and R. Wilbur. 1976. Sign
        Language Research and Linguistic Universals. In University of Massachusetts Occasional Papers in
        Linguistics. Amherst, MA: Graduate Linguistic Student Association, pp. 70-94.

57.     Kegl, J.A. 1986. "Clitics in American Sign Language." In H. Borer, ed., The Syntax of Pronominal
        Clitics. New York: Academic Press, pp. 285-309.

58.     Kegl, J.A. and J. White Eagle. 1986. "Plains Indian Sign Language." In S.P. Parker, ed., Gallaudet
        Encyclopedia of Deaf People and Deafness. New York: McGraw Hill Book Company, pp. 97-100.

59.     Kegl, J.A. 1987. "Coreference Relations in American Sign Language." In B. Lust, ed., Studies in the
        Acquisition of Anaphora: Applying the Constraints, Volume 2, pp. 135-170. Dordrecht: D. Reidel
        Company.

60.     Kegl, J. A. 1988. "Extending a Linguistics Curriculum without Overextending the Faculty." In
        Freidin, R, J. Kegl, and K. Miller, eds., Linguistics in the Undergraduate Curriculum, CSL Report,
        Cognitive Science Laboratory, Princeton University, Princeton, NJ, pp. 95-106.

61.     Kegl, J. 1989 "The Boundary between Word Knowledge and World Knowledge." Y. Wilks,
        ed., Theoretical Issues in Natural Language Processing. Hillsdale, NJ: Lawrence Erlbaum, pp. 22-
        27.

62.     Kegl, J. 1990. "Predicate Argument Structure and Verb Class Organization in the ASL Lexicon."
        In C. Lucas, ed., Theoretical Issues in ASL Linguistics. Washington, D. C.: Gallaudet University
        Press, pp. 149-175.

63.     Poizner, H. and J. Kegl. 1993. Neural Disorders of the Linguistic Use of Space and Movement. In
        Tallal, P., Galaburda, A.M., Llinas, R., and von Euler, C. (Eds.), Temporal Information Processing in
        the Nervous System: Special Reference to Dyslexia and Dysphasia. Series: Annals of the New York
        Academy of Sciences. New York: The New York Academy of Sciences, vol. 682, pp. 192-213.

64.     Aarons, D., B. Bahan, J. Kegl, and C. Neidle. 1995. Lexical Tense Markers in American Sign
        Language. In Emmorey, K. and J. Reilly (Eds.) Language Gesture and Space. Hillside, NJ: Lawrence
        Erlbaum Assoc., pp. 225-254.




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65.     Kegl, J. 1995. Language and the Brain: For Interpreters. In Wilcox, P., Bybee, J. and Wilcox, S.,
        (eds.), Linguistic Training of Signed Language Interpreters Manual. Department of Linguistics, The
        University of New Mexico, Albuquerque, pp. 11-18.

66.     Kegl, J.A. 1995. Machine-Readable Dictionaries and Education. In D. Walker, A. Zampolli
        and N. Calzolari, (eds.), Automating the Lexicon: Research and Practice in a Multilingual
        Environment. Oxford: Oxford University Press, pp. 249-284.

67.     Shepard-Kegl, J. A. 1997. Prólogo. In Lopez Gomez, J.J., Peréz Castellon, A. M., Rivera
        Rostrán, J. M., and Baltodano Baltodano, J.F., (eds.), Diccionario del Idioma de Señas de
        Nicaragua. Managua: Asociación Nacional se Sordos de Nicaragua (ANSNIC), pp. ix-xi.

68.     Neidle, C., J. Kegl, B. Bahan, D. Aarons, and D. MacLaughlin. 1997. Rightward Wh-
        Movement in American Sign Language. In Beerman, H., Le Blanc, D., and D. Van Riemsdijk
        , (eds.), Rightward Movement. Philadelphia, PA: John Benjamins, pp. 247-278.

69.     Kegl, J. and H. Poizner. 1998. Shifting the Burden to the Interlocutor: Compensation for
        Pragmatic Deficits in Signers with Parkinson’s Disease. In Paradis, M., (ed.), Pragmatics in
        Neurogenic Communication Disorders. Oxford, Pergamon Press, pp. 137-152.

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1975    A Frame Analysis of American Sign Language. Presented at the Thirteenth Annual Meeting of
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1976    Some Current Work on the Phonology and Syntax of ASL. Presented at the University of
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        When does Structure Stop and Style Begin? Syntax, Morphology and Phonology in American
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        Sign Language Research and Linguistic Universals. Presented at the Summer Meeting of the
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        ASL Pronouns and Conditions on Their Use. Presented at the Summer Meeting of the Linguistics
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1978    How Does a Linguist Study the Syntax of American Sign Language? Presented at Hampshire
        College, lecture for job interview. March.

        ASL Agreement. Presented at the M.I.T. Symposium on Sign Language Linguistics, M.I.T.. May.

1979    Classifiers and Verb Stems in ASL. Presented at the NATO Advanced Study Institute. Conference
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        Locative and Directional Verbs In ASL: Their Agreement. Presented at the NATO Advanced
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        Research (Session on Morphology). Audiologopedic Research Group, University of Copenhagen,
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1980    Series of Lectures on Research in Progress (5 lectures). Presented at the Salk Institute, American
        Sign Language Laboratory. La Jolla, California. January.

        The Structure of the ASL Verb. Presented at Northeastern University, Psychology Department
        Colloquium Series (lecture for job interview). February.




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       Sequential Phonology and Lexical Access Questions in American Sign Language. Presented to
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       Sequential ASL Phonology: Infixation, Stress Subordination and Word Formation. Presented to
       the Research Lab of Electronics, Speech Group Lab Meeting, M.I.T.. February.

       What Constitutes a Sign Event?: The Interactions of Movements and Locations in ASL Phonology
       and Morphology. Presented to the Language Work Group, First International Conference on
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       Narrative/Story Structure, Pausing and ASL. Presentation at NWAVE X (New Ways of
       Analyzing Variation, Etc.), Tenth Annual Meeting, Philadelphia. October. (with James Gee)

1982   Semantic Perspicuity and the Locative Hypothesis. Presentation at the Eighth Annual Meeting of
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       ASL Morphology: Implications for Acquisition. Presentation at the Boston University
       Colloquium Series. May. (with James Gee.)

       The Role of Linguistics in ASL Teaching and Research. Workshop on the Language and Culture
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       A Linguistic and Stylistic Analysis of Narratives in ASL. Workshop on the Literature and Poetry
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       (with James Gee and Bonnie Hughes)

1983   Semantic Perspicuity in ASL: Some Implications for Acquisition and Education. Presented to the
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       Narrative and Discourse Structure in ASL. Presented in Gallaudet College Lecture Series.
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       Semantic Perspicuity and the Locative Hypothesis: Discussion of the Gee and Kegl paper by Ken
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       ASL Structure: Towards a Theory of Abstract Case. Invited Paper. Eighth Annual Boston
       University Conference on Language Development. October. (with J. Gee)

       Historical Change in the Laboratory: The Interaction between Phonetic Reduction, Stylistic
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1984   An Independent Linking Account of Affrication, Gemination and Merger in English and Slovene.
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1985   What's on the Tiers. Presented at the Lecture Series on Nonlinear Phonology for Non-Linguists.
       Research Lab of Electronics, M.I.T.. January.

       Empty Categories in American Sign Language. Presentation at the Conference on the Nature of
       Empty Categories. M.I.T.. January.

       The Acquisition of Locative Relations in American Sign Language. Presentation to the New
       England Child Language Association (NECLA). Northeastern University. February.

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       Causative Marking and the Construal of Agency in American Sign Language. Presentation to the
       Twenty-First Annual Meeting of the Chicago Linguistics Society, Parasession on Causatives and
       Agentivity, University of Chicago. April.

       The Mental Organization of Verbs: Invariant and Variant Aspects. Presentation at NWAVE XIV,
       Georgetown University, Oct. 25, 1985. (with M. Rimor and H. Lane)

       An Empirical Inquiry Into the Semantic Organization of the Mental Lexicon of English Verbs: The
       Case from American Sign Language. Presented at the Tenth Annual Boston University Conference
       on Language Development, Oct. 27, 1985. (with M. Rimor and H. Lane)

       Evidence in Favor of Independent Linking. Presented at the Linguistic Society of America Winter
       Meeting, Seattle, Dec. 28, 1985.

       Formal Properties of ASL Word Formation. Presented at the Linguistic Society of America Winter
       Meeting, Dec. 28, 1985. (with Ward Farrington)

1986   Multi-Dimensional Structures in English Phonetics and Phonology. Eastern Michigan University,
       Job Talk. February 5.

       Opaque Clitics: Differences Between L1 and L2 Signers. University of Texas at Austin, Job Talk.
       February 10.

       ASL Word Formation. Program in Linguistics Colloquium Series, Princeton University. February
       13.

       When Is Classifier No Longer a Classifier? Presented at the Twelfth Annual Meeting of the Berkeley
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       The Acquisition of American Sign Language by Second Generation Deaf Signers. Linguistics
       Colloquium Series, Syracuse University. February 28.

       Lexical Conceptual Structures in American Sign Language. Lexicon Seminar, Center for Cognitive
       Science, M.I.T.. March 6.

       Characteristics of Literary Narrative in American Sign Language. Presented to the NTIDNoontime
       Lecture Series, National Technical Institute of the Deaf, Rochester. March 14.

       Recursive Structure in the ASL Lexicon. Presented to the Department of Linguistics, State
       University of New York at Stonybrook. March 18.


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       Sub-lexical Structure in American Sign Language: Morphemes or Phonemes? Swarthmore College,
       Job Talk. March 19.

       The Role of Sub-Lexical Structure in Recreolization. Presented at the 18th Annual Stanford Child
       Language Research Forum, Stanford University. April 6.

       Commentary on a Paper on the Acquisition of American Sign Language by Laura Pettito. Cognitive
       Science Colloquium Series, M.I.T. (Additional commentator Virginia Valian) May 6.

       Presentation and Commentary on "Teaching: The Use of Existing Machine-readable dictionaries in
       Education and the Design of More Appropriate Ones for the Future" by Tom McArthur. Presented
       at the Workshop on Automating the Lexicon, Grosseto, Italy. May 21.
       Opaque Clitics. Presented at the Conference on Theoretical Issues in American Sign Language,
       University of Rochester. June 14.

       Implicit and Explicit Information: What's in the Dictionary and What's in the User? Presentation to
       the Harvard University Cognitive Science Society, October 26.

       Explicit and Implicit Information in Dictionaries. Presented at the Second Conference of the Centre
       for the New OED, University of Waterloo, Waterloo, Ontario, November 10. (with B. Atkins and
       B. Levin)

       Perceptual Ambiguity: Implications for the Representation of Phonological Features. Presented in
       the Cognitive Lunch Series, Psychology Department, Princeton University, December 2.

       Nicaraguan Sign Language: A Progess Report. Presented at the Winter Meeting of the Linguistic
       Society of America, New York, December 30.

1987   Boundary Between Word Knowledge and World Knowledge. Position paper presented in the
       panel on words and world representation at TINLAP3 (Conference on Theoretical Issues in Natural
       Language Processing). New Mexico State University, Las Cruces, NM, January 7-9.

       Teaching Undergraduate Linguistics: Lab/Independent Study Oriented Approaches. Conference
       on Linguistics in the Undergraduate Curriculum, Princeton University, March 8-9.

       Lexical Regularities: Implications for Dictionary Entries. Instituto di Computazionale, Pisa, Italy,
       March 17. (with B. Levin and S. Atkins)

       Issues in the GB Lexicon. Workshop on the Polytheoretical Lexicon, Pisa, Italy, March 19. (with B.
       Levin).

       A GB Entry for the Verb Bake. Workshop on the Polytheoretical Lexicon, Pisa, Italy, March 20.
       (with B. Levin and B. Atkins).

       A Peek at our Past: Parallels and Divergences in the Historical Development of Nicaraguan Sign
       Language and American Sign Language. Hamilton College, Clinton, NY, April 29.

       Machine-Readable Dictionaries and Education. Educational Testing Services, Princeton, NJ, May
       27.

       PARSNIP: A Connectionist Network that Learns Natural Language Grammar from Natural
       Language Sentences. Presented at the Ninth Annual Meeting of the Cognitive Science Society,
       University of Seattle, WA, July. [also presented at Bellcore Teleconference, June 4; and numerous
       other presentations]


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       Hidden Information in the Dictionary. Presented in the Lexicon Workshop at the Linguistics
       Society of America Linguistics Institute. Stanford California, July.

       Possible Passives and Predicate Argument Structure. Presented at the Symposium on Lexical
       Semantics (sponsored by IREX). Stanford, CA, August 1-2.

       Verb: Transitive/Intransitive. 8th World Congress on Applied Linguistics (AILA), Sydney,
       Australia, August 16-21. (with B. Levin)

       Potential Uses of On-Line Dictionaries in Language Teaching. AILA Scientific Commission on
       Applied Computational Linguistics. Theme: The Use of the Computer in Teaching Language,
       Linguistics and the Humanities. Sydney, Australia, August 16-21.

       AILA Scientific Commission on Lexicography and Lexicology. Topic: Dictionary Projects and
       Analysis of the Lexicon. Convenor of session. Sydney, Australia, August 16-21.

       Current Research on ASL Linguistics. Department of Speech and Audiology, Syracuse
       University.

       The Geometry of Linguistic Features: The Need for 3-D Graphics Systems in Phonological
       Research. Presented at Princeton University, Human Information Processing Group, December
       10.

1988   Non-Canonical Argument Structure. WCCFL VII (West Coast Conference on Formal Linguistics,
       University of California at Irvine, February 27. (with Christiane Fellbaum) [alternate for GLOW
       (Generative Linguists of the Old World); Budapest, Hungary, March 29-31.]

       Word Organization in the Lexicon. Swarthmore College, Psychology and Linguistics
       Departments. March 1.

       Internal Structure in the American Sign Language Lexicon. Presented to the Cornell University
       Psycholinguistics Circle, Cornell University. March 3.

       Properties of Measure Verbs. Lexicon Seminar, MIT, Cambridge, MA. March 9. (with C.
       Fellbaum)

       Lenguaje de Signos Nicaraguense: Fieldwork Problems and Research Questions. Presented to the
       Linguistics Colloquium Series, University of Pennsylvania. April 7.

       The Interface between Lexical Semantics and Syntactic Projection. Workshop on Theoretical and
       Computational Issues in Lexical Semantics. Brandeis University, April 21-24.

       Argument Structure Typology and Verb Agreement Patterns. Alternate for presentation at the
       Parasession on Agreement at the 24th Annual Meeting of the Chicago Linguistics Society,
       University of Chicago. April 28-30.

       The Importance of Research on Sign Languages to the Study of Linguistic Theory. University
       Lecture Series, University of Massachusetts, Amherst. May 5.

       A Predicate Argument Typology of Sentential Complement Verbs. Paper presented at the
       Workshop on Sentential Complements, Center for Cognitive Science, MIT, Cambridge, MA. May
       6. (with Beth Levin)

       Argument Structure Typology and Verb Class Organization in the ASL Lexicon. Second
       International Conference of Theoretical Issues in Sign Language Linguistics. Gallaudet
       University. May 21.


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       Taxonomic Hierarchies in the Verb Lexicon. BUDALEX '88, EURALEX 3rd International
       Congress, Budapest, Hungary. September 4-9. (with Christiane Fellbaum)

       The Princeton Lexicon Project: A Report on WordNet. BUDALEX '88, EURALEX 3rd
       International Congress, Budapest, Hungary. September 4-9. (with George Miller, Christiane
       Fellbaum, and Katherine Miller).

       Accomodation to Parametric Choice (Slovenian). Presented at the symposium on "Languages in
       Contact" at the XII International Congress of Anthropological and Ethnological Sciences (ICAES).
       Zagreb, Yugoslavia, July 23-24.

       An Analysis of Obligatory Adjuncts: Evidence from the Class of Measure Verbs. ESCOL '88 (Fifth
       Eastern States Conference on Linguistics), University of Pennsylvania. September 30-October 2.

       A Typology of Predicate Argument Structures in ASL: A Focus on Psych-Verbs, Unaccusatives,
       and Unergatives. CUNY Graduate Center. November 17.

1989   Lenguaje de Signos Nicaraguense: A Pidgin Sheds Light on the "Creole?" ASL. Fourth Annual
       Pacific Linguistics Conference, University of Oregon. May 19. (with Gayla Iwata)

       Taxonomic Structure and Object Deletion in the English Verbal System. Presented at ESCOL '89
       (Sixth Eastern States Conference on Linguistics) University of Delaware, October 6-8.

1990   Faculty Panel Discussion on "Academia and Social Responsibility." Sponsored by the Volunteer
       Program as a part of Social Action Week. Swarthmore College. February 17.

       Nicaragua: A Personal Perspective. Faculty Seminar on Central America, Swarthmore College.
       February 22.

       The Interplay between Linguistic and Spatial Processing in a Right-Lesioned Signer. Rutgers
       University Graduate Student and Postdoctoral Mini-Symposium. October 19. (with H. Poizner)

       La Comunidad de Sordos de Nicaragua y su Lenguaje de Signos. Encuentro Latinamericano y del
       Caribe de Educadores de Sordos. (Trans: The Deaf Community in Nicaragua and their Signed
       Language) Univeristy de los Andes, Merida, Venezuela. November 12-17, 1990. (with Miriam
       Hebé Lopez A.)

1991   Cross-Linguistic Comparison via the Elicitation of Controlled Narratives. The Annual Meeting of
       the Linguistic Society of America. Chicago, Illinois. January 6. (with Annie Senghas)

       The Interplay between Linguistic and Spatial Processing in a Right-Lesioned Signer. Annual
       Meeting of the International Neuropsychological Society. San Antonio, TX. February 15. (with
       Howard Poizner, poster)

       The Brain Organization of Deaf and Hearing Signers of American Sign Language: Evidence from
       studies of Aphasia and Parkinson's Disease. Cognitive Science Colloquium Series, University of
       Illinois at Champaign-Urbana. March 4.

       Series of workshops on ASL: Details of American Sign Language Syntax (April 5, 9:30-12);
       Coding American Sign Language Data on Deaf Children (April 5, 2-5:30); Workshop on
       Argument Structure in American Sign Language (April 6,9-4:30). MOV/LOC Notation and Rules
       of ASL Word Formation (April 12, 9-1). Boston University School of Education/Deaf Studies
       Program. Boston, April 5-6, 12.

       The Interplay between Spatial Processing in a Right-Lesioned Signer of American Sign Language.
       Colloquium Series: Seminar in Psychobiology, Institute of Animal Behavior, Rutgers University.
       April 24.




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       The Brain Organization of Deaf and Hearing Signers of American Sign Language: Evidence from
       Right and Left Lesioned Signers. Cognitive Science Colloquium Series, Northwestern University.
       April 30.

       Language from a Child's Eye View. Workshop Series. Marie F. Katzenbach School for the Deaf.
       September 9. (with Vicki Joy Sullivan)

       The Current Status of Sign Language Research on the Organization of the Brain. Institute for
       Animal Behavior, Seminar Series. Rutgers University. September 11.

       Language and Its Modalities of Expression. Connections from Neuroscience to Cognition: A Joint
       Research Symposium of the Rutgers University Center for Molecular and Behavioral Neuroscience and the
       Rutgers University Center for Cognitive Science. Rutgers University, Newark. December 12.

1992   Linguistic-Specific Processing Deficits in a Left-Lesioned Signer Aging and the Quality of Life.
       Sponsored by the Christopher Columbus Medical Sciences Committee of the National Institutes
       of Health. Washington, D.C., February 11. (with Howard Poizner and Ruth Loew, poster)

       Argument Structure is Predictive of Production and Comprehension Deficits in Aphasia.
       Presented at the CUNY Sentence Processing Conference, New York. May. (with Mary Jack,
       poster)

       Subjects and Agreement in American Sign Language. Presented at the Fifth International
       Symposium on Sign Language Research. International Sign Linguistics Association. Salamanca,
       Spain. May. (with Debra Aarons, and Carol Neidle)

       Tense and Agreement in ASL. Presented at the 1992 Theoretical Issues in Sign Language Research
       Conference. San Diego, CA. July. (with Debra Aarons, Benjamin Bahan, and Carol Neidle, poster)

       Argument Structure Profiles of Aphasic vs. Non-Aphasic Narrative Production. Boston University
       Conference on Language Development. Boston. October 25. (with Mary Jack)

       Flattening of Distinctions Constrains Parkinsonian Signing. Boston University Conference on
       Language Development. Boston. October 25. (with Ruth Loew and Howard Poizner)

       Sign Communication Proficiency among Students. Invited Workshop, The 11th Annual
       Language Coordinator's Workshop: Sign Communication: Contexts, Proficiency and Assessment,
       The Pennsylvania School for the Deaf, Philadelphia November 5. (with Judy Mounty)

       Argument Structure Analysis of Aphasic Production and Comprehension. Neuropsychology
       Laboratory, Moss Rehabilitation Hospital, Philadelphia, PA. December 15. (With Mary Jack)

1993   Preservation of Syntactic Distinctions in a Moderate to Severe Parkinsonian Signer. Presented at
       the Sixth Annual CUNY Sentence Processing Conference. University of Massachusetts at
       Amherst, March 18-20. (with Howard Poizner).

       Access to Argument Structure in Agrammatism: Evidence for On-Line Tasks. Presented at the
       Sixth Annual CUNY Sentence Processing Conference. University of Massachusetts at Amherst,
       March 18-20. (with Caroline Carrithers and Mary Jack)

       Access to Argument Structure in Agrammatism: Evidence from On-Line Tasks. Presented at the
       Fourth Annual Conference in Theoretical and Experimental Neuropsychology (TENNET IV).
       University of Quebec at Montreal, Montreal, Quebec. May 12-14. (with Caroline Carrithers and
       Mary Jack)



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       The Resilience of Copular Constructions in Aphasic Speech. Presented at the Fourth Annual
       Conference in Theoretical and Experimental Neuropsychology (TENNET IV). University of
       Quebec at Montreal, Montreal, Quebec. May 12-14. (with Mary Jack)

       Reunión sobre los lenguajes de signos nicaragüenses. Invited workshop. Ministry of Education,
       Managua, Nicaragua. August 2-3. (with Ann Senghas and Richard Senghas)

       The Birth of a Language: The Case of Idioma de Signos Nicaragüense (Nicaraguan Sign
       Language). Presented at II Congresso Latino-Americano de Bilingualismo (Lingua Oral/ Lingua
       de Sinais) para Surdos. Federal University of Rio de Janeiro, Rio de Janiero, Brazil. September 13.
       [Special Invited Lecture]

       Syntax for Sign Languages. Syntactic Methodology and Issues in Sign Language Research. Short
       Course taught at II Congresso Latino-Americano de Bilingualismo (Lingua Oral/ Lingua de
       Sinais) para Surdos. Federal University of Rio de Janeiro, Rio de Janiero, Brazil. September 12-17.
       [Invited Course]

       The Effects of Aphasia and Parkinson's Disease on Sign Language.. Presented at II Congresso
       Latino-Americano de Bilingualismo (Lingua Oral/ Lingua de Sinais) para Surdos. Federal
       University of Rio de Janeiro, Rio de Janiero, Brazil. September 15.

       The Distribution of Argument Structure Patterns in Aphasic Narrative Production. Presented at
       the 31st Annual Meeting of the Academy of Aphasia. Tucson, Arizona. October 25. (poster)

       The Role of Language Acquisition Processes in the Emergence of a New Sign Language.
       Presented at Designs of Nature: The Sixth Annual Graduate and Postdoctoral Minisymposium,
       Rutgers University, Newark. November 19. (with Ann Senghas and Richard J. Senghas)

       The Architecture of Functional Categories in ASL. Linguistics Colloquium Series, Syracuse
       University. December 10. (with Carol Neidle)

1994   Components of Role Play: Evidence from Deficits in a Right Hemisphere Damaged Signer.
       Presented at the Boston University Conference on Language Development. Boston, MA. January.
       (Ruth Loew , Judy Kegl, and Howard Poizner)

       The Phonetics of Contraction in American Sign Language. Presented at the Winter Meeting of the
       Linguistics Society of America. Boston, MA. January. (Judy Kegl and Howard Poizner)

       Sign Language Emergence and Sign Language Change: Children's contribution to the birth of a
       language. Presented at the Winter Meeting of the Linguistics Society of America. Boston, MA.
       January. (with Ann Senghas, Richard J. Senghas, and Marie Coppola; poster)

       Evidence for an Innate Language Capacity: The Birth of Idioma de Signos Nicaragüense
       (Nicaraguan Sign Language). Invited Lecture. Cognitive Colloquium Series, Psychology
       Department, Rutgers University. January 24.

       Psychological Verb Constructions in American Sign Language. Invited Speaker. Washington
       Area Generative Syntax Group (WAGS). Georgetown University, Washington, D.C. January 28.

       Wada Testing of a Deaf, Left-handed, ASL Signer Reveals Right Dominance for Language.
       Presented at the International Neuropsychological Society, Twenty-second Annual Meeting.
       Cincinnati, OH. February 2-5. February. (with Robin L. Gilmore, Eileen B. Fennell, Dawn Bowers,
       Howard Poizner, and Kenneth Heilman)



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   The Birth of Idioma de Signos Nicaragüense (Nicaraguan Sign Language): Evidence for Both
   Innate Capacity and the Role of Community. Invited speaker. Language Origins Workshop,
   University of Chicago. February 28.

   Legal Ramifications of an Incorrect Analysis of Tense in ASL. Presented at the Annual Meeting of
   the American Association for Applied Linguistics as part of a special colloquium The Bilingual,
   Bimodal Courtroom coordinated by Graham H. Turner. Baltimore, MD. March 8. (with James
   Shepard-Kegl and Carol Neidle)

   Characterizing Deep Linguistic Deficits and Decoupling them from the Impingement of other
   Cognitive Impairments. Innaugural Conference of the Cognitive Neuroscience Society. San
   Francisco. March 27-29. (with Caroline Carrithers; poster)

   Functional Cortical Mapping of a Left-handed, Deaf Signer of ASL, Right Dominant for Signed
   and Spoken Language. Innaugural Conference of the Cognitive Neuroscience Society. San
   Francisco. March 27-29. (Robin Gilmore, Judy Kegl, Christiana Leonard, Dawn Bowers, Steven
   Roper, Eileen Fennell, Howard Poizner, and Kenneth Heilman; poster)

   Spared Spatial Grammar in a Right-Lesioned Signer with Severely Disrupted Perception of
   natural Spatial Frames of Reference. Innaugural Conference of the Cognitive Neuroscience
   Society. San Francisco. March 27-29. (Judy Kegl, Robert Hoffmeister and Howard Poizner; poster)

   Issues of Language Localization and Hand Dominance in a Deaf, familially left-handed, Signer of
   American Sign Language. Presentation to the Cognitive Neuroscience Seminar Series, University
   of California at Davis. March 31.

   Preservation of Syntactic Information in the Lexicon. Invited Lecture. Colloquium Series, Speech
   and Hearing Sciences Department, CUNY Graduate Center. April 14.

   Advances in Linguistics: Semantics. Tutorial. Conference on Linguistics, Cognitive Science, &
   Childhood Language Disorders. sponsored by the Program in Speech and Hearing Sciences,
   Graduate School and University Center, City University of New York. (Approved for CEU bythe
   American Speech-Language-Hearing Association; Judy Kegl and Christiane Fellbaum) April 20.

   Wada and Functional Cortical Mapping of a Deaf Signer of ASL, Right Dominant for Signed and
   Spoken Language. Presented at the New York Neuropsychology Group Fifteenth Annual
   Conference: "Neuropsychology and Epilepsy: Insights for and from a Special Focus." New York.
   April 24. (Judy Kegl, Robin L. Gilmore, Christiana Leonard, Dawn Bowers, Eileen Fennell, Steven
   N. Roper, Patricia Trowbridge, Howard Poizner, and Kenneth M. Heilman; poster)

   The Architecture of Functional Categories in ASL. Invited lecture, Linguistics Colloquium Series,
   Harvard University. May 2. (Carol Neidle, Judy Kegl, and Benjamin Bahan)

   Levels of Representation and Units of Access Relevant to Agrammatism. Invited speaker, Special
   Symposium on Agrammatism (Organizer, Victoria Fromkin). TENNET Conference (Theoretical
   and Experimental Neuropsychology). Montreal. May 29.

   Crucial Ingredients for the birth of a language: Innate language capacity plus Community [A case
   study of the emergence of Idioma de Signos Nicaraguense]. Invited colloquium. Université du
   Quebec á Montreal. June 2.

   Introduction to syntax for sign language teachers. Workshop presented at the Fourth New York
   Statewide Conference for Teachers of American Sign Language. New York, NY. June 4. (Ben



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       Bahan, Judy Kegl, and Carol Neidle)

       The Spread of Grammatical Facial Expressions and Evidence of the Structure of the Sentence in
       ASL. Workshop presented at the Fourth New York Statewide Conference for Teachers of
       American Sign Language. New York, NY. June 4. (Ben Bahan, Judy Kegl, and Carol Neidle)
       Creation through Contact: The Development of a Nicaraguan Deaf Community and the
       Nativization of its Language. Presented at the 2nd International Conference on Deaf History.
       Hamburg, Germany. October 1-4.

       Rightward Wh-Movement in American Sign Language. Presented at the Conference on
       Righward Movement. Tilburg, Germany. October 6-8. (Carol Neidle, Judy Kegl, Benjamin Bahan,
       Debra Aarons).

       Processing of Non-linguistic Auditory Stimuli in Landau-Kleffner Syndrome: A Case Study.
       Poster presented at The 128th Meeting of the Acoustical Society of America, Austin, TX.
       November 30. (Clifton Kussmaul, Kathleen Baynes, and Judy Kegl)

1995   Chronic Language Impairment Following Landau-Kleffner Syndrome: A Case Study. Presented
       at the Twenty-Third Annual Meeting of The International Neuropsychological Society. Seattle,
       WA. February 8-11. (Kathleen Baynes, Judy Kegl, Howard Poizner, and Diane Brentari)

       The Manifestation and Grammatical Analysis of Clitics in American Sign Language. Invited
       speaker for the Parasession on Clitics at The Thirty-First Annual Meeting of the Chicago
       Linguistics Society, Chicago, IL. April 20-22.

       Articulatory Consequences of Parkinson’s Disease: Perspectives from Two Modalities. Presented
       at the TENNET Conference (Theoretical and Experimental Neuropsychology). Invited Session on
       Subcortical Issues in Language and Cognition. Montreal. May . (Judy Kegl and Henri Cohen)

       Convergent Evidence for the Structure of Determiner Phrases in American Sign Language.
       Submitted for presentation at the Formal Linguistics Society of the Midwest (FLSM) Conference.
       Bloomington, IN. May 20. (Benjamin Bahan, Judy Kegl, Dawn MacLaughlin, and Carol Neidle).

       Overt Realization of Syntactic Features in American Sign Language, Syntax Seminar, University
       of Trondheim Linguistics Department, Trondheim, Norway, May 30. (Neidle, C., MacLaughlin,
       D., Kegl, J., Bahan, B., and Aarons, D.)

       Studies of Aphasia in American Sign Language: Points for Comparison and Contrast. Invited
       participation and presentation in the Comparative Aphasiology Conference. Organizer: Lise Menn.
       June 28-July 6.

       Gestural Precursors of Linguistic Constructs. Invited presentation at conference on Gestures
       Compared Cross-Linguistically. Organizers David McNeill and Adam Kendon. Albuquerque, NM,
       July 8. (with Jill Morford)

       The Deaf Community in Nicaragua and their Signed Language. Presentation at the 1995
       Linguistics institute, Albuquerque, NM. July 11. (Judy Kegl, Ann Senghas, Marie Coppola, and
       Jill Morford)

       Nicaragua Report: Escuelita de Bluefields--Education and Social Services in the Nicaragua of the
       1990s. The Princeton Arts Center, Princeton, NJ. Sponsored by the Princeton-Granada Sister
       Cities Committee. October 15. (Judy Kegl and James Shepard-Kegl)

       Three-place Predicates in Aphasic Narrative Production. Academy of Aphasia. San Diego, CA.



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       November 6.

       Critical Periods in the Acquisition of Language. Invited speaker. Parents for Deaf Awareness
       Colloquium series. Union County College. Union, NJ. November 29.

1996   El cambio lingüistico, la lengua de señas y la comunidad de los sordos en Nicaragua. [Language
       change, sign language and the Deaf community in Nicaragua] Taller pre-Congreso. III Congreso
       Latinoamericano de educacion bilingüe para los sordos. Merida, Venezuela. February 6.

       Lingüistica de la lengua de señas. Mesas de discusión. Coordinator: Dra. Lourdes Pietrosemoli.
       III Congreso Latinoamericano de educacion bilingüe para los sordos. Merida, Venezuela.
       February 7-8.

       Politics and Power Structure in the Deaf Community in Nicaragua. III Congreso Latinoamericano
       de educacion bilingüe para los sordos. Merida, Venezuela. February 8.

       Contacto de la lengua de señas con señas caseras en Nicaragua. [Contact between sign language
       and home sign in Nicaragua] III Congreso Latinoamericano de educacion bilingüe para los
       sordos. Merida, Venezuela. February 9.

       Research on Signed Language Development and the Brain. Invited Speaker. Administrator’s
       Roundtable Meeting, Marie H. Katzenbach School for the Deaf, West Trenton, NJ. March 6.
       (Romy Spitz, Patricia Trowbridge, and Judy Kegl)

       Brentari, D., K. Baynes, J. Kegl, C. Kussmaul, and H. Poizner. 1996. Impoverished Lexicon with
       Normal Argument Structure Distribution: Evidence for a Link between Phonology and Lexicon.
       Cognitive Neuroscience Society: the third meeting (abstract book). Davis, CA: Cognitive
       Neuroscience Society, pg. 81. March 21.

       Perspectives on an emerging language: creolization and critical periods. 28th Annual Child
       Language Research Forum. Invited workshop. Stanford University, April 12. (Judy Kegl and John
       McWhorter)

       Grammatical characteristics of Nicaraguan Sign Language. Invited speaker. Sign
       LanguageColloquium Series. University of California at Berkeley, Berkeley, CA. April 16.

       Sign Language and Deaf Children in Nicaragua, K-3rd grade classes, Cesar Chavez School, San
       Francisco, CA, April 17, 1996.

       Bluefields Escuelita: What your Interpreter does on her summer vacation. Presbyterian Church of
       Lawrenceville, Lawrenceville, NJ. April 21. (James Shepard-Kegl and Judy Kegl)

       A Language is Born in Nicaragua. Invited speaker. Northwest Jersey Association of the Deaf.
       May 10.

       Non-Manual Correlates of Syntactic Agreement in American Sign Language, University of
       Iceland, Reykjavik, May 23, 1996, with C. Neidle, D. MacLaughlin, and B. Bahan.

       Non-Manual Realization of Agreement in American Sign Language, University of Durham,
       England, May 28, 1996 (C. Neidle, D. MacLaughlin, B. Bahan, and J. Kegl)

       SignStream: A Multimedia Database for Sign Language Research, City University, London,
       England, May 29, 1996, with D. MacLaughlin, C. Neidle, and B. Bahan, and J. Kegl).

       SignStream: Access to Primary Data in the Context of Sign Language Transcription and Analysis,



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       University of Bristol, England, May 30, 1996, (B. Bahan, D. MacLaughlin, and C. Neidle, J. Kegl)

       Lateralization and Intrahemispheric Localization Studies of a Familially Left-handed, Deaf,
       Epileptic Signer of American Sign Language. TENNET VI I (Theoretical & Experimental
       Neuropsychology /Neuropsychologie Experimentale & Theorique). Special Session on Signed
       Language and the Brain. August 15. [Invited organizer of session, plenary talk, poster]

       Alienation as an Impetus for Social Cohesion: What if Everyone Here Really did Speak Sign
       Language? SS11: Special Session: "Societal Structures and the Lives of Languages: The
       Sociolinguistics of Signed Languages” Cardiff, UK. September 6-7. [invited presenter]

       Grammaticization in a newly emerging signed language in Nicaragua. Poster presented at TISLR
       V, Fifth International Conference on Theoretical Issues in Sign Language Research. Montreal,
       Sept 19-22. (Jill Morford and Judy Kegl)

       Non-manual grammatical marking as evidence for hierarchical relations in American Sign
       Language. Poster presented at TISLR V, Fifth International Conference on Theoretical Issues in
       Sign Language Research. Montreal, Sept 19-22. (Carol Neidle, Judy Kegl, Benjamin Bahan, Dawn
       MacLaughlin & Robert Lee)

       Landau-Kleffner Syndome: Modality Independence of Linguistic Competence. Poster presenter
       at the Society for Neuroscience 26th Annual Meeting. Washington, D.C. November 16. (Judy
       Kegl, Kathleen Baynes, Diane Brentari, and Howard Poizner)

1997   Documenting the Emergence of Language: Issues of Critical Period, Critical Mass, and Innate
       Language Capacity. Coalition for National Science Funding. Washington, D.C. April 30.
       [Research Representative of the Linguistic Society of America; showcases the results of NSF-
       sponsored research] (Judy Kegl and James Shepard-Kegl)

       Pragmatic Communication Disorders in Signing and Speaking Subjects with Parkinson’s Disease.
       June. (Judy Kegl)

       Workshop for Interpreters of Idioma de Señas de Nicaragua. Asociación Nacional de Sordos de
       Nicaragua. Managua, Nicaragua. July (8-12). (Judy Kegl)

       Workshop for Teachers of the Deaf. Ministerio de Educacion. Managua, Nicaragua. August 27.
       (Judy Kegl)

       The Birth of a Language and the Establishment of a School with only Deaf Faculty in Nicaragua.
       Pennsylvania School for the Deaf, Philadelphia. October 27. (Judy Kegl, Enrique Javier Marley
       Ellis, and Anselmo Alvarado Aleman Agustin)

       Parkinson’s Disease and Aphasia: Effects on Signed Language. Department of Psychology
       Colloquium Series. Gallaudet University. November 14. (Judy Kegl)

       Fractionation of Grammatical Processes that Recruit both Right-and Left-hemisphere Capacities.
       Carnegie Mellon Psychology Colloquium Series, Carnegie Mellon University. November 19.
       (Judy Kegl)

       Research on Nicaraguan Sign Language. Psychology Department Brown Bag Lunch Colloquium.
       Department of Psychology, Carnegie Mellon University. November 20. (Judy Kegl)

1998   Inter-articulator Coordination is Impaired in Deaf Parkinsonian Signers. Presented at the Annual
       Meeting of the Linguistic Society of America. Session on Psycholinguistics. New York. January


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       11. (Martha Tyrone, Judy Kegl and Howard Poizner)

       Documenting the Emergence of Language: Issues of Critical Period, Critical Mass, and Innate
       Language Capacity. Invited colloquium speaker. University College London. March 8.

       Language Emergence in a Language-Ready Brain. Invited Speaker. 2nd International Conference
       on The Evolution of Language. The University of East London, London. April 9.

       The Role of Non-Manual Marking in Defining Syntactic Domains in ASL. Colloquium. University
       of Southern Maine. April 16. (Judy Kegl)

       The Neural Substrates of Signed Language Processing: Evidence from Brain-Damaged Signers.
       University of Southern Maine. April 20. (Judy Kegl)

       Language Emergence in a Language-Ready Brain. Cognitive Science Program. University of
       Southwestern Louisiana. Layfayette, LA. June 2. (Judy Kegl)

       Facing the Facts: Using Facial Expressions, Eye Gaze and Other Non-Manual Signals to
       Appropriately Package Interpreted Text. Workshop presented at the Maine Registry of
       Interpreters for the Deaf. Augusta. September 11-13.

       Losing Face: Differential Breakdown in the Production of Facial Expressions. Poster. 1998 Annual
       Meeting for the Society for Neuroscience, Session 160.9 Basal Ganglia: Clinical Disorders and
       Models. Los Angeles, CA. November 11. (Judy Kegl and Howard Poizner) [poster, Q-
       33]Attribution of Verb Agreement, Argument Structure, and Case Marking to Older Nicaraguan
       Home Signers is Unwarranted. Presented at the Boston University Conference on Language
       Development. November 6. (Judy Kegl, Gary Morgan, Romy Spitz, and Jim Kyle)

       Categorization of ASL Question Faces by Hearing Non-Signers. TISLR VI, The Sixth International
       Conference on Theoretical Issues in Sign Language Research, Session 29: Gesture/Sign Relations
       and Discourse Analysis. Gallaudet University, Washington, D.C., November 15. (Ruth Bergida
       and Judy Kegl)

       Interpreting. Two day workshop. Asociacion Nacional de Sordos de Nicaragua (ANSNIC).
       Managua, Nicaragua. December 28-29.

1999   Birth of a Language. Mental Health, Mental Retardation and Substance Abuse Annual
       Conference. Waterville, ME. March 12. ((Judy Kegl and Romy Spitz)

       Establishing language skills in individuals for who the door the language acquisition has closed .
       Mental Health, Mental Retardation and Substance Abuse Annual Conference. Waterville, ME.
       March 12. (Judy Kegl and Romy Spitz)

       Categorization of American Sign Language Question Faces by Hearing Non-Signers. Cognitive
       Neuroscience Society Meeting, Washington, D.C. April 11-13. (Ruth Bergida and Judy Kegl)

       Working with Visual/Gestural Signers. New Jersey Network for Deaf Services. East Brunswick,
       NJ. May 7.

       Memory with and without Language. TENNET X (Theoretical & Experimental Neuropsychology
       /Neuropsychologie Experimentale & Theorique). Special Session on Memory with and without
       Language. [Invited organizer of session] June 17-19.

       Memory with and without language: A longitudinal study of home signers and late learners.


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       TENNET X (Theoretical & Experimental Neuropsychology /Neuropsychologie Experimentale &
       Theorique). Special Session on Memory with and without Language. Plenary talk. (Romy Spitz
       and Judy Kegl) June 17-19.


       When is it language? Keynote address to the British Linguistics Association Meeting. London,
       Sept. 2.

       SignStream and Signwriting as systems for documenting child language data in signed
       languages. European Sign Foundation Committee meeting. London. September 4.

       Emergence of a Deaf Community in Nicaragua. Keynote lecture, Governor’s Tea. Blaine House,
       Augusta, ME. September 14.

       Cognitive Consequences for Critical Periods of Language Acquisition. Maine Medical Center,
       Dana Center. Portland, ME. September 16. (with Romy Spitz)

       Emergence of a Signed Language in Nicaragua. Invited lecture. Deaf Culture Festival. Governor
       Baxter School for the Deaf. Mackworth Island, ME. September 18.

2000   The Emergence of a Signed Language and Deaf Community in Nicaragua. Gallaudet University,
       March. (with Ivonne Elena Vega Obando and Barney Josüe Vega Aburto) [invited lunchtime
       lecture]. May 18.

       Linguistic characteristics of a newly emerged language. . Gallaudet University, March. (with
       Ivonne Elena Vega Obando and Barney Josüe Vega Aburto) [evening symposium] (with Ivonne
       Elena Vega Obando, Barney Josüe Vega Aburto and James Shepard-Kegl). May 18.

       Losing Face: Effects of Left and Right Hemisphere Strokes and Parkinson’s Disease on Facial
       Grammar and Affect Marking in ASL. Invited colloquium. Cognitive Neuroscience Laboratory,
       Universite du Quebec a Montreal. May 20.

       A Cross-linguistic comparison of classifier constructions in American Sign Language, Nicaraguan
       Sign Language, British Sign Language and French Sign Language. NSF Sponsored conference on
       Cross-linguistic comparison of classifier constructions. San Diego, CA. April 4-5.

       Workshop: Cross-linguistic investigations of sign languages: Can similarities and differences be
       detected without appropriate tools for representing analyzed texts? July 25. (with Elena Pizzuto,
       Sherman Wilcox, Terry Janzen, Thomas Hanke, and James Shepard-Kegl). [workshop
       presentation]

       Then and Now: Lexical Change in Idioma de Señas de Nicaragua (Nicaraguan Sign
                              th
       Language)(1987-2000). 7 International Conference on Theoretical Issues in Sign Language
       Research. Amsterdam, The Netherlands. July 26. (with Ivonne Elena Vega Obando and James
       Shepard-Kegl) [poster]
                                                                                     th
       Lip pointing in Idioma de Señas de Nicaragua (Nicaraguan Sign Language). 7 International
       Conference on Theoretical Issues in Sign Language Research. Amsterdam, The Netherlands. July
       27. (with Ivonne Elena Vega Obando and Enrique Javier Marley Ellis) [presentation]

       Language Emergence in a Language-Ready Brain. Mini-Symposium on the Emergence of New
       Languages. Symposium on “Explaining Humans.” The Salk Institute for Biological Studies. La
       Jolla, CA. November 17-19.



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2001   Language Emergence in a Language-Ready Brain. Invited lecture. Stroudwater Associates,
       Portland, ME. January 12.

       Language-Emergence in a Language-Ready Brain. Collquium speaker. Linguistics Department
       Colloquium series. University of New Hampshire. January 19.

       Language Emergence in a Language-Ready Brain. Topical Lecture [invited]. American
       Association for the Advancement of Science. Annual Meeting, San Francisco, CA. February 16.

       The Emergence of Nicaraguan Sign Language. Special Invited Conference on Language
       Acquisition. National Endowment for the Humanities. Univ. of Tulsa, Tulsa, OK. April 4-5.

       Language Emergence in a Language-Ready Brain: “What do you mean?” [Invited Lecture] The
       Provost’s Summer Writing Seminar, The Stone House, University of Southern Maine. April 14,
       2001. [with James Shepard-Kegl]

2002   Relative Clauses in Nicaraguan Sign Language. Linguistics Society of America Meeting, San
       Francisco, CA. January 3-6. (with Helen Sitckney)

       Serial Verbs in an Emergent Language. Key note Address, Linguistic Association of Great Britain
       (LAGB) Meeting. London, England. April 8-11.

2003   Aspects of Language Predisposition that persist beyond Critical Period. Seminar in Cognitive
       Neuroscience, Universite du Quebec a Montreal. March 6, 2003.

       Aspects of Language Acquisition that are not Critical Period Bound: From the perspective of
       Pidgins and Creoles. Graduate class in Pidgins and Creoles, M.I.T., Cambridge, MA. March 10.

       Quantifiers and Scope in ASL and ISN. Semantics of Underrepresented Languages of the Americas
       (SULA) Conference. Vancouver, CA. March 16, 2003. (with Brenda Schertz)

       Syntactic Categories: With a focus on the Syntax of American Sign Language. Summer School in
       Cognitive Neuroscience, Montreal. June 30-July 11.

       Sign Acquisition. Linguistics Institute, Summer Course. Michigan State University, July 21-August
       8. (3 weeks)

       Why are there so few Idioms in American Sign Language. Conference on Idioms and Collocations,
       Berlin, Germany. September 18-19.

       Language predispositions that persist beyond critical periods for language acquisition. Invited
       colloquium. Center for Cognitive Science, Johns Hopkins University. October 16.

2004   Language Emergence in a Language-Ready Brain. Invited Plenary Speaker. Annual Meeting of the
       Linguistic Society of America. Boston, Jan 8-11.

       Language Emergence in a Language-Ready Brain: The Spontaneous Creation of a Signed
       Language by Nicaraguan Deaf Children. Invited Speaker for University-wide Colloquium, The
       Annual Freeman Lecture. The University of Massachusetts at Amherst. February 19, 2004.

       Serial Verbs in Nicaraguan Sign Language: Are there? Linguistics Colloquium Series, University
       of Massachusetts at Amherst. Invited speaker. February 20, 2004.

       ASL Linguistics for Educational Interpreters III. Educational Interpreter Regional Mentorship



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       Project. University of the Holy Cross, Worcester, MA. March 27-28, 2004.

       Sign Acquisition for Educational Interpreters. Educational Interpreter Regional Mentorship
       Project. University of the Holy Cross, Worcester, MA. May 1-2, 2004.
       Non-manuals in American Sign Language Syntax: Special problems for sign recognition.
       Department of Computer Science, University of Southern Florida. May 18, 2004.

       Signed Language Literacy in Bluefields Nicaragua: The emergence of a language and its writing
       system. Temple, Brookline, MA. May 22, 2004. (with James Shepard-Kegl)

       Mentoring Through Process Mediation: Practice and Theory or Getting in the Zone. Workshop
       Presentation, Conference of Interpreter Trainers Annual Convention, Washington, D.C. October 1,
       2004. (with Lianne Moccia, Kate Eifler, Cass Harvey, Jennifer Raney, Anna Perna, Margaret
       Haberman, Cindy Herbst, Michael Labadie, Joan Wattman, Trish Yachimski, Amy Williamson-
       Loga, and Marina McIntire)

       ASL Syntax. Workshop. Illinois Registry of Interpreters for the Deaf Annual Conference. Invited
       Presenter, October 22, 2004.

       Look Ma No Hands!: The role of non-manual markers in ASL grammar. Workshop. Illinois
       Registry of Interpreters for the Deaf Annual Conference. Invited Presenter, October 23, 2004.

2005   Kegl, J. Population Study of the Emergence of ISN: 1986-2005. La Pérgola Roundtable: An
       interdisciplinary workshop on research related to deafness in Nicaragua. Granada, Nicaragua,
       January 4. [Invited speaker]

       The Bluefields Escuelita Project: Literacy, World-Knowledge, and Language proficiency. La Pérgola
       Roundtable: An interdisciplinary workshop on research related to deafness in Nicaragua. January 5. (with
       James Shepard-Kegl) [Invited speaker]

       The world is watching: History of the Deaf community and Deaf education in Nicaragua, 1946-present.
       Biblioteca Roberto Incer Barquero del Banco Central, Managua, Nicaragua, January 11. (with Ann
       Senghas, Marie Coppola, Mollie Flaherty, Laura Polich, Jennie Pyers. Richard J. Senghas) [Invited
       speaker]

       The Nicaraguan Deaf community and its language: A history for educators, policymakers and public
       service providers, Centro Cultural Nicaraguense-Norteamericano, Managua, Nicaragua, January 13. (with
       Ann Senghas, Marie Coppola, Mollie Flaherty, Laura Polich, Jennie Pyers. Richard J. Senghas) [Invited
       speaker]

       The Emergence of Verb Agreement: Introduction to the Session and Discussant for the papers presented.
       The Analysis of Verb Agreement in Sign Languages. Workshop. Linguistics Society of America 2005
       Institute. August 6. [Invited speaker]

       Linguistic Society of America Virtual Museum Project: Video Making Workshop. Linguistic Society of
       America Linguistics Institute, M.I.T., Cambridge, MA. July 22-July 31, 2005. (with Janet Fodor, Sharon
       Klein, and Sean Hendricks). [refereed workshop


2006   Language Emergence (and Non-Emergence) in a Language-Ready Brain. Session: Emergence and
       Development of Signed Languages. Revolutions in Sign Language Studies: Linguistics, Literature,
       Literacy. Gallaudet University, Washington, D.C. March 22. [Invited speaker]

       Sign Language as a Research Tool for Exploring Brain Function. Graduate Colloquium. Center For
       Cognitive Science. University of Minnesota, Minneapolis Campus. April 13. [Invited speaker]


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       Language Emergence in a Language-Ready Brain. Linguistics Colloquium. Linguistics Department.
       University of Minnesota, Minneapolis Campus. April 14. [Invited speaker]

       Preparing for the Written EIPA. Focus Group for Educational Interpreters. Portland High School. May 2.
       [Invited speaker]

       Language Emergence in a Language-Ready Brain: Evolution Issues. The Cradle of Language Conference.
       The University of Stellenbosch and the Netherlands Institute for Advanced Study. Stellenbosch, South
       Africa. November 7-10. [Invited speaker, refereed]

2007   Metalinguistic Awareness as a Bridge to Late Language Learning and Second Language
       Learning: Language learning by Deaf Nicaraguans. International Symposium on Language
       Teaching and Learning. University of Toronto. January 25-27.

       We give up too soon!: How to open the window to language and communication when it is already painted
       shut. Next Steps Conference. Worcester, MA. November 9. [invited speaker]

       Beyond the Standards. Courtroom training for experienced legal interpreters. Instructors: Carla <athers,
       Esq., CSC; Betty Colonomos, MCSC; and Jan DeLap, CDI. Suffolk Law School, Boston, MA. Series of 4
       weekend trainings. (Organizer of series with Denise Martinez)

       Foundations of Interpreting I and II. Teaching Assistant. Chicago, IL. (with Betty Colonomos)

2008   Tricking the Brain into Learning a Language that isn’t There: The Case of Nicaraguan Sign Language.
       Saul O. Sidore Lecture Series. Inside Deaf Culture: A Visual View of the World. University of New
       Hampshire, Manchester. February 29. [invited speaker]

       Foundations I of Interpreting I. Teaching Assistant. Gorham, ME (with Betty Colonomos)

       Model-based Curriculum Design for Interpreter Education Programs: A Case Study. 2008 Conference of
       Interpreter Trainers Conference. Putting the Pieces Together: A Collaboartive Approach to Educational
       Excellence. October 24. [Refereed, poster] (with Betty Colonomos)

       Four Instincts that Lead us to Language. Colloquium Series. University of Massachusetts, Boston.
       November 5. [invited speaker]

       The Very Basics of Mentoring: Par1 1, Where we start. MeRID, Maine Medical Center, the Dana
       Conference Center. October 5.

       Model-Based Curriculum Design for Interpreter Education Programs: A Case Study. 2008 Conference of
       Interpreter Trainers Conference. San Juan, Puerto Rico. October 24.

2009   The Very Basics of Mentoring: Part 2, Finding the Zone. MeRID, Maine Medical
       Center, the Dana Conference Center. February 24 [invited presenter]

       Foundations of the Interpreting Process II. University of Southern Maine, Portland, ME. Teaching assistant
       [with Betty Colonomos]. March 6-7.

       The Grammar of the Accident: Part II—Story Breakdown. [with David Rivera] April 18.

       Language Emergence in a Language Ready Brain. Bates College. Psychology Colloquium Series. May 13.
       [invited speaker]



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2010   The Wild Child (L’Enfant Sauvage) with Judy Kegl, Professor of Linguistics University of Southern
       Maine. Science on Screen Series. Co-sponsored by Museum of Science, Boston and New Scientist
       Magazine. The Coolidge Corner Theater. [Invited Pre-Talk before viewing the film.] January 18.
       (http://www.coolidge.org/science/)

       Foundations of the Interpreting Process III. Portland, ME Teaching assistant [with Betty Colonomos].
       March 26-28.

       Preparation for the Educational Interpreter Performance Assessment. Northeast Deaf and Hard of Hearing
       Services. Concord, NH. [day long workshop] April 3.

       Language Created by a Language-Ready Brain: Evidence for Universal Grammar.Invited Plenary
       Presentation, Preserving the Future: Sustainability of Language, Culture, and Nature (April 15-17, 2010).
       Vigdís Finnbogadóttir Institute of Foreign Languages at the University of Iceland, Reykjavík. April 16.
       (http://vefir.hi.is/vigdisconference2010/?page_id=36)

       Deaf Culture is not the Same Worldwide. Invited presentation to the Icelandic Deaf Association (Felag
       heyrnarlausra). Reykjavik, Iceland. April 19.

       Foundations of the Interpreting Process IV. University of Southern Maine, Portland, ME. Teaching
       assistant [with Betty Colonomos]. September 24-26.

       Everything you always wanted to know about precautions for interpreters working in medical settings.
       Bangor, ME. October 25. (with Stacey Bsullak)

       We Know What We Teach, What Did They Learn? Conference of Interpreter Trainers, San Antonio, TX.
       (with Rico Peterson, Betsy Winston, Christine Monikowski, Jack Hoza and Laurence Hayes. October 27-
       30.

       Attempts at expressing verb agreement in older Nicaraguan home signers: limits on the system? In Panel
       Discussion: The conventionalization of talking about space with space. Fourth Conference of the
       International Society for Gesture Studies. European University Viadrina, Frankfurt, Germany. July 25-30.
       (with Gary Morgan)

       Porqué es importante aprender temprano la lengua de señas para niños sordos? II Conferencia Nacional de
       Educacion para Personas Sordas. Lima, Peru. November 11.

2011   Preparation for Taking the National Interpreter Certification Written Test. Workshop. University of
       Southern Maine. April 3.

       Preparation for taking the Educational Interpreter Performance Assessment Written Test. KEWL ASL.
       Somerville, ME. May 8.

       Questions relating ASL and AAC. Think Tank for the Intersection of Linguistic Research and
       Augmentative and Alternative Communication (AAC). University of Pittsburgh. Session on Language and
       Modality. Aug. 9.

       Deaf-Blind Immersion and Support Service Provider Training: A Unique Approach. Association for
       Education and Rehabilitation of the Blind and Visually Impaired (AER) Regional Conference. Samoset
       Resort, Rockport, ME. November 3. (with John McMahon and Patty Sarchi)

2012   Navigating the Minefield: Isolations and precautions for Medical Interpreters. University of Southern
       Maine, January 5. (with Stacey Bsullak)


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          Look Ma, No Hands! Non-manual Markers in ASL Syntax. Linguistics Colloquium. University of
          Pittsburg. February 29.

          Panel Discussion—Practitioner’s Point of View. Institute for Legal Interpreting. Institute for Legal
          Interpreting, Westminster, CO. April 11. (with Sharon Neuman-Solow (chair), Margaret Cobb, Rafael
          Trevino, Rob Cruz, and Linda Lamitola)

          Panel Discussion on Research Findings and Implications for Practice. Institute for Legal Interpreting.
          Institute for Legal Interpreting, Westminster, CO. April 14. (Chair, with Jemina Napier, Risa Shaw, Len
          Roberson, Tracy Clark, and Jimmy Beldon)

          When Medical Interpreting becomes Legal. Medical Interpreting Roundtable. University of Southern
          Maine. April 26. (with Douglas Newton and Stacey Bsullak)

          Four Instincts that lead us to language. Conference on Core Knowledge, Language, and Culture.
          Lorentz Center. University of Leiden, The Netherlands. June 1.

          Interpreting Goold Assessments: Language Changes in the Aging Brain. 24th Annual Deaf, Hard of Hearing
          and Late-Deafened Conference. Colby College, Waterville, ME. June 29.

2013      Legal Interpreting Study Group. Weekly meetings. January-June 2013.

          Face, Pace, Space: The Economy of ASL. Workshop, University of Southern Maine. (Fundraiser for the
          USM trip to Seabeck.) July 1, 2013.

          Building a Legacy: Interpreter Education Program Accreditation. Registry of Interpreters for the Deaf,
          Annual Meeting, Indianapolis, IN. August 9.

2015      The Role of Deaf Actors in the Silent Film Era. Maine Deaf Film Festival. University of Southern Maine,
          Portland, ME. May 2.

          Tapping into what happens as we interpret: A review of the on-line processing literature and a proposal for
          international cooperation. World Association of Sign Language Interpreters (WASLI) Conference: Human
          Rights: Where to interpreters fit in? Istanbul, Turkey. July 22-25. (Poster presentation with Esther Lee
          Samia, Dana McDaniel, Patty Moers-Patterson, and Amy Williamson)

          Legal Interpreting Courtroom Procedure Series I: Correcting the Record. (9-hour workshop). Pine Tree
          Society Interpreting Services, Scarborough, ME. July 14; August 4 and August 11.
          http://en.anthropo.umontreal.ca/fileadmin/Documents/FAS/EN_Anthropolgie/Documents/5-
          Departement/Programme_pr%C3%A9liminaire_version_longue.pdf
          Legal Interpreting Courtroom Procedure Series II: Witness Testimony. (9-hour workshop). Pine Tree
          Society Interpreting Services, Scarborough, ME. October 9, 12, and 24.

          Legal Interpreting Courtroom Procedure Series III: Legal Texts (Miranda Warning, Jury Instructions, Voir
          Dire). December 15.

2016      Legal Interpreting Courtroom Procedure Series V: Interpreting for a Deaf Witness (3 hour workshop)
          University of Southern Maine, Portland, ME February 11.

2017      Applicatives in Sign Language Syntax. Princeton University, Princeton, NJ. September 20.

          Morphosyntax in Algonquian and ASL: Insights from Comparison. 49th Algonquian Conference.
          University of Montreal, Montreal, Canada. October 29. (Presentation with Conor Quinn)


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2018      Language Emergence. Seminar on Language Evolution. Princeton University, Princeton, NJ.
          February 19.

          Role Prominence in American Sign Language and the Proximate/Obviative Contrast in
          Algonquian Languages. GLOW 41 Conference (Generative Linguists of the Old World).
          Workshop: Sign Language Syntax and Linguistic Theory. Research Institute for Linguistics of the
          Hungarian Academy of Sciences, Budapest, Hungary. April 14. (Presentation with Conor Quinn)

          Rule Governed Variation in Elicited Narratives in Peruvian Sign Language (LSP). Poster.
          Thinking Matters. April 20. (with Polly Lawson and Kyle Warnock)

          Face and ASL. Colloquium. Concordia University. Montreal, CA. December 7.

2019      A Three Course Series on Medical Interpreting with an Emphasis on Training Peer Professionals.
          Association of Medical Professionals with Hearing Loss Annual Meeting, Baltimore, MD. (Poster
          Presentation with Meryl Troop, Rachelle Mendola, and Tristen Downey) June 1, 2019

          Enhancing Communication Skills in Persons with Severe Language Deprivation: Lessons learned
          from the rise of a signing community in Nicaragua. Symposium. University College London.
          Department of Cognitive, Perceptual and Brain Sciences, Deafness, Cognition and Language
          Research Centre. June 19. (with Romy Spitz)

          Language Deprivation: Meeting the person where they are. Mental Health Interpreter Training:
          Alumni Session 3: Alabama Department of Mental Health and ADARA. Troy University,
          Montgomery, AL. August 5. (Workshop with Romy Spitz)

          Language Deprivation: A pathway to habilitation. Second Annual Summit for Speech-Language
          Pathologists using American Sign Language. Conference for SLPs using ASL. Bordentown, NJ.
          November 1. (with Romy Spitz)

2020      Endpoints in Communication Development: The surprising case of Late Bloomers. American
          Deafness and Rehabilitation Association (ADARA) Breakout conference: CHAMP! Creating
          Standards of Excellence for Deaf Mental Health and Related. Boston-Natick, MA. May 4-7. (with
          Romy Spitz)

          Language Deprivation: Meeting the person where they are. Mental Health Interpreter Training:
          Alumni Session: Alabama Department of Mental Health and ADARA. Troy University,
          Montgomery, AL. August 13, 2020. (with Romy Spitz)


References (from among):
Overall:
*Kenneth Hale, Department of Linguistics and Philosophy, 20D-219, MIT, 77 Massachusetts
        Avenue, Cambridge, MA 02139 (linguistics, field work)-deceased September, 2001.
        (deceased, letter available)
*Gene Searchinger, Equinox Films, 200 W. 72nd Street, New York, NY (Filmmaker for “The Human
        Language” Series) (deceased, letter available)

Current Colleagues:
Wayne Cowart, Chair. Department of Linguistics, University of Southern Maine, P.O. Box 9300, Portland,
       ME 04104-9300 (retired)
Dana McDaniel, Department of Linguistics, University of Southern Maine, P.O. Box 9300, Portland,
       ME 04104-9300
Romy Spitz, Signed Language Research Laboratory, University of Southern Maine, 5360 Calle Vista, San
       Diego, CA 92109; romyspitz@hotmail.com.




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Linguistics:
Noam Chomsky, Department of Linguistics and Philosophy, 20D-219, MIT, 77 Massachusetts
        Avenue, Cambridge, MA 02139 (linguistics, syntax)
*Morris Halle, Department of Linguistics and Philosophy, 20D-219, MIT, 77 Massachusetts
        Avenue, Cambridge, MA 02139 (linguistics, phonology) [retired, deceased, letter
        available]
Donna Jo Napoli. Linguistics Program, Papazian Hall, Swarthmore College, Swarthmore, PA. (linguistics)
Wayne O'Neil, Department of Linguistics and Philosophy, 20D-219, MIT, 77 Massachusetts
        Avenue, Cambridge, MA 02139 (linguistics)
Beth Levin, Department of Linguistics, Stanford University. Margaret Jacks Hall, Building 460 Stanford University,
        Stanford, CA 94305-2150
Christiane Fellbaum, Department of Psychology, Green Hall, Princeton University, Princeton, NJ 08544.

Neuroscience:
Kathleen Baynes, Center for Neuroscience (#1273), University of California, Davis, CA 95616-
       8768 (neuropsychology/neurolinguistics) [Currently retired in Maine]
Henri Cohen, Université du Quebec á Montreal, Dept. of Psychology and Research in Neuroscience, P.O.
       Box 8888, Station A, Montreal, Quebec H3C 3P8, Canada (neuropsychology, neuroscience)
Howard Poizner, Cognitive Neuroscience Laboratory, Center for Molecular and Behavioral
       Neuroscience, Aidekman Research Center, 197 University Avenue, Newark, NJ 07102. (cognitive
       neuroscience)
Paula Tallal, Director. Center for Molecular and Behavioral Neuroscience, Aidekman Research Center,
       197 University Avenue, Newark, NJ 07102. (language, neuroscience)

Psychology/Cognitive Science:
Stephen J. Hanson, Psychology Department, Rutgers, The State University of New Jersey. Newark, NJ 07102.
       (psychology, cognitive science)
*George A. Miller. Department of Psychology, Green Hall, Princeton University, Princeton, NJ
       08544. (psycholinguistics, cognitive science; now deceased)
Gary Morgan, Department of Language and Communication Science, City University, Northampton
       Square, London EC1V OHB, UK. (psychology)
Bencie Woll, Deafness, Cognition, and Language Research Centre, Human Communication Science,
       University College London, 46 Gordon Square, London, WC1N 0PD UK.

Interpreting:
Betty Colonomos, Bilingual Mediation Center, 9012A 51st Avenue, College Park, MD 20740. (also for
        teaching and mentoring)
Victor Vigna, Certified Interpreting, The Sign Language Network, P.O. Box 6500, Brunswick, ME 04011.
Douglas Newton, Pine Tree Society Interpreting Services, Nonesuch River Plaza, 51 U.S. Route 1, Suite G,
        Scarborough, ME 04074. (also for legal interpreting)




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  25800 Carlos Bee Boulevard
  Hayward, CA 94542-3038


e-mail: amyjune.rowley@csueastbay.edu                 VP: (510)314-8153




  Curriculum Vitae

  Education    Ph.D. in Urban Education, Focus in Second Language Acquisition, University
               of Wisconsin-Milwaukee, Milwaukee, WI. 2014. Dissertation: American
               Sign Language Advanced Studies Programs: Implementation Procedures and
               Identifying Empowering Practices.

               American Sign Language Specialist Certification, Western
               Maryland College, Westminster, MD. 2001

               M.S. in Deaf Education, Western Maryland College, Westminster, MD.
               2000

               B.A. in Biology, Gallaudet University, Washington, DC. 1996

  Proficiency Level
                ASLPI- 5    American Sign Language Proficiency Interview (ASLPI), top
                            score earned (equivalent to Native speaker of the language).

  Employment

               2018 to present, California State University East Bay
               Professor, Department of Modern Languages and Literatures.
                  • Coordinate Sign Language Minor
                  • Schedule and staff ASL courses each semester (approximately 10-12
                      courses per year)
                  • Advise minors and students in ASL courses


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           •   Faculty Sponsor, Student Advocates for Deaf Awareness
           •   Modify curricula and course structure for existing courses


        2018 to present, Linguistic Consulting Services collaboration on assessments
        and expert witness work with Dr. Judy Shepard-Kegl

        2016 to present, Berkeley City College
        Adjunct Professor, ASL Department

        2015 to present, Educational Consultant for California Department of
        Rehabilitation- tutor Deaf graduate students in CBEST, CSET, Deaf
        Education, Counseling and Teaching ASL programs.

        2011 to 2018, California State University East Bay
        Associate Professor, Department of Modern Languages and Literatures.

        2015 to present, American Sign Language Teachers Association Chairperson,
        Evaluation System
           • Revamp ASLTA Evaluation System
           • Coordinate Evaluation assessment development
           • Coordinate trainings for evaluators
           • Coordinate assessments for candidates

        2014 Spring, California State University East Bay
        Interim Department Chair, Department of Modern Languages and
        Literatures.

        2007 to 2011. California State University East Bay.
        Assistant Professor, Department of Modern Languages and Literatures.

        1999 to 2007. University of Wisconsin - Milwaukee.
        Associate Clinical Professor and Coordinator, American Sign Language
        Programs, Department of Exceptional Education.
           • Oversee operations for five ASL related Programs-
                   o Undergraduate Major in ASL Studies
                   o Undergraduate Minor in ASL Studies
                   o Undergraduate Major in Teaching ASL as a Foreign Language
                   o Undergraduate Minor in Teaching ASL as a Foreign Language
                   o Post-Baccalaureate Certification in Teaching ASL as a Foreign
                      Language
           • Granted indefinite appointment (Teaching Academic Staff equivalent
               of tenure) Spring 2005




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                  •   Schedule and staff ASL related courses (average of 25 courses per
                      semester)
                  •   Develop new curricula and modify existing curricula for ASL
                      Programs


               1997 to 2000       Mount Mary College, Milwaukee, Wisconsin
               American Sign Language Instructor, Department of Foreign Languages.
                  • Taught each semester, either ASL 1 or ASL 2.

               1996- present Expert Witness work and consulting in cases involving
               educational placement and ADA related issues in education and law
               enforcement


Select Innovations at other institutions and in the Community
       §       Developed distance education ASL Course.
                        o Made CD of signed vocabulary covered in ASL 1 and these
                           learning objects were uploaded onto a server and accessible
                           for all students via Internet access.
                        o The course was taught using a variety of Distance Learning
                           techniques including chat features, videoconferencing and
                           Blackboard web services.
       §       Developed new programs of studies for ASL related fields.
                        o Added ASL Studies Major
                        o Added ASL Studies Minor
                        o Added Teaching ASL as a Foreign Language Programs
                               § As a post baccalaureate certification
                               § As an undergraduate major
                               § As an undergraduate minor
                        o Added new skills courses: Classifiers, and Fingerspelling and
                           Numbers
                        o Added new knowledge courses: ASL Literature, Deaf History
                           and Resources and Instruction in ASL
                        o Helped recruit faculty for ASL Studies Program
       §       Core member of University of Wisconsin Milwaukee Racioethnicity
               Workgroup Committee.
                        o Conducted research and survey of UWM Internal climate for
                           faculty.
                        o Reported findings and made recommendations to Chancellor
                           of University and Board of Regents.
       §       Revamped ASL Weekend Program.
                        o Worked with WisRID and Wisconsin ASLTA to offer annual
                           immersion weekend experience for ASL language learners.



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                      o Added Deaf Mentor program for ASL students with beginning
                        skill levels.
                      o Built strong repertoire of presentations and workshops for
                        more advanced signers.
                      o Added more workshops for deaf people to create more
                        incentive for deaf people to participate and create more
                        immersion opportunities for ASL learners.


Courses taught at CSUEB


      Spring 2020
             On Sabbatical Leave
      Fall 2019
             MLL 131-01 ASL 1
             MLL 211-02 Multicultural Cinema
             MLL 231-01 Intermediate ASL 1
             MLL 431-01 ASL Linguistics
      Spring 2019
             MLL 232-01 ASL 4
             MLL 479-01 Issues in Modern World Languages and Literature
             MLL 211-01 Multicultural Cinema
             MLL 211-02 Multicultural Cinema
      Fall 2018
             MLL 131-01 ASL 1
             MLL 131-03 ASL 1
             MLL 231-01 Intermediate ASL 1
      Spring 2018
             MLL 1901-01 Beginning Sign Language 1
             MLL 1903-01 Beginning Sign Language 3
             MLL 1903-02 Beginning Sign Language 3
      Winter 2018
             MLL 1005-01 Viewing Diversity
             MLL 1902-05 Beginning Sign Language 2
             MLL 2903-01 Intermediate Sign Language 3
      Fall 2017
             MLL 1901-01 Beginning Sign Language 1
             MLL 1901-02 Beginning Sign Language 1
             MLL 2901-01 Intermediate Sign Language 1
       Spring 2017
             MLL 1901-01 Beginning Sign Language 1
             MLL 1903-01 Beginning Sign Language 3
             MLL 2903-01 Intermediate Sign Language 3


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   Winter 2017
          MLL 1005-01 Viewing Diversity
          MLL 1902-02 Beginning Sign Language 2
          MLL 3903-01 Special Topics: American Sign Language
   Fall 2016
          MLL 1901-03 Beginning Sign Language 1
          MLL 2901-01 Intermediate Sign Language 1
          MLL 3902-01 Deaf Culture
   Spring 2016
          MLL 1903-01 Beginning Sign Language 3
          MLL 1903-03 Beginning Sign Language 3
          MLL 2903-01 Intermediate Sign Language 3
   Winter 2016
          MLL 1902-04 Beginning Sign Language 2
          MLL 2902-01 Intermediate Sign Language 1
          One course release for quarter to semester conversion duties.
  Fall 2015
          MLL 1901-04 Beginning Sign Language 1
          MLL 1901-05 Beginning Sign Language 1
          MLL 2901-01 Intermediate Sign Language
  Spring 2015
          MLL 1903-01 Beginning Sign Language 3
          MLL 1903-02 Beginning Sign Language 3
          MLL 2903-01 Intermediate Sign Language 3
  Winter 2015
          MLL 1005-01 Viewing Diversity
          MLL 2902-01 Intermediate Sign Language 2
          MLL 3903-01 Special Topics: American Sign Language
  Fall 2014
          MLL 1901-05 Beginning Sign Language 1
          MLL 2901-01 Intermediate Sign Language 1
          MLL 3902-01 Deaf Culture
  Spring 2014
          Two Course Release for Department Chair duties
          MLL 2903-01 Intermediate Sign Language 3
  Winter 2014
          MLL 1005-01 Viewing Diversity
          MLL 1902-01 Beginning Sign Language 2
          MLL 2902-01 Intermediate Sign Language 2
  Fall 2013
          MLL 1901-02 Beginning Sign Language 1
          MLL 1901-03 Beginning Sign Language 1
          MLL 2901-01 Intermediate Sign Language 1
   Spring 2013
          MLL 1901-03 Beginning Sign Language 3


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         MLL 2903-01 Intermediate Sign Language 3
         MLL 3903-01 Special Topics: American Sign Language
  Winter 2013
         MLL 1005-01 Viewing Diversity
         MLL 1903-01 Beginning Sign Language 3
         MLL 2902-01 Intermediate Sign Language 2
  Fall 2012
         MLL 1901-01 Beginning Sign Language 1
         MLL 2901-01 Intermediate Sign Language 1
         MLL 3902-01 Deaf Culture
  Spring 2012
         On Sabbatical Leave
  Winter 2012
         MLL 1005-01 Viewing Diversity
         MLL 1903-01 Beginning Sign Language 3
         MLL 1903-02 Beginning Sign Language 3
  Fall 2011
         MLL 1901-01 Beginning Sign Language 1
         MLL 1901-02 Beginning Sign Language 1
         MLL 2901-01 Intermediate Sign Language 1
  Spring 2011
         MLL 1903-01 Beginning Sign Language 3
         MLL 1903-02 Beginning Sign Language 3
         MLL 2903-01 Intermediate Sign Language 3
  Winter 2011
         MLL 1902-01 Beginning Sign Language 2
         MLL 2902-01 Intermediate Sign Language 2
         MLL 3903-01 Special Topics: American Sign Language
  Fall 2010
         MLL 1901-01 Beginning Sign Language 1
         MLL 2901-01 Intermediate Sign Language 1
         MLL 3902-01 Deaf Culture
  Spring 2010
         MLL 1903-01 Beginning Sign Language 3
         MLL 1903-02 Beginning Sign Language 3
         MLL 2903-01 Intermediate Sign Language 3
  Winter 2010
         MLL 1902-01 Beginning Sign Language 2
         MLL 1902-02 Beginning Sign Language 2
         MLL 2902-01 Intermediate Sign Language 2
  Fall 2009
         MLL 1901-01 Beginning Sign Language 1
         MLL 1901-02 Beginning Sign Language 1
         MLL 2901-01 Intermediate Sign Language 1
  Spring 2009


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              MLL 1903-01 Beginning Sign Language 3
              MLL 1903-02 Beginning Sign Language 3
              MLL 2903-01 Intermediate Sign Language 3
       Winter 2009
              MLL 1902-03 Beginning Sign Language 2
              MLL 2902-01 Intermediate Sign Language 2
              MLL 3903-01 Special Topics: Sign Language
       Fall 2008
              MLL 1901-01 Beginning Sign Language 1
              MLL 2901-01 Intermediate Sign Language 1
              MLL 3902-01 Deaf Culture
       Spring 2008
              MLL 1903-01 Beginning Sign Language 3
              MLL 2903-01 Intermediate Sign Language 3
       Winter 2008
              MLL 1902-01 Beginning Sign Language 2
              MLL 1902-02 Beginning Sign Language 2
              MLL 2902-01 Intermediate Sign Language 2
       Fall 2007
              MLL 1901-02 Beginning Sign Language 1
              MLL 1901-03 Beginning Sign Language 1
              MLL 2901-01 Intermediate Sign Language 1


Publications

     Rowley, A.J. (2018/19). Address: Special Education Law: Past Present and Future.
New York Law School Law Review. 63(1). 21-27.

      Rowley, A. J. (2018). Educational Interpreting from Deaf Eyes. In T.K. Holcomb,
D. Smith (Eds.), Deaf eyes on interpreting (174-186). Washington, DC: GUPress.

       Woods, D. R., Taylor, S., Austin, D., Beck, J., Chung, K., Couch, S., Davis, E.M.,
Fauth, B., Geron, K., Ireland, D. K., Kupers, E., Massey, M., Rowley, A.J., Stein, J., &
Weiss, J. (August 2015). Building an Inclusive, Accessible and Responsive Campus at
California State University East Bay, 2010-2015. Perspectives on Communication
Disorders and Sciences in Culturally and Linguistically Diverse Populations. 22. 44-63.

       Rowley, A.J., Kovacs-Houlihan, M. (2014) Bridging the Gap Between ASL and
Interpreter Education Programs. In D. Hunt, S. Hafer (Eds.), Proceedings of Conference of
Interpreter Trainers: 2014 CIT Conference- Our roots: The essence of our future (218-
229).




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       Rowley, A. J. (2014) American Sign Language Advanced Studies Programs:
Implementation Procedures and Identifying Empowering Practices (Doctoral dissertation).
Retrieved from http://dc.uwm.edu/etd/641

       Rowley, A. J., Eckert, R.C. (2014) Commentary- Audism: A theory and practice of
audiocentric privilege. Deaf Studies Digital Journal , 4. Retrieved from
http://dsdj.gallaudet.edu

      Eckert, R.C., & Rowley, A. J., (2013). Audism: A theory and practice of
audiocentric privilege. Humanity and Society. 37(2) 101-130.

      Rowley, A. J. (2010). Three decades of the Rowley case: A personal perspective.
Proceedings of 27th Annual Pacific Northwest Institute on Special Education and the Law
(pp.93-107). Yakima: Washington.

      Rowley, A. J. (2008). Rowley revisited: A personal narrative. Journal of Law &
Education, 37, 3, 311-328.

      Rowley, A. J., Multra-Kraft, C. & Dyce, M. (2008). Addressing the standards:
Forming meaningful relationships between interpreters, interpreting students and deaf
people. In L. Roberson & S. Shaw (Eds.), Proceedings of Conference of Interpreter
Trainers : Vol . 17. Putting the pieces together: A collaborative approach to educational
excellence (pp. 71-89). San Juan: PR.

       Rowley, A. J. (2008). 25 years later: Board of education vs. Rowley- a look at the
past and looking towards the future. In M. Kolvitz (Ed.) Proceedings of PEPNet 2008
Conference. Knoxville: University of Tennessee Press.


Translations

      National Catholic Office for the Deaf- Religious Sign Project
            Prayers translated for the Catholic Mass:
                • Our Father (Pater Noster)
                • Lamb of God (Agnus Dei)
                • Holy, Holy, Holy (Sanctus)
                • Lord, I’m not worthy (Domine non sum dignus)
                • Nicene Creed (Credo)
                • Gloria
                • Confiteor
                • Suscipiat
                • Kyrie
                • Basic Dialogue
                • Preface Dialogue


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                 •   Dismissal Rite
                 •   Opening to Scripture Readings
                 •   Memorial Acclamations

Presentations at workshops, seminars and institutes

      March 2019 Keynote Presenter “After Endrew F- Observations by Amy June Rowley 30
              Years After Her Own Case Made History in the United States Supreme Court”.
              Special Education Law and Leadership Conference, Minneapolis, Minnesota.
      June 2018 Plenary Presenter “Mainstreamed and Special Education Litigation”.
              American Society for Deaf Children Conference, Salt Lake City, Utah.
      March 2018 Keynote Presenter “The Rowley decision after Endrew”. New York Law
              School’s Symposium for Special Education: Special Education Law: Past,
              Present and Future. New York City, New York.
      June 2017 Forum Presenter “American Sign Language Teachers Association
              Evaluation System”. ASLTA Conference, Salt Lake City, Utah.
      March 2017 Workshop Presenter “Educators as Advocates and Allies”. Special
              Education Law and Leadership Conference, Minneapolis, Minnesota.
      March 2017 Keynote Presenter “Rowley Revisited: Denial of Human Rights”.
              Special Education Law and Leadership Conference, Minneapolis,
              Minnesota.
      January 2017 Workshop Presenter “Educators as Advocates and Allies”. ECET2
              California Deaf education, Los Angeles, California.
      October 2016 Workshop Presenter “Difficult Decisions While Working
              Towards Social Justice for Deaf and Interpreting Communities”.
              Conference of Interpreter Trainers, Lexington, Kentucky.
      June 2016 Workshop Presenter “A Look at Empowering Traits of an ASL
              Curriculum”. University of Southern Maine, Portland, Maine.
      May 2016 Workshop Presenter “Gatekeeping between ASL Students and the
              Deaf Community”. Bay Area ASLTA, Hayward, California.
      April 2016 Panelist in Arts and Humanities, Northern California Forum for
              Diversity in Graduate Education.
      June 2015 Keynote Presenter “Gatekeeping between ASL Students and the
              Deaf Community”. American Sign Language Teachers Association
              Conference, Minneapolis, Minnesota.
      October 2014 Workshop Presenter “Bridging the Gap Between ASL and
              Interpreter Education Programs”. Conference of Interpreter Trainers,
              Portland, Oregon.
      March 2014 Workshop Presenter “Looking at 30 Years of Rowley: Implications
              for the Future”. Daviess County Public Schools, Owensboro, Kentucky.
      March 2014 Workshop Presenter “Deaf Education: A Ton of Choices”. Daviess
              County Public Schools, Owensboro, Kentucky.
      July 2013 Workshop Presenter “Prospecting the Meaning of ASL Education”.
              ASLTA 7th Biennial National Professional Development Conference.


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         Charlotte, North Carolina.
  January 2013 Workshop Presenter “Religious Sign Language Project
         Presentation”. National Catholic Office for the Deaf Conference.
  Phoenix, Arizona.
  July 2011 Keynote Presenter “Rowley and growing up as a Poster Child”.
         Midwest Conference on Deaf Education. Sioux Falls, South Dakota.
  June 2011 Workshop Presenter “Audism: A Theory and Practice of
         Audiocentric Privilege”. American Sign Language Teachers Association
         Conference. Seattle, Washington.
  June 2011 Keynote Presenter “A Deaf Child Growing Up”. Wyoming
         Department of Early Intervention Conference. Cheyenne, Wyoming.
  October 2010 Ralph E. Julnes Memorial Keynote Presenter “Three Decades of
         the Rowley Case: A Personal Perspective”. 27th Annual Pacific
         Northwest Institute on Special Education and the Law. Yakima, Washington
  September 2009 Workshop Presenter “Translating Catholic Readings and Prayers
         into American Sign Language”. Minicongress 2009- Diocese of Orange.
         Orange, CA.
  March 2009 Keynote Presenter “Looking Up at the Big Picture: What Children Can
         Tell Us”. 2009 Special Education Law and Mediation National Training
         Conference, Los Angeles, CA.
  November 2008 Keynote Presenter “A Deaf Child’s Personal Perspective”.
         Nebraska/Kansas Regional Special Education Law Conference, Omaha, NE.
  October 2008 Workshop Presenter “Addressing the Standards: Forming
         Meaningful Relationships between Interpreters, Interpreting Students and
         Deaf People”. Conference of Interpreter Trainers, San Juan, Puerto Rico.
  September 2008 Keynote Presenter “Looking Back at a Historical Event: Setting an
         Agenda for the Future”. 2008 Alaska State Special Education Directors’
         Conference, Anchorage, AK.
  August 2008 Keynote Presenter “Using What We Know From Historical Events to
         Pave the Way for the Future”. Utah Institute on Special Education Law and
         Practice, Ogden, UT.
  June 2008 Keynote Presenter “Free and Appropriate Public Education under IDEA-
         Policy and Legal Issues”. 9Th Annual Utah Education Law & Policy Institute,
         Provo, UT.
  June 2008 Keynote Presenter “A Journey Through Different Educational
         Environments”. 15th Annual Intermountain Special Study Institute on
         Deafness, Pocatello, ID.
  April 2008 Plenary Presenter “25 Years Later: Board of Education vs. Rowley: A
         Look at the Past and Looking Towards the Future”. PEPNet 2008,
         Columbus, OH.
  March 2008 Workshop Presenter “A Journey Through Different Educational
         Environments”. The 2008 Cal-Ed Conference, San Ramon, CA.




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  January 2008 Post-Conference Presenter “The Lord’s Prayer As You’ve Never Seen
         It Before”. Co-presented with National Catholic Office for the Deaf Pastoral
         Week Conference, New Orleans, LA.
  November 2007 Keynote Presenter “Amy June Rowley”, Education Law
         Association, San Diego, CA
  October 2007 Keynote Presenter “Making Education Work for Every Child”
         National Association of State Directors of Special Education Phoenix, AZ
  June 2007 Workshop Presenter “Practical Approaches to Preventing problem
         Behaviors: Communication and Sensory Integration Strategies” Waukesha,
         WI.
  January 2006 Workshop Presenter “Working with the Deaf Mentor Rubrics” for
         Deaf Mentor Project, Brookfield, WI.
  January 2005 Workshop Presenter “Linguistics of ASL for Deaf Mentors” and “ASL
         Development in Young Deaf Children” for Deaf Mentor Project, Wisconsin
         Dells, WI.
  February 2005 Workshop Series Co-presented with Gina Kuemmel “ASL and the
         Scripture Series” Milwaukee, WI.
  March 2005 Workshop Presenter “ASL Development and Deaf Mentor Rubrics”
         for Deaf Mentor Project, Jefferson, WI.
  May 2005 Workshop Presenter “Linguistics of American Sign Language and how to
         apply to ASL Teaching”, Minnesota ASLTA, St. Paul, MN.
  November 2005 Conference Presenter “Professional Development Activities for
         Our State Chapter: Our Annual ASL Weekend Event” American Sign
         Language Teachers Association, Las Vegas, NV.
  August 2004 Workshop Presenter “ASL Countdown” for Illinois RID Chicago, IL.
  August 2004 Workshop Presenter “ASL Countdown” for Illinois RID Jacksonville,
         IL.
  April 2004 Workshop Series Part 4 Co-presented with Gina Kuemmel “Liturgy and
         ASL in Mass” Milwaukee, WI.
  February 2004 Workshop Series Part 3 Co-presented with Gina Kuemmel “Liturgy
         and ASL in Mass” Milwaukee, WI.
  November 2003 Workshop Series Part 2 Co-presented with Gina Kuemmel
         “Liturgy and ASL in Mass” Milwaukee, WI.
  October 2003 Workshop Presenter “Semantics of ASL”. Wisconsin ASLTA.
         Madison, WI.
  September 2003 Workgroup Facilitator “Domestic Violence and Abuse” Wisconsin
         Center for Independent Living Grant. Milwaukee, WI.
  August 2003 Workshop Presenter “ASL Classifiers: How to Incorporate into
         Everyday Interpreting” Professional Interpreting Enterprise Workshop.
         Greenfield, WI.
  May 2003 Workshop Series Part 1 Co-presented with Gina Kuemmel “Liturgy and
         ASL in Mass” Milwaukee, WI.
  April 2003 Conference Presenter “The Right Stuff: How to Deal With Common
         and Uncommon Problems of New ASL Students”. National American Sign
         Language Teachers Association Conference. Indianapolis, IN.


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  March 2003 Workshop Presenter “What Works and Doesn’t Work in Interpreting
         Situations from a Deaf Perspective” Minnesota Registry of Interpreters for
         the Deaf Mid-Year Conference. Minnetonka, MN
  October 2002 Conference Presenter “The Difference Between Teaching Credit and
         Non-Credit ASL Courses”. Wisconsin Registry of Interpreters for the Deaf
         Conference. Fontana, WI.
  July 2002 Conference Presenter “Teaching ASL at a Distance”. National
         Association of the Deaf Conference/American Sign Language Teachers
         Conference. Washington, DC.
  May 2002 Conference Presenter “American Sign Language Linguistics”. ASL
         Weekend. Rosholt, WI.
  April 2002 Panelist. “Deaf Students in Charter Education Systems” Wisconsin
         Charter Schools Association. Appleton, WI.
  November 2001 Conference Presenter “New Ideas and Approaches in American
         Sign Language Teaching”. Wisconsin Association of Foreign Language
         Teachers Conference. Appleton, WI.
  October 2001 Guest Presenter “Involving the Deaf Community in Distance
         Teaching and Learning”. Governor’s Wisconsin Education and Technology
         Conference. Green Bay, WI.
  October 2001 Keynote Presenter “A Case About Amy”. Iowa Special Education
         Law Conference. Ames, Iowa.
  September 2001 Deaf Awareness Week Presenter “Unique Lives” - UW-Milwaukee.
         Milwaukee, WI.
  July 2001 Keynote Presenter “Children in Special Education Litigation”. 8th Annual
         Special Education Institute. Wausau, WI.
  May 2001 Conference Presenter “Classifiers- A Vital Component of American Sign
         Language”. ASL Weekend. Rosholt, WI.
  May 2001 Conference Presenter “Gestures”. ASL Weekend. Rosholt, WI.
  January 2001 Panelist. Sound and Fury Preview. Center for the Deaf and Hard of
         Hearing. Brookfield, WI
  October 2000 Conference Presenter “American Sign Language Linguistics”
         Wisconsin Network– Promoting Quality Education for Deaf and Hard of
         Hearing Children Fall Conference. Chippewa Falls, WI.
  September 2000 Guest Homilist “An Introduction to Deaf Culture” Deaf
         Awareness Week, Inc. St. Peter’s Episcopal Church. Mountain Lakes, New
         Jersey.
  August 2000 Keynote Presenter. “Everything You Wanted to Know About Rowley
         v. Hendrick Hudson School District and More…” Michigan Association of
         Administrators in Special Education. Thompsonville, MI.
  October 1999 Keynote Presenter “My Personal Experience as a Child in Special
         Education Litigation” Fall Conference of Special Education Directors.
         Columbia, SC.
  April 1999 Keynote Presenter “An Educational Journey” 20th National Institute of
         Legal Issues on Educating Individuals with Disabilities. San Francisco, CA.



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              June 1998 Keynote Presenter “Children in Special Education Litigation” The
                     Institute on Legal and Educational Issues. Madison, WI.
              May 1998 Panelist. “Parent Forum: A Parent’s Perspective on Quality Education”
                     Tampa, FL.
              September 1996 Workshop Presenter “What is Deaf Culture and How to Work
                     With It?” Wisconsin Association on Alcohol, Drug and Disability
                     Convention. Milwaukee, WI.

       Awards, Honors and Certificates



              2016          Provost’s Award for Outstanding Contributor to Community
                            Engagement, California State University East Bay- Week of

       Scholarship.
              2015          Alan R. “ALB” Barwiolek Distinguished Service Award,
                            American Sign Language Teachers Association
              2010          Ralph E. Julnes Memorial Distinguished Lecturer Award, Pacific

       Northwest Institute on Special Education and the Law

2005   IADES 2005 Fellowship Award, International Alumnae of Delta Epsilon Sorority for
       Doctoral Research

2002   Professional Level Certification American Sign Language Teacher’s Association (attaining
       highest level in the field on a national standard).

1999   Appreciation of Service Award, Wisconsin Association of the Deaf
              1997          Certificate Training on Deaf-Blindness, Northern Illinois University
              1994          Biomaterials Fellowship, National Science Foundation/Engineering
                            Research Center for Emerging Cardiovascular Technologies -



       Current Affiliations/Memberships

              §   Chair- Evaluations and Certifications: American Sign Language Teachers
                  Association
              §   Secretary- Parodi Charitable Trust (Bay Area Deaf Community)
              §   Editorial Board – International Journal of Interpreter Education
              §   Member- Department of Modern Languages and Literatures, California State
                  University East Bay


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  §   Professional Certified Member- American Sign Language Teachers Association.
  §   Lifetime Member- Gallaudet University Alumni Association.
  §   Member- National Association of the Deaf.
  §   Member- Telecommunication Devices for the Deaf Inc (TDI, Inc.)




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Appendix C: Cases each of the experts has presented testimony at in
deposition and/or trial over the last four years.

 Expert Witness: Dr. Judy Anne Shepard-Kegl (testimony)

    •   Dr. Shepard-Kegl has worked as an expert since 1990 including in Maine,
        New Jersey, New York, Florida, Massachusetts, Minnesota, Arizona,
        Connecticut, Oregon, Louisiana, California, Wisconsin, Illinois, and
        Georgia. She has never advertised as an expert. She has testified at trial on
        eight occasions, testified at other court-related proceedings twice, been
        deposed 31 times since 2014, and prepared 150 expert reports since 2014. She
        has testified in the last five years in the following cases:

    •   Depositions:
        • Labouliere v. Our Lady of the Lake Found, et al., Case No. 16-cv-00785 (M.D.
          La) - 9/10/19
        • Ward v. Our Lady of the Lake Hosp., Inc., Case No. 18-cv-00454 (M.D.
          La) - 9/10/19
        • King v. Our Lady of the Lake Hosp., Inc., Case No. 17-cv-00530 (M.D.
          La) - 9/10/19
        • Francois v. Our Lady of the Lake Found., Case No. 17-cv-00393 (M.D.
          La) - 9/10/19
        • Reynolds-Sherwood v. Dignity Health, Case No. 18-cv-00255 (D. Az.) - 4/5/19
        • Francois v. General Health System, Case No. 17-cv-00522 (M.D. La.) - 2/20/19
        • Ward v. Baton Rouge General Hospital, Case No. 18-cv-00451 (M.D.
          La.) - 2/20/2019
        • Rosario v. St. Tammary Parish Hosp., Case No. 18-cv-01701 (E.D. La.) - 1/21/19
        • Bustos v. Dignity Health, Case No. 17-cv-02882 (D. Az.) - 12/10/18
        • Davis v. Riverside Healthcare Sys., LP, Case No. 17-cv-01062
          (C.D.C.A.) - 11/12/18
        • Giterman v. Pocono Med. Ctr. & Whitestone Care Cetr., Case No. 16-cv-
          00402 (M.D. Pa.) - 7/13/18
        • Roman-Rodriguez v. Beth Abraham Cetr. for Rehab. & Nursing, Case No. 17-
          cv- 01348 (S.D.N.Y.) - 7/13/18
        • Vardon v. FCA US LLC, Case No. 16-cv-11807 (E.D.M.I.) - 6/26/18
        • Negron v. Trinitas Reg’l Med. Ctr., et al., Case No. 15-05822 (D.N.J.) - 5/31/18
        • Aquila v. Plantation Mgmt. Co. et al., Case No. 18-cv-05306 (E.D. La.) - 3/7/18
        • Jeuch v. Children’s Hosp. & Health Sys., et al., Case No. 15-cv-01482 (E.D.
          Wis.) - 1/9/2018
        • Berry-Mayes v. NYC Health & Hospitals Corp., Case No. 14-cv-09891
          (S.D.N.Y.) - 11/22/17
        • Sottile v. Watermark Ret. Communities, Inc., et al., Case No. 15-cv-02584 (D. Az.)
          - 9/14/2017
        •   Hall v. Tri-City Healthcare Dist., Case No. 16-cv-01693 (S.D.C.A.) - 8/22/2017


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         •   Prusak et al. v. Dignity Health, Case No. 16-cv-01171 (D. Az.) - 7/31/17
         •   Bate v. Delmar Gardens North, Inc., et al., Case No. 15-cv-00783 (E.D.
             Mo.) - 5/11/17
         •   Puerner & Flanagan v. Mt. Sinai Hosp., et al., Case No. 15-cv-09715
             (S.D.N.Y.) - 3/30/17
         •   Sunderland v. Bethesda Hosp., Case No. 16-cv-10980 (11th Cir.) - 12/14/2016
         •   Gordon v. NYC, Case No. 15-09716 (S.D.N.Y.) - 11/10/2016
         •   Cadoret v. Sikorsky Aircraft Corp., Case No. 15-cv-01377 (D. Conn.) - 10/20/16
         •   Tauscher v. Phoenix Board of Realtors Inc., Case No. 15-cv-00125 (D.
             Az.) - 8/21/2016
         •   Durand et al. v. Fairview Health Servs., Case No. 15-cv-02102 (D.
             Minn.) - 8/11/2016
         •   Weinrib v. Winthrop Univ. Hosp., et al., Case No. 14-cv-00953
             (E.D.N.Y.) - 6/24/2016
         •   Bushoven v. Chilton Hospital, Case No. 14-cv-08007 (D.N.J.) - 5/13/16
         •   Viera & Gosselin v. NYC, et al., Case No. 15-cv-05430 (S.D.N.Y.) - 4/15/2016
         •   Saunders & Branden v. Mayo Clinic, Case No. 13-cv-1972 (D. Minn.) - 10/1/2015

     •   Trials:
         • Updike v. Multnomah Cty., Case No. 13-cv-01619 (D. Or.) - 9/25/19
         • VanVorst, et al. v. Lutheran Med. Ctr., Case No. 15-cv-01667
            (E.D.N.Y.) - 8/21/2019
         • Cobb, et al. v. GDCS, et al., Case No. 19-cv-03285 (N.D. Ga) - 9/12/19
         • Giterman v. Pocono Med. Ctr., et al., Case No. 16-cv-00402 (M.D. Pa.) - 4/26/19
         • Arce v. Louisiana State, et al., Case No. 14-cv-14003 (E.D. La.) - 12/11/17
         • Bates v. Delmar Gardens North, Inc., et al., Case No. 15-cv-00783 (E.D.
            Mo.) - 11/27/17

Expert Witness: Dr. Amy June Rowley

Dr. Rowley has worked on assessments and evaluations over the past five years, but she
has not testified in court. Dr. Shepard-Kegl testified on their joint work in court in:
         • Updike v. Multnomah Cty., Case No. 13-cv-01619 (D. Or.) - 9/25/19

When she was living in Wisconsin over ten years ago, she testified in a variety of cases
related to educational placement, discrimination and access to interpreters in education,
arrest, incarceration, and trial contexts.

Trial/Deposition
Expert Witness for the law firm of Quarles and Brady for Neshkoro School District v. Parents
(Witness for the school district)
Expert Witness for Deaf Plaintiff v. Milwaukee County Corrections

Trial:
Expert Witness for Deaf Plaintiff v. Milwaukee County Corrections
Expert Witness for Deaf Plaintiff v. State of Wisconsin


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Expert Witness for Deaf Plaintiff v. Waukesha County (no interpreter at trial)
Expert Witness for Parents v. Milwaukee School District
Expert Witness for Quarles and Brady v. Menomonee Falls School District




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